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    UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF
                             TEXAS, DALLAS DIVISION
In Re: Highland Capital Management, L.P § Case No. 19-34054-SGJ11
Charitable DAF Fund, L.P et al
                          Appellant       §
vs.                                       §         21-03067
Highland Capital Management, L.P          §

                            Appellee              §           3:23-CV-01503-B
  [167] Order granting Defendant Highland Capital Management, L.P.'s Renewed motion to dismiss
adversary proceeding (related document # 122) Entered on 6/25/2023.

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  1         They were looking to take additional outside capital.

  2    They would -- they would pay down or take money out of the

  3    transaction, Highland would, or ultimately Mr. Dondero, and

  4    they would -- they would seek to invest in Acis CLOs,

  5    Highland's 1.0 CLOs.      And then with respect to the Acis CLOs,

  6    and potentially new CLOs, but with the Acis CLOs, they'd seek

  7    to reset those and capture what they thought would be an

  8    opportunity in the market to -- to really use the assets that

  9    were there, not have to gather assets in the warehouse but be

 10    able to use those assets to reset them to market prices for

 11    the liabilities and then make money on the equity.

 12    Q    Do you have an understanding --

 13    A    Then --

 14    Q    I'm sorry.    Go ahead.

 15    A    Why don't I continue?      So, the transaction, they found

 16    HarbourVest as a potential investor, and the basis of the

 17    transaction was that they would make an investment into Acis.

 18         Shortly before the transaction, and while they were doing

 19    diligence, Mr. Terry received his arbitration award.            I

 20    believe that was in October of 2017.         The transaction with

 21    HarbourVest closed in mid- to late November of 2017.            But Mr.

 22    Terry was not an integral part.        Indeed, he wasn't going to be

 23    a key man.     He had been long gone from Highland by that time.

 24         What the -- I think you asked me originally what the basis

 25    of their claim was.      The transaction went forward, and the




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  1    basis of their claim is that they really were never -- nothing

  2    was disclosed to them about the nature of the dispute with Mr.

  3    Terry other than in the highest-level terms; the animosity

  4    with respect to which that dispute was held by Highland and

  5    potentially Mr. Terry; and really, how those costs would be

  6    borne and risks be borne by the investment that they were

  7    making.

  8         That was, in essence, the transaction and the high-level

  9    view of their claim.

 10    Q    Okay.   Just a few very specific facts.        Do you have an

 11    understanding as to how much HarbourVest invested and what

 12    they got in exchange for that investment?

 13    A    Yeah.   HarbourVest invested in a couple tranches, and I

 14    forget the exact dates, but approximately $75 million

 15    originally, and then they added another five.          Some

 16    distributions were made in the first half of 2018, putting

 17    their net investment in the mid-seventies on the investment,

 18    which now is worth about 22-1/2 million bucks.

 19    Q    And what percentage interest in HCLOF did HarbourVest

 20    acquire, to the best of your knowledge?

 21    A    They have 49.98 percent of HCLOF.        HCLOF, just to refresh

 22    -- the Court is, I think, well aware of this, but to refresh,

 23    is a Guernsey entity.      Not -- not atypical for structures of

 24    this type to use offshore jurisdictions and sell the

 25    securities under -- at least to U.S. -- can't sell them to




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  1    U.S. investors unless they qualify, and these are sold under

  2    Reg S to -- to investors that otherwise qualify.           And

  3    HarbourVest was investing in that transaction through the

  4    Guernsey structure.

  5    Q    And do you have an understanding as to who owned the 50-

  6    plus percent of HCLOF that HarbourVest was not going to

  7    acquire?

  8    A    Yeah.   There's -- you can tell by the name.         HCLOF is

  9    Highland CLO Funding.      This is a Highland vehicle.       So

 10    Highland owned and controlled the vehicle.          The DAF, which is

 11    -- which is Dondero-controlled trusts, have the -- 49 percent.

 12    Highland has, I believe, around .63-65 percent directly.             And

 13    then Highland employees at the time who were involved in the

 14    business owned another small percentage.

 15         So the majority was going to be controlled by Highland

 16    through its control of DAF and its control of the employees

 17    that worked for it.      HarbourVest would be a minority investor.

 18    Q    Okay.   And I believe you testified that the investment was

 19    made in mid-November; is that right?

 20    A    That's correct.     I think it was the 15th, may have been

 21    the 17th of November.

 22    Q    And do you recall when in October the Terry arbitration

 23    award was rendered?

 24    A    It was about a month before.        I think it was right around

 25    the 20th, the 17th to the 20th.        I may be slightly wrong on




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  1    each of those dates.

  2    Q    Okay.    What is your understanding as to what happened

  3    after the issuance of the award that is the basis or at least

  4    one of the bases for HarbourVest's claim?

  5    A    I don't think there's -- I don't think there's any

  6    dispute.     And there certainly are judicial findings.         Dondero

  7    and Highland went about stripping Acis of all of its assets.

  8    So, remember that Acis is not a separate standalone company,

  9    in any event.    It's controlled and dominated completely by

 10    Highland at the time.      But it did have contracts.       And those

 11    contracts had value.

 12         So the first idea was to strip out the management contract

 13    and put it into a separate vehicle, which we called HCF

 14    Advisor, which Highland still owns.         The second piece was to

 15    strip out some valuable assets, the risk retention piece,

 16    which was a loan that in essence was equity that Highland had

 17    put into Acis but structured as a loan, as many of the

 18    transactions we'll see down the road are, in order to deal

 19    with some -- avoid taxes in any way possible.          And that

 20    structure, that value moved value out of Acis for the express

 21    purpose of trying to run, in essence, the Highland business

 22    back in Highland.

 23         Remember, as I said, Acis is just a Highland business

 24    moved to a separate shell.       When Mr. Terry got his arbitration

 25    award against Acis and was seeking to enforce it, it was




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  1    pretty straightforward, let's take all the assets -- Dondero

  2    scheme -- let's take all the assets and move them back into

  3    Highland so Terry can't get anything.

  4    Q    And how does that scheme relate to the HarbourVest claim,

  5    to the best of your knowledge?

  6    A    Well, HarbourVest -- HarbourVest's position is that they

  7    invested in Acis and -- and whether Acis was called Acis or

  8    called Highland, it doesn't really matter; there were valuable

  9    assets in the -- in the entity that they were going to be

 10    investing in through the equity in these CLOs and some of the

 11    debt securities in those CLOs.

 12         And then the stripping out and the fraudulent conveyances

 13    out of Acis caused them damages because that's what left the

 14    damage to Mr. Terry.

 15         The quick math on Acis, by the way, is Acis has probably

 16    lost, total damages, 175 million bucks.         And that's pretty

 17    easy.   DAF lost 50.     HarbourVest lost 50.      Fifteen million of

 18    fees charged to HCLOF.      Another five million of fees, at

 19    least, incurred by Mr. Terry.       Ten million that went to Mr.

 20    Terry, 15 to Highland fees, another five, plus Mr. Terry's

 21    settlement in this case, over eight million bucks.

 22         So HarbourVest's position, which, on a factual basis, you

 23    know, is problematic for the estate, is, wait a second, we

 24    invested in this vehicle with Highland.         That was supposed to

 25    invest in Highland CLOs.      They were called Acis, but they were




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  1    Highland CLOs.     And then you went about causing tremendous

  2    damage to that vehicle that we ultimately were investing in,

  3    and then charge us for the pleasure.

  4    Q    You used the phrase earlier "OM," I believe.

  5    A    Offering memorandum.

  6    Q    Offering memorandum?      Can you just explain to the Court

  7    your understanding of what an offering memorandum is?

  8    A    Typically, under U.S. law, and foreign jurisdictions have

  9    similar laws, you have to have a document that explains the

 10    securities that you're selling.        And it goes into extreme

 11    detail about the securities and the risks related to those

 12    securities.

 13         And the idea is not to have a document that tells you

 14    whether it's a good investment or a bad investment, but it's a

 15    document that discloses to the potential investor all of the

 16    risks with respect to that security or related to the

 17    investment over the duration of the security.          It doesn't

 18    predict the future, but it's supposed to make sure that it

 19    gives you a very clean view of the past and a very clean view

 20    of what the facts from the past are and how they would

 21    implicate the future of the investment.

 22    Q    And in the course of its diligence, did the Debtor have an

 23    opportunity to review the offering memorandum in the context

 24    of the claims that were being asserted by HarbourVest?

 25    A    Oh, absolutely.     It was originally effectively -- it's an




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  1    HCLOF offering memorandum.       But as I said, HCLOF was managed

  2    and controlled by Highland, and Highland originally prepared

  3    it.   And then, of course, in connection with -- with this

  4    dispute and these claims, we reviewed it, both myself and my

  5    legal team.

  6    Q     All right.

  7               MR. MORRIS:    Your Honor, the offering memorandum is

  8    on the Debtor's exhibit list, and I think this is an

  9    appropriate time to move into evidence Debtor's Exhibits A

 10    through EE, all of which appear at Docket No. 1732.

 11               THE COURT:    1732?

 12               MR. MORRIS:    It's the Debtor's Second Amended Witness

 13    and Exhibit List.

 14               THE COURT:    All right.    Any objection to admission of

 15    A through EE?

 16               MR. DRAPER:    Douglas Draper.      No objection, Your

 17    Honor.

 18               THE COURT:    All right.    Mr. --

 19               MR. MORRIS:    May I proceed?

 20               THE COURT:    Yeah.   Mr. Wilson, did you want to

 21    confirm no objection?

 22          (Echoing.)

 23               THE COURT:    All right.    Hearing no objection,

 24    Debtor's A through EE are admitted.

 25          (Debtor's Exhibits A through EE are received into




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  1    evidence.)

  2                 THE COURT:    Go ahead, Mr. Morris.

  3                 MR. MORRIS:    Thank you, Your Honor.       The offering

  4    memorandum itself is one of the documents that we filed under

  5    seal, and we did so at the request of counsel to HCLOF.            But

  6    HCLOF has consented to our sharing up on the screen certain

  7    very limited provisions of the document, without waiving the

  8    request that the agreement otherwise be maintained under seal.

  9                 THE COURT:    All right.

 10                 MR. MORRIS:    So may I proceed on that basis, Your

 11    Honor?

 12                 THE COURT:    You may.    Uh-huh.

 13                 MR. MORRIS:    Okay.   Ms. Canty, can you please put up

 14    on the screen Demonstrative Exhibit #1?          Okay.    Can we just --

 15    is there a way to just expand that just a bit, Ms. Canty?

 16    Thank you very much.       And if we could just scroll it up?

 17    Thank you very much.       Perfect.

 18         Okay.    So, Your Honor, this, as the footnote says, is an

 19    excerpt from the offering memorandum that can be found at

 20    Debtor's Exhibit AA.       Double A.    And this particular portion

 21    of the offering memorandum is at Page 35.

 22                 THE COURT:    Okay.

 23    BY MR. MORRIS:

 24    Q    Mr. Seery, have you seen this portion of the offering

 25    memorandum before?




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  1    A      Yes, I have.    But before I continue, I just -- I should

  2    have checked.       Are you able to hear me clearly?      Am I speaking

  3    too quickly or am I cutting out?          I just want to make sure.

  4    I'm using a different set of audio today.

  5                   THE COURT:    All right.

  6                   MR. MORRIS:    That's fine.

  7                   THE COURT:    I hear you very well.

  8                   MR. MORRIS:    Yeah.

  9                   THE COURT:    So I think we're good right now.     Thank

 10    you.

 11                   THE WITNESS:    Yeah.   Thank you, Your Honor.   I was

 12    just checking.

 13                   THE COURT:    Okay.

 14                   THE WITNESS:    In response to your question, Mr.

 15    Morris, yes, I have seen this before.

 16    BY MR. MORRIS:

 17    Q      Okay.    And can you -- did you form a view in doing the due

 18    diligence as to the adequacy of this disclosure?

 19    A      Yes, I did.

 20    Q      Can you share your -- or share with Judge Jernigan the

 21    Debtor's view as to the adequacy of this disclosure concerning

 22    the litigation between Highland and Acis?

 23    A      With respect to the litigation between Highland and Acis,

 24    or, really, between Acis, Highland, and Highland's principals

 25    and Acis's principal, totally inadequate.            The disclosure here




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  1    is very high-level.        And if there were no other litigation

  2    going on, it might serve to suffice.         It basically says, In

  3    our business, because we invest in distressed loans, there's a

  4    lot of litigation around distressed investments, and that's

  5    what we have.     And then it says, We've talked with the

  6    investor about other things and we're -- we think that's

  7    enough.

  8    Q    Is there anything in this portion or anywhere in the

  9    offering memorandum that you're aware of that disclosed to

 10    HarbourVest that in the weeks leading up to the investment

 11    Highland was engaged in the fraudulent transfer of assets away

 12    from Acis?

 13    A    No.   And I apologize, because I think it's -- I've

 14    conflated two provisions.       This one only deals with the very

 15    high-level nature of the business.        It doesn't give any

 16    indication that there's any material litigation going on

 17    elsewhere with respect to Acis.

 18         I believe there's another provision that says, We -- we

 19    have talked to -- oh, here -- I'm sorry.         It is here.

 20    Shareholders have had an opportunity to discuss with Highland

 21    to their satisfaction all litigation matters against Highland

 22    and its affiliates unrelated to its distressed business.

 23         That, in my opinion, is wholly inadequate.

 24    Q    Okay.

 25                 MR. MORRIS:    And let's put up -- actually, let's just




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  1    move on.

  2    BY MR. MORRIS:

  3    Q     Let's go to the settlement itself.

  4                MR. MORRIS:   Can we put back up Demonstrative Exhibit

  5    #3?

  6    BY MR. MORRIS:

  7    Q     Mr. Seery, can you see that?

  8    A     Yes, I can.

  9    Q     Does this generally describe the net economic recovery of

 10    the HarbourVest settlement based on estimated recoveries for

 11    general unsecured creditors as of November 2020?

 12    A     As of November 2020, it does.       And you alluded to this in

 13    your opening, but to be clear, the numbers have shifted.

 14    Costs have increased.      The -- so the -- effectively, the

 15    numerator, in terms of distributable value that we estimate,

 16    is lower.    And settlements, the denominator, have also

 17    increased.    So the claims against the estate that have been

 18    recognized have increased.       And that, that probably takes it

 19    down closer, in our view, to about seventy cents distribution,

 20    a number closer to nine to ten million, maybe a little bit

 21    less.

 22          However, there's also some additional value that we -- we

 23    believe we will recover directly.        There are north of $150

 24    million of intercompany notes owed by Dondero entities to

 25    Highland.    A number of those notes are demand notes, and we've




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  1    already made demand.      We'll be initiating actions next week.

  2    So those are -- those value, we believe, we'll recover

  3    directly from Mr. Dondero and from related entities.

  4         To the extent those related entities don't have value, we

  5    feel very strongly about our ability to pierce the veil and

  6    reach in to Mr. Dondero.      And then his assets, either his

  7    personal assets or the assets that he claims are in trusts.

  8         In addition, there are a significant amount of notes that

  9    were extended in two -- I believe around 2017, for no

 10    consideration.     Those notes were demand notes, I believe, and

 11    then extended it 30 years.       So they have 2047 maturities.

 12    Those were probably going to have to be subject to fraudulent

 13    conveyance type actions or -- or some sort of sale at a very

 14    discounted value because third parties wouldn't want long-

 15    dated notes with Mr. Dondero as the counterparty for very much

 16    money.

 17         Those -- they defaulted on some of those parties, so we

 18    effectively turned them into demand notes.          We've accelerated,

 19    and we'll be bringing actions against those entities next week

 20    as well.

 21         So I think (garbled) have come up, so I apologize.            One

 22    way of saying I think the sixteen and a half is a bit high

 23    right now, based upon what we know, but the value is going to

 24    be higher than our estimate a couple of weeks ago because we

 25    do believe we'll be able to recover on the notes.




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  1         One additional caveat, just to be fully transparent here.

  2    This summary with the 16.8 doesn't include the subordinated

  3    piece of this -- of this claim and our resolution.           That --

  4    recovery of that piece will be dependent upon the success of

  5    litigations.

  6         In order for the subordinated piece to get paid, all

  7    general unsecured claims in Class -- Classes 7 and 8 will have

  8    to be paid in full.      And then -- and then the subordinated

  9    class in Class 9, which we believe UBS will have a piece of,

 10    and HarbourVest will have a piece of by this settlement, those

 11    will be able to recover, and those will be based upon other

 12    claims of action against -- primarily against related parties.

 13    Q    And then that last point, is that what's reflected in

 14    Footnote 3 on this page?

 15    A    That's correct, yes.

 16    Q    Okay.   And just for the record, there's a reduction in

 17    value of $22-1/2 million.       Do you see that?

 18    A    Yes.

 19    Q    And can you just explain to the Court what that is and how

 20    that value was arrived at?

 21    A    Yes.    I may be getting slightly ahead of you, Mr. Morris.

 22    But to give the Court a reflection of the transaction -- and

 23    we can go into the details in a moment -- ultimately, the

 24    transaction we structured we think is very fair both

 25    economically to the Debtor, but there -- there is some




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  1    complexity to it to satisfy some of HarbourVest's concerns

  2    that they be able to effectively rescind the transaction, at

  3    least from an optical perspective.        Value was important, but

  4    optics were as well.      The twenty-two and a half is the current

  5    -- actually, the November value of HCL -- the HarbourVest

  6    interests in HCLOF.      And that's based upon Highland's

  7    evaluation of those interests.

  8         So we do believe that that is a fair value as of that

  9    date.    It has not gone done.     It hasn't gone up explosively,

 10    either, but it hasn't gone down.        We think that's good, real

 11    value.    That value is in the Acis CLOs, the equity in those

 12    CLOs, which is 2 through 6, that we -- we will be working with

 13    the HCLOF folks to get Mr. Terry to monetize those assets and

 14    those longer-dated CLOs.

 15         In addition, I think it's 85 percent of the equity in Acis

 16    7 -- Acis 7 is managed by Highland -- that is also beyond its

 17    reinvestment period.      And in talking to the directors -- and

 18    they're new directors, and I'll get to that in a minute, for

 19    HCLOF -- they'll seek to push Highland, which is the

 20    reorganized Highland, to monetize that asset, with due regard

 21    to fair value.

 22         In addition, Harbour -- HCLOF owned a significant amount

 23    of the preferred or equity pieces, if you will, in the

 24    Highland CLO, 1.0 CLOs.      As we've talked about, those are not

 25    really CLOs.    Those are effectively closed-end funds with




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  1    illiquid assets, primarily illiquid assets in them.            We've had

  2    some dispute in front of the Court about selling the liquid

  3    assets in them, which we can go into it another time.            Those

  4    are being liquidated in the market at fair value.

  5         But HCLOF also is a significant holder of those preferred

  6    shares, and those directors would -- have indicated to me that

  7    they would like to see those interests also monetized.

  8    Q    All right.    Let's shift gears for a moment to talk about

  9    the diligence that the Debtor did before entering into this

 10    agreement.    Can you just describe for the Court generally the

 11    diligence that was undertaken at your direction?

 12    A    Well, when we first received the reply to our objection,

 13    we dug into that reply and the specifics in it very

 14    aggressively.     So we reviewed all of the underlying documents

 15    related to the original transaction.         We discussed with

 16    counsel the legal basis for the HarbourVest claims.            We

 17    interviewed our own HCMLP employees who were involved in the

 18    transaction and tested their recollection, specifically around

 19    who dealt with HarbourVest, who had the discussions with

 20    HarbourVest, what was disclosed to HarbourVest with respect to

 21    the Terry dispute and the Acis litigation.

 22         We also had done, as I think the Court is well aware from

 23    prior 9019 testimony, extensive work around the transfers and

 24    the issues related to Acis.       So we were familiar with their

 25    impact on HCLOF.




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  1         We also did extensive work valuing the remaining HCLOF

  2    interests to get a good feel of not only how much HarbourVest

  3    originally invested, but how much they actually lost in this

  4    transaction.     And as I said, their original investment was

  5    around, in total, in two tranches, about $80 million, of which

  6    they got about $5 million back, and they've lost $22 million.

  7    So it -- I mean, remaining with $22 million.          So they've lost,

  8    you know, in excess of $50 million.

  9    Q    Do you recall whether the Debtor reviewed and analyzed all

 10    of the documents that were cited in HarbourVest's response to

 11    the Debtor's objection to the HarbourVest proofs of claim?

 12    A    Yeah.    I think -- I forget, to be honest, which -- exactly

 13    what documents were in there.       But we went through their

 14    objection with a fine-toothed comb, not only with respect to

 15    the issues related to the Acis case, but also their references

 16    to Guernsey law, other U.S. law, any of the documents between

 17    the parties.     And obviously, as I mentioned before, the

 18    offering memorandum.

 19                 MR. MORRIS:    Your Honor, I would just note for the

 20    record that Debtor's Exhibits I through X are all of the

 21    documents that are cited in HarbourVest's response to the

 22    Debtor's objection to the HarbourVest proofs of claim, and

 23    those are the documents that Mr. Seery just referred to.

 24                 THE COURT:    All right.

 25                 MR. MORRIS:    Just, they're in evidence now, and I




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  1    just wanted the Court to understand why they're in evidence.

  2                 THE COURT:    Okay.   Thank you.

  3                 MR. MORRIS:    You're welcome.

  4    BY MR. MORRIS:

  5    Q    Let's talk about the Debtor and whether or not it had or

  6    has any viable defenses.       Did the Debtor form any views as to

  7    whether or not it had any defenses to the HarbourVest claims?

  8    A    Yes, we did.

  9    Q    Can you describe for the Court the defenses that were

 10    reviewed and analyzed by the Debtor?

 11    A    Yeah.    I think we -- we had very significant defenses.

 12    So, first and foremost, with respect to the original proof of

 13    claim, as I mentioned earlier, it alluded to the expenses and

 14    the overcharge.     And I think with respect to the 15 million of

 15    fees that were charged to HCLOF by Highland, we didn't have a

 16    lot of defenses to that claim.

 17         It's pretty clear, by any fair view of the Acis case, that

 18    HCLOF, as the investor in the Acis CLOs and the Highland CLOs,

 19    had no real responsibility for fighting with Acis and Josh

 20    Terry and shouldn't have been charged those fees.           I don't --

 21    I don't think there's a legitimate investor that would

 22    actually think that that was an appropriate amount to be

 23    charged to a fund.

 24         However, the claim was not as broad -- the proof of claim

 25    was not as fulsome in terms of discussing and only vaguely




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  1    referred to other damages.       So we did -- we did, as a

  2    threshold matter, think about whether we could argue that it

  3    was time-barred because they had not met their obligations to

  4    fully disclose under the proof of claim.

  5         Secondly, we considered the defenses to the overall claim

  6    of fraudulent inducement.       Our perspective was that if we

  7    could stop the claim of fraudulent inducement, the damages

  8    would likely be limited to the 15 and maybe some -- some other

  9    damages.   With respect to the 15, again, the problem that we

 10    had when we got past -- past motions for summary judgment is

 11    the factual predicate for our defense was going to be that we

 12    divulged these things to HarbourVest and that they did not

 13    reasonably -- it was -- reasonably rely on some failure to

 14    divulge because they're a sophisticated investor.

 15         The problem with that defense is that our witnesses, which

 16    really would have primarily been Mr. Dondero and Mr.

 17    Ellington, and one other employee who runs the CLO business,

 18    Mr. Covitz, would not be pretty good.         They've been -- two of

 19    them have been in front of this Court and they're not viewed

 20    favorably and their testimony would be challenged and

 21    potentially suspect.

 22         So that gave us a real focus on trying to make sure that

 23    we could, if we had to litigate, that we would litigate around

 24    the fraudulent inducement.

 25         As I said, reasonable reliance, what was disclosed, lack




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  1    of digging into the public record, because you don't have to

  2    go far on Google to find "fraud" within two words of

  3    "Highland," and the tremendous, you know, litigious nature of

  4    Highland.    You know, even at that point, when this investment

  5    was made, aside from Mr. Terry's arbitration, which by that

  6    point, at least by the time (inaudible) was public, there was,

  7    you know, significant public disclosure around the Credit

  8    Strat and the litigation, the Crusader litigation, the UBS

  9    litigation, the, gosh knows, the Daugherty litigation.

 10          So our defense was going to be that you should have

 11    figured this out, you're a sophisticated investor, and you

 12    should have been able to figure out that there was significant

 13    risk that, with respect to Mr. Terry, that Mr. Dondero would

 14    not stop litigating and that those costs would put significant

 15    risk on the investment.

 16          The problem with that, as I mentioned earlier, is that the

 17    OM is wholly deficient.      If you have a typical risk factor in

 18    the offering memorandum, you would have disclosed that there

 19    was a litigation with Mr. Terry, a former partner in the

 20    business, and that the Debtor had no intention of settling it.

 21    There was no intention of settling.         That litigation would go

 22    on.   It could go on for years and it could result in

 23    bankruptcy or attachments and other risks to the business, and

 24    that the investor should be fully aware that the Offeror does

 25    not intend to be involved in any -- or the manager, in any




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  1    settlement with Mr. Terry, and the fact it undermined the

  2    investment.    That wasn't there.

  3         But that was our preliminary focus, to try to stop fraud

  4    in the inducement.     And then we -- we had specific facts

  5    related to that.     You know, once they knew about the

  6    bankruptcy in HarbourVest of -- I'm sorry, of Acis,

  7    HarbourVest made a second funding, which was there was a -- it

  8    was an initial $75 million draw, and then a second, I believe,

  9    about a $5 million draw, which was in -- I believe in

 10    February.    And they made it without -- without objection, and

 11    that was after the commencement of the bankruptcy.

 12         In addition, they were -- they were active in the

 13    bankruptcy, so the -- some of the things that happened in the

 14    bankruptcy, there were many opportunities to settle that case,

 15    from our examination, all of which were turned down to -- by

 16    Mr. Dondero.    But you don't see HarbourVest pounding the table

 17    to settle, either, either with respect to the Oaktree

 18    transaction or any other transaction.

 19         Now, HarbourVest's defense to that is, well, we were

 20    taking advice and all of our information from Highland, and we

 21    were getting that information directly from senior folks at

 22    Highland why -- what the value was and why we shouldn't do

 23    those things.    We thought that that would mitigate some of the

 24    arguments that -- some of the damages that we might have, I'm

 25    sorry, if we -- if we lost.




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  1         But the focus at that point, you know, our legal strategy,

  2    was can we stop HarbourVest at the very forefront to say,

  3    You've got to come into the factual realm and get out of the

  4    fraud in the inducement realm.        And then the defenses and the

  5    exculpations and the liability limitations in the documents

  6    would also come into play.

  7         So that -- those are some of the defenses that we focused

  8    on and our analytical thinking around them.

  9    Q    So, if the Debtor had viable defenses, why is it settling?

 10    A    Well, this is a significant claim.         And we -- we looked at

 11    it with respect to both the impact on the case, but, really,

 12    the merits of the claim.

 13         As I said, there's really little dispute that the legal

 14    fees should not have been charged to HarbourVest.           We think

 15    based upon the testimony in Acis, the suspect credibility of

 16    those who would have been our witnesses, and the experience in

 17    Acis that the Court has had in terms of the completely hell-

 18    bent on litigation, it would be hard for anyone to justifiably

 19    defend those fees being charged.        So, as an initial matter, we

 20    had exposure there.

 21         In addition, if HarbourVest got by our defense of -- was

 22    able, for example, to claim fraud in the inducement, then we

 23    were open to significant damages.

 24         We really didn't put much value, frankly, on the RICO part

 25    of it.   We think that that's waved around often to show treble




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  1    damages.   Although in this case certainly somebody could lay

  2    out the predicate acts and put forth a RICO-type argument, we

  3    just didn't think that that had real merit in this commercial

  4    dispute, even with a fraud claim.

  5         But even without the trebling of the damages, there's no

  6    dispute that HarbourVest lost more than $50 million in this

  7    investment.    You know, we -- we thought about that risk as

  8    well.

  9         In addition, because the case would really be fact-based,

 10    even if we had a high degree of confidence based upon our

 11    discussions with our employees and the factual testimony, it

 12    was going to be expensive to litigate this case, and time-

 13    consuming.

 14         And so we looked at the economic value, the potential

 15    risks, and the actual value that we were giving up, and found

 16    this to be an extremely, extremely reasonable settlement.

 17         Importantly, and I think what drove it, you -- one of --

 18    one of the things that drove it is another one of our defenses

 19    on why, notwithstanding their -- what they held out as

 20    meritorious claims, I don't think HarbourVest really wanted to

 21    publicly litigate this claim.       And we were aggressive in our

 22    discussions with HarbourVest of how we would litigate it,

 23    which would be quite publicly.

 24         Now, that may or may not be fair, but that does put risk

 25    on the counterparty.      And so I think that helped drive the




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  1    settlement.

  2         In addition, the structure of the settlement we think is

  3    extremely favorable to the Debtor and to the estate because,

  4    rather than taking the full claim and putting it into a senior

  5    unsecured position, we have bifurcated it.          We did think about

  6    whether this was a claim that could be subordinated under 510.

  7    There won't be any arguments, I would be surprised if there's

  8    arguments today that we didn't actually give to the Highland

  9    employees who have given them to Mr. Dondero's respective

 10    counsel.

 11         We did structure it in a way that we thought gave

 12    HarbourVest the opportunity to effectively claim a rescission,

 13    even though that's not really what it is, and then be able to

 14    claim that their recovery is based on the bankruptcy, which it

 15    is, but not really dilute all the other stakeholders in the

 16    case.

 17         (Pause.)

 18               THE COURT:    Mr. Morris?     Anything else?

 19               MR. MORRIS:    I can hear you, Your Honor.

 20               THE COURT:    Okay.

 21               MR. MORRIS:    I can hear you.

 22               THE COURT:    Okay.   Now can you --

 23               MR. MORRIS:    I got cut off from Mr. Seery for a

 24    moment.

 25               THE COURT:    Okay.




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  1    BY MR. MORRIS:

  2    Q    Okay.   I appreciate that.      Are you done giving the

  3    Debtor's basis for entering into this settlement, Mr. Seery,

  4    if you can hear me?

  5    A    I think so, but I think as the Court has probably seen, I

  6    can go on.

  7    Q    Yes.

  8    A    So I will try to be -- I'll try to be more concise.            But

  9    this was a -- this was a difficult settlement.           We felt good

 10    about our defenses.      Felt that we could -- we could try them.

 11    But it would be extremely expensive, time-consuming, and there

 12    would be a lot of risk.      And settling at a level which we

 13    believe is actually below the damages that were clearly caused

 14    only by the fees was a -- was a -- is a -- is a very

 15    reasonable settlement.

 16    Q    Okay.   Let's just talk about the process by which we got

 17    to the settlement.     Do you recall generally when the

 18    settlement negotiations have -- were commenced?

 19    A    I believe it was -- was late summer, early -- early fall.

 20    Q    Okay.   Before I move on, I just want to go back to the

 21    Acis matter that you were talking about, one last issue.            Do

 22    you know how, if at all, the injunction that was entered in

 23    the Acis bankruptcy impacted or related to the HarbourVest

 24    claims?

 25    A    Yeah.   I -- yes, I do.     And I believe it -- it did.        I




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  1    think there's an argument, and we analyzed it thoroughly, that

  2    the injunction effectively caused a lot of the damages.

  3    Because if you look at the values of the equity that

  4    HarbourVest had, the -- and HCLOF had in the CLOs, it went

  5    down dramatically after the Trustee in the Acis case took over

  6    and then subsequently, when the case was reorganized and Mr.

  7    Terry took over, you know, with Brigade as the sub-advisor.

  8         Now, that would -- you know, we would -- we could

  9    certainly attempt to throw, in our defense, the causation at

 10    Mr. Terry's feet or at Mr. Phelan's feet.          HarbourVest's

 11    retort is that none of this would have occurred but for the

 12    burn-it-down litigation that Mr. Dondero engaged in with

 13    Highland.

 14         In addition, in Mr. Terry's defense, you know, he did try

 15    multiple times with HCLOF, tried to petition, if you will, the

 16    HCLOF entity to -- and directors, former directors, to reset

 17    the CLOs to make them more economically viable, based upon the

 18    current level of asset returns versus the debt costs in the

 19    CLOs.    And that was rejected by the HCLOF and the Debtor as

 20    the controlling party of HCLOF.        So, we thought about those

 21    risks.

 22         You know, similarly, the economic values in Acis 7 went

 23    down pretty significantly from that date as well.           So I think

 24    there's -- there are some defenses, but that's really Mr.

 25    Terry's issue, not our issue.       So we thought about those




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  1    issues, we analyzed them, and we certainly did all the work

  2    around month-to-month reductions in NAVs and how different

  3    events in the Acis case might have -- might have caused those

  4    and was that some sort of break from the original

  5    transgression that HarbourVest claims, which was the

  6    fraudulent inducement.

  7    Q    Do you recall that in November HarbourVest's motion under

  8    3018 was scheduled to be heard?

  9    A    Yes.

 10    Q    And can you just tell the Court your understanding of what

 11    the 3018 motion was about?

 12    A    Well, the 3018 motion was going to be on voting.           And we

 13    took the view that it really was not -- it shouldn't have been

 14    that big an issue and HarbourVest should have been content

 15    with just taking their actual losses of roughly a $50-$60

 16    million claim for voting purposes and then we would move on.

 17         HarbourVest was very insistent that they have a $300

 18    million claim, because they took the position -- and with

 19    extensive documentation; not only the pleadings they filed,

 20    but also detailed decks that were prepared by their counsel,

 21    which they had presented to us on the merits of their claim --

 22    that they were going to litigate for -- the 3018 and for the

 23    full $300 million value.

 24         And that became the genesis, if you will, of the

 25    negotiations to settle.




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  1         So, we started talking about the 3018.         It was very

  2    contentious.    My apologies to Ms. Weisgerber and her counsel,

  3    her partners, because it was a significant and contentious

  4    negotiating call.     But the reasons for that I think were that

  5    -- their insistence on litigating the 3018 and our view that

  6    this was just, you know, another -- another of a series of

  7    delays and costs in this case that we really were hoping to

  8    avoid.

  9         That led to Mr. Pugatch and I stepping away from counsel,

 10    no offense to counsel, you know, ours and his, to begin

 11    negotiations around the potential for a settlement.            First, it

 12    started with a 3018, and then, you know, argued that we would,

 13    if we got past the 3018, we were going to litigate this,

 14    because we effectively had -- thought we could get everyone

 15    else done at -- in and around that time.         And I think we were

 16    also probably a little bit optimistic about UBS at that time

 17    and the mediation, which subsequently we have settled.            But

 18    that was the genesis of those settlements.

 19    Q    And how did the structure, how did the Debtor and

 20    HarbourVest derive at the structure whereby there is a general

 21    unsecured claim, there is a subordinated piece, and there's

 22    the takeback of the HCLOF interest?

 23    A    Well, as I outlined, we -- we aggressively set forth our

 24    various defenses.     Their position was that they -- they should

 25    never have been in this transaction before.          And they --




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  1    HarbourVest is, in essence, a fund of funds, and they have

  2    investors, and it certainly wouldn't be their, I'm sure, the

  3    best-performing asset in their portfolio, to have made this

  4    investment and lost $50 million over this period of time.             So

  5    they felt strongly that they should never have been in this

  6    investment, and but for the failure to disclose and the

  7    improper disclosures, they would not have been in this

  8    investment.

  9         So, optically, getting out of it was important to them,

 10    and that led to our idea and construction of a subordinated

 11    claim and the transfer of the HCLOF interests to the estate.

 12         Importantly, the HCLOF interests, as I mentioned, are --

 13    the investments are in the Acis CLOs controlled by Acis and

 14    Mr. Terry.    The reorganized Acis.      As well as the 1.0 CLOs and

 15    the Acis 7.

 16         So we were keenly focused on, if we were going to get that

 17    interest, would we then have the majority control in HCLOF,

 18    which we will, and would we be able to drive the recoveries,

 19    as opposed to what Highland typically does in these

 20    investments is use other people's money, drive down the value,

 21    and then try to buy back the interest on the cheap.

 22    Q    Just in terms of timing, because I think there was a

 23    suggestion in one of the openings that there was something

 24    untoward about the timing here:        At the time the liquidation

 25    analysis was prepared on November 24th, had the Debtor reached




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  1    any agreement in principle with HarbourVest?

  2    A     If we had, it would have been reflected, so I don't -- I

  3    don't think we were agreed by then.         I don't recall the

  4    specific dates, but if we had, it would have -- it would have

  5    been reflected.

  6    Q     If I can refresh your recollection that the motion was

  7    filed on December 24th, does that help form your understanding

  8    or refresh your recollection that there was no agreement in

  9    principle on November 24th?

 10    A     Yeah.   Well, I'm quite sure there was no agreement in

 11    principle or we would have reflected it minimally by a

 12    footnote.     There's -- there's no chance.      It's a material

 13    reduction in the claims pool that we were previously telling

 14    people that, at least for purposes of distribution, like UBS

 15    and a couple others we said we thought we would get to zero

 16    on.   So we didn't calculate in that amount.         So I'm quite sure

 17    we didn't have a deal when we filed the disclosure statement.

 18          In terms of the timing, anyone who's done this business

 19    for any degree of time knows that the crucible of bankruptcy

 20    brings people to the settlement when they see something

 21    happening in the case, and not before.         I think HarbourVest

 22    looked at our -- this is my supposition -- HarbourVest looked

 23    at our plan, our ability to get this done, our settlement with

 24    Redeemer, our settlement with Mr. Terry and Acis, and saw that

 25    this plan was coming together, and if they didn't think about




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  1    the settlement, they were going to think about not only the

  2    risks that we laid forth for them with respect our defenses,

  3    but also the opportunity to litigate with the Claimant Trustee

  4    over a long period of time, which couldn't have been

  5    particularly appetizing.

  6    Q    Can you describe for the Court the role played by the

  7    independent board of Strand, the general partner of the

  8    Debtor, in analyzing and participating in the approval

  9    process?

 10    A    Yes.   I think, as the Court is aware and I've testified

 11    before, Mr. Russell Nelms and Mr. John Dubel are fellow

 12    independent directors with me, appointed pursuant to the Court

 13    order.   They are kept abreast of every detail, and -- along

 14    the way, not just in a summary form at the end.           We have

 15    reviewed and analyzed collectively each of the issues.            Mr.

 16    Dubel has extensive experience in these types of litigation

 17    matters.    Obviously, Mr. Nelms, from his -- both his practice

 18    and his time on the bench, has a keen insight into how to

 19    resolve and what the risks and benefits are from settling

 20    litigation.    So I consult them every step of the way.

 21    Q    And as part of this process, did the Debtor reach out to

 22    the directors of HCLOF?

 23    A    Yes, we did.     So, we reached out and we've had several

 24    conversations on video chats with the directors.           The

 25    directors of HCLOF are two new gentlemen, Mr. Richard Boleat




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  1    and Mr. Dicky Burwood.      They are extremely professional.        They

  2    are exceptionally well-informed.        They are truly careful, and

  3    I would say very experienced professional not only directors,

  4    but experienced in -- in these matters, both in respect of

  5    structured finance as well as these types of vehicles and

  6    litigation.

  7         They were appointed by the old directors, Scott and

  8    Bestwick, and they have been in control.         They have outside

  9    counsel, which is King & Spalding in the U.S.          They have

 10    Guernsey counsel.     They have accountants and professional

 11    advisors, and are being, in my opinion, exceptionally careful.

 12    I've got -- very quickly developed a lot of respect for them,

 13    and we consulted with them on this settlement and how it would

 14    work.

 15         They've been very clear that they represent HCLOF and they

 16    work for the benefit of the equity, whomever owns it, and

 17    taking a view that they would like to see these assets

 18    monetized swiftly, with due regard to value, for the benefit

 19    of the equity.

 20    Q    And is it your understanding that the directors of HCLOF

 21    approved of this transaction?

 22    A    They -- I don't know that their approval was required.

 23    It's really -- there are a number of hoops to jump through

 24    under the documentation, including opinion of outside counsel

 25    that we received from WilmerHale in terms of the effectiveness




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  1    of the transfer under the documents.         We had a negotiation

  2    with -- with those directors, and making sure that we did

  3    everything correct -- correctly, excuse me -- with respect to

  4    the requirements for the transfer under the documents.            And

  5    they've indicated their support and acknowledgement that we're

  6    doing it correctly.

  7         I don't know if it's fair to say they approved it.            I'd

  8    just have to go check the documents.         But they certainly

  9    support it.    And I think they generally support our position

 10    with respect to how to move forward with the assets.

 11    Q    I appreciate that.      I guess I meant approval with a small

 12    a and not a capital A.

 13         You mentioned WilmerHale.       Who do they represent in all of

 14    this?

 15    A    WilmerHale is the Debtor's outside corporate counsel, in

 16    particular with respect to the fund issues that we don't

 17    handle in-house.     We have significant support for fund issues

 18    from the expertise of Mr. Surgent, who's been the CCO, and he

 19    is also a lawyer, with respect to, you know, some of the

 20    difficult fund issues that Highland has.         But when we use

 21    outside counsel, we use WilmerHale for that, and they've been

 22    -- they've been exceptional.

 23    Q    Okay.    Just the last two points that were made in Mr.

 24    Dondero's objection, I believe.        Did the Debtor overpay in

 25    this settlement in order to gain the support of HarbourVest in




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  1    connection with its -- with the Debtor's attempt to get its

  2    plan confirmed?

  3    A      Not in any way.   My -- I believe the settlement is

  4    extremely reasonable.      As I testified, it's -- it's less than

  5    the -- the actual value going out, depending on unless there's

  6    successful litigation, and there well could be, is less than

  7    on a pro forma basis the fees that were taken and charged to

  8    HCLOF.    We didn't do this for votes.       We will have Class 2,

  9    Class 7, Class 8, and Class 9.        So I don't think that's a --

 10    there's no vote purchasing, I think you called it.           No, not at

 11    all.

 12    Q      Yeah.   Well, on that topic, I think the phrase that was

 13    used was gerrymandering.      Are you aware of the argument that's

 14    been made that the subordinated claim was dropped in there in

 15    order to gerrymander a positive vote for the impaired class of

 16    Class 9, I believe?

 17    A      In a word, I would say that's preposterous.        The -- as I

 18    said, we have a number of classes that will vote for the plan.

 19    The plan is -- the plan is a monetization plan.           And if -- if

 20    the creditors determine that they don't want to pursue this

 21    plan, we'll go forward with another -- we'll try to get

 22    another plan.     We tried to have a grand bargain plan.         We

 23    tried to have a pot plan, as I've testified previously.            I'm

 24    quite certain that I've done more work on that than anyone

 25    else, including Mr. Dondero and anybody who works for him.




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  1    And he hasn't been willing to do that.

  2         This is a -- this is a plan that's come together.           We

  3    think it's going to be in the best interests of the estate.

  4    That'll be confirmation next week.        Or two weeks, I guess.

  5    But I don't see how this is any way related -- this settlement

  6    is not any way related to the voting on that -- on that -- on

  7    that plan.

  8    Q    Just to put the finest point on it, is the Debtor relying

  9    on Class 9 to be the impaired consenting class?

 10    A    No.    I think -- I think what I've -- as I said, I believe

 11    we already have the votes in Class -- I think it's 2 or 3, 7,

 12    8, and -- and 9 will vote in favor as well.          So that won't be

 13    an issue.

 14                MR. MORRIS:    Your Honor, I have no further questions

 15    of Mr. Seery.

 16                THE COURT:    All right.   Pass the witness.      I'll ask

 17    HarbourVest counsel first:       Do you have any questions of Mr.

 18    Seery?

 19                MS. WEISGERBER:    No, Your Honor.

 20                THE COURT:    All right.   Thank you.

 21         What about cross-examination?        Mr. Dondero's counsel?

 22                               CROSS-EXAMINATION

 23    BY MR. WILSON:

 24    Q    Mr. Seery, how are you doing today?

 25    A    I'm well, thank you.




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  1    Q    I'm John Wilson, and I represent Jim Dondero.           I have a

  2    few questions for you today.

  3         Now, the HarbourVest proof of claims were filed on April

  4    8th, 2020; is that your recollection?

  5    A    I believe that's correct.       I don't recall the specific

  6    date.

  7    Q    Okay.    And do you know when you first became aware of the

  8    HarbourVest claims?

  9    A    I believe it was early in the summer when we filed the

 10    omnibus objection.     It may have been in late spring, shortly

 11    after that.    I don't recall the specific date of the filing.

 12    Q    And before the time of the filing of the omnibus

 13    objection, did Highland educate itself regarding the

 14    HarbourVest proof of claims?

 15    A    I'm sorry, could you say that again?         I didn't quite

 16    understand it.

 17    Q    Before the omnibus objection was filed, did HarbourVest --

 18    I'm sorry, did Highland educate itself on the HarbourVest

 19    proof of claims?

 20    A    Not especially, no.

 21    Q    Okay.    And -- but at some point, Highland did investigate

 22    those proofs of claim, correct?

 23    A    That's correct.

 24    Q    And when would you -- when do you recall that that

 25    investigation began?




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  1    A    I don't recall the date, but the triggering event was

  2    HarbourVest's response to our omnibus objection.

  3    Q    Okay.   And that would have been filed September 11th of

  4    2020?

  5    A    I'll take your representation.        I don't -- I don't recall

  6    the specific date.

  7    Q    Okay.   And so when you began to investigate the

  8    HarbourVest claims, what was your initial reaction?

  9    A    My initial reaction was that the -- the larger claims that

 10    they were asserting -- the fraud in the inducement, the RICO

 11    -- that those claims were, in my view, attorney-made and that

 12    when we dug in and did the work, we saw that HarbourVest

 13    clearly lost north of $50 million on the investment.            We had

 14    just started to uncover the fee issue and saw the risk we had

 15    there.

 16         But I thought the bulk of those claims were attorney-made.

 17    Clever, but attorney-made, as opposed to what I would think

 18    are more legitimate.      And so we started to develop our

 19    defenses around that.

 20    Q    And was your initial reaction that the HarbourVest claims

 21    were largely worthless?

 22    A    I think with respect to the claim around the fees, I

 23    believed there was significant risk.         With respect to the

 24    other claims, I thought our defenses would make them

 25    worthless, yes.




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  1    Q    And did you ever represent to any party that the

  2    HarbourVest claim was worth, at most, $5 million?

  3    A    I think I represented often, including to HarbourVest,

  4    that it was worth nothing.       I don't recall if I specifically

  5    said $5 million.     $5 million would have been a nominal amount

  6    to -- which is litigation costs.        So it may -- it may have

  7    been in my models that I put in that as a settlement amount,

  8    but I -- I thought that there were valid and good defenses to

  9    those larger claims.

 10    Q    And you recognize that HarbourVest was a large,

 11    sophisticated investor, correct?

 12    A    Yes.   I think they manage north of -- right around a

 13    hundred billion dollars.

 14    Q    And you recognize that HarbourVest routinely structured

 15    complex customized investments, correct?

 16    A    I believe that -- I don't know the intricate part of their

 17    businesses, but as a fund of funds who does creative

 18    investments, I think that they do do quite a bit of that.

 19    This, I believe, was their first investment in the CLO space.

 20    Q    And it was not -- or I should say, you did not believe

 21    that HarbourVest was simply a passive investor in HCLOF,

 22    correct?

 23    A    I don't think that that's true, no.

 24    Q    You don't -- you don't believe that you denied their claim

 25    to be a passive investor?




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  1    A    Oh, I think -- I'm sure that in defense of their claims I

  2    would argue that they were -- they were more than a passive

  3    investor.    But it was pretty clear when you look at the

  4    structure of what they invested that there was an intent that

  5    they be passive on their part.        They didn't take a majority

  6    interest.

  7         In fact, Highland made it clear in the structure of the

  8    deal that they couldn't -- it would be hard for them to get a

  9    majority interest because Highland entities would control that

 10    and Dondero-controlled entities or individuals would control

 11    the majority.

 12         I think that they -- they had hoped to be a passive

 13    investor.

 14    Q    But was it not your position that HarbourVest was actually

 15    an active, involved investor?

 16    A    I think our defense was going to be that they knew exactly

 17    what was going on, that they participated, that they were

 18    active, and that, indeed, that they were in and around some of

 19    the subsequent issues in the Acis case.

 20    Q    And you understood that HarbourVest played a material role

 21    in the various outcomes in the Acis bankruptcy case, correct?

 22    A    I don't believe that to be correct, no.

 23    Q    Have you ever made that representation to anyone before?

 24    A    Not -- not that I recall.

 25    Q    Well, do you recall giving statements to a reporter named




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  1    Syed Khaderi?

  2    A      I've never spoken to a reporter named Syed Khaderi in my

  3    life.

  4    Q      Well, did you participate in the preparation of statements

  5    to be given to Syed Khaderi?

  6    A      I've never heard of Syed Khaderi, nor have I participated

  7    in any preparation of statements.        I don't know who that is.

  8                  MR. WILSON:   All right.   I'm going to have Bryan

  9    Assink put on the screen a document.

 10           And Bryan, can you go to Page 7?      Bottom of -- the top of

 11    Page 7.       Well, actually, before you do that, go to the very

 12    top of the document.

 13    BY MR. WILSON:

 14    Q      Now, Mr. Seery, are you familiar with Lucy Bannon?

 15    A      Yes.

 16    Q      And who is Lucy Bannon?

 17    A      She is the Highland public relations person.

 18                  MR. WILSON:   Okay.   Now go back to Page 7.

 19    BY MR. WILSON:

 20    Q      Now, do you -- do you see on your screen an email of

 21    September 14th from Syed Khaderi that says, Hi, Lucy, how are

 22    you?

 23    A      Yes.

 24    Q      Have you seen this email before?

 25    A      Not that I recall, no.




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  1    Q    All right.    It continues on that, I saw the filing on

  2    Friday about HarbourVest claims against Highland for a CLO

  3    investment, and I'm looking to put out a report tomorrow

  4    morning London time.      Ahead of that, I wanted to check if

  5    Highland would like to comment on the matter.

  6                MR. MORRIS:    Your Honor, this is -- the Debtor

  7    respectfully objects.      A, this document is not in evidence.

  8    B, it's rank hearsay.

  9                THE COURT:    Response, Mr. Wilson?

 10                MR. WILSON:    Your Honor, I am attempting to

 11    authenticate this document, but I'm using it in rebuttal to

 12    the testimony that Mr. Seery just offered.

 13                THE COURT:    All right.    I'll allow it.    Overrule the

 14    objection.

 15                MR. WILSON:    All right.    Thank you, Your Honor.

 16    BY MR. WILSON:

 17    Q    All right.    Now, if we -- and oh, that September 14th

 18    date, that was three days after the September 11th date that

 19    we discussed was the date that HarbourVest filed its response

 20    to the omnibus objection, correct?

 21    A    Yes.    If that's the date that they filed it, then I -- if

 22    you're representing that, I concede that the 14th is three

 23    days after the 11th.

 24    Q    All right.    And if you go back to the first page of this,

 25    it looks like, on the following day, Lucy Bannon sends an




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  1    email to you, and is that your email address,

  2    jpseeryjr@gmail.com?

  3    A    That's correct, yes.

  4    Q    And do you recall receiving this email from Lucy Bannon?

  5                 MR. MORRIS:    Your Honor, I renew my objection that

  6    this is hearsay.       He's not rebutting anything that Mr. Seery

  7    testified to.     He testified that he'd never heard of the

  8    gentleman at the bottom of the document.         There's nothing in

  9    this document that rebuts Mr. Seery's testimony at all.

 10                 THE COURT:    Response, Mr. Wilson?

 11                 MR. WILSON:    Well, I'm not -- I'm not trying to rebut

 12    his statement that he hadn't -- that he hadn't heard of Syed

 13    Khaderi.     My rebuttal is attempted to -- attempting to show

 14    that he has made various statements that he denied.

 15                 THE COURT:    I'll overrule the objection.

 16    BY MR. WILSON:

 17    Q    All right.    So, back to this exhibit, Mr. Seery.         You

 18    recall receiving this email from Lucy Bannon on Tuesday,

 19    September 15, 2020?

 20    A    Not specifically.      But to be clear, I recall talking to

 21    Lucy Bannon about the HCMLP dispute with HarbourVest.

 22    Q    Okay.    And --

 23                 MR. WILSON:    Bryan, can you go down to the next page?

 24    Scroll down to where -- the James Seery email.

 25    BY MR. WILSON:




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  1    Q    Do you see this email on your screen that's dated

  2    September 15, 2020 at 10:33 p.m.?

  3    A    Yes, I do.

  4    Q    And do you recall sending this email to Lucy?

  5    A    Not specifically, no.

  6    Q    Well, do you deny that you sent this email to Lucy?

  7    A    It appears to be my email.

  8               MR. WILSON:    Your Honor, we would move to admit this

  9    document into evidence as Dondero Exhibit Letter N.

 10               THE COURT:    Any objections?

 11               MR. MORRIS:    I would consent to the admission of Mr.

 12    Seery's email, but the balance of it ought to be excluded as

 13    hearsay.

 14               THE COURT:    What about that?

 15               MR. WILSON:    Well, Your Honor, I think that this

 16    document -- and I'll get into this in a little more detail in

 17    a second -- but I think this document is a combination of the

 18    work product of Lucy Bannon and Mr. Seery in preparing a

 19    response for the reporter who requested comment from Highland.

 20               THE COURT:    Okay.   I --

 21               MR. MORRIS:    Your Honor, um, --

 22               THE COURT:    Go ahead.

 23               MR. MORRIS:    I just -- I do question how they got

 24    this document, but that's for another day.          That's number one.

 25    Number two, in addition to the hearsay argument, I just --




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  1    relevance grounds.

  2               THE COURT:    Okay.    I'll allow the portion that is the

  3    communication of Seery, that portion of Exhibit N.           All right?

  4               MR. WILSON:    Okay.    With due -- thank you, Your

  5    Honor.   With due respect, I -- to use that portion, I need to

  6    refer to the portion below it, because he says, Good to submit

  7    with your final edit/revisions.        And so we need to know what

  8    those final edit/revisions are, which are contained in the

  9    email directly below that on the document that was four

 10    minutes earlier in time.

 11               THE COURT:    All right.    Fair enough.     That'll be

 12    allowed.

 13               MR. WILSON:    All right.     Thank you, Your Honor.

 14         (James Dondero's Exhibit N is received into evidence as

 15    specified.)

 16               MR. WILSON:    So, Bryan, now can you scroll to the

 17    next page?    Oh, actually, let's just -- let's just stop at the

 18    top -- at the bottom of the page.        What's this statement?

 19    BY MR. WILSON:

 20    Q    So, to be clear, Mr. Seery, when -- in response to Mr.

 21    Khaderi's request for information and comment, you prepared

 22    actually two responses, and one of those was a statement on

 23    the record attributed to a spokesperson for HCMLP or something

 24    along those lines.      And then --

 25               MR. WILSON:    Can you scroll down to that next page?




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  1    BY MR. WILSON:

  2    Q    And this says -- I think part of this got cut off for some

  3    reason, but it looks like the official statement is in

  4    quotation marks.     It says, "We dispute the allegations made in

  5    the filing and believe the underlying claims are invalid and

  6    will be found to be without merit.        Our focus continues to be

  7    treating all valid claims in a transparent, orderly, and

  8    equitable manner, and vigorously disputing meritless in the

  9    court.    That focus will assure that HCMLP's reorganization

 10    process -- progress is towards an efficient and equitable

 11    resolution."

 12         And then below that there's another section of this email

 13    that says, Background/Clarification, Not for Attribution.              And

 14    do you know the purpose of this second section of the

 15    response?

 16    A    Do I know the purpose of that?        Yes.

 17    Q    And what would that purpose be?

 18    A    Ms. Bannon was speaking on background to reporters.            As I

 19    said earlier, I've -- I never heard of the gentleman from

 20    London.   If he's at the bottom of the email, I didn't pay any

 21    mind, never heard of him.       Nor have I heard it since.       Ms.

 22    Bannon didn't ever reference the specific person.

 23         But she is the public relations person.          So, as I

 24    testified earlier, she does communicate with the press.            And

 25    as I previously testified when Mr. Morris questioned me, one




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  1    of our tactics and our defenses for HarbourVest was going to

  2    be that we were going to be very public and aggressive about

  3    the investment and it would have a negative impact or negative

  4    perspective for viewers, in our opinion, about HarbourVest's

  5    investment.

  6    Q    All right.    Well, look with me in the middle of that

  7    paragraph right after the closed parenthetical, where it says,

  8    "But it's important to note the background of HarbourVest's

  9    active and deep involvement in the investment of which it now

 10    complains."

 11         And so it was your position that HarbourVest had an active

 12    and deep involvement in the investment, correct?

 13    A    No.   I don't think that's correct.        Ms. Bannon prepared

 14    the statement, it was a litigation defense on background, and

 15    that's our -- that was our position for this purpose.            It was

 16    not my view that they were active and deeply involved.            They

 17    were certainly involved.      There's no doubt about it.        But they

 18    got all their information, in our estimation and our research,

 19    from Highland.

 20    Q    But in any event, you would agree with me that four

 21    minutes after receiving this email, you approved this

 22    statement to go out to the reporter, correct?

 23    A    No, that's not correct.       That's -- this portion is on

 24    background.    That statement doesn't go out.        The previous

 25    statement was the official statement.         This is the background




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  1    discussion that she would have.        So, no, she was not

  2    authorized in any way whatsoever to send that out.           She was

  3    authorized to have conversations with those general facts.

  4                 MR. WILSON:   Okay.    Bryan, go to the top, or the

  5    bottom of the page immediately preceding that.           That's it.

  6    Yes, that's it right there.

  7    BY MR. WILSON:

  8    Q    Now, you'll see that this email from Lucy Bannon on

  9    September 15, 2020 at 10:29 p.m. starts off, "Jim, let me know

 10    what you think of the below.         And, again, the first would be

 11    on the record and the second will be sent for information

 12    purposes to ensure accuracy, not for attribution."

 13         So the intent was that this -- that this entire statement

 14    be sent to the reporter, correct?

 15    A    I don't believe that's correct.        I think when she goes on

 16    background she doesn't send them a written doc.           It's got to

 17    be clear to the reporter, at least my understanding is that

 18    what on background means -- I've been involved with this

 19    before -- is that typically that's done orally.           I don't know

 20    if she's done it in a written statement before.           I have never

 21    seen that done in a written statement before.          You give the

 22    official statement and then you walk the reporter through your

 23    other views on background.         And you're not quoted.    And it's

 24    usually attributed to a source with knowledge.

 25    Q    Okay.    We'll come back to that in a minute.        The next




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  1    sentence after the one I just read to you --

  2                MR. WILSON:   Go back to where we were on the

  3    background.

  4    BY MR. WILSON:

  5    Q    Now, we just read you the sentence that starts with, "Then

  6    it's important."     The following sentence says, "HarbourVest

  7    was not simply invested in HCLOF as an ignorant,

  8    unsophisticated, passive investor, but was an active and

  9    informed participant in the inception of its investment

 10    through all of the Acis bankruptcy proceedings, and

 11    HarbourVest played a material role in various outcomes related

 12    to that case and its impact on HCLOF."

 13         And is it -- did you not just tell me before we

 14    investigated this document that HarbourVest did not play a

 15    material role in the various outcomes of the Acis bankruptcy?

 16    A    I don't know exactly what I said, but I think that's

 17    correct, after we'd done the research on it, yeah.

 18    Q    But you took the position in this email that you approved

 19    to go out to a reporter that says that -- that HarbourVest was

 20    an active and informed participant in the inception of -- of

 21    its investment through all of the Acis bankruptcy proceedings

 22    and played a material role in various outcomes related to that

 23    case and its impact on HCLOF.       Can we agree with that?

 24    A    Yes.

 25    Q    And then the final sentence of this paragraph says that,




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  1    We believe that neither the facts nor the law support

  2    HarbourVest's, quote, We-were-too-lazy-to-know allegations.

  3         Whose words were those, "We-were-too-lazy-to-know

  4    allegations"?

  5    A    I don't recall.     They may be mine.      It's aggressive the

  6    way I am, so that -- that may well be the case.

  7               MR. WILSON:    All right.     Go -- go down to the next

  8    page.

  9    BY MR. WILSON:

 10    Q    And with respect your comment that that second paragraph

 11    would not have gone to the reporter, look at this email in the

 12    middle of the page from Lucy Bannon to Syed Khaderi, September

 13    16, 2020, at 1:51 a.m.      And --

 14               MR. MORRIS:    Your Honor, this I will object to as

 15    hearsay.   There is no witness here to testify to anything on

 16    this document.

 17               THE COURT:    All right.    How about that?

 18               MR. WILSON:    Well, it's -- well, scroll up just a

 19    little bit.     This email at the top of the page is three

 20    minutes after the one in the middle of the page, where Lucy

 21    Bannon is forwarding this to James Seery, saying, See below

 22    for responses sent to Creditflux.        Will follow up with the

 23    story when it runs or with any other updates.

 24               MR. MORRIS:    Your Honor, these --

 25               MR. WILSON:    So I think this --




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  1               MR. MORRIS:    These documents don't appear on the

  2    witness list.    They're not being offered to impeach anything.

  3    They're just -- he's taking discovery as we sit here.

  4               MR. WILSON:    Your Honor, in response, I'm simply

  5    trying to rebut the statements that Mr. Seery made.            In fact,

  6    he told me just a minute ago that that second paragraph would

  7    not have gone out to the reporter.        However, this email from

  8    Lucy Bannon to Syed Khaderi directly rebuts that statement.

  9               THE COURT:    But your whole purpose in this line of

 10    questioning, with an undisclosed document, is to rebut the

 11    earlier testimony he gave before you even put this exhibit in

 12    front of him.

 13               MR. WILSON:    I'm trying to rebut multiple statements

 14    that Mr. Seery has made today, and I think it -- you know, if

 15    he's going to testify that this information did not go out to

 16    a reporter, I think I'm allowed to rebut that to demonstrate

 17    that it did.

 18               THE COURT:    All right.    Why didn't you disclose this

 19    in advance?    It's feeling less and less like an impeachment

 20    document the more we go through it.

 21               MR. WILSON:    Your Honor, I did not -- I did not

 22    actually have this document at the time we filed our witness

 23    and exhibit list, but I would also say that I didn't have any

 24    purpose to use it if I didn't need it for rebuttal.

 25               THE COURT:    Okay.   First off, you're supposed to




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  1    disclose all exhibits you anticipate using except those for

  2    purposes of impeachment.      Okay?    Not rebuttal, to be

  3    technical.

  4         So, if you didn't disclose this exhibit, the only way you

  5    can use it, subject to other possible objections, is if you're

  6    impeaching a statement.      And I'm just saying I think we're

  7    going beyond trying to impeach the original statement and now

  8    we're trying to impeach statements he's made after seeing

  9    portions of the document.

 10         What did you mean, you didn't have this document in time

 11    to disclose it?

 12                MR. WILSON:    Well, I actually just received this

 13    document this morning, Your Honor.

 14                THE COURT:    Where did you receive it from?

 15                MR. MORRIS:    From who?

 16                MR. WILSON:    I -- I honestly do not know the source

 17    of this document, although it was provided to me by my client.

 18                MR. MORRIS:    Your client being Mr. Dondero?

 19                THE COURT:    Could you answer that, Mr. Wilson?

 20                MR. WILSON:    Yes, that's -- yes, that's correct.

 21                THE COURT:    All right.   I will -- that's --

 22                MR. MORRIS:    Your Honor, I'd like to --

 23                THE COURT:    That's a different can of worms.        But for

 24    now, I sustain the objection.       You're done questioning on this

 25    document.




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  1                 MR. WILSON:   That's fine, Your Honor.      I can move on.

  2    BY MR. WILSON:

  3    Q    Now, Mr. Seery, you would agree with me that whether or

  4    not HarbourVest played an active role in the Acis bankruptcy,

  5    it was kept apprised of the -- of the ongoings in the

  6    bankruptcy?     (Pause.)   I'm sorry.    Could you hear that?

  7    A    Yes.    My understanding is that -- that they were.

  8    Q    And in fact, did Highland have weekly conference calls

  9    with HarbourVest during the Acis bankruptcy to discuss what

 10    was going on in the bankruptcy?

 11    A    I don't know if they were weekly.        I've been told that

 12    they had regular calls updating HarbourVest, yes.

 13    Q    Okay.    And did Highland produce over 40,000 pages of

 14    documents to HarbourVest related to the Acis bankruptcy?

 15    A    I'm not aware of that, no.

 16    Q    Have those documents been provided to you?

 17    A    I hope not.

 18    Q    So, in your role --

 19    A    I'm sorry.    I don't -- I didn't receive 40,000 documents

 20    from anybody.

 21    Q    Well, did you receive any number of documents that were

 22    provided by Highland to HarbourVest during the Acis

 23    bankruptcy?

 24    A    I wasn't involved in this during the Acis bankruptcy.            I'm

 25    sorry.




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  1    Q    Well, I'm referring to, after you became involved in this

  2    Highland bankruptcy, whether you were provided with these

  3    documents that were sent from Highland to HarbourVest.

  4    A    I don't -- I don't know what the documents are.           I've

  5    reviewed tons of documents with respect to the HarbourVest

  6    claims, but I don't know of the documents to which you're

  7    referring.

  8    Q    Okay.   And after you performed your investigation into the

  9    HarbourVest claim, what was your opinion as to the cause in

 10    the reduction in value of HarbourVest's investment in HCLOF?

 11    A    I think the main cause of the reduction in the investment

 12    was the imposition of the Trustee and the failure of Highland

 13    HCLOF and then subsequently with the injunction to reset the

 14    CLOs.

 15         You know, these are -- these are some of the worst-

 16    performing CLOs in the market because they weren't reset.              And

 17    when the liabilities of the CLOs are set at a level to match

 18    assets, and then liability -- the assets run off, and the

 19    asset financings or the new deals come in at much lower

 20    levels, and the obligations of the CLO are not reset, the

 21    arbitrage that is the CLO shrinks.        And that's what happened

 22    to these CLOs.

 23    Q    And during the course of the Acis bankruptcy, Acis and

 24    Brigade were given management responsibilities over the CLOs

 25    and HCLOF, correct?




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  1    A    I believe that the Trustee had the overall, and then

  2    subsequently, with the confirmation of the plan, they took it

  3    over.   So I think that ultimately Mr. Terry had the management

  4    authority, full management authority, and some advice through

  5    Brigade.   But I think technically it wasn't actually during

  6    the Chapter 7.     The Chapter 7 proceeding, I believe that Mr.

  7    Phelan had the actual authority.

  8         (Echoing.)

  9    Q    I'm sorry.    And so your testimony is that Mr. Phelan had

 10    the actual authority but he delegated that authority to Josh

 11    Terry and Brigade?

 12    A    I think that's fair, yes.

 13    Q    And do you know when that occurred?

 14    A    I believe that the control of the CLOs was in July of

 15    2018, and then the ultimate confirmation of the case was at

 16    the very beginning of '19.

 17    Q    So, after being instituted as portfolio manager, and

 18    during the time when Acis and Brigade were working under the

 19    direction of the Trustee, who would have receive the fees for

 20    managing those portfolios?

 21    A    I believe -- I don't know.       I believe the -- that the Acis

 22    estate would have received those fees.

 23    Q    And who -- and so is that your testimony, that prior to

 24    confirmation the Acis estate would have received the

 25    management fees?




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  1    A    I believe that -- I believe they would have if they were

  2    the manager, yeah.

  3    Q    Okay.    And who would have received the fees after

  4    confirmation?

  5    A    Acis.

  6    Q    Okay.    And who would have had the discretion to set the

  7    amount of those management fees?

  8    A    They would be agreed to in the -- in the investment

  9    management agreement.

 10    Q    They would be agreed to?

 11    A    Yes.    As far as I've seen, I've -- I haven't seen

 12    unilateral ability of a manager to set fees at its -- at its

 13    whim.

 14    Q    So is it your understanding that Acis and Brigade ended up

 15    charging substantially more fees than Highland had charged

 16    when it was under Highland's management?

 17    A    I think the fees were -- the fees were -- the fees were

 18    set by the agreement.

 19                 MR. MORRIS:    Your Honor, I just object to the line of

 20    questioning on relevance grounds.        This is a 9019 hearing,

 21    Your Honor.     How -- I just don't think this has any relevance

 22    at all.

 23                 THE COURT:    All right.   Mr. Wilson, what is the

 24    relevance?

 25                 MR. WILSON:    The relevance is that Mr. Seery has




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  1    testified that these Acis CLOs were among the worst-performing

  2    in the market, and frankly, we would agree with that, and I'm

  3    trying to get his understanding as to why, because I think

  4    there's direct relevance in the reason that the value of the

  5    HarbourVest investment diminished.

  6               MR. MORRIS:    I don't think that was his testimony,

  7    Your Honor.    But at the end of the day, Your Honor has heard

  8    the litany of reasons why the Debtor is entering into this

  9    agreement.    I just, I just think it's irrelevant, Your Honor.

 10               THE COURT:    All right.    Mr. Wilson, I barely think

 11    this is relevant.     I mean, I'm going to give you some benefit

 12    of the doubt on that because of, you know, the testimony that

 13    HarbourVest lost $50 million of value and --

 14         (Echoing.)

 15               THE COURT:    -- maybe that shouldn't, you know, lie at

 16    the feet of Highland.      I think the compromise reflects that

 17    they don't -- it doesn't lie entirely at the feet of Highland.

 18    But, you know, maybe two or three more questions.

 19               MR. WILSON:    Yes.   Thank you, Your Honor.       And I

 20    didn't have very much more on this point.          But to be a hundred

 21    percent honest, I can't remember my question right before the

 22    objection.

 23               THE WITNESS:     I think you were asking me about the

 24    fees and somehow alluding or implying that the manager could

 25    unilaterally set fees.




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  1           The fees are set in the investment management contract.

  2    The manager doesn't get to wake up on Wednesday and say, you

  3    know, I'd like another half a basis point.          It doesn't work

  4    that way.

  5    BY MR. WILSON:

  6    Q      But you would agree with me that the fees and expenses

  7    charged to an investment would impact the performance of that

  8    investment in the market?

  9    A      Absolutely.

 10    Q      Would you also agree with me that there was one CLO -- and

 11    I think you referred to it in your direct testimony -- but CLO

 12    7, which continued to be managed by Highland?

 13    A      That's correct.

 14    Q      And is it fair to say that CLO 7 exceeded the performance

 15    of the CLOs that were managed by Acis and Brigade?

 16    A      I think that's fair.    I don't -- I don't recall the

 17    magnitude, but I think it's outperformed those -- those CLOs,

 18    yes.

 19    Q      All right.    Well, thank you.    I want to turn your

 20    attention to the portion of the settlement agreement that

 21    deals with voting of the HarbourVest claim.          How did

 22    HarbourVest's commitment to vote for the plan become a part of

 23    the settlement?

 24    A      Pretty straightforward negotiation.       We -- in negotiating

 25    the settlement, one of the key factors was the cost and




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  1    expense of the litigation, in addition to the risk on the --

  2    on the fees, and whether we could wrap this up in a global

  3    settlement now.     So in my experience, it's fairly typical, we

  4    would try to do this in every settlement, have the settling

  5    party, be that the claimant, agree to support the case and the

  6    plan.

  7         You know, we did not do that with the Committee members,

  8    although we wanted to.      (Echoing) I frankly still wish I had.

  9    Those little -- little bits that have been difficult

 10    (echoing).    The Committee members have a different interest in

 11    (echoing) than their more global interest for creditors at

 12    large, which is more difficult than traditionally in

 13    bankruptcy cases, less likely to have a Committee member, a

 14    sitting Committee member, actually support the (echoing) of

 15    the plan.

 16                THE COURT:    Mr. Wilson, could you be careful to put

 17    your device on mute every time you're not talking?           Because

 18    we're getting some feedback loop from you when Mr. Seery

 19    answers your questions.      Okay?

 20         (Echoing continues.)

 21                THE COURT:    Like right now.    I'm hearing feedback of

 22    my own voice through your speakers.

 23         Right, Mike?      Isn't that what --

 24                A VOICE:    I am, too.

 25                THE COURT:    Yes.   Okay.   So please be sure you put




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  1    your device on mute whenever you are not speaking.           All right.

  2    Go ahead.

  3    BY MR. WILSON:

  4    Q    I mean, I think you just answered this question, but there

  5    was -- there was no similar voting provision in the Acis or

  6    the Redeemer settlements, correct?

  7    A    There is not, no.     And just as a -- by way of explanation,

  8    if it's okay, the reason was my counsel advised against it.                I

  9    did ask for it.

 10    Q    Your counsel advised against putting that voting

 11    requirement in the Acis and Redeemer settlements?

 12    A    For the reasons I stated.       And in my experience, that's

 13    consistent, where sitting members of Committees don't

 14    generally sign up to resolve their own claims and support the

 15    plan because of their larger fiduciary duties to the creditor

 16    body as a whole.

 17    Q    And during the settlement negotiations of the HarbourVest

 18    claim, was this commitment to vote a topic of discussion?

 19    A    Not -- not particularly, no.        It was pretty clear that

 20    HarbourVest, if they were going to agree to the settlement and

 21    the numbers, could see structure.        Obviously, it wanted to

 22    understand what the potential distributions would be under the

 23    plan, but this was not a hotly-negotiated point.

 24    Q    And would you consider HarbourVest's commitment to vote

 25    for the plan an important part of the settlement?




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  1    A      I think it's an important part of the settlement, that the

  2    part of the settlement is the subordinated claim.           We could

  3    put that into presumably any plan.        But our plan does -- does

  4    have a Class 9 for that.       So I think it's a -- it's a part of

  5    the settlement that is important or we wouldn't have included

  6    it.    It clearly wraps everything up and moves us towards

  7    confirmation.

  8    Q      And would you have made the deal with HarbourVest if they

  9    had pushed back on the commitment to vote for the plan?

 10    A      Yeah, I would have.

 11    Q      All right.   Thank you.

 12                MR. WILSON:    No further questions.

 13                THE COURT:    All right.   Mr. Draper, anything from

 14    you?

 15                MR. DRAPER:    Yes, Your Honor.

 16                               CROSS-EXAMINATION

 17    BY MR. DRAPER:

 18    Q      Mr. Seery, I may not understand the settlement, and I

 19    apologize, but the way I think the settlement reads, the

 20    interest that you're acquiring, you have the right to place in

 21    any entity.    Is that my -- is that correct?

 22    A      I don't recall the -- the specifics, but just from a

 23    structural standpoint, we wanted to be able to put it into a

 24    subsidiary as opposed to putting it directly in HCMLP.            If we

 25    couldn't do that, we would -- we would put it into HCMLP.              So




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  1    there wasn't a -- I don't recall the actual specifics, but we

  2    certainly thought about holding that interest in a -- in a

  3    subsidiary, just to have a cleaner hold.

  4    Q    Why aren't you putting it into the Debtor so the Court and

  5    the estate have jurisdiction over that?

  6    A    I think the Court certainly has jurisdiction over an

  7    entity that the estate owns a hundred percent of.           I don't

  8    think that's -- that's even a close call.          So the important --

  9    Q    Now, --

 10    A    Can I finish?

 11    Q    Sure.

 12    A    You asked me why.     To the extent that somebody thinks that

 13    problematic, I will consent to the Court having complete

 14    jurisdiction over it, since I control it a hundred percent.

 15    Q    No.   The real reason is, if I remember correctly, Mr.

 16    Dondero and Judge Lynn filed a motion to have some say or some

 17    information as to sales by subsidiaries, and I think you took

 18    the position that they weren't entitled to it.           And so my

 19    concern was that putting this in a subsidiary in a sense gave

 20    you unfettered control without any review of the item.

 21    A    I don't -- I don't think that's the case where we --

 22    there's a directly-held subsidiary where we own a hundred

 23    percent of it.     I don't think that that's the case.

 24    Q    Okay.   But you're willing to (a) put this into the Debtor,

 25    number one; and number two, have the estate and have the Court




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  1    have complete control over the disposition of it and its

  2    actions, correct?

  3    A    That's not correct, no.

  4    Q    What -- what is incorrect about my statement?

  5    A    The debtor-in-possession has control of its assets.            The

  6    Court doesn't have complete control over its assets.            There's

  7    --

  8    Q    Well, --

  9    A    -- issues -- hold on a second.        This is not -- this is not

 10    a game and a trap.     We put it in a subsidiary for specific

 11    reasons.     You asked why.   I'm giving you the why.       It's not to

 12    hide it from anybody.      We're not going to sell the asset

 13    unless somebody comes up with a great price for it.            We're

 14    going to monetize the assets.       We're going to control HCLOF by

 15    a majority.

 16    Q    But, again, the issue is, if it's in the estate, the Court

 17    has supervision over it.      If it's not in the estate, the Court

 18    has no supervision of it.

 19    A    I don't think that's correct, because the Court has

 20    supervision over the estate, which owns a hundred percent of

 21    the special-purpose entity that will own the shares.

 22    Q    Okay.    All right.   Now, let's talk about the $15 million

 23    that you discussed and the legal fees that were incurred.              Is

 24    that the total amount that was spent, or is -- or is that --

 25    was the total amount $30 million and HarbourVest was only




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  1    responsible for one half of it or functionally took the brunt

  2    of one half of it?

  3    A    I think the total amount is between $15 and $20 million.

  4    I don't have the exact numbers.

  5    Q    So, in fact, the HarbourVest loss due to its ownership

  6    would have been one half of that, not $15 million?

  7    A    Well, the vehicle lost the money.        HarbourVest owned 49.98

  8    percent of it, and Highland controlled the rest.           So if you

  9    allocate it that way, I suppose that would be a -- that's how

 10    you would divide it, in -- roughly in half, yes.

 11    Q    And so HarbourVest's actual dollar loss due to the legal

 12    fees is really the 49-point-whatever percent of $15 million,

 13    not $15 million?

 14    A    I don't know if -- I certainly would argue that.           I don't

 15    think that HarbourVest has that position.

 16    Q    Okay.   Now, in connection -- you were asked a question

 17    about the documentation that was provided by Highland to

 18    HarbourVest both during the bankruptcy of Acis and before.

 19    You have control over the Harbour -- over the Highland server,

 20    correct?

 21    A    I'm sorry.    Can -- can we do two things?        One is, Mr.

 22    Draper, I can't see you, so it would be better if I could see

 23    you during the questioning.

 24    Q    Okay.

 25    A    And could you repeat the question?




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  1    Q    All right.    I'll be happy to.      You were asked a question

  2    about the documentation that was provided by Highland to

  3    HarbourVest during the Acis bankruptcy and meetings that took

  4    place between the parties.       Correct?

  5    A    Yes.

  6    Q    And you stated you were unaware of the material that was

  7    sent over?

  8    A    I think I testified that I didn't receive the 40,000

  9    documents that were mentioned.

 10    Q    Did you do any search or order a search of the Highland

 11    server to see what material was sent over by any party to

 12    HarbourVest to analyze what -- what information they had

 13    available to them and what was provided to them?

 14    A    Yes, we did a search.

 15    Q    And did you review the documentation that was sent over?

 16    A    The -- the documentation that we looked at was very

 17    specific to the investment and to the OM.          So we didn't look

 18    for the -- the supposed 40,000 documents, no.

 19    Q    Did you look for the material that was provided to them

 20    during the Acis bankruptcy and the periodic meetings that you

 21    discussed?    Or that you testified to earlier?

 22    A    The answer is no.

 23    Q    One last question.      I think, and just so I understand your

 24    testimony, you've broken out the HarbourVest claim into two

 25    pieces.     One is the legal fee amount that we've just




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  1    discussed, and I gather the other piece of that is the fraud

  2    in the inducement to enter into the CLO purchase?

  3    A    It's -- it's more -- it's much more than that.

  4    Q    Okay.   Well, let me say it in a different way.          The other

  5    part of it is the losses as a result of the fraud in the

  6    inducement to purchase the interest?

  7    A    I don't think that's -- that's fair.         If I could explain?

  8    Q    Sure.

  9    A    Yeah.   The legal fee piece is pretty clear.         The other

 10    piece starts with fraud in the inducement, but it's extensive

 11    fraud claims.     Fraud in the inducement, as I testified

 12    earlier, would get them around the exculpation and liability

 13    limitations in the OM.      You don't get around all of those with

 14    just the fraud.     And so that's -- that's the split of that

 15    claim.   So the fraud in the inducement contains fraud

 16    allegations.    Even if you didn't have inducement, you'd have

 17    other potential fraud claims.

 18    Q    But let me state it in a different fashion.          But for the

 19    investment, the fraud that you allege wouldn't have occurred?

 20    A    I -- HarbourVest alleges it.

 21    Q    No, I'm just -- in your analysis of the claim, but for the

 22    inducement, the rest of the damages wouldn't have flowed?

 23    A    That's HarbourVest's position, yes.         But for the fraud,

 24    they wouldn't have made the investment.

 25    Q    All right.




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  1                 MR. DRAPER:    I have nothing further for this witness.

  2                 THE COURT:    All right.   Any redirect, Mr. Morris?

  3                 MR. MORRIS:    Just a few very questions, Your Honor.

  4    Just a very few questions.

  5                               REDIRECT EXAMINATION

  6    BY MR. MORRIS:

  7    Q    Mr. Seery,    you were asked about that document that Lucy

  8    prepared.     Do you remember that?

  9    A    Yes, I do.

 10    Q    In your experience, don't defendants often deny liability

 11    before entering into settlements, or even worse, getting

 12    adverse judgments entered against them?

 13    A    Of course.    Yes.

 14    Q    Okay.    And in response to Mr. Draper's questions, isn't

 15    the Guernsey claim another claim that the Debtor took into

 16    account in assessing the potential risks of this settlement?

 17    A    There's a number of claims contained in it.          As I

 18    mentioned earlier, I mentioned the RICO claim.           But there is a

 19    Guernsey shadow director claim, which is not dissimilar to

 20    U.S. claims that somebody effectively controls an enterprise,

 21    notwithstanding them not having the official role.

 22    Q    Okay.

 23                 MR. MORRIS:    I have nothing further, Your Honor.

 24                 THE COURT:    All right.   Any recross on that redirect?

 25    All right.




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  1               MR. WILSON:    No, Your Honor.

  2               MR. DRAPER:    No, Your Honor.

  3               THE COURT:    Thank you.    Mr. Seery, that concludes

  4    your testimony.     Thank you.

  5               THE WITNESS:     Thank you, Your Honor.

  6               THE COURT:    We need to take a bathroom break.         Before

  7    we do, I just want to be clear with what we have left.            As I

  8    understood it, we were having Mr. Pugatch from HarbourVest.

  9    Mr. Morris, will that conclude the Debtor's evidence?

 10    (Pause.)   Okay.    You were on mute, but I think you were saying

 11    yes.

 12               MR. MORRIS:    Sorry.    But to be clear, Debevoise is

 13    going to be putting their witness on the stand.

 14               THE COURT:    Okay.

 15               MR. MORRIS:    But it's part of the evidence in support

 16    of the motion.

 17               THE COURT:    All right.    Do the Objectors have any

 18    witnesses today?

 19               MR. WILSON:    Your Honor, Mr. Dondero intends to

 20    examine Mr. Pugatch, but if he's going to be called by his

 21    counsel, then we will do that as a cross-examination.

 22               THE COURT:    All right.

 23               MR. DRAPER:    This is Douglas Draper.       I have no

 24    witnesses.

 25               THE COURT:    Okay.   All right.     Well, I'm asking --




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  1    well, I do want to ask:       Can we get a time estimate

  2    potentially for Mr. Pugatch?

  3                MS. WEISGERBER:    For my examination, Your Honor,

  4    twenty minutes, perhaps.

  5                THE COURT:    Okay.

  6                MS. WEISGERBER:    Or less.

  7                THE COURT:    All right.    Well, let me tell you what

  8    we're going to do.       We're going to take a ten-minute bathroom

  9    break.   But I have a 1:30 hearing and I have a 2:00 o'clock.

 10    Well, I have a 1:30 docket, multiple matters, and a 2:00

 11    o'clock docket.     So, you know, I'm really intending that we

 12    get finished in time to give me and my staff a little bit of a

 13    lunch break before launching into the 1:30 docket, so I'm

 14    hopeful we can get done around 1:00-ish.          If we can't, then

 15    we're going to have to reconvene, I'm going to say probably

 16    3:00-ish Central time.      So let's hope we can get through

 17    everything.    All right?     Ten-minute break.

 18                THE CLERK:    All rise.

 19         (A recess ensued from 11:58 a.m. until 12:08 p.m.)

 20                THE CLERK:    All rise.

 21                THE COURT:    All right.    Please be seated.     We're

 22    going back on the record in the Highland matters.           Do we have

 23    everyone?     It looks like we do.      Ms. Weisgerber is going to

 24    call the next witness; is that correct?

 25                MS. WEISGERBER:       Yes, Your Honor.   We call Michael




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  1    Pugatch of HarbourVest to the stand.

  2                 THE COURT:    All right.   Mr. Pugatch, if you could

  3    turn on your video and say, "Testing one, two."

  4                 MR. PUGATCH:    Two.

  5                 THE COURT:    All right.   There you are.    Please raise

  6    your right hand.

  7              MICHAEL PUGATCH, HARBOURVEST'S WITNESS, SWORN

  8                 THE COURT:    Thank you.   You may proceed.

  9                 MS. WEISGERBER:    Thank you, Your Honor.

 10                                DIRECT EXAMINATION

 11    BY MS. WEISGERBER:

 12    Q    Good morning.        Can you please state your name for the

 13    record?

 14    A    Sure.     It's Michael Pugatch.

 15    Q    And where do you work, Mr. Pugatch?

 16    A    HarbourVest Partners.

 17    Q    And what is your title?

 18    A    I'm a managing director in our secondary investment

 19    group.

 20    Q    Did HarbourVest file claims in the Highland bankruptcy,

 21    Mr. Pugatch?

 22    A    We did, yes.     Several claims, in fact.

 23    Q    What was the basis for those claims?

 24    A    Yeah.     Among other things, fraudulent inducement based on

 25    misrepresentations and omissions on the part of Highland in




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  1    connection with our original investment, mismanagement at the

  2    HCLOF level, including inappropriate fees that were charged

  3    to investors, among a number of other items as well.

  4    Q    Can you explain what you mean by misrepresentations made

  5    to HarbourVest by Highland?

  6    A    Yeah, sure.     So, you know, based on a number of

  7    statements that were made to us around the litigation

  8    involving Mr. Terry, some of the intentions found, the

  9    structural changes that came to light with respect to HCLOF

 10    and our investment, as well as the fact that the arbitration

 11    award specifically against Mr. Terry would have no impact or

 12    implication on Highland's sale or business.

 13    Q    And can you explain what you mean by omissions made by

 14    Highland to HarbourVest?

 15    A    Sure.   So I would say, really, the implications behind

 16    the structural changes that were made at the time of our

 17    investment into HCLOF.       Also, the intention, clear intentions

 18    that Highland had to never, in fact, pay the arbitration

 19    award that came to light during our due diligence period to

 20    Mr. -- to Mr. Terry as part of the investment.           And

 21    ultimately the -- what Highland went about doing in terms of

 22    stripping assets of Acis that led to the material value

 23    declines and destruction of value that we've experienced

 24    since our investment.

 25    Q    You mentioned a diligence period.         Did HarbourVest




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  1    conduct diligence on the investment?

  2    A    We did.    We conducted very detailed due diligence, as we

  3    do for all of our investments.        That diligence period lasted

  4    several months ahead of our investment decision.

  5    Q    And did HarbourVest conduct that diligence by itself?

  6    A    No.   So, in addition to internal investment professionals

  7    at HarbourVest, we engage with outside advisors, both

  8    consultants as well as legal advisors, in connection with

  9    that due diligence.

 10    Q    And did Highland answer all of HarbourVest's questions

 11    during that diligence period?

 12    A    They did.    And they were numerous.       But yes, they

 13    answered all the questions that we had for them.

 14    Q    Was the Terry dispute part of HarbourVest's diligence?

 15    A    It was.    That came up as one of the outstanding items of

 16    litigation as part of our due diligence.

 17    Q    I'm going to ask my colleague to pull up on the screen an

 18    exhibit that was on our exhibit list as Items -- Exhibits 34

 19    and 35.    It's an August 15, 2017 email from Brad Eden to

 20    Dustin Willard.     Mr. Pugatch, do you recognize this document?

 21    A    I do, yes.

 22    Q    And what is it?

 23    A    This was an email sent to us during our due diligence

 24    period in response to a request for more information on the

 25    outstanding litigation that Highland was involved with.




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   1               MS. WEISGERBER:    And if my colleague can just scroll

   2   to the attachment to that email.

   3   BY MS. WEISGERBER:

   4   Q    And do you recall the attachment as well, Mr. Pugatch?

   5   A    Yes, I do.

   6               MS. WEISGERBER:    And if you can scroll back up to the

   7   first email.

   8   BY MS. WEISGERBER:

   9   Q    Who is Dustin Willard?

  10   A    Yes.     Dustin is a colleague of mine at HarbourVest who

  11   worked closely with me on this investment.

  12   Q    And you said that this document was shared with

  13   HarbourVest during the diligence period before the HCLOF

  14   investment?

  15   A    It was, correct.

  16   Q    Is it typical during diligence to receive a description

  17   of litigation such as this?

  18   A    It is.    It's a question that we always ask.          Certainly a

  19   component of our diligence to understand any outstanding

  20   litigation on the part of our counterparty or manager that

  21   we're investing in.

  22               MS. WEISGERBER:    Your Honor, I'd move to offer this

  23   exhibit into evidence.

  24               THE COURT:    Any objection?

  25               MR. DRAPER:   No objection, Your Honor.




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   1               MR. MORRIS:   No objection from the Debtor, Your

   2   Honor.

   3               THE COURT:    All right.    What is the letter or number

   4   for this exhibit?

   5               MS. WEISGERBER:    It's HarbourVest Exhibit 34.

   6               THE COURT:    All right.    So HarbourVest Exhibit 34 is

   7   admitted.

   8        (HarbourVest's Exhibit 34 is received into evidence.)

   9               THE COURT:    And I need to be clear where it appears

  10   on the docket.     Can someone tell me?

  11               MS. WEISGERBER:    So, it's identified on our exhibit

  12   list, not -- it's not attached to the exhibits.            It is on the

  13   docket.     We were -- when we initially filed the exhibit list,

  14   we were working out confidentiality issues.           But it was

  15   subsequently filed with our reply last night.            It's at Docket

  16   No. 1735 --

  17               THE COURT:    All right.

  18               MS. WEISGERBER:    -- at Pages A -- Pages A345 to A350.

  19               THE COURT:    All right.    Very well.    Thank you.

  20   BY MS. WEISGERBER:

  21   Q    Mr. Pugatch, we'll just scroll down to the second page of

  22   the attachment.      Can you describe generally what the

  23   litigation says regarding the Terry dispute?

  24   A    Yes.    Generally speaking, this dispute was described as

  25   an employee dispute, employment agreement dispute, with Mr.




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   1   Terry, who was a former employee of Highland involved in

   2   their CLO business, and is described by Highland to us really

   3   having to do with a series of false claims, in their opinion,

   4   but having to do with a disgruntled former employee.

   5   Q    And did it strike you as an unusual or significant

   6   dispute?

   7   A    No.    I would say we often -- we'll see, you know, former

   8   employees with, you know, claims against a former employer in

   9   connection with wrongful termination.          I wouldn't say it's

  10   extremely common, but certainly not entirely out of the

  11   ordinary.    And based on the explanations that we'd received

  12   from Highland, seemed to be more of an ordinary-course type

  13   former employee litigation suit.

  14   Q    Based on what you now know about the Terry dispute, do

  15   you believe that this was an adequate disclosure regarding

  16   the dispute?

  17   A    I would say very clearly not, you know, based on the

  18   facts that came to light subsequently, the various rulings in

  19   connection with the Acis bankruptcy case.           What was very

  20   clearly not stated are the actual facts and implications of

  21   the ongoing litigation with Mr. Terry.

  22              MS. WEISGERBER:     I'd ask my colleague to put up the

  23   next exhibit.     Okay.    So, this is on a HarbourVest exhibit

  24   list, which is Document No. 1723.         It's Exhibit 36 on that.

  25   Same issue with respect to initially not filed, but it is on




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   1   the docket at our response last evening at ECF No. 1735 at

   2   Page A351.

   3              THE COURT:    Page what?

   4              MS. WEISGERBER:     A351.

   5              THE COURT:    A351.    Thank you.

   6              MS. WEISGERBER:     You're welcome.

   7   BY MS. WEISGERBER:

   8   Q    Mr. Pugatch, I just put up a November 29, 2017 email from

   9   Hunter Covitz to Dustin Willard, Michael Pugatch, and Nick

  10   Bellisario.     Do you recall this document?

  11   A    I do, yes.

  12   Q    And what is this document?

  13   A    This was an email sent to us by Highland a couple weeks

  14   after we closed on our investment on the (inaudible) in

  15   response to a Wall Street Journal article that had come out

  16   regarding Highland, a number of actions that they had taken,

  17   and what Highland was articulating to us, a number of false

  18   claims that had been made about Highland's prior actions, and

  19   specifically trying to explain some of that and also share

  20   with HarbourVest a letter that was being sent to the editor

  21   of the Wall Street Journal highlighting, in their view, some

  22   of the inaccuracies around the reporting.

  23   Q    And did you receive this document?

  24   A    We did, yes.

  25              MS. WEISGERBER:     I'd move to offer this, so




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   1   HarbourVest Exhibit 36, into evidence.

   2               THE COURT:    Any objections?

   3               MR. WILSON:   Your Honor, John Wilson.        I would object

   4   as to the relevance of this document.

   5               THE COURT:    All right.    What's your response?

   6               MS. WEISGERBER:    Your Honor, it shows

   7   misrepresentations that the witness will testify how it

   8   relates back to prior representations prior to HarbourVest's

   9   investment, as well as misrepresentations at that time.

  10               THE COURT:    Okay.   I overrule the objection.       I'm

  11   going to admit it.

  12        (HarbourVest's Exhibit 36 is received into evidence.)

  13   BY MS. WEISGERBER:

  14   Q    Mr. Pugatch, can you describe generally -- we spoke about

  15   this a little bit -- just what this communication from

  16   Highland was conveying to HarbourVest at the time?

  17   A    Yes.    Specifically, again, responding to this Wall Street

  18   Journal article that had been published, trying to defend,

  19   again, Highland's own views why there were inaccuracies in

  20   the reporting.     But importantly, from our perspective, trying

  21   to reassure us as to the fact that, you know, these

  22   accusations would have no bearing and any results from it

  23   would have no bearing on their ongoing business or

  24   partnership or the investment that we had made in HCLOF.

  25               MS. WEISGERBER:    And if you can scroll to the second




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   1   page.

   2   BY MS. WEISGERBER:

   3   Q    We'll just look at the last paragraph of another email

   4   from Mr. Covitz.      Can you just read that first sentence of

   5   the last paragraph?

   6   A    Sure.    (reading)    While the dispute has no impact on our

   7   investment activities, as always, we welcome any questions

   8   you may have.

   9   Q    Mr. Pugatch, was this email and the discussion regarding

  10   the Terry dispute consistent with the representations made to

  11   you prior to HarbourVest's investment into HCLOF?

  12   A    It was, yes.      Both the message, the lack of any impact

  13   that ultimately the dispute with Mr. Terry, the arbitration

  14   award would have around Highland's ongoing CLO business, or

  15   HCLOF specifically, was all, you know, very clear in this

  16   document, but all consistent with the representations that

  17   had been made to us leading up to our investment in the

  18   middle of November 2017 as well.

  19   Q    Thank you.

  20              MS. WEISGERBER:     And you can take down the exhibit,

  21   Emily.    Thank you.

  22   BY MS. WEISGERBER:

  23   Q    You mentioned, Mr. Pugatch, an arbitration award to Mr.

  24   Terry.    How did you learn about that arbitration award?

  25   A    That was initially disclosed to us by Highland as we were




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   1   in the late stages of our diligence and closing process on

   2   the investment into HCLOF.

   3   Q    And generally, what did Highland tell you about the

   4   arbitration award?

   5   A    We were aware of its existence.         We were aware of the

   6   quantum of the award, I think it was around an $8 million

   7   arbitration award in the favor of Mr. Terry, and that was

   8   following the litigation around the wrongful termination and

   9   employee dispute that Highland had described to us

  10   previously.

  11   Q    Did you ask to see a copy of the arbitration award?

  12   A    No, we did not.

  13   Q    Why not?

  14   A    Ultimately, we -- you know, the explanations that

  15   Highland had provided to us all seemed very reasonable.              We

  16   relied on their representations that this was, again, nothing

  17   more than a dispute with a former disgruntled employee, in

  18   their words, that had no bearing or, you know, would not have

  19   any bearing on our investment in HCLOF or their ongoing CLO

  20   business, which all very clearly was not the case, as

  21   we've -- as we've learned over the last several years.

  22   Q    Following learning about the arbitration award, did

  23   HarbourVest do other diligence?

  24   A    We did.    So, in addition to asking questions related to

  25   the arbitration award and any impact that it would have, we




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   1   also spent some time diligencing a couple of structural

   2   changes that were proposed by Highland, and, in fact, ended

   3   up delaying the closing of our investment by about two weeks

   4   as we vetted some of those structural changes that Highland

   5   had proposed.     Vetted those both, you know, internally with

   6   Highland directly and with external counsel in order to make

   7   sure that those structural changes were in fact legally sound

   8   in ultimately making our investment.

   9   Q    And were those changes proposed following the arbitration

  10   award?

  11   A    They were, yes.

  12   Q    Did Highland tell you the reason for the structural

  13   changes?

  14   A    Yeah.    So, so some of this -- and specifically, this

  15   involved a change of the portfolio manager at the HCLOF level

  16   that was really in connection with a rebranding as Highland

  17   was going through a rebuild of its CLO business and wanting

  18   to align, from a brand perspective, their business on an

  19   ongoing basis with the Highland brand as opposed to the Acis

  20   brand.     But more specifically, in the case of a late change

  21   from a structured standpoint, the -- part of the intention

  22   and the investment thesis of HCLOF was to pursue a reset, a

  23   refinancing of all the underlying CLOs as they approached the

  24   end of their investment period or came out of their

  25   investment period.




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   1        And in connection with that, in light of the arbitration

   2   award, Highland's view was that there may be difficulties in

   3   the market in resetting certain of those Acis CLOs with the

   4   Acis brand associated with them, given, again, the existence

   5   of the arbitration award and concerns in the market around

   6   the Acis brand reputation.

   7   Q    And what did they tell you was the market view of Acis,

   8   or the Acis brand?

   9   A    Yeah.     Their view or their concern was that the, you

  10   know, because of the existence of that arbitration award, the

  11   brand would be viewed as toxic.

  12   Q    Didn't this put you on notice that perhaps there was

  13   something wrong with the structural changes?

  14   A    I mean, we -- I mean, short answer, no.           We ultimately

  15   asked questions, we diligenced the legal structure, but

  16   relied on the representations that were made to us by

  17   Highland around the rationale for the structural changes,

  18   that these are all changes that were within a Highland-

  19   managed vehicle or sat below the vehicle that we were

  20   investing in, and so ultimately were in Highland's purview,

  21   was the representations that we relied on.

  22   Q    And did HarbourVest alone do that diligence of the

  23   structural changes?

  24   A    So, no.    I mean, in connection with the diligence that we

  25   did internally and with Highland directly, we engaged with




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   1   outside counsel who was working with us at the time to vet

   2   those structural changes as well.

   3   Q    Did HarbourVest rely on Highland's representations

   4   regarding the arbitration award and the structural changes in

   5   making its investment in HCLOF?

   6   A    We did, absolutely.

   7   Q    If Highland had disclosed the nature of the structural

   8   changes, of removing Acis as the portfolio manager and

   9   related transfers, would HarbourVest have proceeded with its

  10   investment?

  11   A    Definitively, no, we would not have.

  12   Q    Why not?

  13   A    I think the reality is if we had understood the intent,

  14   you know, that Highland was ultimately undertaking here, we

  15   would not have wanted to be any part of this, and certainly

  16   getting dragged into all of this, the hassle, the value

  17   destruction that we've seen on behalf of the investors and

  18   the funds that we manage.        And I would say, lastly, we just

  19   full stop would not have done business with a firm who

  20   engages with this type of behavior, had we actually known the

  21   truth.

  22   Q    Mr. Pugatch, are you familiar with the bankruptcy that

  23   followed of Acis?

  24   A    Yes.

  25   Q    And what was your -- or, did HarbourVest participate in




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   1   that bankruptcy?

   2   A    So, initially, no.       Subsequently, we ended up getting

   3   dragged into that on account of a number of misstatements by

   4   Highland about the role that HarbourVest had played as part

   5   of our investment into HCLOF and some of that structure and

   6   the structural changes that I alluded to.

   7   Q    How did HarbourVest learn about those misstatements in

   8   the bankruptcy about HarbourVest's role?

   9   A    So, ultimately, those came to light on -- you know, on

  10   account of the ongoing proceedings within the Acis bankruptcy

  11   process, and specifically brought to light to us by the Acis

  12   trustee at the time, who decided to pursue, you know, further

  13   diligence or discovery around the claims that Highland had

  14   made around HarbourVest's involvement in those changes.

  15   Q    And what is your understanding of what the allegations

  16   were that caused the Acis trustee to investigate HarbourVest?

  17   A    Sure.    So, you know, our understanding was that Highland

  18   had made statements, again, false statements that HarbourVest

  19   had actually instructed some of those structural changes,

  20   that we were the ones that had said that we would not do

  21   business with Acis and had ordered some of the underlying

  22   transfer of assets or, again, structural changes, that, you

  23   know, very clearly I would say were not the case.             Also, that

  24   HarbourVest was -- was calling the shots as it relates to any

  25   of the ongoing management or future resets of the CLOs.




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   1   Q    Did HarbourVest instruct any of those structural changes

   2   or transfers to occur?

   3   A    We did not.     Absolutely not.

   4   Q    Why didn't HarbourVest itself appear in the Acis

   5   bankruptcy and file a claim?

   6   A    Yeah.    HarbourVest's role, again, in HCLOF, we were a

   7   passive investor in a Highland-managed company.            We had no

   8   direct interaction with or relationship with Acis.             There was

   9   really no reason for us to be directly involved until we were

  10   subsequently dragged into involvement on account of those

  11   misstatements.     And then at that point our focus really

  12   pivoted to, you know, whether we needed to defend ourselves

  13   against those accusations that had been made by Highland and

  14   after a request for further information in discovery by the

  15   Acis trustee.

  16   Q    Did HCLOF participate in the Acis bankruptcy?

  17   A    They did, yes.

  18   Q    Did HCLOF incur fees for participating in the Acis

  19   bankruptcy?

  20   A    Yes.    In fact, very meaningful fees, to the tune of well

  21   in excess of $15 million of legal fees, as we understand it,

  22   that have been incurred, largely in connection with the

  23   ongoing Acis bankruptcy and Highland's continued pursuit of

  24   and in connection with the litigation with Mr. Terry, which

  25   we firmly believe was entirely inappropriate that HCLOF and




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   1   ultimately investors in HCLOF bear those expenses, which were

   2   not just expenses of HCLOF but of Highland and a number of

   3   other Highland affiliates.

   4   Q    Do those expenses form a basis of separate claims filed

   5   by HarbourVest against Highland?

   6   A    They do, yes.     One of the multiple claims that we had

   7   filed against Highland.

   8   Q    And a few more questions, just for the record, Mr.

   9   Pugatch.     How much did HarbourVest initially invest in HCLOF?

  10   A    Sure.    So, our initial investment in November of 2017 was

  11   right about $73-1/2 million, I believe.

  12   Q    Did HarbourVest invest any additional money in HCLOF?

  13   A    We did.    There was a subsequent capital call investment

  14   of about $5 million, bringing our total investment to just

  15   under $80 million in aggregate.

  16   Q    When HarbourVest initially made the investment, did it

  17   anticipate making a profit on it?

  18   A    We did, yes.

  19   Q    How much did HarbourVest anticipate earning from the

  20   investment?

  21   A    Yeah.     So, our -- based on the original $73-1/2 million

  22   investment, we had expected a total return of about $137

  23   million on that -- on that investment.

  24   Q    What was that projection based on?

  25   A    So, that projection was based on materials that we had




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   1   received from Highland, their internal projection models on

   2   the future performance of the underlying CLOs that we were

   3   acquiring exposure to through our investment in HCLOF, and

   4   was one of the inputs or formed the basis in connection with

   5   our diligence that we ultimately ran different sensitivities

   6   -- projections around and helped employ -- helped inform our

   7   investment thesis.

   8   Q    Do you know the current value of HarbourVest's investment

   9   in HCLOF?

  10   A    Yes.    The current value is right around $22-1/2 million.

  11   Q    So roughly how much has the investment itself decreased

  12   from HarbourVest's initial investment?

  13   A    So, net of what was about $4-1/2 million of distributions

  14   that we received early on in the investment, we've lost, to

  15   date, in excess of $50 million on our original investment.

  16   Q    And just for -- to close out, Mr. Pugatch, knowing all

  17   that you know, if HarbourVest had known that -- about the

  18   nature of the transfers by Acis or Highland's intent with

  19   respect to the arbitration award, would HarbourVest have made

  20   this investment?

  21   A    No.    The reality is, had we known the truth, or even had

  22   a sense of the truth, the true intentions behind some of

  23   those transfers and ultimately what would have happened, we

  24   never would have made this investment, full stop.

  25   Q    Thank you, Mr. Pugatch.




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   1              THE COURT:    All right.     I didn't hear you, Ms.

   2   Weisgerber.     Do you pass the witness?

   3              MS. WEISGERBER:     Yes, I pass the witness.

   4              THE COURT:    All right.     Thank you.

   5        Mr. Morris, any examination from you?

   6              MR. MORRIS:    No, thank you, Your Honor.

   7              THE COURT:    All right.

   8        (Interruption.)

   9              THE COURT:    All right.     I'm not sure whose voice that

  10   was, but please, again, mute your devices when you're not

  11   talking.

  12        Any cross-examination of Mr. Pugatch?           I'll start with

  13   you, Mr. Wilson.

  14              MR. WILSON:    Yes, Your Honor.

  15              THE COURT:    Okay.

  16                              CROSS-EXAMINATION

  17   BY MR. WILSON:

  18   Q      How are you -- I guess we're afternoon now.           How are you

  19   this afternoon, Mr. Pugatch?

  20   A    I'm doing well.      Yourself?

  21   Q    I'm doing well as well.        Do you recall that on Monday of

  22   this week I took your deposition?

  23   A    Yes, I do.

  24   Q    And so you understand that my name is John Wilson and I

  25   represent Jim Dondero, who has filed an objection to the 9019




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   1   motion filed by the Debtor?

   2        I've got a few questions for you today.           Has HarbourVest

   3   been around for over 35 years?

   4   A    We have, yes.

   5   Q    And does HarbourVest have ten offices around the world?

   6   A    Correct, yes.

   7   Q    And does HarbourVest employ over 150 investment

   8   professionals?

   9   A    Yes.

  10   Q    Does HarbourVest have over $74 billion in assets under

  11   management?

  12   A    Correct, yes.

  13   Q    And is HarbourVest's client base largely comprised of

  14   institutional investors?

  15   A    Also correct.

  16   Q    And you would agree with me that HarbourVest is a

  17   sophisticated investor, right?

  18   A    I would, yes.

  19   Q    How long have you worked for HarbourVest?

  20   A    I've been employed by HarbourVest for 17 years now.

  21   Q    And how long have you been a managing director?

  22   A    I've been a managing director for approximately six

  23   years.

  24   Q    And you were, in fact, the managing director for the

  25   investment that HarbourVest made in Highland CLO Funding,




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   1   Ltd., which has been referred to today as HCLOF, correct?

   2   A    I was, correct.

   3   Q    And HarbourVest, I think you just testified, invested

   4   approximately $73 million as its initial investment in HCLOF?

   5   A    Yes, correct.

   6   Q    And before HarbourVest made that investment, it had made

   7   many investments of this type, correct?

   8   A    Yeah.    We've made hundreds of investments into

   9   partnerships over our history, correct.

  10   Q    So HarbourVest was well-experienced in evaluating and

  11   deciding whether to invest in large investments, correct?

  12   A    It was, yes.

  13   Q    Now, in your -- and by your, I mean HarbourVest -- in the

  14   response to the Debtor's omnibus objection, it says that by

  15   summer 2017 HarbourVest was engaged in preliminary

  16   discussions with Highland regarding the investment.             Is that

  17   a correct statement?

  18   A    Correct, yes.

  19   Q    And, in fact, those talks began in the second quarter of

  20   2017, correct?

  21   A    Yes.

  22   Q    And so the investment closed ultimately on November 15th,

  23   2017?

  24   A    Yes, that's correct.

  25   Q    So it's fair to say that HarbourVest considered and




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   1   evaluated this transaction for over six months before

   2   investing its $73 million, right?

   3   A    From the time of the initial conversations that we had

   4   with Highland, yes.

   5   Q    And one of the reasons that it took over six months to

   6   complete the investment is that HarbourVest performs due

   7   diligence before it makes an investment, correct?

   8   A    Correct.

   9   Q    And when you're performing due diligence -- well, first

  10   off, you would agree with me that that's a common practice

  11   amongst sophisticated investors such as HarbourVest, correct?

  12   A    To perform due diligence?

  13   Q    Yes.

  14   A    Yes.

  15   Q    And describe -- describe what HarbourVest does in a

  16   general sense when it performs its due diligence.

  17   A    Sure.    So, we spend time with the manager -- in this

  18   case, Highland -- certainly around the investment thesis, the

  19   opportunity, receive materials around the underlying assets.

  20   We take that and perform our own independent due diligence

  21   around the value of those assets, perform due diligence on

  22   the manager itself, the go-forward opportunity.            In many

  23   cases, and certainly in this case, engage with outside

  24   advisors to assist with that due diligence.           It's a very

  25   robust and thorough process.




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   1   Q    And by outside advisors, are you referring to the outside

   2   counsel that you testified about earlier?

   3   A    Yes.    Both outside counsel and outside consultants.

   4   Q    Okay.    And so did you say that it's typical to engage

   5   outside counsel when performing due diligence?

   6   A    Yes.

   7   Q    And which outside counsel did you retain with respect to

   8   this due diligence?

   9   A    Debevoise and Plimpton as well as Milbank.

  10   Q    And during the course of HarbourVest's due diligence, did

  11   it identify some items of concern?

  12   A    As with any investment, there are always items that are

  13   identified that require further diligence, risks that are

  14   identified that we look to mitigate through our due

  15   diligence, et cetera.

  16   Q    And if Harbour -- I'm sorry, did you say something else?

  17   A    No.

  18   Q    You were finished?      Okay.    Now, if HarbourVest identifies

  19   an item of concern, is it typical to request additional

  20   information regarding those items of concern?

  21   A    It is, yes.

  22   Q    And so that actually happened with respect to the HCLOF

  23   investment, correct?

  24   A    In certain cases, yes.

  25   Q    HarbourVest identified several litigation matters that it




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   1   had questions about, correct?

   2   A    Correct.    As we would with any investment.

   3   Q    And it went back to Highland and asked them to explain

   4   their position on those litigation matters?

   5   A    Correct.

   6   Q    And one of those litigation matters was the Joshua Terry

   7   litigation, correct?

   8   A    Yes.

   9   Q    And at the time that HarbourVest was considering this

  10   investment, beginning in the second quarter and continuing

  11   through the summer, that Josh Terry litigation had not

  12   resulted in an award or a final judgment, correct?

  13   A    Correct.

  14   Q    And I think we looked earlier at a document that your

  15   counsel admitted as HarbourVest Exhibits 34 and 35.             There

  16   was an email from a HarbourVest -- or, I'm sorry, from a

  17   Highland representative to a HarbourVest representative that

  18   was discussing Highland's position on the litigation,

  19   including the Terry litigation, correct?

  20   A    Are you referring to the document that we looked at

  21   earlier?

  22   Q    I am.    And I can put it on the screen if we need to.

  23   A    No.    Right, I recall that, and yes, that's correct.

  24   Q    Okay.    And just to be clear, that document, which stated

  25   Highland's positions on the -- and summaries of the




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   1   litigation, was issued months before the arbitration award to

   2   Josh Terry, correct?

   3   A    I don't remember the exact timing, but it was certainly

   4   during our due diligence period and prior to the arbitration

   5   award, yes.

   6   Q    Well, it seems to me that that email that you -- your

   7   counsel admitted as an exhibit was issued in August of 2017.

   8   Does that sound right to you?

   9   A    If that's what the email said, yes.

  10   Q    And if the Terry arbitration award came out in October,

  11   then you would agree with me that that is several months

  12   prior to the -- or at least two months prior to the

  13   arbitration award?

  14   A    Yes.

  15   Q    And so when HarbourVest made requests of Highland to

  16   provide information regarding its items of concern, Highland

  17   complied with those requests, correct?

  18   A    It did, correct.

  19   Q    And was there ever a time when HarbourVest requested

  20   Highland to provide information and that information was not

  21   provided?

  22   A    Our requests for information, or at least, you know,

  23   responses or color to a question, were always met either

  24   with, you know, written or verbal communication back to us,

  25   yeah.




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   1   Q    And you would agree with me that, in fact, HarbourVest

   2   delayed the closing of the investment by two weeks to

   3   continue its due diligence, correct?

   4   A    Correct, related to the structural changes that were made

   5   close to closing.        That's right.

   6   Q    And after conducting that due diligence, HarbourVest

   7   satisfied itself that the investment was sound?

   8   A    That the legal structure that had been put in place in

   9   connection with those proposed changes by Highland was -- was

  10   legally sound, yes, and on the back of, again, statements and

  11   misrepresentations on the part of Highland around the nature

  12   and potential impact to their ongoing CLO business and HCLOF.

  13               MR. WILSON:    Well, I'm going to object to the latter

  14   part of your response as nonresponsive.

  15               THE COURT:    Sustained.

  16   BY MR. WILSON:

  17   Q    Now, after you conducted the due diligence, HarbourVest

  18   made the investment of $73 million on November 15th, 2017,

  19   correct?

  20   A    Correct.

  21   Q    And so I think you testified earlier that prior to that

  22   investment HarbourVest had become aware that that Josh Terry

  23   litigation had resulted in an arbitration award, correct?

  24   A    Yes.

  25   Q    But I think you've also testified that HarbourVest did




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   1   not request that Highland provide a copy of the arbitration

   2   award, correct?

   3   A    That's correct.

   4   Q    And you further testified that you were represented by

   5   outside counsel at the time, correct?

   6   A    Correct.

   7   Q    And as of Monday of this week, you had not reviewed that

   8   arbitration award; is that correct?

   9   A    That's correct.

  10   Q    Have you reviewed that arbitration award since Monday of

  11   this week?

  12   A    I have not.

  13   Q    But in any event, you testified that Highland told you

  14   about the award?

  15   A    Yes.

  16   Q    And they told you the amount of the award?

  17   A    Yes.

  18   Q    And then they told you that the award had been converted

  19   to a judgment?

  20   A    When you say the award had been converted to a judgment,

  21   can you be more specific?

  22   Q    Well, I don't know how familiar you are with the

  23   litigation process, but in this instance, that award was

  24   taken to a court and the court entered a judgment on the

  25   arbitration award.      Did you -- were you aware of that?




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   1   A    I don't recall the specific legal terms of judgment

   2   against it.     I was award of the existence of the arbitration

   3   award and the -- and the obligation for Highland to comply

   4   with that arbitration award.

   5   Q    And HarbourVest did not make an appearance in the Acis

   6   bankruptcy, right?

   7   A    We did not.

   8   Q    But you were aware of the Acis bankruptcy, correct?

   9   A    Yes.

  10   Q    And you were kept apprised of the Acis bankruptcy by

  11   Highland individuals, correct?

  12   A    We had conversations with a couple of Highland

  13   individuals throughout the Acis bankruptcy process, yes.

  14   Q    Right.    And in fact, you testified that you participated

  15   in regular conference calls with Highland regarding that

  16   bankruptcy?

  17   A    That's correct, yes.

  18   Q    And do you recall having been provided with over 40,000

  19   documents by Highland related to the Acis bankruptcy?

  20   A    I do not recall that, no.

  21   Q    Would those documents have been provided to your outside

  22   counsel, had you received them?

  23   A    I don't know the answer to that.

  24   Q    Did the outside counsel that represented you in the due

  25   diligence continue to represent you throughout the Acis




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   1   bankruptcy?

   2   A    They did.     One of the counsels did, correct.

   3   Q    And which counsel was that?

   4   A    Debevoise.

   5   Q    So was your counsel actively involved with monitoring the

   6   Acis bankruptcy?

   7   A    They were, yes, particularly after we were ultimately

   8   accused of having something to do with the original structure

   9   and -- as a result of misstatements by Highland.

  10   Q    Did your counsel attend hearings in the Acis bankruptcy?

  11   A    I don't recall.

  12   Q    Are you familiar with the PACER system?

  13   A    I am not.

  14   Q    Now, I think that HarbourVest has been described as a

  15   passive investor.      You recall that description of HarbourVest

  16   in this instance?

  17   A    Yes.

  18   Q    But, in fact, HarbourVest invested substantial assets

  19   such that it owned a 49.98 percent share of HCLOF.             Would you

  20   agree with that?

  21   A    That's correct.

  22   Q    And in fact, the next largest investor was CLO Holdco,

  23   which owned 49.02 percent of the shares, correct?

  24   A    That sounds right.

  25   Q    And there was an advisory board that was created pursuant




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   1   to the formation documents of this investment, correct?

   2   A    That's correct.

   3   Q    And in fact, that advisory board only had two members,

   4   and one was a representative of HarbourVest and one was a

   5   representative of CLO Holdco, correct?

   6   A    Correct.

   7   Q    And the advisor -- I'm sorry, the portfolio manager was

   8   not allowed to disregard the recommendations of the advisory

   9   board, correct?

  10   A    With respect to the limited set of items that the

  11   advisory board could opine on, that is correct.

  12   Q    All right.     I want to go over a couple of the

  13   misrepresentations that HarbourVest has identified in its

  14   filings related to its claim.         The first one is -- and just

  15   for the record, I'm reading from Docket No. 1057 filed on

  16   September 11, 2020, HarbourVest Response to Debtor's First

  17   Omnibus Objection.

  18        But the first misrepresentation identified in that

  19   document says that Highland never informed HarbourVest that

  20   Highland had no intention of paying the arbitration award.

  21   And was -- was Highland obligated to pay the Josh Terry

  22   arbitration award against Acis?

  23              MR. MORRIS:    Objection to the question to the extent

  24   it calls for a legal conclusion.

  25              THE COURT:    Sustained.




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   1              MS. WEISGERBER:     Join in that objection.

   2              THE COURT:    Sustained.     I think --

   3   BY MR. WILSON:

   4   Q    Your understanding was --

   5              MR. WILSON:    I'm sorry, Judge?

   6              THE COURT:    I sustained the objection as calling for

   7   a legal conclusion.      So, next question.

   8              MR. WILSON:    Yes, I -- I heard that.       Thank you, Your

   9   Honor.

  10   BY MR. WILSON:

  11   Q    In your understanding, was Highland responsible for

  12   paying the arbitration award to Josh Terry?

  13   A    My understanding is on the account of the fact that Acis

  14   --

  15              MS. WEISGERBER:     Objection, Your Honor.       Objection,

  16   Your Honor, same basis.

  17              THE COURT:    Sustained.     It was essentially the same

  18   question.

  19              MR. WILSON:    Well, Your Honor, I didn't ask --

  20              THE COURT:    It was essentially the same question, Mr.

  21   Wilson.     Move on.

  22              MR. WILSON:    Okay.

  23   BY MR. WILSON:

  24   Q    The next misrepresentation identified by HarbourVest said

  25   that Highland did not inform HarbourVest that it undertook




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   1   the transfers to siphon assets away from Acis, LP and that

   2   such transfers would prevent Mr. Terry from collecting on the

   3   arbitration award.       So the basis for that allegation would be

   4   that Highland was siphoning assets from Acis to avoid having

   5   Acis pay the arbitration award, correct?

   6   A    That -- that would be the implication, yes.

   7   Q    Okay.    And then that misrepresentation continues on and

   8   says that Highland represented to HarbourVest that it was

   9   changing the portfolio manager because Acis was toxic.              And

  10   do you recall that representation being made to you?

  11   A    Yes, I do.

  12   Q    And would you agree with me that whether or not Acis is

  13   toxic in the industry would be an opinion?

  14   A    I suppose it would be an opinion, but by the manager of

  15   the vehicle responsible for managing the HCLOF investment and

  16   the underlying CLOs.       Yeah, we viewed the Acis name and the

  17   Highland name as synonymous, if you will.           I mean, Acis was a

  18   subsidiary of Highland.       For all intents and purposes, it was

  19   the same from our perspective as we made the investment into

  20   HCLOF.

  21   Q    So did HarbourVest have an independent understanding of

  22   whether or not the Acis name was toxic in the industry?

  23   A    We did not, no.      We relied on Highland's views of that as

  24   manager of HCLOF.

  25              MR. WILSON:    Your Honor, just a brief housekeeping




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   1   item.    Did you say that we need to be done at 1:00 o'clock?

   2              THE COURT:    Well, I said I really wanted you to be

   3   done by 1:00 o'clock because I have a 1:30 docket and a 2:00

   4   o'clock docket and I'd rather not have to hang up 70-

   5   something people and reconnect them again at 3:00 o'clock.

   6   How close are you to being finished?

   7              MR. WILSON:    Well, --

   8              THE COURT:    This is going at a very slow pace.

   9              MR. WILSON:    Well, I apologize for that, Your Honor.

  10   I think I've got at least ten more minutes, but -- but I know

  11   we also have closing remarks.        And I was just going to ask if

  12   Your Honor had a preference of --

  13              THE COURT:    Keep going.

  14              MR. WILSON:    -- of breaking now --

  15              THE COURT:    Keep -- let's --

  16              MR. WILSON:    -- or keep going?      Okay.

  17              THE COURT:    Let's talk fast and try to get through.

  18   You know, even if I'm sacrificing lunch today, I don't want

  19   to inconvenience 75 people this way.          So we'll just probably

  20   start our 1:30 hearing a little late and inconvenience those

  21   people.

  22        All right.     Go ahead.

  23              MR. WILSON:    All right.     Thank you, Your Honor.

  24   BY MR. WILSON:

  25   Q    Did Acis form its -- I can't recall if you answered this




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   1   question, but did Acis form its own opinion on whether or not

   2   -- I'm sorry, strike that.        Did HarbourVest form its own

   3   opinion on whether or not the Acis name was toxic in the

   4   industry?

   5              MS. WEISGERBER:     Objection, --

   6              THE WITNESS:     We did not.    We didn't have a basis.

   7              THE COURT:    I'm sorry, did I have an objection?

   8   BY MR. WILSON:

   9   Q    You did not --

  10              THE COURT:     Did I have an objection?

  11              MS. WEISGERBER:     Yeah.   Objection.     Yes.    Objection,

  12   asked and answered, Your Honor.

  13              THE COURT:     Overruled.    He can answer.

  14   BY MR. WILSON:

  15   Q    Okay.    But --

  16   A    We did not.

  17   Q    Did Highland have the ability to investigate the Acis

  18   name and make its own determination of whether that name was

  19   toxic?    I'm sorry, I think I'm misspeaking.         HarbourVest.

  20   A    HarbourVest had the ability to do that, yes.

  21   Q    I apologize I misspoke.        I meant HarbourVest.       Did

  22   HarbourVest have the ability to investigate that name and

  23   determine if it was toxic?

  24   A    It was irrelevant to our investment thesis.             And as I

  25   said before, Acis was a subsidiary of Highland.              We viewed




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   1   them as interchangeable in the context of our investment.

   2   Q    Okay.    The next misrepresentation that you refer to says

   3   that Highland indicated to HarbourVest that the dispute with

   4   Mr. Terry would have no impact on its investment activities.

   5   Would you agree with me that that is also an opinion?

   6   A    It was a statement that --

   7              MS. WEISGERBER:     Your Honor, I'm going to object to

   8   the extent these questions are seeking a legal conclusion

   9   regarding, you know, if something's an opinion or not.

  10              THE COURT:     Okay.   Overruled.    He can answer.

  11              THE WITNESS:     It was -- it was a statement that was

  12   made to us by Highland and represented in multiple different

  13   formats as fact.      And a representation that we relied on in

  14   connection with our investment.

  15   BY MR. WILSON:

  16   Q    And finally, the misrepresentation, the last

  17   misrepresentation identified, is that Highland expressed

  18   confidence in the ability of HCLOF to reset or redeem the

  19   CLOs.    Would you agree with me that that statement is an

  20   opinion?

  21   A    On the basis that it was the core investment thesis of

  22   the -- of the investment of HCLOF.         Again, whether that's

  23   legally viewed as an opinion or a fact, it           was -- it was

  24   certainly the investment thesis that we made the investment

  25   predicated upon.




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   1   Q     And you just testified that you thought that Acis and

   2   Highland were interchangeable from the perspective of the

   3   investment opportunity, correct?

   4   A     Correct.

   5   Q     But you also accepted Highland's recommendation because

   6   HarbourVest agreed that the change in the -- to a Highland

   7   manager made commercial sense, correct?

   8   A     We took at face value what Highland recommended because

   9   this all had to do with the structuring of an entity that

  10   they fully managed with respect to multiple underlying

  11   subsidiaries that weren't managed by Highland.

  12   Q     But would you agree that, at the time, you -- HarbourVest

  13   thought that made commercial sense?

  14   A     It did not seem unreasonable to us based on the

  15   explanation we were given.

  16   Q     Okay.

  17                 MR. WILSON:    I want to refer to HarbourVest Exhibit

  18   39.

  19         (Pause.)

  20                 THE COURT:    What are we waiting on?    What are we

  21   waiting on?

  22                 MR. WILSON:    I'm trying to get the document on the

  23   screen, Your Honor.

  24         (Pause.)

  25                 THE COURT:    We can't hear you.   We can't hear you.




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   1               MR. WILSON:    I'm sorry.      I'm sorry, Your Honor.     I'm

   2   speaking with my --

   3               THE COURT:    Okay.

   4               MR. WILSON:    -- co-counsel here.

   5               THE COURT:    All right.

   6        (Pause.)

   7               MS. WEISGERBER:      Mr. Wilson, is it 39 or 38 that

   8   you're referring to?

   9               MR. WILSON:    39.    HarbourVest 9019 motion on the

  10   main -- on the Dondero file.        And then there's the -- it's --

  11   it's John    -- and then there's the HarbourVest, and then the

  12   exhibits are all in one file.

  13               MS. WEISGERBER:      Mr. Wilson, I'll just note that 39

  14   was subject to confidentiality based on HCLOF's request.

  15   HCLOF's counsel is present.        I think they know it's an

  16   excerpt.    But I'd just -- that for HCLOF's counsel.

  17               MR. WILSON:    Well, is there an objection to showing

  18   this document on the screen?        Yes.    All right.   We're not

  19   going to put Document 39 on the screen.

  20               A VOICE:   Yes.

  21               MR. WILSON:    All right.      Scroll down to the next

  22   page.

  23   BY MR. WILSON:

  24   Q    This is a -- this is a document that was produced to us

  25   this week, the Highland production.          It appears to be a




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   1   Highland CLO Funding, Ltd. Statement of Operations for the

   2   Year Ended 31 December 2017.          Do you see at the top of that --

   3   at the top of that document where it says total investment

   4   income of $26 million?

   5   A    I do, yes.

   6   Q    And total expenses were roughly $1.8 million?

   7   A    Yes.

   8   Q    And then net change and unrealized depreciation on

   9   investments and net realized loss on investments was $4.26

  10   million cumulative, resulting in a net increase in net assets

  11   resulting from operations of $20.224 million.           Do you agree

  12   with that?

  13   A    Yes.

  14   Q    Okay.

  15                MR. WILSON:    Go to the next one.

  16   BY MR. WILSON:

  17   Q    And you understand that, in the course of the Acis

  18   bankruptcy, the portfolio managers for certain of the CLOs

  19   were changed by the Trustee, correct?

  20   A    Yes, around the underlying CLOs.         That's -- that's my

  21   understanding, yes.

  22   Q    And, in fact, Mr. Seery testified earlier today that that

  23   occurred in the summer of 2018, correct?

  24                MR. WILSON:    Scroll.

  25                THE WITNESS:    I don't recall the timing, but that's




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   1   what he testified to.

   2   BY MR. WILSON:

   3   Q    Well, this document is HarbourVest Exhibit 40, and this is

   4   the statement of operations for the financial year ended 31

   5   December 2018.     Here, the total investment income is only

   6   $11.1 million.     Do you see that?

   7   A    I do.

   8   Q    And do you see where the expenses have increased to $13.6

   9   million?

  10   A    I do, yes.

  11                MR. WILSON:    Okay.   Scroll down some more.

  12   BY MR. WILSON:

  13   Q    And do you see where it says net change and unrealized

  14   loss on investments of $48.47 million?

  15   A    Yes.

  16   Q    And so after Acis and Brigade took over the managements of

  17   these CLOs, we had a net decrease in net assets resulting from

  18   operations of $52.483 million in the year 2018, correct?

  19                MS. WEISGERBER:    Objection, Your Honor.      Assumes a

  20   fact not in evidence.

  21                THE COURT:    Overruled.   He --

  22                MR. WILSON:    Your Honor, --

  23                THE COURT:    We're just looking at this statement and

  24   testifying about it says, so I overrule the objection.

  25                MR. WILSON:    Thank you, Your Honor.     Thank you, Your




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   1   Honor.    I'm now going to turn to HarbourVest Exhibit 41.           All

   2   right.    I'll --

   3   BY MR. WILSON:

   4   Q    Did you answer the question, Mr. Pugatch?

   5   A    No, I -- I would agree with the second part of your

   6   statement that for the year 2018 the -- the loss was $52

   7   million.    I don't -- I don't believe that jives with the first

   8   part of your statement that that was after Acis and Brigade

   9   took over.    As I understand, that was in the middle of the

  10   year.

  11   Q    But in any event, Acis and Brigade had been managing this

  12   for at least six months of 2018 when that loss occurred,

  13   correct?

  14   A    They had been managing a portion of the underlying CLO

  15   portfolio held by Highland CLO Funding.

  16   Q    All right.     We're now looking at Exhibit #41, which is the

  17   Draft Unaudited Statement of Comprehensive Income, 31 December

  18   2019.    Total income has now dropped to $4.664 million.

  19              MR. WILSON:     And scroll down.

  20   BY MR. WILSON:

  21   Q    Expenditures are at $3.645 million.         And then it says

  22   investment gains and losses net out to $11.493 million, a

  23   negative $11.493 million.       And --

  24              MR. WILSON:     Scroll down to the --

  25   BY MR. WILSON:




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   1   Q    And so would you agree with me that in the year 2019,

   2   HCLOF showed a net loss of $10.476 million?

   3   A    Yes, that's what the financial statements say.

   4   Q    And in this year, the Acis CLOs were solely managed by

   5   Acis and Brigade, correct?

   6   A    The Acis CLOs were.      Yes, correct.

   7   Q    All right.

   8               MR. WILSON:    Now, go to 42.

   9   BY MR. WILSON:

  10   Q    Now, this is HarbourVest #42.

  11               MR. WILSON:    Go down to the next page.

  12   BY MR. WILSON:

  13   Q    And this is the Highland CLO Funding, Ltd. Unaudited

  14   Condensed Statement of Operations for the Financial Period

  15   Ended 30 June 2020.       And so this is just half a year of

  16   operations.     And would you -- and this actually has a

  17   comparison between 2019 and 2020.         But do you see where it

  18   says investment income has dropped from a million dollars in

  19   the first half of 2019 to $381,000 in the first half of 2020?

  20   A    Yes.

  21               MR. WILSON:    Okay.   Scroll down.

  22   BY MR. WILSON:

  23   Q    And do you see where, in the first half of 2019, total

  24   expenses were $1.85 million, and then in the first half of

  25   2020 total expenses were $2.16 million?          Do you see that?




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   1   A    I do.

   2   Q    And if you go down below that, where it says Net Realized

   3   and Unrealized Gain/Loss on Investments, the first half of

   4   2019 HCLOF lost $12 million, and in the first half of 2020 it

   5   lost $39.472 million?

   6                MR. MORRIS:    Your Honor, I'm going to object.       It's

   7   John Morris for the Debtor.        I'm happy to stipulate.      In fact,

   8   he can offer this document into evidence.          There's no

   9   foundation that Mr. Pugatch has any particularized knowledge

  10   about any of the numbers behind this.         All he's asking him to

  11   do is to confirm what the document says.          It says what it

  12   says.    But this -- I'll object on that basis, Your Honor.

  13                THE COURT:    All right.   Mr. Wilson, what about it?

  14   You're just getting him to read numbers off of these exhibits.

  15                MR. WILSON:    Well, --

  16                THE COURT:    Shall we just --

  17                MR. WILSON:    -- I understood --

  18                THE COURT:    -- by stipulation get them into evidence?

  19                MR. WILSON:    Well, --

  20                MR. MORRIS:    No objection, Your Honor.

  21                MS. WEISGERBER:    No objection.

  22                THE COURT:    All right.   So these are exhibits what?

  23   We've gone through 39, 41, and I don't know what else.             40,

  24   maybe?

  25                MR. WILSON:    It was Exhibits 39, 40, 41, and 42 that




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   1   were on the HarbourVest exhibit list.

   2              THE COURT:     All right.    Those will be admitted, and

   3   we've already discussed what docket entry number they appear

   4   at.

   5         (HarbourVest's Exhibits 39 through 42 are received into

   6   evidence.)

   7              THE COURT:     All right.    Anything else?     You told me

   8   you had 10 more minutes about 15 minutes ago.

   9              MR. WILSON:     Well, I'm sorry if I -- I think I had

  10   said I had at least ten more minutes, and I was looking at the

  11   -- it was 10:50 [sic] and you wanted to quit at 1:00.            So I do

  12   have longer than that.       I'm sorry, Your Honor.

  13              THE COURT:     Well, --

  14              MR. WILSON:     But --

  15              THE COURT:     -- I feel like I'm being --

  16              MR. WILSON:     -- I'll try to proffer --

  17              THE COURT:     Okay, Mr. Wilson, let me just tell you

  18   something.    I feel like I'm being disrespected now, and the

  19   parties are.     We really need to pick up the pace.         I've told

  20   you I've got a 1:30 docket -- with four or five matters on it,

  21   by the way.     I've got a 2:00 o'clock docket.        I'm starting

  22   them late.    No one advised my courtroom deputy that we were

  23   going to need all day today for this, okay?          So you've got

  24   five more minutes to wrap it up, and then, of course, I have

  25   to go to Mr. Draper and see if he has cross.           All right?    So




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   1   please don't test my patience any more.          Five minutes to

   2   finish.

   3              MR. DRAPER:     Judge, I have no questions.

   4              THE COURT:     I didn't hear you, Mr. Draper.        What did

   5   you say?

   6              MR. DRAPER:     I have no questions.

   7              THE COURT:     All right.    Very good.

   8              MR. WILSON:     I apologize, Your Honor.       I was actually

   9   trying to be respectful of your time when I informed you that

  10   I had at least ten more minutes left at 12:50, but I will try

  11   to be as expedient as I can as I finish up.

  12   BY MR. WILSON:

  13   Q    And I don't see you on my screen.

  14              MR. WILSON:     You can take that document down.

  15              THE WITNESS:     Here.

  16   BY MR. WILSON:

  17   Q    Mr. Pugatch, do you have an opinion as to what caused

  18   these incredible losses of value at HCLOF?

  19              MS. WEISGERBER:      Objection to the extent it calls for

  20   a legal conclusion.

  21              THE COURT:     Overruled.    He can answer.

  22              THE WITNESS:     I would say that there's no one cause

  23   for the decline in value.       I can point to a number of

  24   different things, including the exorbitant fees that were

  25   charged to HCLOF, including the inability to be able to re --




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   1   refinance the CLOs on the part of HCLOF, all of which stems

   2   from the actions that Highland took prior to our investment in

   3   HCLOF.

   4   BY MR. WILSON:

   5   Q    And you've -- I think it's been referenced several times

   6   in HarbourVest's arguments that -- that the reset was a

   7   fundamental -- the inability to get a reset was a fundamental

   8   cause of the loss in value.        Is that -- is that HarbourVest's

   9   position?

  10   A    That -- that is a part of the -- the cause in the

  11   declining value of the CLOs, yes.

  12   Q    And you would agree with me that a reset is fundamentally

  13   a reset of interest rates, correct?

  14   A    Of the interest rates of the liabilities of the -- the

  15   timing for repayment of those liabilities, yes.

  16   Q    Now, just say with -- for the sake of a hypothetical

  17   example.    If you had a home that was valued at $5 million, or

  18   let's just say $500,000, let's make it more realistic.             If you

  19   had a $500,000 home and you had a mortgage on that home at

  20   five percent interest, your inability to refinance that home

  21   at a lower interest rate would not affect the underlying value

  22   of that home, correct?

  23               MS. WEISGERBER:     Objection, Your Honor. Hypothetical.

  24   And objection to relevance as well.

  25               THE COURT:    Sustained.




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   1              MS. WEISGERBER:      Calls for speculation.

   2              THE COURT:     Sustained.

   3   BY MR. WILSON:

   4   Q    Is there any reason to believe that the change in the

   5   interest rate would have prevented the massive losses of

   6   investment value that occurred in HCLOF?

   7              MS. WEISGERBER:      Object on the same grounds.

   8              THE COURT:     Sustained.

   9              THE WITNESS:     The short -- the short answer is yes,

  10   with a -- with the amount of leverage --

  11              MS. WEISGERBER:      I --

  12              THE WITNESS:     -- that exists.     Oh, sorry.

  13              MS. WEISGERBER:      The objection was sustained.

  14              THE COURT:     Yeah, I sustained the objection.        That

  15   means you don't answer.

  16              THE WITNESS:     I'm sorry, Your Honor.

  17   BY MR. WILSON:

  18   Q    So, would you agree with me that if the expenses and the

  19   fees charged by the portfolio manager increased dramatically,

  20   that would -- that would impact the value of the investment,

  21   correct?

  22              MS. WEISGERBER:      Objection on the same grounds, and

  23   relevance.    This is a 9019 hearing, Your Honor.         We are not

  24   here to try every minutia.       And in fact, we're trying to avoid

  25   a trial on the merits.       And it feels like we're getting a bit




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   1   far afield now.

   2               THE COURT:    I sustain.

   3               MR. WILSON:    All right.    I'll pass the witness.

   4               THE COURT:    All right.    Mr. Draper said he had no

   5   cross.    So, any redirect, Ms. Weisgerber?

   6               MS. WEISGERBER:     No, Your Honor.

   7               THE COURT:    All right.    Mr. Morris, did you have any

   8   redirect?

   9               MR. MORRIS:    I do not, Your Honor.      I have a very

  10   brief closing and then some additional remarks if -- if we

  11   finish.

  12               THE COURT:    All right.    So, Mr. Pugatch, that

  13   concludes your testimony.       Thank you.    You're excused if you

  14   want to be.

  15        All right.     So, as I understood it, there would be no more

  16   evidence after this.

  17               MR. WILSON:    Well, Your Honor, along those lines, as

  18   a housekeeping measure, I think everything on my exhibit list

  19   is included on someone else's exhibit list, but just for belt

  20   and suspenders I would move to admit all of the exhibits on

  21   the -- on Mr. Dondero's exhibit list.

  22               THE COURT:    Well, is that agreed or not?       Because we

  23   didn't have a witness to get them in.

  24               MR. MORRIS:    No objection, Your Honor.

  25               THE COURT:    Any objection?     All right.    If there's no




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   1   objection, I'll --

   2              MR. MORRIS:     Your Honor, --

   3              THE COURT:     I'm sorry.    Was there an objection?       I

   4   will admit Dondero Exhibits A through M, and those appear at

   5   Docket Entry 1721, correct, Mr. Wilson?

   6              MR. WILSON:     That is correct, Your Honor.

   7              THE COURT:     All right.

   8              MR. WILSON:     That is correct, Your Honor.

   9        (James Dondero's Exhibits A through M are received into

  10   evidence.)

  11              MR. WILSON:     And one final matter is, during the

  12   examination of Mr. Seery, you at least partially admitted

  13   Dondero's Exhibit N, and I was wondering if we need to -- how

  14   we'd need to submit that for the record.

  15              THE COURT:     Okay.   First, I'm confused.      I think you

  16   said Mr. Terry's testimony.        You --

  17              MR. WILSON:     I said Seery.     I'm sorry.

  18              THE COURT:     Oh, Seery?

  19              MR. WILSON:     Or I may have said Terry, but I meant to

  20   say Seery.

  21              THE COURT:     Okay.   Maybe you said it.      Okay.   During

  22   Mr. Seery's testimony -- oh, the email that I admitted a

  23   portion of?

  24              MR. WILSON:     That is -- that's correct, Your Honor.

  25              THE COURT:     What -- what are you asking?       It's not in




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   1   your notebook.     Are you asking do you need to separately

   2   submit it or what?

   3               MR. WILSON:    Yeah, I was just asking what the Court's

   4   preference on how we submit that for the -- put it in the

   5   record.

   6               THE COURT:    Okay.    That was so garbled I didn't hear

   7   you.    You need to file that on the docket as a supplemental

   8   exhibit that was admitted, okay?

   9               MR. WILSON:    Okay.   Thank you, Your Honor.

  10               THE COURT:    All right.    Closing arguments?      Mr.

  11   Morris?

  12                 CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

  13               MR. MORRIS:    Yes, very briefly, Your Honor.        The

  14   Debtor easily meets the standard here.          The settlement

  15   consideration relative to the claim establishes and reflects

  16   the likelihood of success on the merits.

  17          You know, I've never -- I did hear Mr. Pugatch in the

  18   deposition the other day, but I otherwise haven't heard from

  19   him.    I found him to be incredibly credible, Your Honor, and I

  20   regret the fact that he and HarbourVest are being blamed twice

  21   here.    The fact that they got 40,000 documents or didn't read

  22   the arbitration award, it's just -- it's a shame that they're

  23   being dragged through this yet again.

  24          The fact is, Your Honor, there is no evidence that they

  25   made the disclosures that HarbourVest claims -- complains




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   1   about.    They just don't.     The fraudulent transfers led to the

   2   bankruptcy, led to the appointment of a trustee, led to --

   3   right?    So, so it's -- that's why -- but they're getting

   4   something for their claim.

   5        It was a hard negotiation, Your Honor.          There is no

   6   dispute that if we litigated this it would be complex.             It

   7   would fact-intensive.      The Debtor would be forced to rely upon

   8   witnesses who are no longer employed by it.          That it would be

   9   expensive, for sure.      There's no dispute about any of that.

  10   There's no dispute that the creditor body has spoken loudly

  11   here by unanimously refraining from objecting except for Mr.

  12   Dondero and the entities controlled by him.

  13        And you heard Mr. Seery's testimony.         I think he

  14   exhaustively informed the Court as to the process by which the

  15   transaction was analyzed and negotiated, and there's no

  16   evidence to the contrary that this was an arm's-length

  17   negotiation.

  18        Unless Your Honor has any questions, we would request that

  19   the motion be granted.

  20               THE COURT:    Thank you.    Ms. Weisgerber, your closing

  21   argument?

  22                CLOSING ARGUMENT ON BEHALF OF HARBOURVEST

  23               MS. WEISGERBER:     Sure.   Thank you, Your Honor.      I'll

  24   also be brief.     We again join in Mr. Morris's arguments and

  25   comments.




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   1        The Court has now heard testimony from Mr. Pugatch

   2   regarding the factual detail underlying HarbourVest's claims.

   3   The Court has also heard about the significant damages that

   4   HarbourVest stands to recover for those claims.           And

   5   HarbourVest came to this Court ready to litigate.            It would --

   6   it's ready to do so if needed.         It believes it would prevail

   7   on its claims if it had to do so.

   8        But the Court also heard from Mr. Seery about his

   9   understanding of HarbourVest's claims, his calculus, and his

  10   decision to settle them.       And we submit that nothing further

  11   is needed by this Court in order to approve the settlement.

  12   This is a question of the Debtor's business judgment.            We're

  13   not here to have a trial on the merits of HarbourVest's

  14   claims.    The Objectors have made various arguments, including

  15   about the cause of HarbourVest's damages.           But even the nature

  16   of the legal claims that HarbourVest is asserting, some do not

  17   require a loss causation.       So we submit that's not even

  18   relevant to the merits of the claims.

  19        The settlement is clearly in the best interest of the

  20   estate, and we respectfully request that the Court approve it.

  21              THE COURT:     Thank you.    All right.    Mr. Wilson, your

  22   closing argument?

  23              MR. LYNN:    Michael Lynn.     I will give the closing

  24   argument, if that's satisfactory to the Court.

  25              THE COURT:     All right.    Go ahead.




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   1               CLOSING ARGUMENT ON BEHALF OF JAMES DONDERO

   2               MR. LYNN:   Good afternoon, Your Honor.        I just want

   3   to make a few points, and I'll try to do it as quickly as

   4   possible.

   5        First, I feel compelled to address the argument of the

   6   Debtor that Mr. Dondero is repeating his litigious behavior

   7   from the Acis case.      I don't know about the Acis case.         I

   8   wasn't involved except very, very peripherally.           But with

   9   respect to this case, we have only taken positions in court

  10   that we believed -- that is, his lawyers -- believed were

  11   warranted by law, facts as we knew them, and that are

  12   consistent with professionalism.        I'd be glad to explain any

  13   position we took.

  14        Often, through the Debtor's very persuasive powers, we

  15   never had the chance to explain our position previously to the

  16   Court.    In fact, for the most part, as today, we have been

  17   reactive rather than commencing proceedings.           In fact, during

  18   the first seven months of this case, we only appeared in court

  19   a few times, when we felt we had to -- for example, when

  20   discovery was being sought by the Creditors' Committee that we

  21   feared might invade privilege.        Then, much to the Debtor's

  22   fury, we opposed the Acis 9019.        We did so because we thought

  23   it was too much.

  24        Since, as the Court can see, the principal instigators of

  25   litigation have been the Debtor, and to a lesser extent, the




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   1   Committee.

   2        Indeed, in an apparent effort to drown Mr. Dondero and his

   3   counsel in litigation, the Debtor has repeatedly sought court

   4   action on a very short fuse, claiming need for expedited

   5   hearing.

   6        Perhaps the most startling example of this is the recent

   7   contempt motion, for which there is no good reason for a quick

   8   hearing.    Resolution of that motion is not necessary to reach

   9   the confirmation hearing.       The motion could be heard after the

  10   confirmation hearing.      There is no need to put Mr. Dondero and

  11   his professionals in a position where they have to respond in

  12   a couple of days, two business days, and then will have two

  13   days to prepare for trial.

  14        Second, Your Honor, Mr. Seery has repeatedly asserted,

  15   contrary to today's motion, that the HarbourVest claim was of

  16   no merit.    That is why, when he came in to settle for tens of

  17   millions of dollars, we opposed this motion.           It appears that

  18   the motion is occurring without any cross-party discovery.

  19   There is no consideration, apparently, of trying dispositive

  20   -- dispositive motions first.        There is no consideration for

  21   junior classes of equity, which Mr. Seery has previously

  22   opined were in the money.       This, even though there's no reason

  23   that this settlement is necessary pre-confirmation, unless Mr.

  24   Seery wants HarbourVest's vote.

  25        Third, for whatever reason, that seems to be the driving




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   1   factor for settling.      On its face, the vote seems to be a key

   2   factor of the settlement.       About the longest provision of the

   3   settlement agreement relates to voting.          The motion itself --

   4   in the motion itself, five of seven bullet points cited by the

   5   Debtor for approval of the settlement deal with and emphasize

   6   support of the plan or the vote that is to be cast for the

   7   plan.

   8        If the settlement is a good deal, it didn't need to have

   9   as one of its parts the requirement that HarbourVest vote for

  10   the plan.

  11        Your Honor, I'll stop there.        I know Your Honor would like

  12   to get just a few minutes before your 1:30 docket.            I've been

  13   there and I understand that, and I do apologize for taking the

  14   time we have, but I think that responsibility is shared with

  15   the Debtor and HarbourVest.

  16        Thank you, Your Honor.

  17               THE COURT:    All right.    Thank you for that.

  18        Mr. Draper, any closing argument from you?

  19       CLOSING ARGUMENT ON BEHALF OF GET GOOD AND DUGABOY TRUSTS

  20               MR. DRAPER:    Yes, I have three comments.       The first

  21   is the claim -- the loss claim, absent the fraud claim, is, at

  22   best, $7 million.      I think Mr. Seery's argument that a hundred

  23   -- one hundred percent is attributable to there is just wrong.

  24   If he and I both invested in a company 50-50 and it goes

  25   broke, we only lost 50 cents each.




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   1          Number two, I think the Court heard the evidence.          I think

   2   this is, at best, a subordinated claim under 5 -- under the

   3   Bankruptcy Code.     It's really a "But for the

   4   misrepresentations, we wouldn't have invested."

   5          And the last one is the -- Judge Lynn represented the

   6   voting, so I won't deal with that.         But the one that troubles

   7   me the most is the fact that this asset that is ultimately

   8   being paid for in claim dollars that's being transferred over

   9   to the Debtor and being put it outside the estate, outside the

  10   purview of this Court, and placed in some subsidiary, this --

  11   this transaction, if it is approved, must -- should contain a

  12   provision that the asset that's being acquired come into the

  13   Debtor and be owned by the Debtor.

  14               THE COURT:    All right.

  15               MR. DRAPER:    I have nothing further, Your Honor.

  16               THE COURT:    Thank you, Mr. Draper.

  17          Mr. Morris, you get the last word since it's your motion.

  18               MR. MORRIS:    Very quickly, Your Honor.       The

  19   subordination argument doesn't hold water.          This is not a

  20   claim against the Debtor for the security; it's a claim for

  21   fraud.    Okay?   So, so 510(b), if it was a claim against HCLOF,

  22   that might make sense, but this is a claim against the Debtor.

  23   And it's a Debtor -- it's a claim for fraud.           That's number

  24   one.

  25          Number two, we need to keep this exactly as it's been




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   1   structured in order to avoid litigation.          Mr. Seery told the

   2   Court.    I'm sure the Court can make its own assessment as to

   3   Mr. Seery's credibility as to whether or not the Debtor is

   4   intending to somehow get this asset beyond the Court.

   5        But there are reasons why we've done this, Your Honor.

   6   They could have made an objection on that basis.           In fact, if

   7   they did, it would be overruled, because there's no -- there's

   8   no basis for this Court to find that somehow the Debtor and

   9   Mr. Seery are doing something untoward to get assets away from

  10   this Court's jurisdiction.

  11        You know, I don't know what to say about Mr. Lynn's

  12   commentary.     Much of it had nothing to do with any evidence in

  13   the record.

  14        The fact remains, Your Honor, that this settlement is

  15   fair.    It's reasonable.     It's in the best interest of the

  16   estate.    And we would respectfully request that the Court

  17   grant the motion.

  18              THE COURT:     All right.    Thank you.    Well, I

  19   appreciate all the arguments and evidence I have heard today.

  20   I'm going to be brief in my ruling here, but I reserve the

  21   right to supplement in a more fulsome written order, which I'm

  22   going to instruct Mr. Morris to submit.          I am approving the

  23   motion to compromise the HarbourVest claim today, and I guess

  24   subsumed in that is granting the motion to allow their claim

  25   for 3018 voting purposes.




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   1        I in all ways find this compromise to meet the required

   2   legal standard set forth in such cases as TMT Trailer Ferry,

   3   AWECO, and Foster Mortgage, numerous other Fifth Circuit

   4   cases.

   5        First, I'm going to specifically say for the record that I

   6   found both witnesses today, Mr. Seery and Mr. Pugatch, to be

   7   very credible.     Very credible testimony and meaningful

   8   testimony was provided to the Court today.          And based on that

   9   testimony, I find, first, that this compromise was the product

  10   of arm's-length negotiations.        It was a hard-fought

  11   negotiation, as far as I'm concerned.         The Debtor objected to

  12   these numerous HarbourVest proofs of claim.          The Debtor did

  13   not want to allow HarbourVest a significant claim for voting

  14   purposes.    I duly note the statements made in the disclosure

  15   statement before this compromise was reached suggesting, you

  16   know, the Debtor didn't think HarbourVest should have a large

  17   claim.

  18        That is consistent with everything I typically see in a

  19   bankruptcy case when there's a claim objection.           The objector

  20   vehemently denies the claimant should have a proof of claim,

  21   and then people sit down and think about the risks and rewards

  22   of litigating things.      And I believe very fervently that's

  23   what happened here.      There were good-faith, arm's-length

  24   negotiations that resulted in this proposed compromise.

  25        I find the compromise -- and I'll add to that point, on




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   1   the good-faith point, I find nothing sinister or improper

   2   about the fact that the compromise includes a commitment of

   3   HarbourVest to vote in favor of the plan.          Again, we see this

   4   a lot.    You know, there's even a buzz word that doesn't even

   5   exist in the Bankruptcy Code:        "plan support agreement."       You

   6   know, we see those a lot -- you know, oftentimes negotiated

   7   before the case, but sometimes after.         You know, it may be

   8   improper in certain situations, but there was nothing here

   9   that troubles me about that component of the compromise.

  10        I find the compromise to meet the paramount interest of

  11   creditors here.     Notably, we have very large creditors in this

  12   case who have not objected.        The Foster Mortgage case from the

  13   Fifth Circuit tells me I am supposed to consider support or

  14   opposition of creditors.       No opposition of UBS.      No opposition

  15   of the Redeemer Committee Crusader Fund.          No opposition from

  16   Josh Terry or Acis.      No opposition from Daugherty.

  17        But moreover, when considering the paramount interest of

  18   creditors, I find this compromise to be in all ways fair and

  19   equitable and in the best interest of the estate, and

  20   certainly within the range of reasonableness.           The evidence

  21   showed that HarbourVest asserted over $300 million.            Over $300

  22   million.    Granted, that was based on all kinds of legal

  23   theories that would be contested and expensive to litigate,

  24   but the evidence also showed that they invested over $70

  25   million.    You know, close to $75 million.        I forget the exact




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   1   number.    $75 or $80 million, somewhere in that range.          And now

   2   the credible evidence is that investment is worth about $22

   3   million.

   4        So, certainly, while the claim may not have, at the

   5   ultimate end of the day in litigation, resulted in a $300

   6   million proof of claim, certainly, certainly there were strong

   7   arguments for a very sizeable claim, more than this compromise

   8   amount.    So it's certainly fair and equitable and reasonable

   9   when considering the complexity and duration of further

  10   litigation, the risks and rewards, the expense, delay, and

  11   likely success.

  12        A couple of last things I'm going to say are these.            I

  13   understand, you know, there is vehement disagreement on the

  14   part of our Objectors to the notion that Highland might have

  15   caused a $50 million loss to HarbourVest.          But I will tell

  16   you, for what it's worth -- I want the record clear that this

  17   is part of my evaluation of the reasonableness of the

  18   settlement -- my reaction is that, indeed, Highland's

  19   litigation strategy in the Acis case caused HCLOF to lose a

  20   huge portion of its value, to the detriment of HarbourVest.

  21   You know, whether all evidence at the end of the day would

  22   convince me of that, I don't know, but that's -- that is

  23   definitely this judge's impression.

  24        I'm very sympathetic to HarbourVest.         It appears in all

  25   ways from the record, not just the record before me today, but




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   1   the record in the Acis case that I presided over, that

   2   Highland back then would have rather spent HarbourVest's

   3   investment for HCLOF legal fees than let Josh Terry get paid

   4   on his judgment.     They were perfectly happy to direct the

   5   spending of other people's money, is what the record suggested

   6   to me.

   7        And then, you know, I have alluded to this very recently,

   8   as recently as last Friday:        I can still remember Mr.

   9   Ellington sitting on the witness stand over here to my left

  10   and telling the Court, telling the parties under oath, that

  11   HarbourVest -- he didn't use its name back then, okay?             For

  12   the first phase of the Acis case, or most of the Acis case, we

  13   were told it was an investor from Boston.          And at some point

  14   someone even said their name begins with H.          I mean, it seemed

  15   almost humorous.     But Mr. Ellington said it was they,

  16   HarbourVest, the undisclosed investor, who was insistent that

  17   the Acis name was toxic, and so that's what all of this had

  18   been about:     the rebranding, the wanting to extract or move

  19   things away from Acis.

  20        So, you know, I have heard for the -- well, at least the

  21   second time today, from Mr. Pugatch, what I perceive to be

  22   very credible testimony that that's just not the way it

  23   happened.

  24        And I guess the last thing I want to say here today, and

  25   you know, I guess I have multiple reasons for saying this, not




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   1   just in connection with approving the settlement, you know,

   2   I've heard about how the Acis CLOs, the HCLOF CLOs have lost,

   3   you know, a crazy amount of value, that they underperform in

   4   the market, that, you know, during the Acis/Brigade tenure

   5   and, you know, they should have been reset.          You know, I hope

   6   those who have not been around as long as some of us in this

   7   whole saga know that the -- Mr. Terry, Mr. Phelan, I think

   8   Brigade, they all desperately wanted to reset these things,

   9   but it was HCLOF, I believe directed by Highland, that wanted

  10   to redeem, wanted to liquidate, take the pot of money,

  11   warehouse it, and then do their own thing.

  12        And there was, I think, from my vantage point, a

  13   monumental effort to try to get everyone to the table to do

  14   reasonable resets that would be good for the stakeholders at

  15   HCLOF and be good for the creditors of Acis, including Josh

  16   Terry.    That was always the balancing act that most of us were

  17   focused on during the Acis bankruptcy.          But Highland, I

  18   believe, directing HCLOF's strategy, just did not want the

  19   resets to happen.

  20        So, again, part of me, I suppose, just wants to make the

  21   record clear on something that I fear not everyone is clear

  22   about.    And I say that because the comment was made that the

  23   injunctions, the preliminary injunctions sought by the Acis

  24   trustee caused the plummet in value, and I think that's just

  25   not an accurate statement.       I think litigation strategies are




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   1   what caused the plummet in value, and that's why I think

   2   ultimately HarbourVest would potentially have a meritorious

   3   claim here in a significant amount if this litigation were to

   4   go forward.

   5        So, I approve this under 9019.        And again, Mr. Morris,

   6   you'll upload an order.

   7        It is now 1:41, so let's as quickly as possible hear the

   8   other motion that I don't think had any objections.            Mr.

   9   Morris?

  10              MR. MORRIS:     Your Honor, just -- yes, just very

  11   quickly, just four things.

  12        With respect to the order, I just want to make it clear

  13   that we are going to include a provision that specifically

  14   authorizes the Debtor to engage in -- to receive from

  15   HarbourVest the asset, you know, the HCLOF interest, and that

  16   that's consistent with its obligations under the agreement.

  17        The objection has been withdrawn, I think the evidence is

  18   what it is, and we want to make sure that nobody thinks that

  19   they're going to go to a different court somehow to challenge

  20   the transfer.     So I just want to put the Court on notice and

  21   everybody on notice that we are going to put in a specific

  22   finding as to that.

  23              THE COURT:     All right.    Fair --

  24              MR. MORRIS:     Number two is --

  25              THE COURT:     Fair enough.    I do specifically approve




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   1   that mechanism and find it is appropriate and supported by the

   2   underlying agreements.

   3        And just so you know, I spent some time noodling this

   4   yesterday before I knew it was going to be settled, so I'm not

   5   just casually doing that.          I think it's fine.

   6        Okay.    Next?

   7                MR. MORRIS:    Thank you very much, Your Honor.       Number

   8   two, with respect to the motion to pay, there is no objection.

   9   If we can just submit an order.         Or if Your Honor has other

  10   guidance for us, we're happy to take it.

  11                THE COURT:    Okay.    Does anyone have anything they

  12   want to say about that motion?

  13        Again, I looked at it.         I didn't see any objections.     I

  14   didn't see any problem with it.         It's -- you know, you're

  15   going through this exercise because of the earlier protocol

  16   order.

  17                MR. MORRIS:    Correct.

  18                THE COURT:    All right.    Well, if there's nothing,

  19   then, I will approve that, finding there is good cause to

  20   grant that motion.

  21                MR. MORRIS:    Okay.

  22                THE COURT:    All right.    Is the only other

  23   housekeeping matter --

  24                MR. MORRIS:    I --

  25                THE COURT:    -- we have the contempt motion?




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   1              MR. MORRIS:     It is, and I do -- I do have to point

   2   out how troubled the Debtor is to learn that Mr. Dondero was

   3   still receiving documents from Highland as late as this

   4   morning.    It's got to be a violation of both the TRO -- I

   5   guess it's now the preliminary injunction.

   6        I would respectfully request -- I know that time is what

   7   it is -- but maybe Mr. Dondero can answer now where he got the

   8   document, who he got the document from, what other documents

   9   he's gotten from the Debtor since Your Honor ordered him not

  10   to communicate with the Debtor's employees.

  11        This is not saying hello in the hallway.          I mean, this is

  12   just -- it is really troubling, Your Honor, and it's why we

  13   need the contempt motion heard as soon as possible.

  14              THE COURT:     Well, Mr. Wilson, do you want to address

  15   that?   I think the words I heard were that you just got the

  16   document this morning, and you got it from Mr. Dondero, but we

  17   don't know where and when Mr. Dondero got it.           Mr. Wilson, are

  18   you there?

  19              MR. LYNN:    I'm afraid I'm back, Your Honor.

  20              THE COURT:     Okay.

  21              MR. LYNN:    I am not sure whether Mr. Dondero had it

  22   in his files from some -- from back before he was asked not to

  23   communicate with members or with employees of the Debtor.             I

  24   believe -- I believe he's with us, though I don't think he's

  25   available by video.




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   1        Are you there, Mr. Dondero?

   2              THE COURT:     We can't hear you, Mr. Dondero.

   3              MR. DONDERO:     Judge?

   4              THE COURT:     Oh, go ahead.

   5              MR. DONDERO:     Can you hear me now?

   6              THE COURT:     Yes.

   7              MR. DONDERO:     Yes, I -- I -- when I moved offices, I

   8   found it in a stack of paper, and --

   9              MR. LYNN:    I understand it shows that his microphone

  10   is working.

  11              THE COURT:     Okay.   Go ahead.

  12              MR. DONDERO:     Can you hear me?

  13              THE COURT:     Yes, go ahead.

  14              MR. DONDERO:     Yeah, I -- I'm sitting in new offices.

  15   I've got everything in boxes.        I was going through everything

  16   yesterday, and I found those emails in a stack of papers and I

  17   sent them over because I thought they would be relevant

  18   relative to Seery's initial impression.

  19              THE COURT:     Okay.   Well, let's talk about the timing

  20   of this hearing.     Mr. Morris, I'm going to -- I'm going to ask

  21   you why --

  22              MR. LYNN:    Michael Lynn, Your Honor.       I don't want to

  23   waste the Court's time.       We have not made available anything

  24   to the Court objecting to the expedited hearing on the

  25   contempt motion.     We've been here.




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   1        I would say to Your Honor that if Mr. Dondero is indeed in

   2   contempt, or was in contempt toward the motion, which has

   3   nothing to do with the document that was presented as Dondero

   4   Exhibit N, there is no need to hear this on an expedited

   5   basis.

   6        Every time we turn around, Your Honor, the Debtor is

   7   asking that something be heard on an expedited basis.            And we

   8   have not opposed that.       We have not fought that, to speak of,

   9   to date.    But this is getting a little ridiculous.          We're

  10   within days of confirmation of the Debtor's plan, and it is

  11   simply a means of causing pain and suffering to Mr. Dondero

  12   and those who are working with him and for him.           And he does

  13   have employees at NexPoint who are assisting him.

  14        So we most strongly object to being put on a schedule

  15   where we are expected to get a response to the contempt motion

  16   on file by Monday, today being Thursday, and a weekend

  17   intervening.     And we strongly object to any setting of this

  18   contempt motion on Tuesday or Wednesday.          It is absurd, and it

  19   is done solely, solely, Your Honor, to cause pain.

  20              THE COURT:     All right.

  21              MR. MORRIS:     Your Honor, if I may?

  22              THE COURT:     Please.

  23              MR. MORRIS:     Just very briefly, we had a hearing the

  24   other day.    The evidence is the exact same.        The evidence is

  25   crystal clear that the violations are meaningful, they're




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   1   substantial, and they are repeated.

   2        After the TRO was entered into, Mr. Dondero and only Mr.

   3   Dondero chose to interfere with the Debtor's business.             Mr.

   4   Dondero and only Mr. Dondero chose to communicate with the

   5   Debtor's employees, not about saying hello in the hallway but

   6   about coordinating a legal defense strategy against the

   7   Debtor.

   8        The need is immediate, Your Honor, and I would

   9   respectfully request that the hearing be set for Tuesday or

  10   Wednesday.    They've had this motion now since the 7th of

  11   January.    They had a full evidentiary hearing, so they know

  12   most of the evidence that's going to be presented.            They have

  13   a whole team of -- they have an army of lawyers, Your Honor,

  14   and half a dozen firms working on behalf of Mr. Dondero and

  15   his interests.     For him to cry here, for him to cry that this

  16   is too much is really -- it's obscene.          It just is.

  17              THE COURT:     All right.    I'm going to say a couple --

  18              MR. LYNN:    That is absurd.

  19              THE COURT:     I'm going to say a couple of things.           One

  20   is that I -- well, the one time I remember getting reversed

  21   for holding someone in contempt of court, the District Court

  22   felt like I had not given enough notice of that.           The District

  23   Courts, what they think is reasonable notice, is sometimes

  24   very different from what the bankruptcy judges think.            We're

  25   used to going very lickety-split fast in the bankruptcy




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   1   courts.    And the Courts of Appeals, District Court, Courts of

   2   Appeals obviously, for good reason, are very concerned about

   3   due process in this kind of context.         So I'm sensitive to

   4   that.

   5        I'm also sensitive to the fact that it is monetary damages

   6   that are being sought here to purge the contempt.            Okay?   The

   7   shifting of attorneys' fees is basically what I understand is

   8   being sought at this point.        You know, we have a preliminary

   9   injunction halting behavior at this point, and so I think

  10   that's another reason I'm hesitant to give an emergency

  11   hearing.    I feel like monetary damages can wait and we can

  12   give 21-plus days' notice of the hearing.

  13        But I'm going to throw this out there as well.           If I do

  14   feel like there is a showing of contempt, if I do feel like

  15   the phone -- as I told you the other day, I'm very, very

  16   fixated on the phone that may have been destroyed or thrown

  17   away, maybe at Mr. Dondero's suggestion.          I mean, the

  18   potential monetary sanction here may be very, very large if

  19   the evidence plays out in the way I fear it might play out.

  20   So I need to make sure everybody has adequate time to prepare

  21   for that hearing and make sure I get all the evidence I need

  22   to see.    All right?    Contempt of court is very, very, very,

  23   very serious, and I don't think anyone would deny that.

  24        So, with that, it was filed what day?          January 4th?     Is

  25   that what I heard?      Or --




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   1              MR. MORRIS:     January 7th, I believe, Your Honor.

   2              THE COURT:     January 7th?      All right.   Well, Traci,

   3   are you there?     Hopefully, you're not in a hunger coma at this

   4   point.

   5              THE CLERK:     I am here.

   6              THE COURT:     Okay.   We have -- we're going to have to

   7   go to that first week of February, right?          Because we've got

   8   the confirmation hearing that, you know, late in January, and

   9   then --

  10              THE CLERK:     Yes.    Uh-huh.

  11              THE COURT:     Okay.   Do you have an available date to

  12   give right now?

  13              THE CLERK:     How about -- if you're willing to hear

  14   them on Friday, February 5th.

  15              THE COURT:     Okay.   I can do that.     February 5th at

  16   9:30.    Any -- anybody want to argue about that?

  17              MR. MORRIS:     Thank you, Your Honor.        That's

  18   acceptable to the Debtor.

  19              THE COURT:     Okay.   Mr. Lynn, is that good with you?

  20              MR. LYNN:    We'll do that, Your Honor.        I would say,

  21   by the way, that I'll be happy to buy Mr. Seery, out of my own

  22   pocket, five cell phones, which ought to make up for the one

  23   that was lost, though I recognize that those cell phones will

  24   not have on them the privileged information, the conversations

  25   between his lawyers and Mr. Dondero that I imagine he was




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   1   looking forward to seeing.

   2              THE COURT:     Well, I wouldn't want him to see that

   3   information, but I do think he's entitled to any nonprivileged

   4   information, texting, or calls that are on that phone.             So,

   5   again, I'm either going to hear good explanations for that or

   6   not, but it's something very concerning to me.

   7        All right.     So we have a game plan.

   8        I'm going to ask, Did we have good-faith negotiations

   9   between Dondero and the Committee and anything positive to

  10   report?    I'll ask Mr. Lynn and Mr. Clemente to weigh in.

  11              MR. CLEMENTE:     Yes, Your Honor.      I'll go first, Your

  12   Honor.    Mr. Lynn and I have exchanged several emails over the

  13   weekend, and the message that I sent to Mr. Lynn was very

  14   clear.    There had been a term sheet that Mr. Seery had sent

  15   back to Mr. Dondero.      I had asked Mr. Lynn to take a pencil

  16   out and be very specific as to what it was Mr. Dondero was

  17   prepared to do in connection with the pot plan.           I instructed

  18   him that some of the issues that the Committee still has is

  19   obviously the overall value, along with the concept that's

  20   signing up to a promise from Mr. Dondero to comply with

  21   (indiscernible) as part of that value.          As Your Honor may

  22   understand, the Committee is obviously very skeptical of Mr.

  23   Dondero's future performance under an agreement that he enters

  24   into.

  25        Those are but a couple of issues, Your Honor, that I




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   1   advised Mr. Lynn were very concerning to the Committee.             And I

   2   suggested to him that if he wanted to move things forward, the

   3   best way to do it would be to come to us with a fulsome term

   4   sheet that explained exactly what it was in clear and precise

   5   detail that Mr. Dondero was proposing, and that would be the

   6   best way to move the process forward, Your Honor.

   7              THE COURT:     All right.    Mr. Lynn, anything to add to

   8   that?

   9              MR. LYNN:    Well, Your Honor, my experience in

  10   negotiations is that it is useful to agree on substantive

  11   terms, or at least be in the ballpark, before term sheets are

  12   exchanged.    Long ago, a term sheet was prepared and presented

  13   to the Committee.      Ultimately, I think it was rejected, though

  14   I don't know if we ever received a formal rejection.

  15        I explained in my emails, which I'm happy to share with

  16   the Court if Your Honor wants to see them, why I was reluctant

  17   to try to put into a term sheet form the proposal that I

  18   suggested to Mr. Clemente.       As I said, I'm more than happy to

  19   provide you with that email chain and let you form your own

  20   judgment, Your Honor, as to whether we're proceeding in good

  21   faith.

  22              THE COURT:     All right.    Well I'm not going to ask --

  23              MR. POMERANTZ:     Your Honor?     Your Honor, this is Jeff

  24   Pomerantz.

  25              THE COURT:     -- to see any of that.      Mr. Pomerantz?




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   1               MR. POMERANTZ:    May I just be heard real quickly?

   2               THE COURT:    Sure.

   3               MR. POMERANTZ:    Your Honor, we also took Your Honor's

   4   comments to heart.       We, Mr. Seery and I, had an over-an-hour

   5   conversation with Mr. Lynn and with Mr. Bonds.           We provided

   6   them with our thoughts as to what they needed to do in order

   7   to move forward.      Of course, it's not really the Debtor to

   8   agree.    It's the creditors to agree.       But as Mr. Seery has

   9   testified many times before and as I have told the Court, we

  10   would support a plan that the Committee and Mr. Dondero could

  11   get behind.

  12          So we again -- I'm not going to divulge the nature of

  13   those communications, but we suggested several things that Mr.

  14   Dondero could do in order to move the ball forward, and

  15   unfortunately, we have not seen any of those things done thus

  16   far.    So we are, at this point, not optimistic that there will

  17   be a grand bargain plan.

  18               THE COURT:    All right.

  19               MR. DONDERO:    Your Honor, could I comment for a

  20   second?    This is Mr. Dondero.

  21               THE COURT:    If you and your counsel want you to

  22   comment, you can comment.

  23               MR. DONDERO:    I'd love to do a pot plan.       I would

  24   love to reach some kind of settlement and everybody move on

  25   with their lives.      The estate started with $360 million of




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   1   third-party assets and $90 million of notes.           The $360 million

   2   of third-party assets are down to $130 million.

   3               MR. POMERANTZ:    Again, Your Honor, I must interrupt.

   4   I did this at the last hearing, and it's not my practice to

   5   interrupt, but issues regarding what the value is or not, it's

   6   going to require a response, and that's not really before Your

   7   Honor.    I think before Your Honor is --

   8               MR. DONDERO:    Okay.

   9               MR. POMERANTZ:    -- have there been negotiations?

  10   Have they been in good faith?        If Mr. Dondero wanted to

  11   address that, that's fine, but I object to having any

  12   discussion at this point, especially with Mr. Dondero not even

  13   under oath, on what the nature of the value of the assets and

  14   why they have changed and what not.

  15               THE COURT:    Well, --

  16               MR. POMERANTZ:    It's just not appropriate.

  17               THE COURT:    I understand --

  18               MR. DONDERO:    Okay.    Can I --

  19               THE COURT:    Stop.

  20               MR. DONDERO:    Can I -- can I finish?

  21               THE COURT:    Let me please respond to that.        I

  22   understand your concern, but I've heard from Mr. Seery

  23   testimony many months ago about the value plummeting during

  24   the case.    And I asked why, and I got some explanations.           This

  25   is not evidence.     This is just, you know, this is not going to




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   1   be binding in any way.       Mr. Dondero can speak as to what he

   2   thinks, you know, the situation is.

   3        Go ahead, Mr. Dondero.

   4              MR. DONDERO:     Okay.   I'm not trying to fixate on the

   5   numbers.    And as far as the third-party assets are, we would

   6   be willing to pay -- I would be willing to pay for those.             I'd

   7   be willing to pay more, and even some value for the affiliate

   8   notes that were really part of compensation agreements

   9   throughout the history of Highland and avoid the POC

  10   arguments.    I'd be willing to pay for the assets and I'd be

  11   willing to pay even more than that.

  12        I have no transparency in terms of what the assets are,

  13   and there's no fulsome discussion in terms of, well, here are

  14   the assets, here are the notes, here's what we think the

  15   values are, can you get to this number?          It's just a -- you --

  16   the -- it -- I don't view there is good-faith negotiations

  17   going on because it's always just a:         You need to put a big

  18   number on a piece of paper; otherwise, you're going to get run

  19   over.

  20        And there's no back and forth going on, but it's not due

  21   to a lack of willingness on my part.         And maybe there needs to

  22   be a committee set up.       Maybe there needs to be, I don't know,

  23   a mediator or an examiner or somebody to try and push through

  24   the pot plan, but there's nothing happening.           People are not

  25   returning the judge's calls, I mean, Mr. Lynn's calls, or my




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   1   calls.    They're -- there's -- despite efforts of our -- of my

   2   own and a willingness of my own, there's no negotiations of

   3   any sort going on at the moment.

   4               THE COURT:     All right.   I don't want anyone to

   5   respond to that.     I know people have different views of what's

   6   going on.    But let me just say a couple of things, and then

   7   we're done.

   8        We do have a Committee in this case.         We have a Committee

   9   with very sophisticated members and very sophisticated

  10   professionals.     Okay?    That's who I wanted you to be talking

  11   to before the end of the day Tuesday.

  12        We have had co-mediators in this case.          Okay?   And, you

  13   know, I identified very sophisticated human beings for that

  14   role.    Okay?   And in fact, there ended up being settlements

  15   that flowed out of the co-mediator process.

  16        We're now 15 months into the case.         There are major,

  17   significant compromises now:        HarbourVest, UBS, Acis, Terry,

  18   and Redeemer Committee.       I hate to use a worn-out metaphor,

  19   but the train is leaving the station.         We've got confirmation.

  20   I've pushed out two weeks.       I mean, you all are either going

  21   to get there in the next few days or we're just going to go

  22   forward with I think what everyone, you know, would rather be

  23   a pot plan, but if we can't get there, we're just going to

  24   have to consider the plan that's on the table now.            Okay?

  25        You know, the Committee, again, they're sophisticated.




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   1   They can compare apples to oranges and decide whether the plan

   2   on the table, with its risks of future litigation and

   3   recoveries, whether it's better or worse than whatever

   4   consideration you're offering, Mr. Dondero.

   5        And you know, as we all know, there is distrust here,

   6   there, and everywhere among these parties.          So I can totally

   7   understand them, you know, taking a hard line:           We either get

   8   all cash or we're just not going to mess with it.            We don't

   9   want to risk broken promises.         We'd rather just do litigation.

  10        So, anyway, that's as much as I'm going to say except I am

  11   going to further direct good-faith negotiations.           It sounds

  12   like to me a written term sheet might be the appropriate next

  13   step, given where I've heard things are at the moment.             But,

  14   you know, I guess we don't have any hearings between now and

  15   the 26th, right?     No Highland hearings that I can think of

  16   between now and the 26th.

  17              MR. POMERANTZ:     I don't think so.

  18              MR. MORRIS:     I think that's correct, Your Honor.

  19              THE COURT:     So you have all this time --

  20              MR. MORRIS:     At the moment.

  21              THE COURT:     You have all this time to negotiate and

  22   simultaneously get ready for the confirmation hearing without

  23   any other battles.      So I know you will use the time well.

  24        All right.     We're adjourned.

  25              THE CLERK:     All rise.




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   1              MR. BONDS:     Thank you, Your Honor.

   2        (Proceedings concluded at 2:04 p.m.)

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  20                                  CERTIFICATE

  21        I certify that the foregoing is a correct transcript from
       the electronic sound recording of the proceedings in the
  22   above-entitled matter.
  23      /s/ Kathy Rehling                                     01/16/2021

  24   ______________________________________                ________________
       Kathy Rehling, CETD-444                                   Date
  25   Certified Electronic Court Transcriber




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   5   - By Ms. Weisgerber                                                    18
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  13   Michael Pugatch
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  16   Debtor's Exhibits A through EE                             Received    35
  17   James Dondero's Exhibits A through M                       Received 142
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   5   HarbourVest Dover Street IX Investment L.P., HV
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   6   AIF L.P., and HarbourVest Partners L.P. filed by Debtor
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   7
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 20, 2021
______________________________________________________________________




                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

     In re:                                                            §
                                                                       § Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              §
                                                                       § Case No. 19-34054-sgj11
                                                                       §
                                          Debtor.
                                                                       §

                         ORDER APPROVING DEBTOR’S SETTLEMENT
                  WITH HARBOURVEST (CLAIM NOS. 143, 147, 149, 150, 153, 154) AND
                       AUTHORIZING ACTIONS CONSISTENT THEREWITH

                This matter having come before the Court on Debtor’s Motion for Entry of an Order

     Approving Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and

     Authorizing Actions Consistent Therewith [Docket No. 1625] (the “Motion”), 2 filed by Highland

     Capital Management, L.P., the debtor and debtor-in-possession (the “Debtor”) in the above-

     captioned chapter 11 case (the “Bankruptcy Case”); and this Court having considered (a) the
     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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 Motion; (b) the Declaration of John A. Morris in Support of the Debtor’s Motion for Entry of an

 Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and

 Authorizing Actions Consistent Therewith [Docket No. 1631] (the “Morris Declaration”), and the

 exhibits annexed thereto, including the Settlement Agreement attached as Exhibit “1” (the

 “Settlement Agreement”); (c) the arguments and law cited in the Motion; (d) James Dondero’s

 Objection to Debtor’s Motion for Entry of an Order Approving Settlement with HarbourVest

 [Docket No. 1697] (the “Dondero Objection”), filed by James Dondero; (e) the Objection to

 Debtor’s Motion for Entry of an Order Approving Settlement with HarbourVest (Claim Nos. 143,

 147, 149, 150, 153, 154) and Authorizing Actions Consistent Therewith [Docket No. 1706] (the

 “Trusts’ Objection”), filed by the Dugaboy Investment Trust (“Dugaboy”) and Get Good Trust

 (“Get Good,” and together with Dugaboy, the “Trusts”); (f) CLO Holdco’s Objection to

 HarbourVest Settlement [Docket No. 1707] (the “CLOH Objection” and collectively, with the

 Dondero Objection and the Trusts’ Objection, the “Objections”), filed by CLO Holdco, Ltd.; (g)

 the Debtor’s Omnibus Reply in Support of Debtor’s Motion for Entry of an Order Approving

 Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154), and Authorizing Actions

 Consistent Therewith [Docket No. 1731] (the “Debtor’s Reply”), filed by the Debtor; (h) the

 HarbourVest Reply in Support of Debtor’s Motion for Entry of an Order Approving Settlement

 with HarbourVest and Authorizing Actions Consistent Therewith [Docket No. 1734] (the

 “HarbourVest Reply”), filed by HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global

 AIF L.P., HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P.,

 HarbourVest Skew Base AIF L.P., and HarbourVest Partners L.P. (collectively, “HarbourVest”);

 (i) the testimonial and documentary evidence admitted into evidence during the hearing held on

 January 14, 2021 (the “Hearing”), including assessing the credibility of the witnesses; and (j) the



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 arguments made during the Hearing; and this Court having jurisdiction over this matter pursuant

 to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding

 pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of this proceeding and

 the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

 having found that the relief requested in the Motion is in the best interests of the Debtor’s estate,

 its creditors, and other parties-in-interest; and this Court having found the Settlement Agreement

 fair and equitable; and this Court having analyzed, for the reasons stated on the record, (1) the

 probability of success in litigating the claims subject to the Settlement Agreement, with due

 consideration for the uncertainty in fact and law, (2) the complexity and likely duration of

 litigation and any attendant expense, inconvenience, and delay, and (3) all other factors bearing

 on the wisdom of the compromise, including: (i) the best interests of the creditors, with proper

 deference to their reasonable views, and (ii) the extent to which the settlement is truly the

 product of arms-length bargaining, and not of fraud or collusion; and this Court having found

 that the Debtor’s notice of the Motion and opportunity for a hearing on the Motion were

 appropriate under the circumstances and that no other notice need be provided; and this Court

 having determined that the legal and factual bases set forth in the Motion establish good cause

 for the relief granted herein; and upon all of the proceedings had before this Court; and after due

 deliberation and sufficient cause appearing therefor, it is hereby ORDERED that:

         1.       The Motion is GRANTED as set forth herein.

         2.       All objections to the Motion are overruled.

         3.       The Settlement Agreement, attached hereto as Exhibit 1, is approved in all

 respects pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure.




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         4.       All objections to the proofs of claim subject to the Motion 3 are overruled as moot

 in light of the Court’s approval of the Settlement Agreement.

         5.       The Debtor, HarbourVest, and all other parties are authorized to take any and all

 actions necessary and desirable to implement the Settlement Agreement without need of further

 approval or notice.

         6.       Pursuant to the express terms of the Members Agreement Relating to the

 Company, dated November 15, 2017, HarbourVest is authorized to transfer its interests in

 HCLOF to a wholly-owned and controlled subsidiary of the Debtor pursuant to the terms of the

 Transfer Agreement for Ordinary Shares of Highland CLO Funding, Ltd. without the need to

 obtain the consent of any party or to offer such interests first to any other investor in HCLOF.

         7.       The Court shall retain exclusive jurisdiction to hear and determine all matters

 arising from the implementation of this Order.

                                            ###End of Order###




 3
  This includes the Debtor’s First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated Claims; (C)
 Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims; and (F) Insufficient-Documentation Claims
 [Docket No. 906].

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                                SETTLEMENT AGREEMENT

         This Settlement Agreement (the “Agreement”) is entered into as of December 23, 2020,
 between Highland Capital Management, L.P. (the “Debtor”), on the one hand, and HarbourVest
 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX
 Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and
 HarbourVest Partners L.P. (each, a “HarbourVest Party,” and collectively, “HarbourVest”), on
 the other hand. Each of the foregoing are sometimes referred to herein collectively as the
 “Parties” and individually as a “Party.”

                                        RECITALS

         WHEREAS, on October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary
 petition for relief under chapter 11 of the Bankruptcy Code (the “Bankruptcy Case”) in the
 Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware
 Bankruptcy Court”);

         WHEREAS, on December 4, 2019, the Delaware Bankruptcy Court entered an order
 transferring venue of the Debtor’s case to the Bankruptcy Court for the Northern District of
 Texas, Dallas Division, Case No. 19-34054-sgj (the “Bankruptcy Court”);

         WHEREAS, prior to the Petition Date, HarbourVest invested in Highland CLO Funding,
 Ltd. f/k/a Acis Loan Funding, Ltd. (“HCLOF”) and acquired an a 49.98% ownership interest in
 HCLOF (the “HarbourVest Interests”);

        WHEREAS, the portfolio manager for HCLOF is Highland HCF Advisor, Ltd., a
 subsidiary of the Debtor;

        WHEREAS, on April 8, 2020, HarbourVest filed proofs of claim in the Bankruptcy
 Case, which are listed on the Debtor’s claims register as claim numbers 143, 147, 149, 150, 153,
 and 154 (the “HarbourVest Claims”), asserting claims against the Debtor relating to its
 investment in HCLOF;

        WHEREAS, on July 30, 2020, the Debtor filed the Debtor’s First Omnibus Objection to
 Certain (a) Duplicate Claims; (b) Overstated Claims; (c) Late-Filed Claims; (d) Satisfied
 Claims; (e) No Liability Claims; and (f) Insufficient-Documentation Claims [Docket No. 906], in
 which the Debtor objected to the HarbourVest Claims;

        WHEREAS, on September 11, 2020, HarbourVest filed the HarbourVest Response to
 Debtor’s First Omnibus Objection to Creation (a) Duplicate Claims; (b) Overstated Claims; (c)
 Late-Filed Claims; (d) Satisfied Claims; (e) No Liability Claims; and (f) Insufficient-
 Documentation Claims [Docket No. 1057] (the “HarbourVest Response”);

       WHEREAS, on October 18, 2020, HarbourVest filed the Motion of HarbourVest
 Pursuant to Rule 3018(a) of the Federal Rules of Bankruptcy Procedure for Temporary
 Allowance of Claims for Purposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the
 “3018 Motion” and together with the HarbourVest Response, the “HarbourVest Pleadings”);

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        WHEREAS, in the HarbourVest Pleadings, HarbourVest asserted, among other things,
 that the HarbourVest Claims included claims against the Debtor arising from fraudulent
 inducement, fraudulent concealment, fraudulent misrepresentation, breach of fiduciary duty,
 breach of securities laws, and misuse of assets and sought damages in excess of $300,000,000;

            WHEREAS, the Debtor disputes the HarbourVest Claims;

        WHEREAS, on November 24, 2020, the Debtor filed the Fifth Amended Plan of
 Reorganization for Highland Capital Management, L.P. [Docket No. 1472] (as amended, the
 “Plan”).1

        WHEREAS, the Parties desire to enter into this Agreement which incorporates,
 formalizes, and finalizes the full and final resolution of the HarbourVest Claims and
 HarbourVest Pleadings; and

        WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
 pursuant to Federal Rule of Bankruptcy Procedure 9019 (“Rule 9019”).

        NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
 and promises made herein, and other good and valuable consideration, the receipt of which is
 hereby acknowledged, the Parties agree as follows:

            1.       Settlement of Claims.

                     (a)      In full and complete satisfaction of the HarbourVest Claims, HarbourVest
 will receive:

                     (i)     an allowed, nonpriority general unsecured claim in the aggregate
 amount of $45,000,000 (the “Allowed GUC Claim”); and

                      (ii)  an allowed subordinated claim in the aggregate amount of
 $35,000,000 (the “Allowed Subordinated Claim” and together with the Allowed GUC Claim, the
 “Allowed Claims”).

                 (b)    On the Effective Date, HarbourVest will transfer all of its rights, title, and
 interest in the HarbourVest Interests to the Debtor or its nominee pursuant to the terms of the
 Transfer Agreement for Ordinary Shares of Highland CLO Funding, Ltd., attached hereto as
 Exhibit A (the “Transfer Agreements”) and the Debtor or its nominee will become a shareholder
 of HCLOF with respect to the HarbourVest Interests. The terms of the Transfer Agreements are
 incorporated into this Agreement by reference.

            2.       Releases.

                 (a)    Upon the Effective Date, and to the maximum extent permitted by law,
 each HarbourVest Party on behalf of itself and each of its current and former advisors, trustees,
 directors, officers, managers, members, partners, employees, beneficiaries, shareholders, agents,

 1
     All capitalized terms used but not defined herein shall have the meanings given to them in the Plan.
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 participants, subsidiaries, parents, successors, designees, and assigns hereby forever, finally,
 fully, unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and
 covenants never to sue, the Debtor, HCLOF, HCLOF’s current and former directors, and the
 Debtor’s current and former advisors, trustees, directors, officers, managers, members, partners,
 employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents, affiliates,
 successors, designees, and assigns, except as expressly set forth below (the “Debtor Released
 Parties”), for and from any and all claims, debts, liabilities, demands, obligations, promises, acts,
 agreements, liens, losses, costs and expenses (including, without limitation, attorney’s fees and
 related costs), damages, injuries, suits, actions, and causes of action of whatever kind or nature,
 whether known or unknown, suspected or unsuspected, matured or unmatured, liquidated or
 unliquidated, contingent or fixed, at law or in equity, statutory or otherwise, including, without
 limitation, any claims, defenses, and affirmative defenses, whether known or unknown,
 including, without limitation, those which were or could have been asserted in, in connection
 with, or with respect to the Bankruptcy Case (collectively, the “HarbourVest Released Claims”).

                 (b)     Upon the Effective Date, and to the maximum extent permitted by law, the
 Debtor hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,
 remises, and exonerates, and covenants never to sue (i) each HarbourVest Party and (ii) each
 HarbourVest Party’s current and former advisors, trustees, directors, officers, managers,
 members, partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries,
 parents, affiliates, successors, designees, and assigns (the “HarbourVest Released Parties”), for
 and from any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
 liens, losses, costs and expenses (including, without limitation, attorney’s fees and related costs),
 damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known
 or unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
 contingent or fixed, at law or in equity, statutory or otherwise, including, without limitation, any
 claims, defenses, and affirmative defenses, whether known or unknown, which were or could
 have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively,
 the “Debtor Released Claims”); provided, however, that notwithstanding anything herein to the
 contrary, the release contained in this Section 2(b) will apply to the HarbourVest Released
 Parties set forth in subsection (b)(ii) only with respect to Debtor Released Claims arising from or
 relating to HarbourVest’s ownership of the HarbourVest Interests.

                 (c)     Notwithstanding anything in this Agreement to the contrary, the releases
 set forth herein will not apply with respect to (i) the Allowed Claims, (ii) the claims of Charlotte
 Investor IV, L.P., or (iii) the duties, rights, or obligations of any Party under this Agreement or
 the Transfer Agreements.

         3.      Agreement Subject to Bankruptcy Court Approval. The effectiveness of this
 Agreement and the Parties’ obligations hereunder are conditioned in all respects on the approval
 of this Agreement by the Bankruptcy Court. The Parties agree to cooperate and use reasonable
 efforts to have this Agreement approved by the Bankruptcy Court. The “Effective Date” will be
 the date of an order entered by the Bankruptcy Court approving this Agreement pursuant to a
 motion filed under Rule 9019.




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         4.       Representations and Warranties. Subject in all respects to Section 3 hereof:

                 (a)     each HarbourVest Party represents and warrants that (i) it has full
 authority to enter into this Agreement and to release the HarbourVest Released Claims and has
 not sold, transferred, or assigned any HarbourVest Released Claim to any other person or entity,
 (ii) no person or entity other than such HarbourVest Party has been, is, or will be authorized to
 bring, pursue, or enforce any HarbourVest Released Claim on behalf of, for the benefit of, or in
 the name of (whether directly or derivatively) of such HarbourVest Party; and (iii) HarbourVest
 owns all of the HCLOF Interests free and clear of any claims or interests; and

                 (b)     the Debtor represents and warrants to HarbourVest that (i) it has full
 authority to enter into this Agreement and to release the Debtor Released Claims and (ii) no
 person or entity other than the Debtor has been, is, or will be authorized to bring, pursue, or
 enforce any Debtor Released Claim on behalf of, for the benefit of, or in the name of (whether
 directly or derivatively) of the Debtor Party.

         5.       Plan Support.

                 (a)     Each HarbourVest Party hereby agrees that it will (a) vote all HarbourVest
 Claims held by such HarbourVest Party to accept the Plan, by delivering its duly executed and
 completed ballots accepting the Plan on a timely basis; and (b) not (i) change, withdraw, or
 revoke such vote (or cause or direct such vote to be changed withdrawn or revoked); (ii) exercise
 any right or remedy for the enforcement, collection, or recovery of any claim against the Debtor
 except in a manner consistent with this Agreement or the Plan, (iii) object to, impede, or take any
 action other action to interfere with, delay or postpone acceptance or confirmation of the Plan;
 (iv) directly or indirectly solicit, propose, file, support, participate in the formulation of or vote
 for, any restructuring, sale of assets (including pursuant to 11 U.S.C. § 363), merger, workout, or
 plan of reorganization of the Debtor other than the Plan; or (v) otherwise take any action that
 would in any material respect interfere with, delay, or postpone the consummation of the Plan;
 provided, however, that such vote may be revoked (and, upon such revocation, deemed void ab
 initio) by such HarbourVest Party at any time following the termination of this agreement or the
 occurrence of a Support Termination Event (it being understood that any termination of this
 agreement shall entitle each HarbourVest Party to change its vote in accordance with section
 1127(d) of the Bankruptcy Code), notwithstanding any voting deadline established by the
 Bankruptcy Court including without limitation the January 5, 2021, 5:00 p.m. (prevailing Central
 Time) deadline established by the Order Approving Form of Ballots, Voting Deadline and
 Solicitation Procedures [Docket No. 1476].

               (b)     In full resolution of the 3018 Motion, HarbourVest will have a general
 unsecured claim for voting purposes only in the amount of $45,000,000.

                 (c)     The obligations of the HarbourVest Parties under this Section 5 shall
 automatically terminate upon the occurrence of any of the following (each a “Support
 Termination Event”): (i) the effective date of the Plan, (ii) the withdrawal of the Plan, (iii) the
 entry of an order by the Bankruptcy Court (A) converting the Bankruptcy Case to a case under
 chapter 7 of the Bankruptcy Code or (B) appointing an examiner with expanded powers beyond
 those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code or a trustee in Bankruptcy

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  Case, or (iv) the failure of the Court to enter an order approving the terms of this Agreement and
  the settlement described herein pursuant to Rule 9019 prior to confirmation of the Plan.

         6.      No Admission of Liability. The Parties acknowledge that there is a bona fide
  dispute with respect to the HarbourVest Claims. Nothing in this Agreement will imply, an
  admission of liability, fault or wrongdoing by the Debtor, HarbourVest, or any other person, and
  the execution of this Agreement does not constitute an admission of liability, fault, or
  wrongdoing on the part of the Debtor, HarbourVest, or any other person.

         7.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
  the benefit of each of the Parties and their successors, and assigns.

          8.      Notice. Each notice and other communication hereunder will be in writing and
  will be sent by email and delivered or mailed by registered mail, receipt requested, and will be
  deemed to have been given on the date of its delivery, if delivered, and on the fifth full business
  day following the date of the mailing, if mailed to each of the Parties thereto at the following
  respective addresses or such other address as may be specified in any notice delivered or mailed
  as set forth below:

          HARBOURVEST

          HarbourVest Partners L.P.
          Attention: Michael J. Pugatch
          One Financial Center
          Boston, MA 02111
          Telephone No. 617-348-3712
          E-mail: mpugatch@harbourvest.com

          with a copy (which shall not constitute notice) to:

          Debevoise & Plimpton LLP
          Attention: M. Natasha Labovitz, Esq.
          919 Third Avenue
          New York, NY 10022
          Telephone No. 212-909-6649
          E-mail: nlabovitz@debevoise.com

          THE DEBTOR

          Highland Capital Management, L.P.
          300 Crescent Court, Suite 700
          Dallas, Texas 75201
          Attention: James P. Seery, Jr.
          Telephone No.: 972-628-4100
          Facsimile No.: 972-628-4147
          E-mail: jpseeryjr@gmail.com


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          with a copy (which shall not constitute notice) to:

          Pachulski Stang Ziehl & Jones LLP
          Attention: Jeffrey Pomerantz, Esq.
          10100 Santa Monica Blvd., 13th Floor
          Los Angeles, CA 90067
          Telephone No.: 310-277-6910
          Facsimile No.: 310-201-0760
          E-mail: jpomerantz@pszjlaw.com

          9.     Advice of Counsel. Each Party represents that it has: (a) been adequately
  represented by independent legal counsel of its own choice, throughout all of the negotiations
  that preceded the execution of this Agreement; (b) executed this Agreement upon the advice of
  such counsel; (c) read this Agreement, and understands and assents to all the terms and
  conditions contained herein without any reservations; and (d) had the opportunity to have this
  Agreement and all the terms and conditions contained herein explained by independent counsel,
  who has answered any and all questions asked of such counsel, or which could have been asked
  of such counsel, including, but not limited to, with regard to the meaning and effect of any of the
  provisions of this Agreement.

          10.    Entire Agreement. This Agreement and the Transfer Agreement contain the
  entire agreement and understanding concerning the subject matter of this Agreement, and
  supersede and replace all prior negotiations and agreements, written or oral and executed or
  unexecuted, concerning such subject matter. Each of the Parties acknowledges that no other
  Party, nor any agent of or attorney for any such Party, has made any promise, representation or
  warranty, express or implied, written or oral, not otherwise contained in this Agreement to
  induce any Party to execute this Agreement. The Parties further acknowledge that they are not
  executing this Agreement in reliance on any promise, representation or warranty not contained in
  this Agreement, and that any such reliance would be unreasonable. This Agreement will not be
  waived or modified except by an agreement in writing signed by each Party or duly authorized
  representative of each Party.

          11.    No Party Deemed Drafter. The Parties acknowledge that the terms of this
  Agreement are contractual and are the result of arms’-length negotiations between the Parties
  and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
  of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
  construed against any Party.

        12.    Future Cooperation. The Parties agree to cooperate and execute such further
  documentation as is reasonably necessary to effectuate the intent of this Agreement.

          13.     Counterparts. This Agreement may be executed in counterparts with the same
  force and effect as if executed in one complete document. Each Party’s signature hereto will
  signify acceptance of, and agreement to, the terms and provisions contained in this Agreement.
  Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
  originals of this Agreement for any purpose.


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          14.     Governing Law; Venue; Attorneys’ Fees and Costs. The Parties agree that this
  Agreement will be governed by and will be construed according to the laws of the State of Texas
  without regard to conflict-of-law principles. Each of the Parties hereby submits to the exclusive
  jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and thereafter
  to the exclusive jurisdiction of the state and federal courts located in the Northern District of
  Texas, Dallas Division, with respect to any disputes arising from or out of this Agreement. In
  any action to enforce this Agreement, the prevailing party shall be entitled to recover its
  reasonable and necessary attorneys’ fees and costs (including experts).

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  IT IS HEREBY AGREED.

                                          HIGHLAND CAPITAL MANAGEMENT, L.P.


                                          By:   /s/ James P. Seery, Jr.
                                          Name: James P. Seery, Jr.
                                          Its:  CEO/CRO

  HarbourVest 2017 Global Fund L.P., by HarbourVest 2017 Global Associates L.P., its
  General Partner, by HarbourVest GP LLC, its General Partner, by HarbourVest Partners,
  LLC, its Managing Member


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director

  HarbourVest 2017 Global AIF L.P., by HarbourVest Partners (Ireland) Limited, its
  Alternative Investment Fund Manager, by HarbourVest Partners L.P., its Duly Appointed
  Investment Manager, by HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director

  HarbourVest Dover Street IX Investment L.P., by HarbourVest Partners L.P., its Duly
  Appointed Investment Manager, by HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director

  HarbourVest Partners L.P., on behalf of funds and accounts under management, by
  HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director




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  HarbourVest Skew Base AIF L.P., by HarbourVest Partners (Ireland) Limited, its
  Alternative Investment Fund Manager, by HarbourVest Partners L.P., its Duly Appointed
  Investment Manager, by HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director


  HV International VIII Secondary L.P., by HIPEP VIII Associates L.P., its General
  Partner, by HarbourVest GP LLC, its General Partner, by HarbourVest Partners, LLC,
  its Managing Member


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director




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                                       Exhibit A




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                                   TRANSFER AGREEMENT
                                  FOR ORDINARY SHARES OF
                                HIGHLAND CLO FUNDING, LTD.

  This Transfer Agreement, dated as of January ____, 2021 (this “Transfer Agreement”), is
  entered into by and among Highland CLO Funding, Ltd. (the “Fund”), Highland HCF Advisor,
  Ltd. (the “Portfolio Manager”), HCMLP Investments, LLC (the “Transferee”) and each of the
  following: HarbourVest Dover Street IX Investment L.P., HarbourVest 2017 Global AIF L.P.,
  HarbourVest 2017 Global Fund L.P., HV International VIII Secondary L.P., and HarbourVest
  Skew Base AIF L.P. (collectively, the “Transferors”).

  WHEREAS, each Transferor is the record, legal and beneficial owner of the number of ordinary
  shares (“Shares”) of the Fund set forth opposite such Transferor’s name on Exhibit A hereto
  (with respect to each Transferor, the “Transferred Shares”).

  WHEREAS the Transferee is an affiliate and wholly owned subsidiary of Highland Capital
  Management, L.P. (“HCMLP”) which is one of the initial members of the Fund.

  WHEREAS, each Transferor wishes to transfer and assign 100% of its rights, title and interest as
  a shareholder in the Fund, including the Transferred Shares (the “Interest”) on the terms set
  forth in this Transfer Agreement.

  WHEREAS, subject to and in connection with the approval of that certain Settlement
  Agreement, dated on or about the date hereof, by and among HCMLP and the Transferors (the
  “Settlement Agreement”), the Transferee desires that the Interest be transferred to Transferee
  and that thereafter the Transferee will become a Shareholder and the Transferors will no longer
  be Shareholders.

  WHEREAS, the Portfolio Manager desires to consent to such transfers and to the admission of
  Transferee as a Shareholder on the terms set forth herein, and the Transferors and Transferee
  agree to such terms.

  WHEREAS, the Fund desires to amend its records to reflect the foregoing transfers.

  NOW, THEREFORE, the parties hereto agree as follows:

  1. Transfer of Shares and Advisory Board

      a. Each Transferor hereby transfers and assigns all of its rights, title, and interest in its
         Interest to the Transferee, and the Transferee wishes to be admitted to the Fund as a
         Shareholder.

      b. In connection with the transfer of the Interest as contemplated herein, the Transferee shall
         be granted the right to appoint a representative to the Fund’s advisory board (the
         “Advisory Board”) to replace the Transferors’ appointed representative to the Advisory
         Board.




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      c. Transferee hereby assumes all of Transferor’s rights and obligations in respect of the
         Interest effective as of the Effective Date (as defined below) and acknowledge that
         thereafter Transferee shall be subject to the applicable terms and provisions of the
         Members’ Agreement dated as of November 15, 2017 (the “Members’ Agreement”), the
         Articles of Incorporation adopted November 15, 2017 (the “Articles”) and the
         Subscription and transfer Agreement, dated as of November 15, 2017 among each
         Transferor, the Fund and the Portfolio Manager (the “Subscription Agreement”, and
         together with the Members’ Agreement and the Articles, the “Fund Agreements”) with
         respect to the Interest. Transferee does not assume any liability or responsibility for any
         obligations or liabilities incurred by any Transferor prior to the Effective Date of the
         transfer.

      d. Following the transfer, each Transferor shall have no further rights or obligations to any
         party hereunder in respect of the Interest under the Fund Agreements.

      e. This Transfer Agreement, and the parties’ obligations hereunder, are conditioned in all
         respects on the approval by the Bankruptcy Court for the Northern District of Texas,
         Dallas Division pursuant to Federal Rule of Bankruptcy Procedure 9019 of (i) this
         Transfer Agreement and (ii) the Settlement Agreement, and each of the parties agree that
         no further action shall be required from any party for the transfer of the Interest to be
         effective except as described herein.

  2. Transferee’s Representations and Warranties. The Transferee represents and warrants to the
     Transferors, the Portfolio Manager, and the Fund as follows:

      a. This Transfer Agreement constitutes a valid and binding obligation of the Transferee,
         enforceable against it in accordance with its terms;

      b. This Transfer Agreement has been duly and validly executed and delivered by or on
         behalf of the Transferee and such execution and delivery have been duly authorized by all
         necessary trust action of the Transferee;

      c. The Transferee acknowledges receipt of, has read, and is familiar with, the Fund’s
         Offering Memorandum for Placing Shares dated November 15, 2017 (the “Offering
         Memorandum”) and the Fund Agreements;

      d. The Transferee hereby accepts and receives the Interest from the Transferors for
         investment, and not with a view to the sale or distribution of any part thereof, and the
         Transferee has no present intention of selling, granting participations in, or otherwise
         distributing the same, but subject nevertheless to any requirement of law that the
         disposition of the Transferee’s property shall at all times be within such Transferee’s
         control; and

      e. The Transferee is an “Eligible U.S. Investor” as defined in the Offering Memorandum.




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  3. Transferors’ Representations and Warranties. Each Transferor represents and warrants to the
     Transferee, the Portfolio Manager, and the Fund as follows:

      a. This Transfer Agreement constitutes a valid and binding obligation of the Transferor,
         enforceable against it in accordance with its terms;

      b. This Transfer Agreement has been duly authorized, and duly and validly executed and
         delivered by the Transferor and such execution and delivery have been duly authorized
         by all necessary action of the Transferor; and

      c. As of the date hereof, the Transferor has good and valid title to the Transferor’s Interest,
         free and clear of any liens, vesting requirements or claims by others.

  4. Consent to Transfer. Based in part on the representations and warranties of the Transferors
     and the Transferee which are included herein, and on the terms contained herein, the
     Portfolio Manager and the Fund hereby consent to the transfers of the Interest, the admission
     of the Transferee as a Shareholder and the Transferee’s appointment of a representative to the
     Advisory Board, the Portfolio Manager’s execution of this Transfer Agreement constituting
     its prior written consent to the transfers of the Interest for the purposes of article 18.1 of the
     Articles and this Transfer Agreement constituting express notice in writing to the Fund of the
     assignment set out at clause 1(c) above for the purposes of the Law of Property
     (Miscellaneous Provisions) (Guernsey) Law, 1979 (as amended).

  5. Completion: As of the date of approval by the Bankruptcy Court for the Northern District of
     Texas, Dallas Division pursuant to Federal Rule of Bankruptcy Procedure 9019 of (i) this
     Transfer Agreement and (ii) the Settlement Agreement (the “Effective Date”):

      a. each Transferor shall deliver or cause to be delivered to the Transferee a transfer
         instrument relating to the Transferred Shares duly executed and completed by that
         Transferor in favor of the Transferee; and

      b. the Transferee shall deliver to the Transferors and the Fund a duly executed and dated
         Adherence Agreement (as defined in the Members' Agreement).

      Prior to the Effective Date the Transferee shall procure that:

      c. the board of directors of the Fund shall hold a meeting at which the transfer of the Shares
         to the Transferee shall be approved and registration in the register of members of the
         Fund shall be effected on the Effective Date.

  6. Miscellaneous.

      a. Each of the parties hereto agree to execute any further instruments and perform any
         further acts which are or may become reasonably necessary to carry out the intent of this
         Transfer Agreement or are reasonably requested by the Portfolio Manager, the Fund or a
         Transferor to complete the transfer of the Interest.


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      b. The parties to this Transfer Agreement acknowledge that the terms of this Transfer
         Agreement are the result of arms’-length negotiations between the parties and their
         respective counsel. Each party and its counsel cooperated in the drafting and preparation
         of this Transfer Agreement. In any construction to be made of this Transfer Agreement,
         the language or drafting of this Transfer Agreement will not be construed against any
         party.

      c. This Transfer Agreement shall be governed by, and construed and enforced in accordance
         with, the internal substantive laws of the state of Delaware, without giving effect to
         conflicts of law principles.

      d. The representations, warranties and covenants of the Transferors and the Transferee shall
         remain in full force and effect following the transfer of the Interest, and the Fund and the
         Portfolio Manager thereafter may rely on all such representations, warranties and
         covenants.

      e. This Transfer Agreement may be executed in multiple counterparts, each of which shall
         be deemed to be an original, but all of which together shall constitute one and the same
         instrument. Photographic, electronic, and facsimile copies of signed counterparts may be
         used in lieu of the originals of this Transfer Agreement for any purpose.

      f. Captions of sections have been added only for convenience and shall not be deemed to be
         a part of this Transfer Agreement.

      g. This Transfer Agreement is among the parties hereto. No Person that is not a party
         hereto shall have any right herein as a third-party beneficiary or otherwise except as
         expressly contemplated hereby.

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          IN WITNESS WHEREOF, the undersigned have executed this Transfer Agreement as of
  the date first above written.

  TRANSFEREE:

  HCMLP Investments, LLC
  By: Highland Capital Management, L.P.
  Its: Member


  By: ______________________________
  Name: James P. Seery, Jr.
  Title: Chief Executive Officer




  PORTFOLIO MANAGER:

  Highland HCF Advisor, Ltd.


  By: ______________________________
  Name: James P. Seery, Jr.
  Title: President



  FUND:
  Highland CLO Funding, Ltd.


  By: ______________________________
  Name:
  Title:




                              [Additional Signatures on Following Page]




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          IN WITNESS WHEREOF, the undersigned have executed this Transfer Agreement as of
  the date first above written.

 TRANSFERORS:

 HarbourVest Dover Street IX Investment L.P.           HV International VIII Secondary L.P.
 By: HarbourVest Partners L.P., its Duly Appointed     By:    HIPEP VIII Associates L.P.
 Investment Manager                                           Its General Partner
 By: HarbourVest Partners, LLC
                                                       By:    HarbourVest GP LLC
                                                              Its General Partner
 By: _____________________
                                                       By:    HarbourVest Partners, LLC
 Name: Michael Pugatch                                        Its Managing Member
 Title: Managing Director                              By: _____________________
                                                       Name: Michael Pugatch
                                                       Title: Managing Director


 HarbourVest 2017 Global AIF L.P.                      HarbourVest Skew Base AIF L.P.
 By:      HarbourVest Partners (Ireland) Limited       By: HarbourVest Partners (Ireland) Limited
 Its Alternative Investment Fund Manager                     Its Alternative Investment Fund Manager

 By:      HarbourVest Partners L.P.                    By:    HarbourVest Partners L.P.
 Its Duly Appointed Investment Manager                        Its Duly Appointed Investment Manager

 By:     HarbourVest Partners, LLC                     By:    HarbourVest Partners, LLC
 Its General Partner                                          Its General Partner

 By: _____________________                             By: _____________________
 Name: Michael Pugatch                                 Name: Michael Pugatch
 Title: Managing Director                              Title: Managing Director




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  HarbourVest 2017 Global Fund L.P.
  By:     HarbourVest 2017 Global Associates L.P.
          Its General Partner

  By:     HarbourVest GP LLC
          Its General Partner

  By:     HarbourVest Partners, LLC
          Its Managing Member

  By: _____________________
  Name: Michael Pugatch
  Title: Managing Director




          [Signature Page to Transfer of Ordinary Shares of Highland CLO Funding, Ltd.]




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                                                                             Exhibit A



  Transferee Name                                   Number of Shares    Percentage

  HarbourVest Dover Street IX Investment L.P.         54,355,482.14     71.0096%

  HarbourVest 2017 Global AIF L.P.                    7,426,940.38       9.7025%

  HarbourVest 2017 Global Fund L.P.                   3,713,508.46       4.8513%

  HV International VIII Secondary L.P.                9,946,780.11      12.9944%

  HarbourVest Skew Base AIF L.P.                      1,103,956.03       1.4422%




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                               APPENDIX 




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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS

     CHARITABLE DAF FUND, L.P.          §
     and CLO HOLDCO, LTD.,              §
     directly and derivatively,         §
                                        §
                   Plaintiffs,          §
                                        §
                       v.               §                   Cause No. __________________________
                                        §
     HIGHLAND CAPITAL MANAGEMENT, §
     L.P. , HIGHLAND HCF ADVISOR, LTD., §
     and HIGHLAND CLO FUNDING, LTD., §
     nominally,                         §
                                        §
                  Defendants.           §



                                          ORIGINAL COMPLAINT


                                                       I.
                                               INTRODUCTION
            This action arises out of the acts and omissions of Defendant Highland Capital

 Management, L.P. (“HCM”), which is the general manager of Highland HCF Advisor, Ltd.

 (“HCFA”), both of which are registered investment advisers under the Investment Advisers Act of

 1940 (the “Advisers Act”),1 and nominal Defendant Highland CLO Funding, Ltd. (“HCLOF”)

 (HCM and HCFA each a “Defendant,” or together, “Defendants”). The acts and omissions which

 have recently come to light reveal breaches of fiduciary duty, a pattern of violations of the

 Advisers Act’s anti-fraud provisions, and concealed breaches of the HCLOF Company Agreement,

 among others, which have caused and/or likely will cause Plaintiffs damages.




 1
     https://adviserinfo.sec.gov/firm/summary/110126




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         At all relevant times, HCM was headed by CEO and potential party James P. Seery

 (“Seery”). Seery negotiated a settlement with the several Habourvest2 entities who owned 49.98%

 of HCLOF. The deal had HCM (or its designee) purchasing the Harbourvest membership interests

 in HCLOF for $22.5 million. Recent revelations, however, show that the sale was predicated upon

 a sales price that was vastly below the Net Asset Value (“NAV”) of those interests. Upon

 information and belief, the NAV of HCLOF’s assets had risen precipitously, but was not disclosed

 to Harbourvest nor to Plaintiffs.

         Under the Advisers Act, Defendants have a non-waivable duty of loyalty and candor, which

 includes its duty not to inside trade with its own investors, i.e., not to trade with an investor to

 which HCM and Seery had access to superior non-public information. Upon information and

 belief, HCM’s internal compliance policies required by the Advisers Act would not generally have

 allowed a trade of this nature to go forward—meaning, the trade either was approved in spite of

 compliance rules preventing it, or the compliance protocols themselves were disabled or amended

 to a level that leaves Defendants HCM and HCLOF exposed to liability. Thus, Defendants have

 created an unacceptable perpetuation of exposure to liability.

         Additionally, Defendants are liable for a pattern of conduct that gives rise to liability for

 their conduct of the enterprise consisting of HCM in relation to HCFA and HCLOF, through a

 pattern of concealment, misrepresentation, and violations of the securities rules. In the alternative,

 HCFA and HCM, are guilty of self-dealing, violations of the Advisers Act, and tortious

 interference by (a) not disclosing that Harbourvest had agreed to sell at a price well below the

 current NAV, and (b) diverting the Harbourvest opportunity to themselves.



   2
    “Habourvest” refers to the collective of Harbourvest Dover Street IX Investment, L.P., Harbourvest
 2017 Global AIF, L.P., Harbourvest 2017 lobal Fund, L.P., HV International VIII Secondary, L.P., and
 Harbourvest Skew Base AIF, L.P. Each was a member of Defendant Highland CLO Funding, Ltd.

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         For these reasons, judgment should be issued in Plaintiffs’ favor.

                                                   II.
                                               PARTIES
         1.      Plaintiff CLO Holdco, Ltd. is a limited company incorporated under the laws of

 the Cayman Islands.

         2.      Plaintiff Charitable DAF Fund, L.P., (“DAF”) is a limited partnership formed under

 the laws of the Cayman Islands.

         3.      Defendant Highland Capital Management, L.P. is a limited partnership with its

 principal place of business at 300 Crescent Court, Suite 700, Dallas, Texas 75201. It may be served

 at its principal place of business or through its principal officer, James P. Seery, Jr., or through the

 Texas Secretary of State, or through any other means authorized by federal or state law.

         4.      Defendant Highland HCF Advisor, Ltd. is a limited company incorporated under

 the laws of the Cayman Islands. Its principal place of business is 300 Crescent Court, Suite 700,

 Dallas, Texas 75201. It is a registered investment adviser (“RIA”) subject to the laws and

 regulations of the Investment Advisers Act of 1940 (the “Adviser’s Act”). It is a wholly-owned

 subsidiary of Highland Capital Management, L.P.

         5.      Nominal Defendant Highland CLO Funding, Ltd. is a limited company

 incorporated under the laws of the Island of Guernsey. Its registered office is at First Floor, Dorey

 Court, Admiral Park, St. Peter Port, Guernsey GY1 6HJ, Channel Islands. Its principal place of

 business is 300 Crescent Court, Suite 700, Dallas, Texas 75201.

         6.      Potential party James P. Seery, Jr. (“Seery”) is an officer and/or director and/or

 control person of Defendants Highland Capital Management, L.P., Highland CLO Funding, Ltd.,

 and Highland HCF Advisor, Ltd., and is a citizen of and domiciled in Floral Park, New York.




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                                                    III.
                                   JURISDICTION AND VENUE
         7.      This Court has subject matter jurisdiction over this dispute under 28 U.S.C. § 1331

 as one or more rights and/or causes of action arise under the laws of the United States. This Court

 has supplemental subject matter jurisdiction over all other claims under 28 U.S.C. § 1367.

         8.      Personal jurisdiction is proper over the Defendants because they reside and/or have

 continual contacts with the state of Texas, having regularly submitted to jurisdiction here.

 Jurisdiction is also proper under 18 U.S.C. § 1965(d).

         9.      Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c) because one or

 more Defendants reside in this district and/or a substantial part of the events or omissions giving

 rise to the claim occurred or a substantial part of property that is the subject of the action is situated

 in this district. Venue in this district is further provided under 18 U.S.C. § 1965(d).

                                                    IV.
                                    RELEVANT BACKGROUND
                                         HCLOF IS FORMED
         10.     Plaintiff DAF is a charitable fund that helps several causes throughout the country,

 including providing funding for humanitarian issues (such as veteran’s welfare associations and

 women’s shelters), public works (such as museums, parks and zoos), and education (such as

 specialty schools in underserved communities). Its mission is critical.

         11.     Since 2012, DAF was advised by its registered investment adviser, Highland

 Capital Management, L.P., and its various subsidiaries, about where to invest. This relationship

 was governed by an Investment advisory Agreement.




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         12.     At one point in 2017, HCM advised DAF to acquire 143,454,001 shares of HCLOF,

 with HCFA (a subsidiary of HCM) serving as the portfolio manager. DAF did so via a holding

 entity, Plaintiff CLO Holdco, Ltd.

         13.     On November 15, 2017, through a Subscription and Transfer Agreement, the DAF

 entered into an agreement with others to sell and transfer shares in HCLOF, wherein the DAF

 retained 49.02% in CLO Holdco.

         14.     Pursuant to that agreement, Harbourvest acquired the following interests in the

 following entities:

         Harbourvest Dover Street IX Investment, L.P., acquired 35.49%;

         Harbourvest 2017 Global AIF, L.P., acquired 2.42%;

         Harbourvest 2017 lobal Fund, L.P., acquired 4.85%;

         HV International VIII Secondary, L.P., acquired 6.5%; and

         Harbourvest Skew Base AIF, L.P., acquired 0.72%;

 for a total of 49.98% (altogether, the “Harbourvest interests”).

         15.     On or about October 16, 2019, Highland Capital Management filed for Chapter 11

 bankruptcy in Delaware Bankruptcy Court, which was later transferred to the Northern District of

 Texas Bankruptcy Court, in the case styled In Re: Highland Capital Management, L.P., Debtor,

 Cause No. 19-34054, (the “HCM Bankruptcy” and the Court is the “Bankruptcy Court”).

                               The Harbourvest Settlement with
                         Highland Capital Management in Bankruptcy

         16.     On April 8, 2020, Harbourvest submitted its proofs of claim in the HCM bankruptcy

 proceeding. Annexed to its proofs of claims was an explanation of the Proof of Claim and the basis

 therefor setting out various pre-petition allegations of wrongdoing by HCM. See, e.g., Case No.

 19-bk-34054, Doc. 1631-5.


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         17.     The debtor, HCM, made an omnibus response to the proofs of claims, stating they

 were duplicative of each other, overstated, late, and otherwise meritless.

         18.     Harbourvest responded to the omnibus objections on September 11, 2020. See

 Cause No. 19-bk-34054, Doc. 1057.

         19.     Harbourvest represented that it had invested in HCLOF, purchasing 49.98% of

 HCLOF’s outstanding shares.

         20.     Plaintiff CLO Holdco was and is also a 49.02% holder of HCLOF’s member

 interests.

         21.     In its Omnibus Response, Harbourvest explained that its claims included

 unliquidated legal claims for fraud, fraud in the inducement, RICO violations under 18 U.S.C.

 1964, among others (the “Harbourvest Claims”). See Cause No. 19-bk-34054, Doc. 1057.

         22.     The Harbourvest Claims centered on allegations that when Harbourvest was

 intending to invest in a pool of Collateralized Loan Obligations, or CLOs, that were then-managed

 by Acis Capital Management (“Acis”), a subsidiary of HCM, HCM failed to disclose key facts

 about ongoing litigation with a former employee, Josh Terry.

         23.     Harbourvest contended that HCM never sufficiently disclosed the underlying facts

 about the litigation with Terry, and HCM’s then-intended strategy to fight Terry caused HCLOF

 to incur around $15 million in legal fees and costs. It contended that had it known the nature of the

 lawsuit and how it would eventually turn out, Harbourvest never would have invested in HCLOF.

 See Cause No. 19-bk-34054, Doc. 1057.

         24.     HCLOF’s portfolio manager is HCFA. HCM is the parent of HCFA and is managed

 by its General Partner, Strand Management, who employs Seery and acts on behalf of HCM.




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         25.      Before acceding to the Harbourvest interests, HCM was a 0.6% holder of HCLOF

 interests.

         26.      While even assuming Harbourvest’s underlying claims were valid as far as the lost

 $15 million went, the true damage of the legal fees to Harbourvest would have been 49.98% of the

 HCLOF losses (i.e., less than $7.5 million). Harbourvest claimed that it had lost over $100 million

 in the HCLOF transaction due to fraud, which, after trebling under the racketeering statute, it

 claimed it was entitled to over $300 million in damages.

         27.      In truth, as of September 2020, Harbourvest had indeed lost some $52 million due

 to the alleged diminishing value of the HCLOF assets (largely due to the underperformance of the

 Acis entities3)—and the values were starting to recover.

         28.      HCM denied the allegations in the Bankruptcy Court. Other than the claim for

 waste of corporate assets of $15 million, HCM at all times viewed the Harbourvest legal claims as

 being worth near zero and having no merit.

         29.      On December 23, 2020, HCM moved the Court to approve a settlement between

 itself and Harbourvest. No discovery had taken place between the parties, and Plaintiff did not

 have any notice of the settlement terms or other factors prior to the motion’s filing (or even during

 its pendency) in order to investigate its rights.

         30.      HCM set the hearing right after the Christmas and New Year’s holidays, almost

 ensuring that no party would have the time to scrutinize the underpinnings of the deal.

         31.      On January 14, 2021, the Bankruptcy Court held an evidentiary hearing and

 approved the settlement in a bench ruling, overruling the objections to the settlement.




 3
   Acis was being managed by Joshua Terry. JP Morgan had listed the four ACIS entities under his management as
 the four worst performers of the 1200 CLOs it evaluated.

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         32.     An integral part of the settlement was allowing $45 million in unsecured claims

 that, at the time of the agreement, were expected to net Harbourvest around 70 cents on the dollar.

 In other words, Harbourvest was expected to recover around $31,500,000 from the allowed claims.

         33.     As part of the consideration for the $45 million in allowed claims, Harbourvest

 agreed to transfer all of its interests in HCLOF to HCM or its designee.

         34.     HCM and Seery rationalized the settlement value by allocating $22.5 million of the

 net value of the $45 million in unsecured claims as consideration to purchase Harbourvest’s

 interests in HCLOF, meaning, if 70% of the unsecured claims—i.e., $31.5 million—was realized,

 because $22.5 million of that would be allocated to the purchase price of the Harbourvest interests

 in HCLOF, the true “settlement” for Harbourvest’s legal claims was closer to $9 million.

         35.     Plaintiffs here are taking no position at this time about the propriety of settling the

 Harbourvest legal claims for $9 million. That is for another day.

         36.     At the core of this lawsuit is the fact that HCM purchased the Harbourvest interests

 in HCLOF for $22.5 million knowing that they were worth far more than that.

         37.     It has recently come to light that, upon information and belief, the Harbourvest

 interests, as of December 31, 2020, were worth in excess of $41,750,000, and they have continued

 to go up in value.

         38.     On November 30, 2020, which was less than a month prior to the filing of the

 Motion to Approve the Settlement, the net asset value of those interests was over $34.5 million.

 Plaintiffs were never made aware of that.

         39.     The change is due to how the net asset value, or NAV, was calculated. The means

 and methods for calculating the “net asset value” of the assets of HCLOF are subject to and




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governed by the regulations passed by the SEC pursuant to the Adviser’s Act, and by HCM’s

internal policies and procedures.

          40.     Typically, the value of the securities reflected by a market price quote.

          41.     However, the underlying securities in HCLOF are not liquid and had not been

traded in a long while.

          42.     There not having been any contemporaneous market quotations that could be used

in good faith to set the marks4 meant that other prescribed methods of assessing the value of the

interests, such as the NAV, would have been the proper substitutes.

          43.     Seery testified that the fair market value of the Harbourvest HCLOF interests was

$22.5 million. Even allowing some leeway there, it was off the mark by a mile.

          44.     Given the artifice described herein, Seery and the entity Defendants had to know

that the representation of the fair market value was false. But it does not appear that they disclosed

it to Harbourvest to whom they owed fiduciary duties as the RIA in charge of HCLOF, and they

certainly did not disclose the truth to the Plaintiff.

          45.     It is either the case that (i) Defendants conducted the proper analysis to obtain a

current value of the assets but decided to use a far lower valuation in order to whitewash the

settlement or enrich the bankruptcy estate; or (ii) Defendants never conducted the proper current

valuation, and therefore baselessly represented what the current value of the assets was, despite

knowingly having no reasonable basis for making such a claim.

          46.     For years HCM had such internal procedures and compliance protocols. HCM was

not allowed by its own compliance officers to trade with an investor where HCM had superior

knowledge about the value of the assets, for example. While Plaintiff has no reason to believe that



  4
      The term “mark” is shorthand for an estimated or calculated value for a non-publicly traded instrument.

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 those procedures were scrapped in recent months, it can only assume that they were either

 overridden improperly or circumvented wholesale.

         47.     Upon finalizing the Harbourvest Settlement Agreement and making representations

 to the Bankruptcy Court to the Plaintiffs about the value of the Harbourvest Interests, Seery and

 HCM had a duty to use current values and not rely on old valuations of the assets or the HCLOF

 interests.

         48.     Given Defendants’ actual or constructive knowledge that they were purchasing

 Harbourvest’s Interests in HCLOF for a less than 50% of what those interests were worth—

 Defendants owed Plaintiff a fiduciary duty not to purchase them for themselves.

         49.     Defendants should have either had HCLOF repurchase the interests with cash, or

 offer those interests to Plaintiff and the other members pro rata, before HCM agreed to purchase

 them all lock, stock and barrel, for no up-front cash.

         50.     Indeed, had Plaintiff been offered those interests, it would have happily purchased

 them and therefore would have infused over $20 million in cash into the estate for the purpose of

 executing the Harbourvest Settlement.

         51.     That Defendants (and to perhaps a lesser extent, the Unsecured Creditors

 Committee (the “UCC”)) agreed to pay $22.5 million for the HCLOF assets, where they had

 previously not consented to any such expenditure by the estate on behalf of HCLOF, strongly

 indicates their awareness that they were purchasing assets for far below market value.

         52.     The above is the most reasonable and plausible explanation for why Defendants

 and the UCC forwent raising as much as $22.5 million in cash now in favor of hanging on to the

 HCLOF assets.




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         53.      Indeed, in January 2021 Seery threatened Ethen Powell that “[Judge Jernigan] is

 laughing at you” and “we are coming after you” in response to the latter’s attempt to exercise his

 right as beneficial holder of the CLO, and pointing out a conflict of interest in Seery’s plan to

 liquidate the funds.

         54.      HCM’s threat, made by Seery, is tantamount to not only a declaration that he

 intends to liquidate the funds regardless of whether the investors want to do so, and whether it is

 in their best interests, but also that HCM intends to leverage what it views as the Bankruptcy

 Court’s sympathy to evade accountability.

                                                       V.

                                          CAUSES OF ACTION

                                         FIRST CAUSE OF ACTION
                                        Breaches of Fiduciary Duty

         55.      Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

 forth herein and further alleges the following:

         56.      HCM is a registered investment advisor and acts on behalf of HCFA. Both are

 fiduciaries to Plaintiffs.

         57.      The Advisers Act establishes an unwaivable federal fiduciary duty for investment

 advisers.5




 5
   See e.g, SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 194 (1963); Transamerica Mortg.
 Advisors (tama) v. Lewis, 444 U.S. 11, 17 (1979) (“§ 206 establishes ‘federal fiduciary standards’ to govern
 the conduct of investment advisers.”); Santa Fe Indus, v. Green, 430 U.S. 462, 471, n.11 (1977) (in
 discussing SEC v. Capital Gains, stating that the Supreme Court’s reference to fraud in the “equitable”
 sense of the term was “premised on its recognition that Congress intended the Investment Advisers Act to
 establish federal fiduciary standards for investment advisers”). See also Investment Advisers Act Release
 No. 3060 (July 28, 2010) (“Under the Advisers Act, an adviser is a fiduciary whose duty is to serve the best
 interests of its clients, which includes an obligation not to subrogate clients’ interests to its own”) (citing
 Proxy Voting by Investment Advisers, Investment Advisers Act Release No. 2106 (Jan. 31, 2003)).

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         58.     HCM and the DAF entered into an Amended and Restated Investment Advisory

 Agreement, executed between them on July 1, 2014 (the “RIA Agreement”). It renews annually

 and continued until the end of January 2021.

         59.     In addition to being the RIA to the DAF, HCM was appointed the DAF’s attorney-

 in-fact for certain actions, such as “to purchase or otherwise trade in Financial Instruments that

 have been approved by the General Partner.” RIA Agreement ¶ 4.

         60.     The RIA Agreement further commits HCM to value financial assets “in accordance

 with the then current valuation policy of the Investment Advisor [HCM], a copy of which will

 provided to the General Partner upon request.” RIA Agreement ¶ 5.

         61.     While HCM contracted for the recognition that it would be acting on behalf of

 others and could be in conflict with advice given the DAF, (RIA Agreement ¶ 12), nowhere did it

 purport to waive the fiduciary duties owed to the DAF not to trade as a principal in a manner that

 harmed the DAF.

         62.     HCFA owed a fiduciary duty to Holdco as an investor in HCLOF and to which

 HCFA was the portfolio manager. HCM owed a fiduciary duty to the DAF (and to Holdco as its

 subsidiary) pursuant to a written Advisory Agreement HCM and the DAF had where HCM agreed

 to provide sound investment advice and management functions.

         63.     As a registered investment adviser, HCM’s fiduciary duty is broad and applies to

 the entire advisor-client relationship.

         64.     The core of the fiduciary duty is to act in the best interest of their investors—the

 advisor must put the ends of the client before its own ends or the ends of a third party.




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         65.     This is manifested in a duty of loyalty and a duty of utmost care. It also means that

 the RIA has to follow the terms of the company agreements and the regulations that apply to the

 investment vehicle.

         66.     The fiduciary duty that HCM and Seery owed to Plaintiff is predicated on trust and

 confidence. Section 204A of the Advisers Act requires investment advisors (whether SEC-

 registered or not) to establish, maintain, and enforce written policies and procedures reasonably

 designed to prevent the RIA from trading on material, non-public information. See 17 C.F.R. §

 275.206(4)-7. That means that Plaintiff should be able to take Defendants at their word and not

 have to second guess or dig behind representations made by them.

         67.     The simple thesis of this claim is that Defendants HCFA and HCM breached their

 fiduciary duties by (i) insider trading with Harbourvest and concealing the rising NAV of the

 underlying assets—i.e., trading with Harbourvest on superior, non-public information that was

 neither revealed to Harbourvest nor to Plaintiff; (ii) concealing the value of the Harbourvest

 Interests; and (iii) diverting the investment opportunity in the Harbourvest entities to HCM (or its

 designee) without offering it to or making it available to Plaintiff or the DAF.

         68.     HCM, as part of its contractual advisory function with Plaintiffs, had expressly

 recommended the HCLOF investment to the DAF. Thus, diverting the opportunity for returns on

 its investment was an additional breach of fiduciary duty.

         69.     This violated a multitude of regulations under 27 C.F.R. part 275, in addition to

 Rules 10b-5 and 10b5-1. 17 CFR 240.10b5-1 (“Rule 10b5-1”) explains that one who trades while

 possessing non-public information is liable for insider trading, and they do not necessarily have to

 have used the specific inside information.

         70.     It also violated HCM’s own internal policies and procedures.



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         71.      Also, the regulations impose obligations on Defendants to calculate a current

 valuation when communicating with an investor, such as what may or may not be taken into

 account, and what cannot pass muster as a current valuation. Upon information and belief, these

 regulations were not followed by the Defendants.

         72.      HCM’s internal policies and procedures, which it promised to abide by both in the

 RIA Agreement and in its Form ADV SEC filing, provided for the means of properly calculating

 the value of the assets.

         73.      HCM either did not follow these policies, changed them to be out of compliance

 both with the Adviser Act regulations and its Form ADV representations, and/or simply

 misrepresented or concealed their results.

         74.      In so doing, because the fiduciary duty owed to Plaintiff is a broad one, and because

 Defendants’ malfeasance directly implicates its relationship with Plaintiff, Defendants have

 breached the Advisers Act’s fiduciary duties owed to Plaintiff as part of their fiduciary

 relationship.6

         75.      At no time between agreeing with Harbourvest to the purchase of its interests and

 the court approval did Defendants disclose to either Harbourvest or to Plaintiff (and the

 Bankruptcy Court for that matter) that the purchase was at below 50% the current net asset value

 as well, and when they failed to offer Plaintiff (and the other members of HCLOF) their right to

 purchase the interests pro rata at such advantageous valuations. Plaintiff’s lost opportunity to



 6
   See Advisers Act Release No. 4197 (Sept. 17, 2015) (Commission Opinion) (“[O]nce an investment
 Advisory relationship is formed, the Advisers Act does not permit an adviser to exploit that fiduciary
 relationship by defrauding his client in any investment transaction connected to the Advisory
 relationship.”); see also SEC v. Lauer, No. 03-80612-CIV, 2008 U.S. Dist. LEXIS 73026, at 90 (S.D. Fla.
 Sept. 24, 2008) (“Unlike the antifraud provisions of the Securities Act and the Exchange Act, Section 206
 of the Advisers Act does not require that the activity be ‘in the offer or sale of any’ security or ‘in connection
 with the purchase or sale of any security.’”).

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 purchase has harmed Plaintiff. Plaintiff had been led to believe by the Defendants that the value

 of what was being purchased in the Harbourvest settlement by HCM (or its designee) was at fair

 market value. This representation, repeated again in the Bankruptcy Court during the Harbourvest

 confirmation, implicitly suggested that a proper current valuation had been performed.

         76.     Defendant’s principal, Seery, testified in January 2021 that the then-current fair

 market value of Habourvests’s 49.98% interest in HCLOF was worth around $22.5 million. But

 by then, it was worth almost double that amount and has continued to appreciate. Seery knew or

 should have known that fact because the value of some of the HCLOF assets had increased, and

 he had a duty to know the current value. His lack of actual knowledge, while potentially not overtly

 fraudulent, would nonetheless amount to a breach of fiduciary duty for acting without proper

 diligence and information that was plainly available.

         77.     Furthermore, HCLOF holds equity in MGM Studios and debt in CCS Medical via

 various CLO positions. But Seery, in his role as CEO of HCM, was made aware during an advisors

 meeting in December 2020 that Highland would have to restrict its trading in MGM because of its

 insider status due to activities that were likely to apply upward pressure on MGM’s share price.

         78.     Furthermore, Seery controlled the Board of CCS Medical. And in or around

 October 2020, Seery was advocating an equatization that would have increased the value of the

 CCS securities by 25%, which was not reflected in the HCM report of the NAV of HCLOF’s

 holdings.

         79.     Seery’s knowledge is imputed to HCM.

         80.     Moreover, it is a breach of fiduciary duty to commit corporate waste, which is

 effectively what disposing of the HCLOF assets would constitute in a rising market, where there




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 is no demand for disposition by the investors (save for HCM, whose proper 0.6% interest could

 easily be sold to the DAF at fair value).

         81.     As holder of 0.6% of the HCLOF interests, and now assignee of the 49.98%

 Harbourvest Interests), HCM has essentially committed self-dealing by threatening to liquidate

 HCLOF now that it may be compelled to do so under its proposed liquidation plan, which perhaps

 inures to the short term goals of HCM but to the pecuniary detriment of the other holders of

 HCLOF whose upside will be prematurely truncated.

         82.     Seery and HCM should not be allowed to benefit from the breach of their fiduciary

 duties because doing so would also cause Plaintiffs irreparable harm. The means and methods of

 disposal would likely render the full scope of damages to the DAF not susceptible to specific

 calculation—particularly as they would relate to calculating the lost opportunity cost. Seery and

 HCM likely do not have the assets to pay a judgment to Plaintiffs that would be rendered, simply

 taking the lost appreciation of the HCLOF assets.

         83.     Defendants are thus liable for diverting a corporate opportunity or asset that would

 or should have been offered to Plaintiff and the other investors. Because federal law makes the

 duties invoked herein unwaivable, it is preposterous that HCM, as a 0.6% holder of HCLOF,

 deemed itself entitled to the all of the value and optionality of the below-market Harbourvest

 purchase.

         84.     Defendants cannot rely on any contractual provision that purports to waive this

 violation. Nothing in any agreement purports to permit, authorize or otherwise sanitize

 Defendants’ self-dealing. All such provisions are void.

         85.     In the fourth quarter of 2020, Seery and HCM notified staff that they would be

 terminated on December 31, 2020. That termination was postponed to February 28, 2021.



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 Purchasing the Harbourvest assets without staffing necessary to be a functioning Registered

 Investment Advisor was a strategic reversal from prior filings that outlined canceling the CLO

 management contracts and allowing investors to replace Highland as manager.

         86.     Seery’s compensation agreement with the UCC incentivizes him to expedite

 recoveries and to prevent transparency regarding the Harbourvest settlement.

         87.     What is more, Seery had previously testified that the management contracts for the

 funds—HCLOF included—were unprofitable, and that he intended to transfer them. But he later

 rejected offers to purchase those management contracts for fair value and instead decided to

 continue to manage the funds—which is what apparently gave rise to the Harbourvest Settlement,

 among others. He simultaneously rejected an offer for the Harbourvest assets of $24 million,

 stating that they were worth much more than that.

         88.     Because of Defendants’ malfeasance, Plaintiffs have lost over $25 million in

 damages—a number that continues to rise—and the Defendants should not be able to obtain a

 windfall.

         89.     For the same reason, Defendants’ malfeasance has also exposed HCLOF to a

 massive liability from Harbourvest since the assignment of those interests is now one that is likely

 unenforceable under the Advisers Act, Section 47(b), if there was unequal information.

         90.     HCM and HCFA are liable as principals for breach of fiduciary duty, as are the

 principals and compliance staff of each entity.

         91.     Plaintiffs seek disgorgement, damages, exemplary damages, attorneys’ fees and

 costs. To the extent the Court determines that this claim had to have been brought derivatively on

 behalf of HCLOF, then Plaintiffs represent that any pre-suit demand would have been futile since

 asking HCM to bring suit against its principal, Seery, would have been futile.



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                                   SECOND CAUSE OF ACTION
                              Breach of HCLOF Company Agreement
                          (By Holdco against HCLOF, HCM and HCFA)

            92.   Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

  forth herein and further alleges the following:

            93.   On November 15, 2017, the members of HCLOF, along with HCLOF and HCFA,

 executed the Members Agreement Relating to the Company (the “Company Agreement”).

            94.   The Company Agreement governs the rights and duties of the members of HCLOF.

            95.   Section 6.2 of HCLOF Company Agreement provides that when a member “other

 than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

 third party (i.e., not to an affiliate of the selling member), then the other members have the first

 right of refusal to purchase those interests pro rata for the same price that the member has agreed

 to sell.

            96.   Here, despite the fact that Harbourvest agreed to sell its interests in HCLOF for

 $22.5 million when they were worth more than double that, Defendants did not offer Plaintiff the

 chance to buy its pro rata share of those interests at the same agreed price of $22.5 million (adjusted

 pro rata).

            97.   The transfer and sale of the interests to HCM were accomplished as part of the

 Harbourvest Settlement which was approved by the Bankruptcy Court.

            98.   Plaintiff was not informed of the fact that Harbourvest had offered its shares to

 Defendant HCM for $22.5 million—which was under 50% of their true value.

            99.   Plaintiff was not offered the right to purchase its pro rata share of the Harbourvest

 interests prior to the agreement being struck or prior to court approval being sought.




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         100.    Had Plaintiff been allowed to do so, it would have obtained the interests with a net

 equity value over their purchase price worth in excess of $20 million.

         101.    No discovery or opportunity to investigate was afforded Plaintiff prior to lodging

 an objection in the Bankruptcy Court.

         102.    Plaintiff is entitled to specific performance or, alternatively, disgorgement,

 constructive trust, damages, attorneys’ fees and costs.

                                    THIRD CAUSE OF ACTION
                                          Negligence
                      (By the DAF and CLO Holdco against HCM and HCFA)

         103.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

 forth herein, and further alleges the following:

         104.    Plaintiffs incorporate the foregoing causes of action and note that all the foregoing

 violations were breaches of the common law duty of care imposed by law on each of Seery, HCFA

 and HCM.

         105.    Each of these Defendants should have known that their actions were violations of

 the Advisers Act, HCM’s internal policies and procedures, the Company Agreement, or all three.

         106.    Seery and HCM owed duties of care to Plaintiffs to follow HCM’s internal policies

 and procedures regarding both the propriety and means of trading with a customer [Harbourvest],

 the propriety and means of trading as a principal in an account but in a manner adverse to another

 customer [the DAF and Holdco], and the proper means of valuing the CLOs and other assets held

 by HCLOF.

         107.    It would be foreseeable that failing to disclose the current value of the assets in the

 HCLOF would impact Plaintiffs negatively in a variety of ways.




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         108.    It would be reasonably foreseeable that failing to correctly and accurately calculate

 the current net asset value of the market value of the interests would cause Plaintiffs to value the

 Harbourvest Interests differently.

         109.    It would be reasonably foreseeable that referring to old and antiquated market

 quotations and/or valuations of the HCLOF assets or interests would result in a mis-valuation of

 HCLOF and, therefore, a mis-valuation of the Harbourvest Interests.

         110.    Likewise, it would have been foreseeable that Plaintiff’s failure to give Plaintiff the

 opportunity to purchase the Harbourvest shares at a $22.5 million valuation would cause Plaintiff

 damages. Defendants knew that the value of those assets was rising. They further knew or should

 have known that whereas those assets were sold to HCM for an allowance of claims to be funded

 in the future, selling them to Plaintiff would have provided the estate with cash funds.

         111.    Defendants’ negligence foreseeably and directly caused Plaintiff harm.

         112.    Plaintiff is thus entitled to damages.

                                      FOURTH CAUSE OF ACTION
                       Racketeering Influenced Corrupt Organizations Act
                               (CLO Holdco and DAF against HCM)

         113.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

 forth herein, and further alleges the following:

         114.    Defendants are liable for violations of the Racketeer Influenced and Corrupt

 Organizations (“RICO”) Act, 18 U.S.C. § 1961 et seq., for the conduct of an enterprise through a

 pattern of racketeering activity.

         115.    HCLOF constitutes an enterprise under the RICO Act. Additionally, or in the

 alternative, HCM, HCLA, and HCLOF constituted an association-in-fact enterprise. The purpose

 of the association-in-fact was the perpetuation of Seery’s position at HCM and using the



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 Harbourvest settlement as a vehicle to enrich persons other than the HCLOF investors, including

 Holdco and the DAF, and the perpetuation of HCM’s holdings in collateralized loan obligations

 owned by HCLOF, while attempting to deny Plaintiffs the benefit of its rights of ownership.

         116.    The association-in-fact was bound by informal and formal connections for years

 prior to the elicit purpose, and then changed when HCM joined it in order to achieve the

 association’s illicit purpose. For example, HCM is the parent and control person over HCFA,

 which is the portfolio manager of HCLOF pursuant to a contractual agreement—both are

 registered investment advisors and provide advisory and management services to HCLOF.

         117.    Defendants injured Plaintiffs through their continuous course of conduct of the

 HCM-HCLA-HCLOF association-in-fact enterprise. HCM’s actions (performed through Seery

 and others) constitute violations of the federal wire fraud, mail fraud, fraud in connection with a

 case under Title 11, and/or securities fraud laws, pursuant to 18 U.S.C. § 1961(1)(B) and (D).

         118.    HCM operated in such a way as to violate insider trading rules and regulations when

 it traded with Harbourvest while it had material, non-public information that it had not supplied to

 Harbourvest or to Plaintiffs.

         119.    In or about November 2020, HCM and Harbourvest entered into discussions about

 settling the Harbourvest Claims. Seery’s conduct of HCLOF and HCLA on behalf of HCM through

 the interstate mails and/or wires caused HCM to agree to the purchase of Harbourvest’s interests

 in HCLOF.

         120.    On or about each of September 30, 2020, through December 31, 2020, Seery,

 through his conduct of the enterprise, utilized the interstate wires and/or mails to obtain or arrive

 at valuations of the HCLOF interests. Seery’s conduct of the enterprise caused them to cease




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 sending the valuation reports to Plaintiffs, which eventually allowed Plaintiffs to be misled into

 believing that Seery had properly valued the interests.

         121.    On or about September 30, 2020, Seery transmitted or caused to be transmitted

 though the interstate wires information to HCLOF investors from HCM (via HCFA), including

 Harbourvest, regarding the value of HCLOF interests and underlying assets.

         122.    Additionally, Seery operated HCM in such a way that he concealed the true value

 of the HCLOF interests by utilizing the interstate wires and mails to transmit communications to

 the court in the form of written representations on or about December 23, 2020, and then further

 transmitted verbal representations of the current market value (the vastly understated one) on

 January 14, 2021, during live testimony.

         123.    However, Harbourvest was denied the full picture and the true value of the

 underlying portfolio. At the end of October and November of 2020, HCM had updated the net

 asset values of the HCLOF portfolio. According to sources at HCM at the time, the HCLOF assets

 were worth north of $72,969,492 as of November 30, 2020. Harbourvest’s share of that would

 have been $36,484,746.

         124.    The HCLOF net asset value had reached $86,440,024 as of December 31, 2021,

 which means that by the time Seery was testifying in the Bankruptcy Court on January 14, 2021,

 the fair market value of the Harbourvest Assets was $22.5 million, when it was actually closer to

 $43,202,724. Seery, speaking on behalf of HCM, knew of the distinction in value.

         125.    On January 14, 2021, Seery also testified that he (implying HCM, HCLA and

 HCLOF) had valued the Harbourvest Assets at their current valuation and at fair market value.

 This was not true because the valuation that was used and testified to was ancient. The ostensible

 purpose of this concealment was to induce Plaintiff and other interest holdings to take no action.



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         126.    In supporting HCM’s motion to the Bankruptcy Court to approve the Harbourvest

 Settlement, Seery omitted the fact that HCM was purchasing the interests at a massive discount,

 which would violate the letter and spirit of the Adviser’s Act.

         127.    Seery was informed in late December 2020 at an in-person meeting in Dallas to

 which Seery had to fly that HCLOF and HCM had to suspend trading in MGM Studios’ securities

 because Seery had learned from James Dondero, who was on the Board of MGM, of a potential

 purchase of the company. The news of the MGM purchase should have caused Seery to revalue

 the HCLOF investment in MGM.

         128.    In or around October 2020, Seery (who controls the Board of CSS Medical) was

 pursuing “equatization” of CSS Medical’s debt, which would have increased the value of certain

 securities by 25%. In several communications through the U.S. interstate wires and/or mails, and

 with Plaintiffs, and the several communications with Harbourvest during the negotiations of the

 settlement, Seery failed to disclose these changes which were responsible in part for the ever-

 growing value of the HCLOF CLO portfolio.

         129.    Seery was at all relevant times operating as an agent of HCM.

         130.    This series of related violations of the wire fraud, mail fraud, and securities fraud

 laws, in connection with the HCM bankruptcy, constitute a continuing pattern and practice of

 racketeering for the purpose of winning a windfall for HCM and himself--a nearly $30,000,000

 payday under the confirmation agreement.

         131.    The federal RICO statute makes it actionable for one’s conduct of an enterprise to

 include “fraud in connection with a [bankruptcy case]”. The Advisers’ Act antifraud provisions

 require full transparency and accountability to an advisers’ investors and clients and does not

 require a showing of reliance or materiality. The wire fraud provision likewise is violated when,



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 as here, the interstate wires are used as part of a “scheme or artifice … for obtaining money or

 property by means of false … pretenses, [or] representations[.]”

         132.    Accordingly, because Defendants’ conduct violated the wire fraud and mail fraud

 laws, and the Advisers’ Act antifraud provisions, and their acts and omissions were in connection

 with the HCM Bankruptcy proceedings under Title 11, they are sufficient to bring such conduct

 within the purview of the RICO civil action provisions, 18 U.S.C. § 1964.

         133.    Plaintiffs are thus entitled to damages, treble damages, attorneys’ fees and costs of

 suit, in addition to all other injunctive or equitable relief to which they are justly entitled.

                                       FIFTH CAUSE OF ACTION
                                         Tortious Interference
                                     (CLO Holdco against HCM)

         134.    Plaintiff respectfully incorporates the foregoing factual averments as if fully set

 forth herein and further alleges the following:

         135.    At all relevant times, HCM owned a 0.6% interest in HCLOF.

         136.    At all relevant times, Seery and HCM knew that Plaintiff had specific rights in

 HCLOF under the Company Agreement, § 6.2.

         137.    Section 6.2 of HCLOF Company agreement provides that when a member “other

 than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

 third party (i.e., not an affiliate of the member), then the other members have the first right of

 refusal to purchase those interests pro rata for the same price that the member has agreed to sell.

         138.    HCM, through Seery, tortiously interfered with Plaintiff’s contractual rights with

 HCLOF by, among other things, diverting the Harbourvest Interests in HCLOF to HCM without

 giving HCLOF or Plaintiff the option to purchase those assets at the same favorable price that

 HCM obtained them.



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         139.     HCM and Seery tortiously interfered with Plaintiff’s contractual rights with

 HCLOF by, among other things, misrepresenting the fair market value as $22.5 million and

 concealing the current value of those interests.

         140.    But for HCM and Seery’s tortious interference, Plaintiff would have been able to

 acquire the Harbourvest Interests at a highly favorable price. HCM and Seery’s knowledge of the

 rights and intentional interference with these rights has caused damage to Plaintiff CLO Holdco.

         141.    Plaintiff is therefore entitled to damages from HCM and Seery, as well as

 exemplary damages.

                                                    VI.

                                           JURY DEMAND

         142.    Plaintiff demands trial by jury on all claims so triable.

                                                    VII.

                                      PRAYER FOR RELIEF

         143.    Wherefore, for the foregoing reasons, Plaintiffs respectfully pray that the Court

 enter judgment in its favor and against Defendants, jointly and severally, for:

             a. Actual damages;

             b. Disgorgement;

             c. Treble damages;

             d. Exemplary and punitive damages;

             e. Attorneys’ fees and costs as allowed by common law, statute or contract;

             f. A constructive trust to avoid dissipation of assets;

             g. All such other relief to which Plaintiff is justly entitled.




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 Dated: April 12, 2021                       Respectfully submitted,

                                             SBAITI & COMPANY PLLC

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                                             Jonathan Bridges
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                                             Dallas, TX 75201
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                                             Counsel for Plaintiffs




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· · · · · · FOR THE NORTHERN DISTRICT OF TEXAS
·3· · · · · · · · · ·DALLAS DIVISION

·4· · IN RE:· · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · ·)· · Chapter 11
·5· · HIGHLAND CAPITAL MANAGEMENT,· ·)
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· · · HIGHLAND CAPITAL MANAGEMENT· · )
11· · FUND ADVISORS, L.P.; NEXPOINT· )
· · · ADVISORS, L.P.; HIGHLAND· · · ·)
12· · INCOME FUND; NEXPOINT· · · · · )
· · · STRATEGIC OPPORTUNITIES FUND;· )
13· · NEXPOINT CAPITAL, INC.; and· · )
· · · CLO HoldCo, LTD.,· · · · · · · )
14· · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · ·Defendants.· ·)
15· · -------------------------------

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17· · · VIDEOCONFERENCE DEPOSITION OF Grant SCOTT

18· · · · · ·Thursday, 21st of January, 2021

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23· ·Reported by: Lisa A. Wheeler, RPR, CRR

24· ·Job No: 188910

25



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·2· · · · · · · · · ·January 21, 2021                           ·2· ·REMOTE APPEARANCES:
·3· · · · · · · · · ·2:02 p.m.                                  ·3· · · · PACHULSKI STANG ZIEHL & JONES
·4                                                              ·4· · · · Attorneys for Debtor
·5                                                              ·5· · · · · · · 780 Third Avenue
·6· · · · ·Videoconference deposition of Grant                  ·6· · · · · · · New York, NY 10017
·7· ·SCOTT, pursuant to the Federal Rules of                    ·7· · · · BY:· ·JOHN MORRIS, ESQ.
·8· ·Civil Procedure before Lisa A. Wheeler,                    ·8
·9· ·RPR, CRR, a Notary Public of the State of                  ·9· · · · LATHAM & WATKINS
10· ·North Carolina.· The court reporter                        10· · · · Attorneys for UBS
11· ·reported the proceeding remotely and the                   11· · · · · · · 885 Third Avenue
12· ·witness was present via videoconference.                   12· · · · · · · New York, NY 10022
13                                                              13· · · · BY:· ·SHANNON McLAUGHLIN, ESQ.
14                                                              14
15                                                              15· · · · SIDLEY AUSTIN
16                                                              16· · · · Attorneys for the Creditors Committee
17                                                              17· · · · · · · 2021 McKinney Avenue
18                                                              18· · · · · · · Dallas, TX 75201
19                                                              19· · · · BY:· ·PENNY REID, ESQ.
20                                                              20· · · · · · · ALYSSA RUSSELL, ESQ.
21                                                              21· · · · · · · PAIGE MONTGOMERY, ESQ.
22                                                              22
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·2· ·REMOTE APPEARANCES:· (Continued)                           ·2· ·REMOTE APPEARANCES:· (Continued)
·3· · · · KING & SPALDING                                       ·3· · · · KANE RUSSELL COLEMAN & LOGAN
·4· · · · Attorneys for Highland CLO Funding, Ltd.              ·4· · · · Attorneys for Defendant CLO HoldCo Limited
·5· · · · · · ·500 West 2nd Street                              ·5· · · · · · · Bank of America Plaza
·6· · · · · · ·Austin, TX 78701                                 ·6· · · · · · · 901 Main Street
·7· · · · BY:· REBECCA MATSUMURA, ESQ.                          ·7· · · · · · · Dallas, TX 75202
·8                                                              ·8· · · · BY:· ·BRIAN CLARK, ESQ.
·9· · · · K&L GATES                                             ·9· · · · · · · JOHN KANE, ESQ.
10· · · · Attorneys for Highland Capital Management             10
11· · · · Fund Advisors, L.P., et al.                           11· ·ALSO PRESENT:· La Asia Canty
12· · · · · · · 4350 Lassiter at North Hills Avenue             12
13· · · · · · · Raleigh, NC 27609                               13
14· · · · BY:· ·A. LEE HOGEWOOD, III, ESQ.                      14
15· · · · · · · EMILY MATHER, ESQ.                              15
16                                                              16
17· · · · HELLER DRAPER & HORN                                  17
18· · · · Attorneys for The Dugaboy Investment Trust            18
19· · · · and The Get Good Trust                                19
20· · · · · · ·650 Poydras Street                               20
21· · · · · · ·New Orleans, LA 70130                            21
22· · · · BY:· MICHAEL LANDIS, ESQ.                             22
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·2· ·G R A N T· ·S C O T T,                              ·2· · · · transcript going forward?
·3· · · · called as a witness, having been duly sworn    ·3· · · · · · · Okay.· Nobody's spoken up, so I --
·4· · · · by a Notary Public, was examined and           ·4· · · · I'd like to begin.
·5· · · · testified as follows:                          ·5· · · · · · · · · · ·EXAMINATION
·6· · · · · · · MR. MORRIS:· Good afternoon.· My         ·6· ·BY MR. MORRIS:
·7· · · · name is John Morris.· I'm an attorney with     ·7· · · · Q.· · Good afternoon, Mr. Scott.· As I
·8· · · · Pachulski Stang Ziehl & Jones, a law firm      ·8· ·mentioned, my name is John Morris, and we're
·9· · · · who represents the debtor in the bankruptcy    ·9· ·here for your deposition today.· Have you ever
10· · · · known as In Re: Highland Capital               10· ·been deposed before?
11· · · · Management, L.P., and we're here today for     11· · · · A.· · On two occasions.
12· · · · the deposition of Grant Scott.                 12· · · · Q.· · And -- and when did the -- when did
13· · · · · · · Before I begin, I would just like to     13· ·those depositions take place?
14· · · · have confirmation on the record that           14· · · · A.· · This past October and maybe six to
15· · · · everybody here who's representing their        15· ·eight years ago.
16· · · · respective parties agrees that this            16· · · · Q.· · Okay.· Can you just tell me
17· · · · deposition can be used in evidence in any      17· ·generally what the subject matter was of the
18· · · · subsequent hearing, notwithstanding the        18· ·deposition this past October.
19· · · · fact that it's being conducted remotely,       19· · · · A.· · It was relating to Jim Dondero's --
20· · · · and that the witness is not in the same        20· ·it was a family law issue in -- in -- with
21· · · · room as the court reporter.                    21· ·respect to Jim Dondero.
22· · · · · · · Does anybody have an objection to        22· · · · Q.· · Okay.· And did you testify in a
23· · · · the admissibility of the transcript subject    23· ·courtroom, or was it a deposition like this?
24· · · · to any reservation of -- of actual             24· · · · A.· · I -- right here, actually.
25· · · · objections on the record to using this         25· · · · Q.· · Okay.· Super.· And -- and what about
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·2· ·the -- the deposition six to eight years ago,       ·2· · · · A.· · Okay.
·3· ·do you have a recollection as to what that was      ·3· · · · Q.· · And if there's anything that I ask
·4· ·about?                                              ·4· ·that you don't understand, will you let me know
·5· · · · A.· · Yeah.· It was a -- it was a patent I     ·5· ·that as well?
·6· ·wrote for Samsung Electronics.                      ·6· · · · A.· · Yes.· I'll try -- I'll do my best.
·7· · · · Q.· · Okay.                                    ·7· · · · Q.· · Okay.· So this is a virtual
·8· · · · A.· · And as being the person that I --        ·8· ·deposition.· We're not in the same room.· I am
·9· ·that wrote it and the patent was in litigation,     ·9· ·going to be showing you documents today.· The
10· ·not -- not being handled by me, but by virtue       10· ·documents will be put up on the screen.· This
11· ·of having written the patent, I was -- I was        11· ·isn't a -- a trick of any kind.· If at any time
12· ·deposed --                                          12· ·you see a document up on the screen and either
13· · · · Q.· · Okay.· So you --                         13· ·you believe or you have any reason to want to
14· · · · A.· · -- on the -- on the patent.              14· ·read other portions of the document, will you
15· · · · Q.· · Okay.· So you've had a little bit of     15· ·let me know that?
16· ·experience with depositions.· But just              16· · · · A.· · Yes, I -- yes, I will.· Uh-huh.
17· ·generally speaking, I'm going to ask you a          17· · · · Q.· · With respect to the Dondero family
18· ·series of questions.· It's very important that      18· ·matter, I really don't want to go into the
19· ·you allow me to finish my question before you       19· ·substance of that, but I do want to know
20· ·begin your answer.                                  20· ·whether you testified voluntarily in that
21· · · · · · · Is that fair?                            21· ·matter or whether you -- whether you testified
22· · · · A.· · Absolutely.                              22· ·pursuant to subpoena.
23· · · · Q.· · And I will certainly try to extend       23· · · · A.· · I would have done that, but the
24· ·the same courtesy to you, but if I -- if I step     24· ·first time I found out about it was a -- was a
25· ·on your words, will you let me know that?           25· ·subpoena that I received.· I wasn't given the



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·2· ·choice.                                             ·2· ·integrated with other entities as part of a
·3· · · · Q.· · Okay.· And do you recall who served      ·3· ·charitable -- loosely what we -- what we refer
·4· ·the subpoena on you?· Actually, let me ask a        ·4· ·to as a charitable foundation equivalent.
·5· ·different question because I'm really not           ·5· ·Yeah.
·6· ·interested in the -- in the details.                ·6· · · · Q.· · All right.· We'll -- we'll get into
·7· · · · · · · Did Mr. Dondero serve that subpoena      ·7· ·some detail about the corporate structure in a
·8· ·on you or did somebody else?                        ·8· ·moment.· Do you personally play any role at CLO
·9· · · · A.· · His counsel for his ex-wife.             ·9· ·HoldCo Limited?
10· · · · Q.· · Mr. -- so -- so the lawyer acting on     10· · · · A.· · Yes.· My technical title is
11· ·behalf of Mr. Dondero's ex-wife served you with     11· ·director, but I -- I don't necessarily know
12· ·the subpoena?                                       12· ·specifically what that title means other than I
13· · · · A.· · Correct.                                 13· ·act, as I understand it, as -- as a trustee for
14· · · · Q.· · Okay.· You're familiar with an           14· ·those -- for those assets.
15· ·entity called CLO HoldCo Limited; is that           15· · · · Q.· · And where did you get that
16· ·right?                                              16· ·understanding?
17· · · · A.· · Yes.                                     17· · · · A.· · Approximately ten years ago from the
18· · · · Q.· · Do you know what that entity is?         18· ·group that -- that set up the hierarchy.
19· · · · A.· · Yes.                                     19· · · · Q.· · And which group set up the
20· · · · Q.· · What -- what -- can you describe for     20· ·hierarchy?
21· ·me what CLO HoldCo Limited is.                      21· · · · A.· · Employees at Jim Don- -- as I
22· · · · A.· · It's a holding company of assets         22· ·understand it, employees of Highland along with
23· ·including collateralized loan obligation-type       23· ·outside counsel, as I understand it, and also,
24· ·assets.· That's a portion of the overall            24· ·I guess, input from -- from Jim Dondero.
25· ·portfolio.· It's an organization that is            25· · · · Q.· · At the time that you assumed the
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·2· ·role of director of CLO HoldCo Limited, was         ·2· ·in terms of the management, and so it's
·3· ·that entity already in existence?                   ·3· ·frequently confusing and I'm having to clarify
·4· · · · A.· · I believe so.· I'm not certain.· I'm     ·4· ·at times which entity we're talking about,
·5· ·not certain.                                        ·5· ·but -- but other parties frequently use those
·6· · · · Q.· · What are your duties and                 ·6· ·terms interchangeably.
·7· ·responsibilities as a director of CLO HoldCo        ·7· · · · Q.· · Okay.
·8· ·Limited?                                            ·8· · · · · · · MR. MORRIS:· Lisa, when we use the
·9· · · · A.· · Well, my day-to-day responsibilities     ·9· · · · phrase DAF, because you'll hear that a lot,
10· ·are to interface with -- with the manager of        10· · · · it's all caps, D-A-F.
11· ·the -- of the assets of CLO.· I do have some        11· ·BY MR. MORRIS:
12· ·role in -- with respect to some of the entities     12· · · · Q.· · You mentioned that you interface
13· ·that are -- I -- I have a limited role with         13· ·with the manager of assets of CLOs.· Do I have
14· ·respect to a subset of the charitable               14· ·that right?
15· ·foundations that receive money from the CLO         15· · · · A.· · Well, of all the assets.
16· ·HoldCo structure, which is commonly referred to     16· · · · Q.· · Okay.· Who is the manager of the
17· ·as the DAF.· There's -- sometimes those are         17· ·assets that you're referring to?
18· ·used interchangeably.                               18· · · · A.· · Highland Capital Management.
19· · · · Q.· · What terms are used interchangeably?     19· · · · Q.· · Highland Capital Management manages
20· · · · A.· · Well, the DAF and CLO HoldCo are         20· ·all of the assets -- withdrawn.
21· ·frequently -- by -- by other people they're --      21· · · · · · · Is it your understanding that
22· ·it's the short -- it's the -- I guess it's          22· ·Highland Capital Management manages all the
23· ·easier to use the acronym DAF than CLO HoldCo       23· ·assets that are owned by CLO HoldCo Limited?
24· ·Limited, so I'm frequently having to -- there       24· · · · A.· · Yes.
25· ·is a DAF entity so -- that's above -- above CLO     25· · · · Q.· · Who makes the investment decisions



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·2· ·on behalf of CLO HoldCo Limited?                    ·2· ·and Mr. Covitz?
·3· · · · A.· · Highland -- those managers that you      ·3· · · · A.· · Yeah.· Over the years I've worked
·4· ·mentioned.                                          ·4· ·with Tim Cournoyer, Thomas Surgent, but I
·5· · · · Q.· · Okay.· I didn't mention anybody in       ·5· ·think -- I think that's the core -- the core
·6· ·particular.                                         ·6· ·group.
·7· · · · A.· · Oh, I'm sorry.· The -- the -- the        ·7· · · · Q.· · All right.· And is there anybody
·8· ·money manager -- could you repeat that              ·8· ·within that core group who has the final
·9· ·question?· I'm sorry.· I'm so sorry.                ·9· ·decision-making authority concerning the
10· · · · Q.· · Can you just -- can you just             10· ·investments in CLO HoldCo Limited?
11· ·identify for me the person who makes investment     11· · · · A.· · I don't -- I don't know.· I'm sorry.
12· ·decisions on behalf of CLO HoldCo Limited.          12· ·Say that again.· I just want to -- I'm sorry.
13· · · · A.· · It's -- well, it's -- it's persons       13· ·I'm trying to be -- I'm not trying to -- I'm
14· ·as I understand it.· I inter- -- interface with     14· ·trying to be --
15· ·a -- with a group, but it's -- it's Highland        15· · · · Q.· · I understand.· And --
16· ·Capital employee -- Highland Capital Management     16· · · · A.· · Sorry.· If you could just repeat it.
17· ·employees.                                          17· · · · Q.· · Sure.· Is there any particular
18· · · · Q.· · Okay.· Can you just name any of          18· ·person who has the final decision-making
19· ·them, please.                                       19· ·authority for investments that are being made
20· · · · A.· · Hunter Covitz, Jim Dondero.· Mark        20· ·on behalf of CLO HoldCo Limited?
21· ·Okada's no longer there, but I believe he was       21· · · · A.· · Amongst that group I am -- I am not
22· ·involved, and there are others that I interface     22· ·sure.
23· ·with.                                               23· · · · Q.· · Okay.· So are there any other
24· · · · Q.· · Can you -- can you recall the name       24· ·directors of CLO HoldCo besides yourself?
25· ·of anybody other than Mr. Okada and Mr. Dondero     25· · · · A.· · No.
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· · · · Q.· · Is it fair to say that you do not        ·2· ·compensation?
·3· ·make decisions, investment decisions, on behalf     ·3· · · · A.· · Yes.
·4· ·of CLO HoldCo Limited?                              ·4· · · · Q.· · And have you been the sole director
·5· · · · A.· · Yes.                                     ·5· ·of CLO HoldCo Limited since the time of your
·6· · · · Q.· · Does CLO HoldCo Limited have any         ·6· ·appointment approximately ten years ago?
·7· ·employees that you know of?                         ·7· · · · A.· · Yes.
·8· · · · A.· · No.                                      ·8· · · · Q.· · Nobody else has served in that
·9· · · · Q.· · Does CLO HoldCo have any --              ·9· ·capacity; is that right?
10· ·withdrawn.                                          10· · · · A.· · That is correct.
11· · · · · · · Does CLO HoldCo Limited have any         11· · · · Q.· · There have been no employees or
12· ·officers that you know of?                          12· ·officers of that entity during the time that
13· · · · A.· · No.                                      13· ·you've served as director, correct?
14· · · · Q.· · So am I correct that you're the only     14· · · · A.· · Yes.
15· ·representative in the world of CLO HoldCo in        15· · · · Q.· · Do you know who formed CLO HoldCo
16· ·terms of being a director, officer, or              16· ·Limited?
17· ·employee?                                           17· · · · A.· · I do not.
18· · · · A.· · Yes.                                     18· · · · Q.· · Do you know why CLO HoldCo Limited
19· · · · Q.· · Do you receive any compensation from     19· ·was formed?
20· ·CLO HoldCo for your services as the director?       20· · · · A.· · I believe so.
21· · · · A.· · I do now.                                21· · · · Q.· · Can you explain to me why -- your
22· · · · Q.· · When did that begin?                     22· ·understanding as to why CLO HoldCo was formed.
23· · · · A.· · I believe in the middle of 2012.         23· · · · A.· · So as I understand things, Jim
24· · · · Q.· · Okay.· And had you served as a           24· ·Dondero wanted to create a charitable
25· ·director prior to that time without                 25· ·foundation-like entity or entities, and tax



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·2· ·people particularly, I guess, finance people,       ·2· ·any other duties and responsibilities as a
·3· ·lawyers, they created this network of entities      ·3· ·director of CLO HoldCo Limited?
·4· ·to carry out that charitable goal.· At one          ·4· · · · A.· · Yes.· Sorry.· My mouth is a little
·5· ·point, I thought it was a novel type of             ·5· ·dry.
·6· ·institution, if you want to call it, or a           ·6· · · · Q.· · By the way, if you ever need to take
·7· ·novel -- novel type of group of entities, but       ·7· ·a break, just let me know.
·8· ·over time, I came to understand that although       ·8· · · · A.· · Okay.· Thank you.· Now I forgot your
·9· ·not cookie cutter, it -- it follows a general       ·9· ·question.· The -- the -- the --
10· ·arrangement of entities for legal and tax           10· · · · Q.· · I understand.
11· ·purposes, compliance purposes, IRS purposes,        11· · · · A.· · The answer -- the -- the answer is
12· ·various insulating purposes to maintain -- or       12· ·yes.· I -- why don't you ask -- ask your
13· ·to meet the necessary requisites to carry out       13· ·question again.· I'm sorry.
14· ·that charitable function.                           14· · · · Q.· · Sure.· Other than interfacing with
15· · · · Q.· · When did you come to that                15· ·the manager of the assets of the CLO, do you
16· ·understanding?                                      16· ·have any other duties and responsibilities as
17· · · · A.· · Over the last couple of years. I         17· ·the sole director of CLO HoldCo Limited?
18· ·periodically have to refresh my recollection.       18· · · · A.· · Yes.· So Highland Capital because of
19· ·It's -- it's fairly complex.                        19· ·its -- the way it's set up to manage or service
20· · · · Q.· · Okay.· In your capacity as the sole      20· ·CLO HoldCo and the DAF, it has a relatively
21· ·director of CLO HoldCo Limited, do you report       21· ·large group of people that I have to interface
22· ·to anybody?                                         22· ·with to do everything from -- everything from
23· · · · A.· · No.                                      23· ·soup to nuts.· Finances and the money
24· · · · Q.· · Other than interfacing with the          24· ·management is one aspect, but most of my
25· ·manager of the assets of the CLO, do you have       25· ·time -- on a day-to-day or week-to-week basis,
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·most of my time is spent working with the           ·2· · · · Q.· · How much time do you devote -- you
·3· ·various compliance and other people for             ·3· ·know, can you estimate either on a weekly or a
·4· ·addressing issues of get- -- you know, getting      ·4· ·monthly basis how many -- how much time do you
·5· ·taxes filed.· It runs -- it runs the gamut of       ·5· ·devote to serving as the director of CLO HoldCo
·6· ·every aspect of the organization being -- being     ·6· ·Limited?
·7· ·handled by Highland.                                ·7· · · · A.· · I thought about that.· Well, let --
·8· · · · Q.· · Okay.                                    ·8· ·let's put it this way:· There was the
·9· · · · A.· · You know, unlike -- unlike my            ·9· ·prebankruptcy time I spent per day, and then
10· ·financial -- unlike a financial planner that        10· ·there was the postbankruptcy time I've spent
11· ·might, you know, manage assets, they -- they do     11· ·per -- per -- or per week -- excuse me, or
12· ·it all, and I interface with them regularly to      12· ·per -- I've estimated it as probably a day --
13· ·maintain -- mostly to deal with compliance          13· ·it's so intermittent it's -- it's hard, okay?
14· ·issues.                                             14· ·It's -- I don't dedicate my Mondays to only
15· · · · Q.· · Who's the com- -- is there a person      15· ·doing that and then Tuesday through Friday I
16· ·who's in charge of compliance?                      16· ·don't, right?· I -- it's -- I have to piece
17· · · · A.· · I believe Thomas Surgent. I              17· ·together everything that occurs during the
18· ·mentioned him.· I believe he also has that          18· ·week.· There might be some weeks where I don't
19· ·role, but it's -- you know, they do have            19· ·have any contact.· There might be every day of
20· ·turnover, I guess, in that.· It's -- I guess        20· ·the week I have multiple contact.· There may be
21· ·they refer to it as the back office.· I've          21· ·days where from morning to night there is so
22· ·heard that term be used, but -- basically, it's     22· ·much contact, it precludes me from doing
23· ·a large number of people that have changed over     23· ·anything else meaningfully.· So -- but I would
24· ·time, but it's -- it's more -- I believe it's       24· ·estimate it's probably three or four -- maybe
25· ·more than one collectively.                         25· ·three days, four days a month when things are



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·2· ·going well.                                         ·2· ·CLO HoldCo Limited?
·3· · · · Q.· · And -- and I think you -- you            ·3· · · · A.· · Well, initially, and this would
·4· ·testified just now that there was kind of a         ·4· ·be -- this would be late 2019, it was --
·5· ·difference between prebankruptcy and                ·5· ·aft- -- after the bankruptcy was -- was filed
·6· ·postbankruptcy.· Do I have that right?              ·6· ·and I obtained counsel, who are on the phone
·7· · · · A.· · Yes.                                     ·7· ·now -- or in this deposition now, excuse me,
·8· · · · Q.· · And can you tell me -- is it fair to     ·8· ·that was -- that transition occurred because
·9· ·say that before the bankruptcy, you didn't          ·9· ·CLO was a debtor -- excuse me, a creditor to --
10· ·devote much time to CLO HoldCo, or do I have        10· ·to the debtor and had to take steps to
11· ·that wrong?                                         11· ·establish its -- its claim.· So if I understand
12· · · · A.· · Well, I -- just the time that --         12· ·the -- things correctly, the -- the debtor
13· ·that I mentioned just -- I'm sorry.· The -- the     13· ·identified as part of the filing -- I don't
14· ·time I just mentioned now when you asked me,        14· ·know how bankruptcy works, but if I under- --
15· ·that was the pre period.· Excuse me.· I haven't     15· ·if my recollection is correct, there's a
16· ·talked about the postbankruptcy period.             16· ·hierarchy from biggest to smallest, and we were
17· · · · Q.· · So are you -- are you -- are you         17· ·relatively high up.· And when I say we or I,
18· ·devoting more time or less time since the           18· ·I -- I just mean CLO was relatively high up.
19· ·bankruptcy?                                         19· ·And so initially, for the first period of so
20· · · · A.· · Much more.                               20· ·many months, the -- the exclusive focus was on
21· · · · Q.· · Much more since the bankruptcy           21· ·our position as a creditor -- a creditor having
22· ·filing?                                             22· ·a certain claim against a debtor.
23· · · · A.· · Yes.                                     23· · · · Q.· · Can you describe for me your
24· · · · Q.· · And so why did the bankruptcy filing     24· ·understanding of the nature of the claim
25· ·cause you to spend more time as a director of       25· ·against the debtor.
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·2· · · · A.· · It was various obligations that were     ·2· ·guess I was more of a research engineer, if
·3· ·owed to -- to CLO, things that had been             ·3· ·that matters.· And I did that until I
·4· ·previously donated or -- or agreements that had     ·4· ·transitioned -- or I began law school in the
·5· ·been set up that transferred certain assets,        ·5· ·fall of 1988, and then I graduated law school
·6· ·and it was basically the -- the -- the amounts      ·6· ·in May of 1991.
·7· ·were derived from those sorts of transactions.      ·7· · · · Q.· · And where did you go to law school?
·8· · · · Q.· · Okay.· You're a patent lawyer; is        ·8· · · · A.· · University of North Carolina.
·9· ·that right?                                         ·9· · · · Q.· · Do you have any formal training in
10· · · · A.· · I -- I'm exclusively a patent            10· ·investing or finance?
11· ·attorney, yes.                                      11· · · · A.· · I do not.
12· · · · Q.· · Have you been a patent lawyer on an      12· · · · Q.· · Do you hold yourself out as an
13· ·exclusive basis since the time you graduated        13· ·expert in any field of investment?
14· ·from law school?                                    14· · · · A.· · None -- none at all.
15· · · · A.· · From law school, yes.                    15· · · · Q.· · Have you had any formal training
16· · · · Q.· · Can you just describe for me             16· ·with respect to compliance issues?· You
17· ·generally your educational background.              17· ·mentioned compliance issues earlier.
18· · · · A.· · So I'm an electrical engineer by         18· · · · A.· · No.
19· ·training.· I graduated from the University of       19· · · · Q.· · Now, do you have any knowledge about
20· ·Virginia in 1984.· I then went to graduate          20· ·compliance rules or regulations?
21· ·school at the University of Illinois. I             21· · · · A.· · Minimal that I've -- that have
22· ·received my master's degree in 1986, and then I     22· ·occurred organically but -- but generally, no.
23· ·immediately joined IBM Research at the Thomas       23· · · · Q.· · You don't hold yourself out as an
24· ·Watson Institute in New York where I was a --       24· ·expert in com- -- in the area of compliance,
25· ·my title was research scientist, but I was -- I     25· ·correct?



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·2· · · · A.· · No.· No.· I'm -- no.                     ·2· ·without your prior knowledge on occasion?
·3· · · · Q.· · Do you have any particular               ·3· · · · A.· · On occasion, they do.
·4· ·investment philosophy or strategy?                  ·4· · · · Q.· · So there's no rule that your prior
·5· · · · · · · MR. CLARK:· I'm going to object to       ·5· ·approval is needed before investments are made,
·6· · · · the form of the question.· And, John,          ·6· ·right?
·7· · · · can -- can we get an agreement that -- I       ·7· · · · A.· · I don't know whether they have an
·8· · · · know you were objecting just simply on the     ·8· ·internal guideline as to the amount that
·9· · · · form basis yesterday -- that objection to      ·9· ·triggers when they get in touch with me or
10· · · · form is sufficient today?                      10· ·whether it's a new -- a change, something new,
11· · · · · · · MR. MORRIS:· Sure.                       11· ·or -- versus recurring.· So I don't -- I don't
12· · · · · · · MR. CLARK:· Okay.· And I object to       12· ·know what they use internally for that metric.
13· · · · form.· Grant, you can answer to the extent     13· · · · Q.· · Okay.· Are you aware of any
14· · · · you can.                                       14· ·guideline that was ever used by the Highland
15· · · · · · · THE WITNESS:· I forget the question      15· ·employees whereby they were required to obtain
16· · · · now that you interrupted.· I'm sorry.          16· ·your consent prior to effectuating transactions
17· ·BY MR. MORRIS:                                      17· ·on behalf of CLO HoldCo Limited?
18· · · · Q.· · So -- so -- and I'm going to ask a       18· · · · A.· · I understand there was one or more,
19· ·different question because in hindsight, that's     19· ·but I do not know that.
20· ·a good objection.                                   20· · · · Q.· · Okay.· Did you ever see such a
21· · · · · · · In your capacity as the director         21· ·policy or list of rules that would require your
22· ·of -- withdrawn.                                    22· ·prior consent before the Highland employees
23· · · · · · · Do the employees of Highland that        23· ·effectuated transactions on behalf of CLO
24· ·you identified earlier, do they make investment     24· ·HoldCo Limited?
25· ·decisions on behalf of CLO HoldCo Limited           25· · · · A.· · Possibly some time ago, but I -- I
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·2· ·don't recall.                                       ·2· ·did not start out at UVA initially, but -- but
·3· · · · Q.· · Okay.· So -- withdrawn.· I'll --         ·3· ·we both transferred -- I transferred my
·4· ·I'll go on.                                         ·4· ·sophomore year.· I was actually a chemical
·5· · · · · · · How did you come to be the director      ·5· ·engineer at the University of Delaware when I
·6· ·of CLO HoldCo?                                      ·6· ·transferred in, and then he transferred in his
·7· · · · A.· · I was asked either by Jim Dondero        ·7· ·junior year.· So we were there at college for
·8· ·or -- directly or indirectly by -- by Jim           ·8· ·two years.
·9· ·Dondero.                                            ·9· · · · Q.· · And -- and based on your
10· · · · Q.· · And who is Jim Dondero?                  10· ·relationship with him, is it your understanding
11· · · · A.· · Well, at the time, he was the head       11· ·that one of the reasons he chose to transfer to
12· ·or one of the heads of Highland Capital             12· ·UVA is -- is to -- because you were there?
13· ·Management, a friend of mine.                       13· · · · A.· · Oh, no.· He transferred -- he --
14· · · · Q.· · How long have you known Mr. Dondero?     14· ·he -- he transferred there because of the -- so
15· · · · A.· · Since high school so that -- 1976.       15· ·he went to the University of -- he -- he went
16· · · · Q.· · Where did you and Mr. Dondero grow       16· ·to Virginia Tech University, which is more
17· ·up?                                                 17· ·known as being an engineering school, which I
18· · · · A.· · In northern New Jersey.                  18· ·might have wanted to go to, and less a finance
19· · · · Q.· · Do you consider him among the            19· ·business school.· And if I understand things
20· ·closest friends you have?                           20· ·correctly, and I believe I do, he transferred
21· · · · A.· · I think he is my closest friend.         21· ·to UVA because of the well-known
22· · · · Q.· · Did you two go to college together?      22· ·business/finance program, accounting program.
23· · · · A.· · We actually -- for the last -- last      23· · · · Q.· · And did you -- did you and
24· ·two years I was at UVA, University of Virginia,     24· ·Mr. Dondero become roommates at UVA?
25· ·excuse me, he and I were -- were at UVA.· So we     25· · · · A.· · We weren't roommates, but we lived



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·2· ·in the -- we were housemates.· I'm sorry.· We       ·2· · · · · · · MR. CLARK:· Objection, form.
·3· ·were housemates.                                    ·3· ·BY MR. MORRIS:
·4· · · · Q.· · So you shared a house together.· How     ·4· · · · Q.· · Withdrawn.
·5· ·would you describe your relationship with           ·5· · · · · · · Do you believe that Mr. Dondero
·6· ·Mr. Dondero today?                                  ·6· ·trusts you?
·7· · · · A.· · It's -- it's been strained a while,      ·7· · · · A.· · I do.
·8· ·for some time, but -- but generally, very good.     ·8· · · · Q.· · Over the years, is it fair to say
·9· ·Good to very good.                                  ·9· ·that Mr. Dondero has confided in you?
10· · · · Q.· · Without -- without getting personal      10· · · · · · · MR. CLARK:· Objection, form.
11· ·here, can you just generally identify the           11· ·BY MR. MORRIS:
12· ·source of the strain that you described.            12· · · · Q.· · You can answer if you understand it.
13· · · · A.· · This -- I think it would be fair to      13· · · · A.· · I think so.
14· ·say that this bankruptcy, particularly events       14· · · · Q.· · I -- I -- what's your answer?· You
15· ·in 2020 so some months after the bankruptcy was     15· ·think so?
16· ·declared, things have become -- we -- we still      16· · · · A.· · Maybe you can de- -- I think of
17· ·have a close friendship, but -- but things          17· ·confide as -- could you define confide, please.
18· ·are -- are a bit -- are a bit more difficult.       18· · · · Q.· · Sure.· Is it -- is it fair to say
19· · · · Q.· · Were you ever married?                   19· ·that over the -- let me -- you've known
20· · · · A.· · I've never been married.                 20· ·Mr. Dondero for almost 45 years, right?
21· · · · Q.· · Did you serve as Mr. Dondero's best      21· · · · A.· · Yes.
22· ·man at his wedding?                                 22· · · · Q.· · And you consider him to be your
23· · · · A.· · I did.                                   23· ·closest friend in the world, right?
24· · · · Q.· · Is it fair to say that -- that           24· · · · A.· · Yes.
25· ·Mr. Dondero trusts you?                             25· · · · Q.· · And is it fair to say over the
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·course of those 45 years, Mr. Dondero has           ·2· · · · A.· · I'm sorry.· Could you repeat that?
·3· ·shared confidential information with you that       ·3· ·My -- my screen went small and then big again.
·4· ·he didn't want you to reveal publicly to other      ·4· ·I was distracted.
·5· ·people?                                             ·5· · · · Q.· · What role does Mr. Dondero play with
·6· · · · A.· · Yes.                                     ·6· ·respect to the management of the CLO HoldCo
·7· · · · Q.· · And is it your understanding that        ·7· ·Limited asset pool?
·8· ·because of the nature of your relationship with     ·8· · · · · · · MR. CLARK:· Objection, form.
·9· ·him, he asked you to serve as the director of       ·9· · · · A.· · He is with the company that manages
10· ·CLO HoldCo Limited?                                 10· ·that asset pool.· He's one of the people I
11· · · · A.· · Yes.· I believe it's because he --       11· ·named previously as managing those assets.
12· ·he trusted -- trusted me with -- with assets        12· · · · Q.· · He is -- he -- he is the -- do you
13· ·relating to his charitable vision.· I -- I --       13· ·understand that he has the final
14· ·yeah.· Yes.                                         14· ·decision-making power with respect to the
15· · · · Q.· · And is it your understanding that he     15· ·management of the assets that are held by CLO
16· ·thought you would help him execute his              16· ·HoldCo Limited?
17· ·charitable vision?                                  17· · · · · · · MR. CLARK:· Objection, form.
18· · · · A.· · That was the point of attraction         18· · · · A.· · I believe I ansel -- answered that
19· ·initially.· It wasn't for money.· I wasn't          19· ·previously.· I -- I don't know who has -- for
20· ·being paid.· That was -- the charitable mission     20· ·certainty I do not know who has that within
21· ·was the attraction.                                 21· ·that company.· I don't.· If -- if -- I -- I
22· · · · Q.· · Does Mr. Dondero play any role in        22· ·don't know, consistent with my prior answer.
23· ·the management of the CLO HoldCo Limited asset      23· · · · Q.· · Did you ever ask anybody who had the
24· ·pool?                                               24· ·final decision-making authority for investments
25· · · · · · · MR. CLARK:· Objection, form.             25· ·on behalf of CLO HoldCo Limited?



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·2· · · · A.· · I -- I did not.                          ·2· ·how the request was transmitted to me, but I
·3· · · · Q.· · Did you ever make a decision on          ·3· ·believe the way it played out is as follows: I
·4· ·behalf of -- withdrawn.                             ·4· ·believe I was asked to call Jim Seery, and the
·5· · · · · · · In your capacity as a director --        ·5· ·other -- and Russell Nelms, and the third
·6· ·withdrawn.                                          ·6· ·independent director, I believe his name is
·7· · · · · · · In your capacity as the sole             ·7· ·John.· I -- I forget right now what his last
·8· ·director of CLO HoldCo Limited, can you think       ·8· ·name is.· They were in New York, said they were
·9· ·of any decision that you've ever made that          ·9· ·in a conference room.· I called in.· They were
10· ·Mr. Dondero disagreed with?                         10· ·very pleasant.· They identified who they were,
11· · · · A.· · Since -- prior to the bankruptcy,        11· ·and they had a request, and the request was
12· ·no, not that I'm aware of.                          12· ·that I agree to a transfer -- or that I -- that
13· · · · Q.· · And since the bankruptcy?                13· ·I agree to allow certain assets that were not
14· · · · A.· · There are decisions that I've made       14· ·Highland's assets but they were CLO's as- --
15· ·that he's disagreed with.                           15· ·assets -- apparently, there was no dispute
16· · · · Q.· · Can you identify them?                   16· ·about that at any point in time, but that I
17· · · · A.· · Yes.                                     17· ·agree to allow certain assets that were due CLO
18· · · · Q.· · Please do so.                            18· ·to be transferred to the registry of the
19· · · · A.· · Okay.· So the reason I'm pausing is      19· ·bankruptcy court.· And either on that call I
20· ·I'm trying to put these in chronological order      20· ·immediately agreed or ended the call, called my
21· ·and, at the same time, identify maybe some of       21· ·attorney, and then immediately agreed.· It was
22· ·the more important ones versus the lesser           22· ·a very -- I accommodated the request quickly.
23· ·important ones.· One of the decisions I made        23· · · · Q.· · Okay.· And can you just tell me at
24· ·related to a request that I received from the       24· ·what point in time you spoke with Mr. Dondero,
25· ·independent board of Highland.· I don't know        25· ·and what did he say that you recall?
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·2· · · · A.· · I don't know when he became aware of     ·2· ·did Mr. Dondero say to you that -- that causes
·3· ·that decision.· I'm not sure I ever volunteered     ·3· ·you to testify as you did, that this is one
·4· ·that the decision was even made, but at some        ·4· ·issue that he didn't agree with?
·5· ·point, it became an issue because he found out      ·5· · · · A.· · I believe his concern was that
·6· ·through -- if I understand the sequence of          ·6· ·because it was money that was undisputably to
·7· ·events correctly, he found out possibly through     ·7· ·flow to CLO HoldCo that -- which had many, many
·8· ·his counsel because there was ultimately            ·8· ·other nonliquid assets -- this was a form of a
·9· ·litigation about that issue.· It became known       ·9· ·liquid asset.· It was cash in effect, proceeds.
10· ·to everyone at some point what I had done, I --     10· ·-- that the money should have been allowed to
11· ·I think.· And subsequent to that, it became an      11· ·flow to be available for obligations.· He
12· ·issue because of CLO HoldCo having fairly           12· ·didn't under- -- I -- I -- I don't know what he
13· ·significant cash flow issues with respect to        13· ·was thinking, but the -- the issue was that the
14· ·its expenses and obligations, including payment     14· ·decision to put it into escrow was -- was --
15· ·of management fees as well as some of the           15· ·was in- -- incorrect, that there was no basis
16· ·scheduled charitable giving that was -- that        16· ·for it.
17· ·was by contract already predefined.· My             17· · · · Q.· · That -- that's an issue where after
18· ·decision to tuck that money -- or to agree          18· ·learning of your decision, he didn't agree with
19· ·to -- my agreement to let that money be tucked      19· ·it; is that fair?
20· ·away created some -- created some -- created        20· · · · A.· · That's right.
21· ·some problems --                                    21· · · · Q.· · Okay.· Can you think of any decision
22· · · · Q.· · And -- and --                            22· ·that you've ever made on behalf of CLO HoldCo
23· · · · A.· · -- for CLO HoldCo.                       23· ·Limited where Mr. Dondero had advance knowledge
24· · · · Q.· · Okay.· And I just want you to focus      24· ·of what you were going to do and he objected to
25· ·specifically on my question, and that is, what      25· ·it, but you nevertheless overruled his



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·2· ·objection and went ahead and did what -- did        ·2· ·I -- I don't know what his thoughts are on
·3· ·what you thought was right?                         ·3· ·objections.· They would not have been
·4· · · · A.· · Okay.· Let me -- let me -- I have --     ·4· ·communicated with -- by me to him, but my
·5· ·I'm sorry.                                          ·5· ·attorney might have consulted with his
·6· · · · Q.· · We're here.                              ·6· ·attorney, and there -- they may know what that
·7· · · · A.· · Oh, I'm sorry.· I'm having some          ·7· ·difference is, but I -- that was just another
·8· ·issues with my screen.· So that may have            ·8· ·big decision.· I -- I -- maybe that --
·9· ·occurred with respect to the original proof of      ·9· · · · Q.· · All right.· Let me see if I can --
10· ·claim.· Then there was a subsequent amendment       10· ·let me see if I can summarize this.· So two
11· ·to the proof of claim, and I -- I believe it --     11· ·proofs of claim.· Is it fair to say that
12· ·I believe that he might have been aware of both     12· ·Mr. Dondero saw those proofs of claim before
13· ·of those and was in disagreement with -- with       13· ·they were filed?
14· ·those.· But after working with my attorney, we      14· · · · · · · MR. CLARK:· Objection, form.
15· ·just -- you know, we did what we thought was        15· ·BY MR. MORRIS:
16· ·right, and I still think what we did was right.     16· · · · Q.· · Withdrawn.
17· ·There was an issue with respect to Har- --          17· · · · A.· · It --
18· ·HarbourVest that occurred relatively recently       18· · · · Q.· · Do -- do you know whether
19· ·where he objected to a decision that I had          19· ·Mr. Dondero saw the proofs of claim before they
20· ·made.· As I understand it, I could have             20· ·were filed?
21· ·contacted my attorney and changed the decision,     21· · · · A.· · I don't believe he did.
22· ·but I didn't, and I still think that was the        22· · · · Q.· · What -- what steps in filing the
23· ·right decision.                                     23· ·proofs of claim did he object to that you
24· · · · · · · We have filed plan objections. I         24· ·overruled?· Did he think there was -- something
25· ·can't say if he has any -- in that regard, I --     25· ·should be different about them?
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·2· · · · A.· · So we had to interface with Highland     ·2· ·with the word.· Could you please repeat that?
·3· ·employees at some point to get information to       ·3· · · · Q.· · Yes.· You mentioned HarbourVest
·4· ·support our proof of claim, and my guess, and       ·4· ·before, right?
·5· ·it's just a guess, is that he was aware of          ·5· · · · A.· · Yes.
·6· ·those inquiries.· I -- I'm sorry.· I shouldn't      ·6· · · · Q.· · And you mentioned that there was an
·7· ·speculate.· I don't know.· But he -- with           ·7· ·issue with Mr. Dondero and you concerning
·8· ·respect to the original proof of claim, I'm --      ·8· ·HarbourVest; is that right?
·9· ·I'm not aware of what specifically he was           ·9· · · · A.· · Yes.
10· ·objecting to or was -- thought should have been     10· · · · Q.· · And did that have to do with whether
11· ·different, but the -- with respect to the           11· ·or not CLO HoldCo Limited would -- would object
12· ·amended proof of claim, which reduced the           12· ·to the debtor's motion to get the HarbourVest
13· ·original proof of claim to zero, I think that's     13· ·settlement approved?
14· ·where he had a -- an issue.                         14· · · · A.· · Would -- would get the
15· · · · Q.· · And did you speak with him about         15· ·HarbourVest --
16· ·that topic prior to the time the amended claim      16· · · · Q.· · Settlement approved by the court.
17· ·was filed, or did you only speak with him after     17· · · · A.· · I'm not trying to be difficult.
18· ·it was filed?                                       18· ·I'm -- I'm -- could you just repeat that one
19· · · · A.· · I'm not sure the timing of that.         19· ·more time?· I'm --
20· · · · Q.· · And with respect to HarbourVest, did     20· · · · Q.· · What was -- what was --
21· ·he ask you to object to the settlement on           21· · · · A.· · There was --
22· ·behalf of CLO HoldCo Limited, and is that           22· · · · Q.· · Let me try again.
23· ·something that you declined to do?                  23· · · · A.· · Okay.
24· · · · · · · MR. CLARK:· Objection, form.             24· · · · Q.· · What was the issue with respect to
25· · · · A.· · I'm -- I'm sorry.· I was confused        25· ·HarbourVest that he objected to and -- and you



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·2· ·overrode his objection and did what you thought     ·2· · · · Q.· · -- if you know?
·3· ·was right anyway?                                   ·3· · · · A.· · I -- I understand that he learned it
·4· · · · A.· · Okay.· Okay.· That's -- that's           ·4· ·during the hearing.· I don't know the -- I -- I
·5· ·easier for me to understand.· I'm sorry.· So I      ·5· ·don't know the -- whether there was any -- I --
·6· ·had worked with my attorney or he did the work      ·6· ·I don't know for certain on the second half of
·7· ·and consulted with -- we consulted, but we had      ·7· ·your question.
·8· ·filed an objection, motion objecting to the         ·8· · · · Q.· · Let me -- let me try it -- let me
·9· ·settlement, if I understand the terminology and     ·9· ·try it this way:· Did you speak with
10· ·nomenclature correctly.· Okay.· He had -- we        10· ·Mr. Dondero about your decision to withdraw the
11· ·had come to an agreement that we had a very         11· ·objection to the HarbourVest settlement prior
12· ·valid argument.· That argument was evidenced        12· ·to the time your counsel made the announcement
13· ·by, I guess it was, our motion that was             13· ·in court?
14· ·submitted to the court.· On the day of the          14· · · · A.· · I don't -- I don't believe so.· No.
15· ·hearing to resolve this issue, we pulled our        15· ·No.· No.· I'm sorry.· No.
16· ·request, and that was because I believed it did     16· · · · Q.· · And did --
17· ·not have a good-faith basis in law to move          17· · · · A.· · Okay.· No.· Here -- here's where
18· ·forward on.                                         18· ·I'm -- I can clarify, okay?· I'm sorry.· I can
19· · · · Q.· · And did you discuss that issue with      19· ·clarify.
20· ·Mr. Dondero before informing the court that CLO     20· · · · Q.· · That's all right.
21· ·HoldCo Limited was withdrawing its objection,       21· · · · A.· · I gave the decision to my
22· ·or did he learn about that for the first time       22· ·attorney -- I -- I agreed with the
23· ·during the hearing --                               23· ·recommendation of my attorney, okay?· It wasn't
24· · · · · · · MR. CLARK:· Objection, form.             24· ·my --
25· ·BY MR. MORRIS:                                      25· · · · Q.· · Did you have a good --
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·2· · · · A.· · -- thought, okay?                        ·2· ·attorney made a recommendation.· I agreed with
·3· · · · · · · THE REPORTER:· I didn't --               ·3· ·it.· We with- -- I -- I told him to withdraw --
·4· · · · A.· · Okay.· So he --                          ·4· ·or I authorized him to withdraw.
·5· · · · Q.· · It was a recommendation.                 ·5· · · · Q.· · Okay.
·6· · · · A.· · Yeah.· So he -- he called me with a      ·6· · · · A.· · Then I received a communication, and
·7· ·recommendation.· It was highly urgent.· You         ·7· ·I -- I guess the most likely scenario is the
·8· ·know, I was coming out of the men's room, had       ·8· ·motion had been withdrawn by the time Jim
·9· ·my phone with me.· I got the call.                  ·9· ·Dondero found out.
10· · · · · · · MR. CLARK:· Hey, Grant, I -- Grant,      10· · · · Q.· · And -- and did he write to you, or
11· · · · I just want to caution you not to -- to --     11· ·did he call you?· Did he send you a text?
12· · · · and I don't think counsel is looking for       12· · · · A.· · He called me.
13· · · · this but not to disclose the -- the            13· · · · Q.· · What did he say?
14· · · · substance of any of your communications        14· · · · A.· · He was asking why, and I explained,
15· · · · with counsel, okay?                            15· ·and I said I agreed with the decision and I was
16· · · · · · · THE WITNESS:· Thank you.                 16· ·sticking with the decision.
17· · · · A.· · So --                                    17· · · · Q.· · Let's just -- let's just move on to
18· · · · · · · THE WITNESS:· Thank you.· I'm -- I'm     18· ·a new topic, and let's talk about the structure
19· · · · sorry.                                         19· ·of -- of CLO HoldCo.· Are you generally
20· ·BY MR. MORRIS:                                      20· ·familiar with the ownership structure of CLO
21· · · · Q.· · It's -- it's really a very simple        21· ·HoldCo?
22· ·question.· Do you recall --                         22· · · · A.· · Yeah.· I mean, in terms --
23· · · · A.· · He made a recommendation.· I -- I --     23· · · · Q.· · Are -- are you -- are you generally
24· ·I think I can answer your question without          24· ·familiar with it?· It's not a test.· I'm just
25· ·going off tangent.· I'm sorry.· So he -- my         25· ·asking do you have a general familiarity --



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·2· · · · A.· · With CLO HoldCo or the entities          ·2· ·comports with your understanding of the facts.
·3· ·associated with CLO HoldCo?                         ·3· · · · · · · Do you know that CLO HoldCo Limited
·4· · · · Q.· · The latter.                              ·4· ·was formed in the Cayman Islands?
·5· · · · A.· · Yes, I believe so.                       ·5· · · · A.· · Yes.
·6· · · · Q.· · All right.· I've prepared what's         ·6· · · · Q.· · And to the best of your knowledge,
·7· ·called a demonstrative exhibit.· It's just --       ·7· ·is CLO HoldCo Limited 100 percent owned by the
·8· · · · A.· · Yes.                                     ·8· ·Charitable DAF Fund, L.P.?· If you're not sure,
·9· · · · Q.· · -- just -- it's a document that, I       ·9· ·just say you're not sure if you don't know.
10· ·think, reflects facts, but I want to ask you        10· ·It's not a test.
11· ·about it.                                           11· · · · A.· · So the -- the -- the familiarity
12· · · · · · · MR. MORRIS:· La Asia, can we please      12· ·I -- I'm -- I'm familiar with the different --
13· · · · put up Exhibit 1.                              13· ·I'm confused with the arrangement of the boxes
14· · · · · · · (SCOTT EXHIBIT 1, Organizational         14· ·and the ownership interest versus managerial
15· · · · Structure:· CLO HoldCo, Ltd., was marked       15· ·interest.· I believe that's -- that's right.
16· · · · for identification.)                           16· · · · Q.· · Okay.· And -- and you're the sole
17· ·BY MR. MORRIS:                                      17· ·director of CLO HoldCo Limited, right?
18· · · · Q.· · Okay.· Can you see that, Mr. Scott?      18· · · · A.· · Yes.
19· · · · A.· · Yes, I can.                              19· · · · Q.· · And this whole structure was -- the
20· · · · Q.· · Okay.· So I think I took the             20· ·idea for this structure, to the best of your
21· ·information from resolutions that were attached     21· ·knowledge, was to implement Mr. Dondero's plan
22· ·to the CLO HoldCo proof of claim, and that's        22· ·for charitable giving; is that fair?
23· ·why you got that little footnote there at the       23· · · · A.· · Yes.· Ultimately, yes.
24· ·bottom of the page.· But let's start in the         24· · · · Q.· · And is it fair to say then that
25· ·lower right-hand corner and see if this chart       25· ·he -- he made the decision to establish this
                                               Page 48                                                  Page 49
·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·particular structure, to the best of your           ·2· · · · Q.· · And to the best of your knowledge,
·3· ·knowledge?                                          ·3· ·is the Charitable DAF GP, LLC, the general
·4· · · · A.· · I -- I didn't -- I'm sorry. I            ·4· ·partner of Charitable DAF Fund, L.P.?
·5· ·didn't hear you very well.                          ·5· · · · A.· · Yes.
·6· · · · Q.· · To the best of your knowledge, did       ·6· · · · Q.· · And is it your understanding that
·7· ·Mr. Dondero make the decisions to establish the     ·7· ·you are the managing member of Charitable DAF
·8· ·structure that's reflected on this page?            ·8· ·GP, LLC?
·9· · · · A.· · Oh, I don't know if he made the          ·9· · · · A.· · Yes.
10· ·decision to establish this structure, although      10· · · · Q.· · Does Charitable DAF GP, LLC, have
11· ·it's -- it's -- I'm sorry.· Strike that.· I --      11· ·any employees?
12· ·if -- if what you're saying is did he approve       12· · · · A.· · No.
13· ·of this structure, to my knowledge, yes.            13· · · · Q.· · Does Charitable DAF GP, LLC, have
14· · · · Q.· · Okay.· Do you hold any position with     14· ·any officers or directors?
15· ·respect to Charitable DAF Fund, L.P.?               15· · · · A.· · No.
16· · · · A.· · I -- I -- your chart says no.· I --      16· · · · Q.· · Are you the only person affiliated
17· ·I -- I thought I had a role there, too.             17· ·with Charitable DAF GP, LLC, to the best of
18· · · · Q.· · I don't know.· I don't have              18· ·your --
19· ·information on that.· That's why I'm asking the     19· · · · A.· · I believe so.
20· ·question.                                           20· · · · Q.· · Do you receive any compensation for
21· · · · A.· · I -- I -- I believe -- yes, I            21· ·serving as the managing member of Charitable
22· ·believe I have the same role as I do in -- in       22· ·DAF GP, LLC?
23· ·CLO HoldCo.                                         23· · · · A.· · No.· The -- I don't interact with it
24· · · · Q.· · And that would be director?              24· ·very often.· It's -- no, I don't receive any
25· · · · A.· · Yes.                                     25· ·compensation.



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·2· · · · Q.· · Can you tell me in your capacity as      ·2· ·Charitable DAF Fund, L.P., Grant Scott,
·3· ·the managing member of Charitable DAF GP, LLC,      ·3· ·director, and we put under CLO HoldCo Limited
·4· ·what's the nature of that entity's business?        ·4· ·Grant Scott, director, would everything on the
·5· · · · A.· · It -- it doesn't perform any             ·5· ·right side of that page be accurate, to the
·6· ·day-to-day operations.· My understanding is --      ·6· ·best of your --
·7· ·is that it's -- it's there for purposes of          ·7· · · · A.· · I believe so.
·8· ·compliance.· I can't recall the last time I had     ·8· · · · Q.· · Well, let's move to the left side of
·9· ·any activity with respect to that.                  ·9· ·the page.· Have you heard of the entity
10· · · · Q.· · How about the Charitable DAF Fund,       10· ·Charitable DAF HoldCo Limited?
11· ·L.P.?· I apologize if I've asked you these          11· · · · A.· · Yes.
12· ·questions.                                          12· · · · Q.· · Are you the sole director of
13· · · · A.· · It -- it's the same.· I -- I -- my       13· ·Charitable DAF HoldCo Limited?
14· ·activity is almost exclusively CLO HoldCo.          14· · · · A.· · Yes.
15· · · · Q.· · All right.· Let me just ask the          15· · · · Q.· · How did you become -- how did you
16· ·questions nevertheless.· Does Charitable DAF        16· ·come to be the char- -- the sole director of
17· ·Fund, L.P., have any employees?                     17· ·Charitable DAF HoldCo Limited?
18· · · · A.· · Employees?· No.                          18· · · · A.· · That was when it was established.
19· · · · Q.· · Does it have any officers and            19· · · · Q.· · And did Mr. Dondero ask you to serve
20· ·directors?                                          20· ·in that capacity?
21· · · · A.· · No.                                      21· · · · A.· · Yes.
22· · · · Q.· · Are you the sole director of             22· · · · Q.· · And did Mr. Dondero ask you to serve
23· ·Charitable DAF Fund, L.P.?                          23· ·as the managing member of Charitable DA- -- DAF
24· · · · A.· · Yes, I believe so.                       24· ·GP, LLC?
25· · · · Q.· · So if we -- if we put under              25· · · · A.· · Yes.
                                               Page 52                                                  Page 53
·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· · · · Q.· · And did Mr. Dondero ask you to serve     ·2· ·resolutions, and there's one that I have in
·3· ·as the director of Charitable DAF, L.P. --          ·3· ·mind that shows Charitable DAF HoldCo Limited
·4· ·withdrawn.                                          ·4· ·holding 99 percent of the limited partnership
·5· · · · · · · Did Mr. Dondero ask you to serve as      ·5· ·interests of Charitable DAF Fund, L.P., and
·6· ·director of Charitable DAF Fund, L.P.?              ·6· ·there's another that shows it being a hundred
·7· · · · A.· · Yes.                                     ·7· ·percent.· Do you -- do you know which is
·8· · · · Q.· · To the best of your knowledge, does      ·8· ·accurate at least at this time?
·9· ·Charitable DAF HoldCo Limited own 99 percent of     ·9· · · · A.· · There's a 1 percent/99 percent
10· ·the limited partnership interests in Charitable     10· ·division, and I am -- I believe it's the 99
11· ·DAF Fund, L.P.?                                     11· ·percent, but I'm -- I'm getting confused by
12· · · · A.· · Yes.· The -- the feed -- the -- the      12· ·the -- by the arrangement.· I'm so used to
13· ·feeds -- the -- the three horizontal blocks         13· ·another arrangement.· I -- I believe the 99
14· ·there that identify Highland Dallas Foundation,     14· ·percent is correct.
15· ·Kansas City, Santa Barbara -- there's a fourth      15· · · · Q.· · Okay.· Do you have any understanding
16· ·of -- relatively de minimus in terms of             16· ·as to who owns the other 1 percent of the
17· ·participation.· There's a fourth entity that's      17· ·limited partnership interests of Charitable DAF
18· ·missing.· It's Dallas -- I forget the name.         18· ·Fund, L.P.?
19· ·That -- that -- that structure is -- is a bit       19· · · · A.· · No.· This -- this is confusing to
20· ·dated --                                            20· ·me.· No.
21· · · · Q.· · Okay.                                    21· · · · Q.· · Okay.· There are, at least on this
22· · · · A.· · -- as it -- as is shown.                 22· ·page, three foundations that I think you've
23· · · · Q.· · Okay.· So I will tell you and we can     23· ·identified.· Are those three foundations
24· ·look the documents if you want, but attached to     24· ·together with the fourth that you mentioned the
25· ·CLO HoldCo Limited's claim are a number of          25· ·owners of the Charitable DAF HoldCo Limited?



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·2· · · · A.· · Owners?                                  ·2· · · · Consent of Directors In Lieu of Meeting,
·3· · · · Q.· · Yes.                                     ·3· · · · was marked for identification.)
·4· · · · · · · MR. CLARK:· Objection, form.             ·4· · · · · · · MR. MORRIS:· I apologize.· Let's go
·5· · · · A.· · They -- they only participate in the     ·5· · · · to --
·6· ·money that flows up to them.                        ·6· · · · · · · MS. CANTY:· I'm sorry, John. I
·7· · · · Q.· · And what does that mean exactly?         ·7· · · · can't hear you.· Was that not the exhibit?
·8· · · · A.· · What's that?                             ·8· · · · · · · MR. MORRIS:· 4.
·9· · · · Q.· · What does that -- what do you mean       ·9· · · · · · · MS. CANTY:· Okay.
10· ·by that?· Do the foundations fund Charitable        10· · · · · · · THE REPORTER:· And Mr. Morris, you
11· ·DAF Fund HoldCo Limited?                            11· · · · are -- Mr. Morris, you are breaking up just
12· · · · A.· · Initially.· Initially, as I              12· · · · a little bit at the end of your questions.
13· ·understand it, the money flows downward into        13· ·BY MR. MORRIS:
14· ·the Charitable DAF HoldCo Limited before it         14· · · · Q.· · Okay.· Do you see the document on
15· ·ultimately makes its way to CLO HoldCo, and         15· ·the screen, sir?
16· ·then each of those three entities, the various      16· · · · A.· · Yes, I do.
17· ·foundations, obtain participation interest in       17· · · · Q.· · Okay.· And so this is a unanimous
18· ·the money that flows back to them.                  18· ·written consent of the directors of the
19· · · · Q.· · And -- and is that par- -- are those     19· ·Highland Dallas Foundation.· That's one of the
20· ·participation interests in Charitable -- you        20· ·entities that was on the chart.
21· ·know what, let -- let me just pull up one           21· · · · · · · MR. MORRIS:· Can we scroll down to
22· ·document and see if that helps.                     22· · · · the -- the bottom of the document where the
23· · · · · · · MR. MORRIS:· Can we put up -- I          23· · · · signature lines are.· Right there.
24· · · · think it's Exhibit Number 5.                   24· ·BY MR. MORRIS:
25· · · · · · · (SCOTT EXHIBIT 2, Unanimous Written      25· · · · Q.· · Are you a director of the Highland
                                               Page 56                                                  Page 57
·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·Dallas Foundation?                                  ·2· · · · A.· · Yes.
·3· · · · A.· · Yes, selected by them.                   ·3· · · · Q.· · To the best of your knowledge, does
·4· · · · Q.· · Selected by whom?                        ·4· ·Mr. Dondero serve as the president for each of
·5· · · · A.· · By that foundation.                      ·5· ·the foundations that we're talking about?
·6· · · · Q.· · Are you -- are you a director of all     ·6· · · · A.· · Yes.
·7· ·of the four foundations that feed into the          ·7· · · · Q.· · To the best of your knowledge, is
·8· ·Charitable DAF HoldCo Limited entities that --      ·8· ·Mr. Dondero a director of each of the
·9· · · · A.· · No.                                      ·9· ·foundations that we're talking about?
10· · · · Q.· · Which of the four foundations are        10· · · · A.· · Say that again.· I'm sorry.
11· ·you a director of?                                  11· · · · Q.· · Is he also a director of each of the
12· · · · A.· · This and the Santa Barbara -- I'm        12· ·foundations?
13· ·sorry, Santa Barbara and Kansas City.               13· · · · A.· · Yes.
14· · · · Q.· · So is -- there's one that you're not     14· · · · Q.· · Do you know whether any of the
15· ·a director of; is that right?                       15· ·foundations has any employees?
16· · · · A.· · Yes.                                     16· · · · A.· · I believe they do, but I -- I -- I
17· · · · Q.· · And which one is that?                   17· ·can't say for certain.
18· · · · A.· · The -- could you go back to the --       18· · · · Q.· · Does -- withdrawn.
19· · · · Q.· · Yeah.                                    19· · · · · · · Do you know if there are any
20· · · · · · · MR. MORRIS:· Go back to the              20· ·officers of any of the four foundations other
21· · · · demonstrative.                                 21· ·than Mr. Dondero's service as president?
22· · · · A.· · It's the Highland Dallas Foundation      22· · · · A.· · I'm sorry.· Say that one more time,
23· ·and Santa Barbara Foundation.                       23· ·please.
24· · · · Q.· · Those are the two that you're a          24· · · · Q.· · Yes.· Do you know whether any of the
25· ·director of?                                        25· ·four foundations has any officers other than



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·2· ·Mr. Dondero's service as president?                 ·2· ·Nonexempt Trust, right?
·3· · · · A.· · No.                                      ·3· · · · A.· · Yes.
·4· · · · Q.· · You don't know, or they do not?          ·4· · · · Q.· · When did you become a trustee of the
·5· · · · A.· · I -- I don't believe anyone else         ·5· ·Get Good Nonexempt Trust?
·6· ·has.· I -- actually, I should say I don't -- I      ·6· · · · A.· · Many years ago.· I -- I don't
·7· ·don't recall.· I -- I don't know.· I don't -- I     ·7· ·remember.
·8· ·don't know.                                         ·8· · · · Q.· · Are there any other trustees of the
·9· · · · Q.· · As a director of the Dallas and          ·9· ·Get Good Nonexempt Trust?
10· ·Santa Barbara foundations, are you aware of any     10· · · · A.· · No.
11· ·officers serving for either of those                11· · · · Q.· · Does the Get Good Nonexempt Trust
12· ·foundations other than Mr. Dondero?                 12· ·have any officers, directors, or employees?
13· · · · A.· · No.                                      13· · · · A.· · No.
14· · · · Q.· · Do you know who the beneficial owner     14· · · · · · · MR. CLARK:· Objection, form.· Sorry.
15· ·of the Charitable DAF HoldCo Limited entity is?     15· ·BY MR. MORRIS:
16· · · · A.· · The beneficial owner?                    16· · · · Q.· · Withdrawn.
17· · · · Q.· · Correct.                                 17· · · · · · · Do you know whether the Get Good
18· · · · A.· · The various -- various trusts that       18· ·Nonexempt Trust has any officers, directors, or
19· ·were used to -- that were the vehicles by which     19· ·employees?
20· ·the money originally was established within --      20· · · · A.· · It does not.
21· ·within -- within CLO HoldCo.                        21· · · · Q.· · And I apologize if I asked this, but
22· · · · Q.· · Would that be -- would one of them       22· ·are you the only trustee of the Get Good
23· ·be the Get Good Nonexempt Trust?                    23· ·Nonexempt Trust?
24· · · · A.· · Yes.                                     24· · · · A.· · Yes.
25· · · · Q.· · And you're a trustee of the Get Good     25· · · · Q.· · Is the Dugaboy Investment Trust also
                                               Page 60                                                  Page 61
·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·one of the trusts that has an interest in           ·2· ·besides those trusts, to the best of your
·3· ·Charitable DAF HoldCo Limited?                      ·3· ·knowledge?
·4· · · · A.· · Yes.                                     ·4· · · · A.· · No.
·5· · · · Q.· · Are you a trustee of the Dugaboy         ·5· · · · Q.· · Is it your understanding based on
·6· ·Investment Trust?                                   ·6· ·what we've just talked about that the Get Good
·7· · · · A.· · I am not.                                ·7· ·Nonexempt Trust and the Dugaboy Investment
·8· · · · Q.· · Do you know who is?                      ·8· ·Trust are the indirect beneficiaries of CLO
·9· · · · A.· · I believe it's his sister.               ·9· ·HoldCo Limited?
10· · · · Q.· · And is that -- you're referring to       10· · · · A.· · Yes.
11· ·Mr. Dondero's sister?                               11· · · · Q.· · Can you tell me who the
12· · · · A.· · I'm sorry.· Yes.                         12· ·beneficiaries are of the Get Good trust?
13· · · · Q.· · And what's the basis for your            13· · · · A.· · I mean, Jim Dondero.
14· ·understanding that Mr. Dondero's siv- -- sister     14· · · · Q.· · And -- and what is that -- is that
15· ·serves as the trustee of the Dugaboy Investment     15· ·based on the trust agreement -- your knowledge
16· ·Trust?                                              16· ·of the trust agreement?
17· · · · A.· · Many years ago there was a -- there      17· · · · A.· · Yes.
18· ·was a clerical error that identified me as the      18· · · · Q.· · Do you have an understanding of who
19· ·trustee of the Dugaboy.· That error was present     19· ·the beneficiary is of the Dugaboy Investment
20· ·for approximately two weeks or a week and a         20· ·Trust?
21· ·half before it was detected and corrected, and      21· · · · A.· · I don't know anything about that
22· ·so I know from that correction that it's Nancy      22· ·trust.
23· ·Dondero.                                            23· · · · · · · MR. MORRIS:· Okay.· All right.
24· · · · Q.· · Are there any other trusts that have     24· · · · Let's take a short break and reconvene at
25· ·an interest in Charitable DAF HoldCo Limited        25· · · · 3:30 Eastern Time.· We've been going for a



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·2· · · · while.                                         ·2· ·affairs of CLO HoldCo Limited at any time since
·3· · · · · · · MR. CLARK:· Thank you.                   ·3· ·October?
·4· · · · · · · MR. MORRIS:· Okay.· Thank you.           ·4· · · · A.· · Yes.
·5· · · · · · · (Whereupon, there was a recess in        ·5· · · · Q.· · Anybody other than Jim Seery?
·6· · · · the proceedings from 3:20 p.m. to              ·6· · · · A.· · Yes.
·7· · · · 3:31 p.m.)                                     ·7· · · · Q.· · Okay.· Let's start with Mr. Seery.
·8· ·BY MR. MORRIS:                                      ·8· ·You've spoken with him before, right?
·9· · · · Q.· · Mr. Scott, earlier I think you           ·9· · · · A.· · Yes.
10· ·testified that you interfaced with the folks at     10· · · · Q.· · Do you have his phone number?
11· ·Highland in connection with your duties as the      11· · · · A.· · Yes.
12· ·director of CLO HoldCo Limited, right?              12· · · · Q.· · How many times have you spoken with
13· · · · A.· · Yes.                                     13· ·Mr. Seery, to the best of your recollection,
14· · · · Q.· · Are you aware of any written             14· ·just generally?· It's not a test.
15· ·agreement between Highland Capital Management       15· · · · A.· · Three, maybe four times.
16· ·and CLO HoldCo Limited?                             16· · · · Q.· · Okay.· Can you identify by name
17· · · · A.· · Yes, the various servicer                17· ·anybody else at Highland that you've spoken
18· ·agreements.                                         18· ·with since -- in the last two or three months?
19· · · · Q.· · Okay.· Are you aware that                19· · · · A.· · I spoke to Jim Dondero.· I've spoken
20· ·Mr. Dondero resigned from his position at           20· ·with Mike Throckmorton.· The usual suspects, so
21· ·Highland Capital Management sometime in             21· ·to speak.· Mark Patrick, Mel- -- Melissa
22· ·October?                                            22· ·Schroth.
23· · · · A.· · No.                                      23· · · · Q.· · Can you recall anybody else?
24· · · · Q.· · Have you communicated with anybody       24· · · · A.· · No.· No.· Sorry.
25· ·at Highland Capital Management about the            25· · · · Q.· · Did you -- did you -- withdrawn.
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· · · · · · · Do you recall the subject matter of      ·2· · · · A.· · Yes.· Or -- yes.
·3· ·your discussions with Mr. Throckmorton?             ·3· · · · Q.· · And what -- what are the nature of
·4· · · · · · · MR. CLARK:· Objection, form.             ·4· ·those conversations or the substance?
·5· ·BY MR. MORRIS:                                      ·5· · · · A.· · He was -- he was one of the
·6· · · · Q.· · Withdrawn.                               ·6· ·individuals that helped to establish the
·7· · · · · · · Do you recall your -- the subject        ·7· ·hierarchy for the -- what I keep referring to
·8· ·matter of your communications with                  ·8· ·as the charitable foundation.
·9· ·Mr. Throckmorton?                                   ·9· · · · Q.· · And -- and do you recall why you
10· · · · · · · MR. CLARK:· Objection, form.             10· ·spoke to him in the last -- or -- withdrawn.
11· ·BY MR. MORRIS:                                      11· · · · · · · Do you recall the nature of your
12· · · · Q.· · You can answer.                          12· ·communications in the last two or three months
13· · · · A.· · I -- I regularly interface with          13· ·with Mr. Patrick?
14· ·Mr. Throckmorton regarding approvals of             14· · · · A.· · I --
15· ·expenses, and he's my sort of -- he's my point      15· · · · · · · MR. CLARK:· And hold on, Grant.· I'm
16· ·person for approving wire transfers and things      16· · · · going to caution -- my understanding -- I
17· ·of that nature.                                     17· · · · believe Mr. Patrick's an attorney, and so
18· · · · Q.· · How about Mr. Patrick, what -- what      18· · · · I'm going to caution you that you shouldn't
19· ·area of responsibility does he have with            19· · · · disclose the substance of -- of those
20· ·respect to CLO HoldCo Limited?                      20· · · · communications based on the attorney-client
21· · · · A.· · He -- he doesn't, to my knowledge.       21· · · · privilege.
22· · · · Q.· · Do you recall the nature of the          22· · · · · · · MR. MORRIS:· Well, I'm -- I -- I am
23· ·substance of any communications that you've had     23· · · · the lawyer for the company so -- I guess
24· ·with Mr. Patrick since -- you know, the last        24· · · · there are other people on the phone and I
25· ·two or three months?                                25· · · · appreciate that, but let's see if we can --



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·2· · · · I don't mean to be contentious here, so it     ·2· ·home -- home improvements, home construction
·3· · · · wouldn't -- I -- I'd be part of the            ·3· ·with respect to Jim Dondero's home in Colorado,
·4· · · · privilege anyway.                              ·4· ·and that's -- I -- I think that's -- that's it.
·5· ·BY MR. MORRIS:                                      ·5· · · · Q.· · Okay.· Do you recall communicating
·6· · · · Q.· · But in any event, can you tell me        ·6· ·with anybody at Highland in the last three
·7· ·generally -- I'm just looking for general           ·7· ·months other than Mr. Dondero,
·8· ·subject matter of your conversations with           ·8· ·Mr. Throckmorton, Mr. Patrick, and Ms. Schroth?
·9· ·Mr. Patrick.                                        ·9· · · · A.· · I -- I spoke with Jim Seery this
10· · · · A.· · I asked him how I would go about         10· ·week.
11· ·re- -- resigning my position.                       11· · · · Q.· · Anybody else?
12· · · · Q.· · And when did that conversation take      12· · · · A.· · I don't -- I don't know.
13· ·place?                                              13· · · · Q.· · Okay.
14· · · · A.· · Within the last two weeks.               14· · · · A.· · I don't think so.
15· · · · Q.· · Have you made a decision to resign?      15· · · · Q.· · In your communications with
16· · · · A.· · No.                                      16· ·Mr. Seery, did you two ever discuss his reasons
17· · · · Q.· · I think you mentioned Melissa            17· ·for making any trade on behalf of any CLO?
18· ·Schroth.· Do I have that right?                     18· · · · A.· · No.
19· · · · A.· · Yes.                                     19· · · · Q.· · In your discussions with Mr. Seery,
20· · · · Q.· · Can you describe generally the           20· ·did you ever tell him that you believed that
21· ·communications you had with Ms. Schroth in the      21· ·Highland Capital Management had breached any
22· ·last few months.                                    22· ·agreement in relation to any CLO?
23· · · · A.· · They -- she has e-mailed me certain      23· · · · A.· · Have I had that discussion with Jim
24· ·documents that I needed to sign.· I had a           24· ·Seery?
25· ·conversation with her about -- about some           25· · · · Q.· · Yes.
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· · · · A.· · No.                                      ·2· ·connection with its performance as the
·3· · · · Q.· · In your discussions with Mr. Seery,      ·3· ·portfolio manager of the CLOs in which CLO
·4· ·did you ever tell him that you thought Highland     ·4· ·HoldCo Limited has invested?
·5· ·Capital Management was in default under any         ·5· · · · · · · MR. CLARK:· Object to form.
·6· ·agreement in relation to the CLOs?                  ·6· · · · A.· · In terms of the -- are you saying --
·7· · · · A.· · No.                                      ·7· ·please say that again.· I'm sorry.
·8· · · · Q.· · I want to focus in particular on the     ·8· · · · Q.· · That's okay.· I ask long questions
·9· ·shared services agreement.· In -- in your           ·9· ·sometimes so forgive me, but I'm trying to
10· ·discussions with Mr. Seery, did you ever tell       10· ·get -- I'm trying to be precise so that's why
11· ·him that you believed that Highland Capital         11· ·it's difficult sometimes.· But let me try
12· ·Management was in default or in breach of its       12· ·again.
13· ·shared services agreement with CLO HoldCo           13· · · · · · · Does CLO HoldCo Limited contend that
14· ·Limited?                                            14· ·Highland Capital Management has done anything
15· · · · A.· · No.                                      15· ·wrong in the performance of its duties as
16· · · · Q.· · In your communications with              16· ·portfolio manager of the CLOs in which CLO
17· ·Mr. Seery, did you ever indicate any concern on     17· ·HoldCo has invested?
18· ·the part of CLO HoldCo Limited with respect to      18· · · · · · · MR. CLARK:· Objection, form.
19· ·Highland Capital's Man- -- Highland Capital         19· · · · A.· · Yes.· It's -- it's outlined in our
20· ·Management's performance under the shared           20· ·objections to -- to the plan.
21· ·services agreement?                                 21· · · · Q.· · Okay.· Any -- are you aware of
22· · · · A.· · No.                                      22· ·anything that's not contained within CLO Holdco
23· · · · Q.· · As you sit here today, do you have       23· ·Limited's objection to the plan?
24· ·any reason to believe that Highland Capital         24· · · · · · · MR. CLARK:· Objection, form.
25· ·Management has done anything wrong in               25· · · · A.· · I don't know if this is responsive



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·2· ·to your quest -- request, but two -- two            ·2· · · · A.· · Now I do.· I'm sorry.· I didn't
·3· ·issues, I believe, also pose an in- -- a            ·3· ·appreciate that.
·4· ·problem for CLO HoldCo.· One is we are paying       ·4· · · · Q.· · Okay.· So let's just take each of
·5· ·for services.· I think I referred to the            ·5· ·those pieces one at a time.· You mentioned your
·6· ·services as being soup to nuts, but we are not      ·6· ·concern about services.· That's a concern that
·7· ·getting the full services.· We haven't been for     ·7· ·arises under the shared services agreement,
·8· ·some time.· So we're likely overpaying.· There      ·8· ·right?
·9· ·was a Highland Select Equity issue, 11-month        ·9· · · · A.· · Yes.
10· ·payment that was delayed which I was unaware of     10· · · · Q.· · And you mentioned something about a
11· ·was due.· Normally, I would have interfaced         11· ·delayed payment having to do with Highland
12· ·with someone at Highland about that, but my         12· ·Select.· Do I have that generally right?
13· ·attorney -- but my -- my attorney had to make a     13· · · · A.· · Correct.
14· ·request for payment, and that payment was           14· · · · Q.· · And is that a concern that you have
15· ·ultimately made.· I -- other than that, I -- I      15· ·that arises under the shared services
16· ·don't -- I don't know.· I don't believe so.         16· ·agreement?
17· · · · Q.· · I want to distinguish between the        17· · · · A.· · It's not the agreement with respect
18· ·shared services agreement between Highland          18· ·to the CLOs as I understand it.
19· ·Capital Management and CLO HoldCo Limited on        19· · · · Q.· · Okay.· So then let's turn to that
20· ·the one hand and on the other hand the              20· ·second bucket.· You were aware -- you are
21· ·management agreements pursuant to which             21· ·aware, are you not, that Highland Capital
22· ·Highland Capital Management manages certain         22· ·Management has certain agreements with CLOs
23· ·CLOs that CLO HoldCo invests in.                    23· ·pursuant to which it manages the assets that
24· · · · · · · You understand the distinction that      24· ·are owned by the CLOs?
25· ·I'm making?                                         25· · · · A.· · I'm so sorry.· Could you please --
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· · · · Q.· · I'll try again.                          ·2· · · · corporate representative.
·3· · · · A.· · I'm just -- I'm sorry.· I was            ·3· · · · · · · MR. MORRIS:· Fair enough.· But he is
·4· ·distracted and -- and I -- I'm sorry for asking     ·4· · · · the only representative so...
·5· ·you to repeat it again.· Please --                  ·5· · · · · · · MR. CLARK:· Fair enough.· I just
·6· · · · Q.· · Okay.                                    ·6· · · · want that made -- stated for the record,
·7· · · · A.· · Please re- --                            ·7· · · · but I also object as to form.
·8· · · · Q.· · Are you aware that CLO HoldCo            ·8· · · · · · · MR. MORRIS:· Got it.
·9· ·Limited has made investments in certain CLOs?       ·9· · · · A.· · It's a third-party beneficiary under
10· · · · A.· · Oh, yes, certainly.                      10· ·the agreements.
11· · · · Q.· · And are you aware that those CLOs        11· · · · Q.· · And is that because of something you
12· ·are managed by Highland Capital Management?         12· ·read in the document, or is that just your
13· · · · A.· · Yes.· As the -- as the servicer,         13· ·belief and understanding?
14· ·yes.                                                14· · · · A.· · My belief and understanding.
15· · · · Q.· · Okay.· Have you ever seen any of the     15· · · · Q.· · And is that belief and understanding
16· ·agreements pursuant to which Highland Capital       16· ·based on anything other than conversations with
17· ·Management acts as a servicer?                      17· ·counsel?
18· · · · A.· · I've seen a few, yes.                    18· · · · A.· · In -- in -- recently it has, but I
19· · · · Q.· · Does CLO HoldCo Limited contend that     19· ·don't recall from previous interactions over
20· ·it is a party to any agreement between Highland     20· ·the years how we discussed that or how I came
21· ·Capital Management and the CLOs?                    21· ·to -- to understand that.
22· · · · · · · MR. CLARK:· Object to form.· And I       22· · · · Q.· · Does HCLO [sic] HoldCo -- did -- in
23· · · · just want to note for the record that          23· ·your capacity as the sole director of HCLO
24· · · · Mr. Scott is here testifying in his            24· ·HoldCo Limited, are you aware of anything that
25· · · · individual capacity, I believe, not as a       25· ·Highland Capital Management has done wrong in



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·2· ·connection with the services provided under the     ·2· ·Highland Capital?
·3· ·CLO management agreements?                          ·3· · · · A.· · The select -- ultimately, I had to.
·4· · · · · · · MR. CLARK:· Objection, form.             ·4· · · · Q.· · I thought you testified earlier that
·5· · · · A.· · I -- I don't -- I don't -- I             ·5· ·you didn't make decisions as to investment.· Do
·6· ·don't -- your answer's no.                          ·6· ·I have that wrong?
·7· · · · Q.· · In your capacity as the director of      ·7· · · · A.· · The selection.
·8· ·CLO HoldCo Limited, are you aware of any            ·8· · · · Q.· · Okay.
·9· ·default or breach under the CLO management          ·9· · · · A.· · I -- I'm --
10· ·agreements that -- that Highland Capital            10· · · · Q.· · So -- so explain to me --
11· ·Management has caused?                              11· · · · A.· · I have to approve -- I have to
12· · · · · · · MR. CLARK:· Objection, form.             12· ·approve the selection.· I'm sorry.· But the
13· · · · A.· · We have raised the issue about           13· ·people making -- I was putting that in the camp
14· ·ongoing sales in various -- I'm not sure            14· ·of the people that make the selection.
15· ·whether they represent a technical breach,          15· · · · Q.· · Okay.· Do you know if -- do you know
16· ·though.                                             16· ·if there are CLOs in the world that exist that
17· · · · Q.· · Okay.· Are you aware of any              17· ·aren't managed by Highland Capital Management?
18· ·technical breach?                                   18· · · · · · · MR. CLARK:· Objection, form.
19· · · · · · · MR. CLARK:· Objection, form.             19· · · · A.· · Are there CLOs in the -- in the
20· · · · A.· · No.                                      20· ·world that are not --
21· · · · Q.· · I'm sorry.· You said, no, sir?           21· · · · Q.· · Yes.
22· · · · A.· · My answer's no.                          22· · · · A.· · Yes.· It's -- it's a well-known --
23· · · · Q.· · Thank you.· Do you know who made the     23· ·it's a well-known --
24· ·decision to cause the CLO HoldCo Limited entity     24· · · · Q.· · In your capacity as the director of
25· ·to invest in the CLOs that are managed by           25· ·CLO HoldCo Limited, did you ever consider
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·making an investment in a CLO that wasn't           ·2· ·managed by Highland, correct?
·3· ·managed by Highland?                                ·3· · · · A.· · Correct.
·4· · · · A.· · No.                                      ·4· · · · Q.· · Did you ever give any thought to
·5· · · · Q.· · Is there any particular reason why       ·5· ·exiting the CLO vehicles that were managed by
·6· ·you haven't given that any consideration?           ·6· ·Highland in light of its bankruptcy filing?
·7· · · · A.· · That hasn't been my role.· That's        ·7· · · · A.· · No.
·8· ·not my expertise.· That's been something            ·8· · · · Q.· · Have you ever discussed with
·9· ·Highland has done and, quite frankly, over the      ·9· ·Mr. Seery anything having to do with the
10· ·years brilliantly so, no.                           10· ·management -- withdrawn.
11· · · · Q.· · You're aware that HCM, L.P., has         11· · · · · · · Have you ever discussed with
12· ·filed for bankruptcy, right?                        12· ·Mr. Seery any aspect of the debtor's management
13· · · · A.· · Yes.                                     13· ·of the CLOs in which CLO HoldCo Limited is
14· · · · Q.· · When did you learn that Highland had     14· ·invested?
15· ·filed for bankruptcy?                               15· · · · A.· · No.
16· · · · A.· · After the fact sometime in late --       16· · · · Q.· · You mentioned earlier a request to
17· ·late 2019.                                          17· ·stop trading.· Do I have that right?
18· · · · Q.· · Since the bankruptcy filing, have        18· · · · A.· · Yes.
19· ·you made any attempt to sell CLO HoldCo             19· · · · Q.· · Okay.· And are you aware that a
20· ·Limited's position in any of the CLOs that are      20· ·letter was written purportedly on behalf of CLO
21· ·managed by Highland?                                21· ·HoldCo Limited in which a request to stop
22· · · · A.· · No.                                      22· ·trading was made?
23· · · · Q.· · So notwithstanding the bankruptcy        23· · · · A.· · As a cos- -- yeah.· Yes.
24· ·filing, you as the director haven't made any        24· · · · Q.· · Okay.· Have you ever seen that
25· ·attempt to transfer out of the CLOs that are        25· ·letter before?



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·2· · · · A.· · Yes.                                     ·2· ·this I did.
·3· · · · · · · MR. MORRIS:· Can we put up on the        ·3· · · · Q.· · Okay.· Did you provide any comments
·4· · · · screen -- I think it's now Exhibit 6.· It's    ·4· ·to it?
·5· · · · Exhibit DDDD.                                  ·5· · · · A.· · I did.
·6· · · · · · · (SCOTT EXHIBIT 3, Letter to James A.     ·6· · · · · · · MR. CLARK:· Well, hold on.· Grant,
·7· · · · Wright, III, et al., from Gregory Demo,        ·7· · · · let me caution you.· To the extent you
·8· · · · December 24, 2020, with Exhibit A              ·8· · · · provided comments to counsel, we're going
·9· · · · Attachment, was marked for identification.)    ·9· · · · to assert the attorney-client privilege on
10· · · · · · · MR. MORRIS:· Can we scroll down to,      10· · · · those comments.
11· · · · I guess, what's Exhibit A.· Ri- -- right       11· · · · · · · MR. MORRIS:· It's just a yes-or-no
12· · · · there.                                         12· · · · question.· I'm not looking for the
13· ·BY MR. MORRIS:                                      13· · · · specifics.
14· · · · Q.· · You see this is a letter Dece- --        14· · · · · · · MR. CLARK:· Thank you.
15· ·dated December 22nd?                                15· · · · A.· · Yes.
16· · · · A.· · Yes.                                     16· · · · Q.· · Are you aware that earlier letters
17· · · · Q.· · In the first paragraph there there's     17· ·were -- withdrawn.
18· ·a reference to the entities on whose behalf         18· · · · · · · Are you aware that prior to December
19· ·this letter is being sent.                          19· ·22nd, the entities other than CLO HoldCo
20· · · · · · · Do you see that?                         20· ·Limited that are listed in this pers- -- first
21· · · · A.· · Yes.                                     21· ·paragraph had sent a letter making the same
22· · · · Q.· · Okay.· So this letter was sent on        22· ·request?
23· ·December 22nd.· Did you see a copy of it before     23· · · · A.· · With respect to a letter, no.· No,
24· ·it was sent?                                        24· ·I -- I did not.
25· · · · A.· · A -- a draft -- an earlier draft of      25· · · · Q.· · Are you aware as you sit here now
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·2· ·that the entities other than CLO HoldCo Limited     ·2· · · · A.· · The subject of this letter on the
·3· ·that are listed in the first paragraph made a       ·3· ·22nd which yielded the original letter you
·4· ·motion in the court asking the court for an         ·4· ·briefly showed me on the 24th as well as an
·5· ·order that would have prevented Highland from       ·5· ·additional letter on the 28th identified two
·6· ·making any transactions for a limited period of     ·6· ·points as I understand it.· The first point is
·7· ·time?                                               ·7· ·what I believe is the somewhat innocuous
·8· · · · A.· · Yes.                                     ·8· ·request to halt sales, not a demand in any way.
·9· · · · Q.· · Did you know that motion was being       ·9· ·And the second more substantive issue has to do
10· ·made prior to the time that it was made?            10· ·with steps to remove Highland or a subsequent
11· · · · A.· · I'm not sure.                            11· ·derived entity from Highland from the various
12· · · · Q.· · Did you ever think about whether CLO     12· ·services agreements that you had previously --
13· ·HoldCo Limited should join that particular          13· ·we had previously discussed.· Neither of those
14· ·motion?                                             14· ·issues met the require- -- neither of those
15· · · · A.· · I believe we were -- my attorney was     15· ·issues led us to believe that a motion such as
16· ·aware of it.· I don't recall our discussion         16· ·what you've just mentioned was -- was right --
17· ·about it.· We were aware -- when I say we, I        17· · · · Q.· · Okay.
18· ·mean collectively -- and did not join it.           18· · · · A.· · -- because no -- no decision has
19· · · · Q.· · Okay.· Can you tell me why you did       19· ·been made on that.
20· ·not join it.                                        20· · · · Q.· · Okay.
21· · · · · · · MR. CLARK:· And, again, Grant, to --     21· · · · · · · MR. MORRIS:· So I want to go back to
22· · · · to the extent it's based on communications     22· · · · my question and move to strike as
23· · · · with counsel, you're free to say that          23· · · · nonresponsive, and I'll just ask my
24· · · · but -- but not to disclose any substance of    24· · · · question again.
25· · · · communications with counsel.                   25· ·BY MR. MORRIS:



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·2· · · · Q.· · Why did CLO HoldCo Limited decide        ·2· ·initially dated the 24th, I have a general
·3· ·not to participate in the earlier motion that       ·3· ·understanding of what they decided.
·4· ·was brought by the other entities that are          ·4· · · · Q.· · Did you -- did you ever review the
·5· ·identified in Paragraph 1 that asked the court      ·5· ·transcript of the hearing where the other
·6· ·to stop Highland from engaging in trades?           ·6· ·parties asked the court to stop Highland from
·7· · · · A.· · John, I'm so sorry.· There was a         ·7· ·engaging in any further trades on the CLOs?
·8· ·feedback loop that came up when you started to      ·8· · · · A.· · I did not.
·9· ·re- -- re- -- recite -- restate your question.      ·9· · · · Q.· · Is there anything different about
10· ·I'm sorry.                                          10· ·the request in this letter, to the best of your
11· · · · Q.· · That's okay.· Why did CLO HoldCo         11· ·knowledge, from the request that was made of
12· ·Limited decide not to join in the earlier           12· ·the court just six days earlier?
13· ·motion where the entities listed in Paragraph 1     13· · · · · · · MR. CLARK:· Objection, form.
14· ·asked the court to order Highland not to make       14· · · · A.· · Yes.· There's a -- in -- in my -- my
15· ·any further trades?· Why did they not join that     15· ·view there's a substantial difference between
16· ·motion?                                             16· ·filing an action converting a request into
17· · · · A.· · The -- the issue didn't rise to          17· ·essentially a demand versus a gentle request
18· ·the -- I don't believe we had formulated a          18· ·with multiple caveats, that that request is not
19· ·legal basis sufficient to justify such steps.       19· ·a demand.
20· ·We hadn't laid the foundation necessary to --       20· · · · Q.· · Okay.· Let me ask you this:· Are you
21· ·to do that.                                         21· ·aware -- what -- when did you first learn that
22· · · · Q.· · Are you aware of what the court          22· ·Highland was making trades in its capacity as
23· ·decided?                                            23· ·the servicer of the CLOs?· When -- when did you
24· · · · A.· · By virtue of the original letter you     24· ·first learn that Highland was doing that?· Ten
25· ·sent me dated the -- or show -- showed              25· ·years ago, right?· I mean --
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· · · · A.· · Oh.· Oh.· Oh, I'm -- yeah.· Yeah.        ·2· ·comfortable with them making those decisions,
·3· ·Oh, yes.· I'm sorry.· Of course.                    ·3· ·but...
·4· · · · Q.· · Right?· I mean, Highland has been        ·4· · · · Q.· · I thought you testified earlier that
·5· ·making trades on behalf of CLOs for years,          ·5· ·you weren't aware that Mr. Dondero left
·6· ·right?                                              ·6· ·Highland.· Am I mistaken in my recollection?
·7· · · · A.· · Yes.                                     ·7· · · · A.· · I think you said in October, and
·8· · · · Q.· · And Highland was making trades on        ·8· ·I -- as I -- there's some con- -- I have
·9· ·behalf of CLOs throughout 2020, to the best of      ·9· ·confusion about when he left versus when he was
10· ·your knowledge, right?                              10· ·still there but other -- but he was not making
11· · · · A.· · Yes.                                     11· ·those trades.
12· · · · Q.· · And you know when Jim Dondero was        12· · · · Q.· · Okay.· Fair enough.· The bankruptcy
13· ·still with Highland, he was making trades on        13· ·has nothing to do with your desire to stop
14· ·behalf of CLO -- on behalf of the CLOs, right?      14· ·trading, right, because Highland traded for a
15· · · · A.· · Yes.                                     15· ·year after the bankruptcy and never took any
16· · · · Q.· · And you never objected when Jim          16· ·action to try to stop Highland from trading on
17· ·Dondero was doing it; is that right?                17· ·behalf of the CLOs, fair?
18· · · · A.· · That is correct.                         18· · · · A.· · The -- Highland as of right now
19· · · · Q.· · Okay.· So what changed that caused       19· ·isn't the same entity it was -- well, the
20· ·you in your capacity as the director of CLO         20· ·decision-making team -- the -- the financial
21· ·HoldCo to request a full stoppage of trading?       21· ·decision-making team for CLO Holdco's is no
22· · · · A.· · It was my understanding that because     22· ·longer the team I have worked with, and upon
23· ·of the bankruptcy and the removal of Jim            23· ·discussion with counsel, we agreed -- I agreed
24· ·Dondero that the replacement decision-makers        24· ·to this letter, which I did, to just maintain
25· ·did not have the expertise where I felt             25· ·the status quo.



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·2· · · · Q.· · How did you form your opinion that       ·2· ·previously been doing that was no longer doing
·3· ·the debtor doesn't have the expertise to            ·3· ·it.
·4· ·execute trades on behalf of the CLOs today?         ·4· · · · Q.· · And what gave you that impression?
·5· ·What's the basis for that belief?                   ·5· · · · A.· · Was communications I had with my
·6· · · · A.· · I -- as I understood it, the -- the      ·6· ·attorney.
·7· ·people historically making that decision were       ·7· · · · Q.· · Okay.· Is there any source for your
·8· ·no longer making that decision.                     ·8· ·information that led you to conclude that the
·9· · · · Q.· · Who besides Mr. Dondero --               ·9· ·team was no longer there that was able to
10· ·withdrawn.                                          10· ·engage in the trades on behalf of the CLOs
11· · · · · · · Who are you referring to?                11· ·other than your attorneys?
12· · · · A.· · Well, Mr. Dondero is one.· I don't       12· · · · A.· · Well, this -- this letter -- I -- I
13· ·know the names, but I -- I understood it to         13· ·think the answer is no.
14· ·mean that the group previously responsible, for     14· · · · Q.· · Thank you.· Do you know if Jim -- do
15· ·exam- -- for example, Hunter Covitz, including      15· ·you have an opinion or a view as to whether Jim
16· ·Hun- -- him, were no longer involved in the         16· ·Seery is qualified to make trades?
17· ·decision-making process, but...                     17· · · · A.· · This --
18· · · · Q.· · How did you -- how -- how -- who         18· · · · · · · MR. CLARK:· Objection, form.
19· ·gave you the information that led you to            19· · · · A.· · I don't know -- I spoke to Jim Seery
20· ·conclude that Hunter Covitz was no longer           20· ·earlier this week.· You -- you asked me whether
21· ·involved in the decision-making process?            21· ·I had his number.· I said I did.· That's only
22· · · · A.· · Specifically him and that name being     22· ·because he called me.· My phone rang with his
23· ·mentioned, I -- I -- I wasn't informed of his       23· ·number.· It was a number I did not recognize,
24· ·speci- -- him -- him being removed.· I was          24· ·it was not in my contacts, but he left me a
25· ·under the impression that the team that had         25· ·voice mail so I called him back.· Then I
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·updated my contacts to -- to add his name so        ·2· ·that the debtor made on behalf of any of the
·3· ·now I have his name.· And during that               ·3· ·CLOs since the time that you understand
·4· ·conversation he informed me that he did have        ·4· ·Mr. Dondero left Highland that you disagree
·5· ·that expertise --                                   ·5· ·with?
·6· · · · Q.· · And --                                   ·6· · · · A.· · No.
·7· · · · A.· · -- without me making any inquiry.        ·7· · · · Q.· · Did you have any discussion with any
·8· ·He volunteered that.                                ·8· ·representative of any of the entities listed on
·9· · · · Q.· · But you hadn't made any inquiry          ·9· ·this document where they told you they believe
10· ·prior to the time that you authorized the           10· ·Jim Seery didn't have the expertise to engage
11· ·sending of this letter; is that fair?               11· ·in transactions on behalf of the whole -- of
12· · · · A.· · That's correct.                          12· ·the CLOs?
13· · · · Q.· · Do you know whether Mr. Seery, in        13· · · · A.· · You -- your question -- I'm -- I'm
14· ·fact, engaged in transactions on behalf of the      14· ·sorry.· I'm trying to be -- I'm trying to be a
15· ·debtor since he was appointed back in January?      15· ·hundred perc- -- I'm trying to be accurate
16· · · · A.· · I do not.                                16· ·here.
17· · · · Q.· · Did you ask that question prior to       17· · · · Q.· · Let me interrupt you and just say,
18· ·the time you authorized the sending of this         18· ·I'm very grateful for your testimony.· I know
19· ·letter?                                             19· ·this is not easy, and I do believe that you're
20· · · · A.· · I did not.                               20· ·earnestly and honestly trying to answer the
21· · · · Q.· · Can you identify a single                21· ·questions the best you can.· So no apologies
22· ·transaction that Jim Seery has ever made that       22· ·necessary anymore.· If you need me to repeat
23· ·you disagree with?                                  23· ·the question or rephrase it, just say that,
24· · · · A.· · No.                                      24· ·okay?
25· · · · Q.· · Can you identify any transaction         25· · · · A.· · Please -- yes.



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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· · · · Q.· · Okay.                                    ·2· ·substance of this particular letter?
·3· · · · A.· · Please -- please repeat that.            ·3· · · · A.· · Jim Dondero described why he
·4· · · · Q.· · Did you ever communicate with any        ·4· ·believed sales being made on an ongoing basis
·5· ·employee, officer, director, representative of      ·5· ·after a request was made to stop was im- --
·6· ·any of the entities that are on this page           ·6· ·improper.
·7· ·concerning the debtor's ability to service the      ·7· · · · Q.· · Do you -- do you rely on what
·8· ·CLOs?                                               ·8· ·Mr. Dondero said to you during that phone call
·9· · · · A.· · I believe so.                            ·9· ·on December 21st in -- in deciding to join in
10· · · · Q.· · And can you identify the person or       10· ·this particular letter?
11· ·persons?                                            11· · · · A.· · No.
12· · · · A.· · I think it's Jim Dondero.                12· · · · Q.· · Did you only then rely on the
13· · · · Q.· · Anybody else other than Mr. Dondero?     13· ·information you obtained from counsel?
14· · · · A.· · No.                                      14· · · · A.· · Yes.· I -- I -- I -- I considered
15· · · · Q.· · When did you have that conversation      15· ·this letter to be nearly the most gentle
16· ·or those conversations with Mr. Dondero?            16· ·request imaginable amongst lawyers to maintain
17· · · · A.· · This letter is dated the 22nd --         17· ·the status quo.
18· · · · Q.· · Correct.                                 18· · · · Q.· · And the request that's made in this
19· · · · A.· · -- right?                                19· ·letter is perfectly consistent with what
20· · · · Q.· · Yes.                                     20· ·Mr. Dondero told you on the 21st of December,
21· · · · A.· · I believe that's the Tuesday before      21· ·correct?
22· ·Christmas, and this would have been on the          22· · · · A.· · I don't -- no.
23· ·21st, the Monday.                                   23· · · · Q.· · How --
24· · · · Q.· · What do you recall about your            24· · · · · · · MR. MORRIS:· Can we go to the end of
25· ·conversation on the 21st regarding the              25· · · · this letter, please.· All right.· Right
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· · · · there.                                         ·2· · · · A.· · No.· And I didn't -- I didn't have a
·3· ·BY MR. MORRIS:                                      ·3· ·discussion with him.· I -- I merely listened to
·4· · · · Q.· · Do you see the request that's in the     ·4· ·him.· There was no -- I -- I had no input to
·5· ·last sentence?                                      ·5· ·the conversation.
·6· · · · A.· · Yes.                                     ·6· · · · Q.· · Okay.· I -- I did -- I didn't --
·7· · · · Q.· · Is that the same thing that              ·7· ·I -- I appreciate that.· So he called you; is
·8· ·Mr. Dondero told you should happen, that --         ·8· ·that right?
·9· ·that there should be no further CLO                 ·9· · · · A.· · We -- we called in.
10· ·transactions at least until the issues raised       10· · · · Q.· · Oh, was it --
11· ·and addressed by the debtor's plan were             11· · · · A.· · I --
12· ·resolved substantively?                             12· · · · Q.· · Was it --
13· · · · A.· · Yes.                                     13· · · · A.· · I don't know --
14· · · · Q.· · Is there anything that he said           14· · · · Q.· · Was it --
15· ·that's inconsistent with the request that's         15· · · · A.· · I don't know the sequence of the
16· ·made here?                                          16· ·calls.· I'm sorry.
17· · · · · · · MR. CLARK:· Objection, form.             17· · · · Q.· · Was there anybody on the call other
18· · · · A.· · This -- and can you -- can you show      18· ·than you and Mr. Dondero, the call that you're
19· ·me earlier parts?                                   19· ·describing on December 21st?
20· · · · Q.· · Of course.· You know what, I'll          20· · · · A.· · Yes, my attorney and an attorney --
21· ·withdraw the question.                              21· ·I believe the attorney that signed this letter.
22· · · · · · · And let me see if I can do it this       22· · · · Q.· · Okay.· And I just want to focus on
23· ·way:· In your discussion with Mr. Dondero, did      23· ·what Mr. Dondero said.· Did he -- did he say
24· ·he indicate that he had seen a draft of this        24· ·during the call that Highland should not be
25· ·letter?                                             25· ·engaging in any further CLO transactions?



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·2· · · · A.· · He took a more -- if I can               ·2· ·was -- the Advisers Act was mentioned --
·3· ·characterize his mental -- I looked at the          ·3· · · · Q.· · Did you have --
·4· ·issue of maintaining the status quo since there     ·4· · · · A.· · -- but I don't -- I don't know what
·5· ·was somebody that was complaining about it,         ·5· ·that is.· You know, I don't know what that is.
·6· ·that that -- because it -- it isn't assets of       ·6· · · · Q.· · And you -- and -- and you never --
·7· ·Highland, it doesn't adversely affect Highland.     ·7· ·it never occurred to you to pick up the phone
·8· ·If -- if stopping the sales -- you know, my --      ·8· ·and -- and to speak with Mr. Seery to see why
·9· ·my thought was -- is if stopping the sales          ·9· ·it was he thought he should be engaging in
10· ·reduces the likelihood of litigation                10· ·transactions?
11· ·disputes -- you already saw that there was the      11· · · · A.· · No.· And -- but I -- my lack of
12· ·one from middle of December.· I -- I thought        12· ·volunteering a phone call to Jim Seery isn't --
13· ·that would be the more appropriate way to go.       13· ·it's -- it's because of -- I -- I thought any
14· ·I didn't think there'd be any harm.                 14· ·phone call by me to Jim Seery would be
15· · · · Q.· · And was that your --                     15· ·inappropriate because he's represented by
16· · · · A.· · I think -- I think Jim Dondero had a     16· ·counsel.· I mean, we were working on claims
17· ·more legalistic view of its impro- -- im- --        17· ·against him --
18· ·improper nature.                                    18· · · · Q.· · Okay.
19· · · · Q.· · And did he share that view with you?     19· · · · A.· · -- right, so...
20· · · · A.· · On Monday, yes.                          20· · · · Q.· · Did you -- did you -- did you think
21· · · · Q.· · Can you describe for me your             21· ·to instruct your lawyers to reach out to
22· ·recollection of what he said about the              22· ·Mr. Seery to actually speak to him instead of
23· ·legalistic view?                                    23· ·just sending a letter like this and to -- and
24· · · · A.· · Just the mention of -- all I recall      24· ·to ask -- and to maybe inquire as to why he
25· ·is in terms of -- the law associated with it        25· ·thought it was appropriate to engage in
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·transactions before they made a request six         ·2· ·BY MR. MORRIS:
·3· ·days after the court threw out their suit as        ·3· · · · Q.· · And do you recall that the next day
·4· ·frivolous?· I'll withdraw that.· That's too         ·4· ·CLO HoldCo Limited joined in another letter to
·5· ·much.                                               ·5· ·the debtors?· Do you have that recollection?
·6· · · · · · · A few days later did you authorize       ·6· · · · A.· · Yes.· Not -- not be- -- yes, I do,
·7· ·the sending of another letter to the debtor in      ·7· ·but -- yes, I do.
·8· ·which you suggested that the -- the entities on     ·8· · · · Q.· · Did you see this letter before it
·9· ·behoove -- on -- on whose behalf the letter was     ·9· ·was sent?
10· ·sent might take steps to terminate the CLO          10· · · · A.· · I don't believe so.
11· ·management agreements?                              11· · · · Q.· · Did you authorize the sending of
12· · · · A.· · I did not see -- so there is a --        12· ·this letter?
13· ·there is a December 28th letter.                    13· · · · A.· · I gave -- I relied on my attorney to
14· · · · · · · MR. MORRIS:· Let's just go to the        14· ·guide me through this process.
15· · · · next letter, and -- and let's just call        15· · · · Q.· · I appreciate that.
16· · · · that up.                                       16· · · · A.· · I let him make that call on this
17· ·BY MR. MORRIS:                                      17· ·letter, which is -- copies most of the prior
18· · · · Q.· · I think it's -- I think it's             18· ·letter and then adds another issue.
19· ·actually dated December 23rd.· It was the next      19· · · · Q.· · Okay.· Do you have an understanding
20· ·day.                                                20· ·of what that issue is?
21· · · · A.· · Yes.                                     21· · · · A.· · Yes.
22· · · · · · · (SCOTT EXHIBIT 4, Letter to James A.     22· · · · Q.· · And what is your understanding of
23· · · · Wright, III, et al., from Gregory Demo,        23· ·what that additional issue is?
24· · · · December 24, 2020, with Exhibit A              24· · · · A.· · Somewhere in this letter of the 23rd
25· · · · Attachment, was marked for identification.)    25· ·there's an -- there's an -- an inclusion of



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·2· ·a -- a statement of an -- a future intent.          ·2· · · · A.· · I don't -- I don't want to be
·3· · · · Q.· · A future intent to do what?              ·3· ·difficult, but I'm -- I'm confused yet again
·4· · · · A.· · To remove Highland as the servicer       ·4· ·with your question.· But I have not -- there --
·5· ·of the agreements you talked to me about            ·5· ·there are a number of cr- -- a number of issues
·6· ·previously.                                         ·6· ·that with my nonfinance background would
·7· · · · Q.· · Can you tell me whether there's a        ·7· ·suggest to me that they -- they may be bases
·8· ·factual basis on which CLO HoldCo Limited           ·8· ·for -- for cause, to -- to assert a cause.· And
·9· ·believes that the debtor should be removed as       ·9· ·I've been conferring with my attorney about
10· ·the servicer of the portfolio manager of the        10· ·that, but it's very preliminary and no -- no
11· ·CLOs?                                               11· ·decision has been made.· I -- no decision is
12· · · · A.· · Yes.· There are -- there are             12· ·being made.
13· ·multiple bases to consider subject to all the       13· · · · Q.· · So what -- what are the factors that
14· ·other conditional language in the request of        14· ·are causing you to consider possibly seeking to
15· ·these letters to consider that going forward        15· ·begin the process of terminating the CLO
16· ·but no decision.· That intent is an intent to       16· ·management agreements?
17· ·evaluate, not an intent to take any action. I       17· · · · A.· · Well, I guess I would break them
18· ·haven't authorized any action.· I don't feel        18· ·down into maybe two categories, maybe more.
19· ·comfortable with my knowledge base at this          19· ·The one that resonates most with me -- I don't
20· ·time, but it's something being explored.            20· ·know -- maybe because even though I'm a patent
21· · · · Q.· · So knowing everything that you know      21· ·attorney, I guess at one point I was an
22· ·as of today, you have not yet formed a decision     22· ·attorney.· But the thing that resonates most
23· ·as to whether CLO HoldCo Limited will take any      23· ·with me --
24· ·steps to terminate Highland's portfolio             24· · · · Q.· · You are an attorney.
25· ·management agreements, correct?                     25· · · · A.· · -- at the moment -- well, now you
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·know why I'm a patent attorney and not one of       ·2· ·I'm sorry.
·3· ·you guys.· But the thing that resonates with me     ·3· · · · Q.· · There's an agreement between the
·4· ·the most from a legal substantive, black letter     ·4· ·issuers and Highland pursuant to which Highland
·5· ·law sort of issue is the plan for                   ·5· ·manages the CLO assets, right?
·6· ·reorganization, which we've objected to.· I've      ·6· · · · A.· · With res- -- yes.
·7· ·re- -- I've reviewed the objection, and that        ·7· · · · Q.· · Okay.· And do you understand what's
·8· ·sets forth our -- that sets forth my position,      ·8· ·going to happen to those management contracts
·9· ·and I consider that to be quite material.· The      ·9· ·in connection with the plan of reorganization?
10· ·others are issues of practical effects of           10· · · · A.· · Partially.
11· ·what's happened thus far with the bankruptcy,       11· · · · Q.· · What's your partial understanding?
12· ·the termination of the experts with a long          12· · · · A.· · Well, I -- I wouldn't want to
13· ·track record of success, the soon-to-be             13· ·characterize it as a partial understanding. I
14· ·termination of all employees, the cancellation      14· ·mean, with respect to part of the agreement.
15· ·of various representation agreements, things of     15· · · · Q.· · Okay.
16· ·that nature looked at from an additive sort of      16· · · · A.· · Okay.· Our plan objection lays out
17· ·perspective.                                        17· ·our basis for objecting to steps that Highland
18· · · · Q.· · You know that -- can we refer to the     18· ·is actively taking to preclude us from the full
19· ·counterparties under the CLO management             19· ·rights that we have as third-party
20· ·agreements as the issuers?· Are you familiar        20· ·beneficiaries under that agreement, and they're
21· ·with that term?                                     21· ·not de minimus.· They're quite material.· They
22· · · · A.· · I -- I am familiar with the term         22· ·relate to cause issues and no-cause issues, for
23· ·issuers, yes.                                       23· ·example, as out- -- as outlined in our --
24· · · · Q.· · Okay.· And do you understand --          24· ·our -- our objections.
25· · · · A.· · There's an agreement between the --      25· · · · Q.· · Okay.· Did you ever make any attempt



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·2· ·to speak with any issuer concerning Highland's      ·2· ·views as to what they think is going to happen
·3· ·performance under the CLO management                ·3· ·in the future?
·4· ·agreements?                                         ·4· · · · A.· · No.
·5· · · · A.· · No.                                      ·5· · · · Q.· · They're the -- they're the actual
·6· · · · Q.· · Why not?                                 ·6· ·direct beneficiaries under the CLO management
·7· · · · A.· · I -- I don't have any facts --           ·7· ·agreements, to the best of your understanding,
·8· ·understand I -- I get all of the reports            ·8· ·right?
·9· ·periodically from Highland -- from Highland.        ·9· · · · A.· · Yes.· Their rights may not be
10· ·I -- I don't have a basis that I'm aware of to      10· ·impacted; it's CLO Holdco's rights that are
11· ·complain about performance issues.· This is a       11· ·going to be adversely impacted.· So it's -- I
12· ·legal issue that I'm talking about.                 12· ·don't know that our view is in alignment with
13· · · · Q.· · So you have no basis to suggest that     13· ·their view.· But to answer your question, no,
14· ·Highland hasn't performed under the CLO             14· ·we did not contact them.
15· ·management agreements, correct?                     15· · · · Q.· · Do you have any knowledge or
16· · · · A.· · Well, Highland as of right now,          16· ·information as to any assertion by the issuers
17· ·the -- the issue really is as -- as to what's       17· ·that Highland is in breach of any of the CLO
18· ·next, not -- not -- I -- I don't -- I don't         18· ·management agreements?
19· ·believe I have facts that support a com- --         19· · · · A.· · No.
20· ·a -- an issue right now.· It's -- it's --           20· · · · Q.· · Do you have any knowledge or
21· ·it's -- it's going forward that is the problem.     21· ·information as to whether or not any of the
22· · · · Q.· · I --                                     22· ·issuers believe that Highland is in default
23· · · · A.· · That's -- you know, that's --            23· ·under the CLO management agreements?
24· · · · Q.· · Have you given any thought to            24· · · · A.· · No, I don't have any of those facts.
25· ·speaking with the issuers to try to get their       25· · · · Q.· · Are you aware that the issuers are
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·1· · · · · · · · GRANT SCOTT - 1/21/2021                ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·negotiating with Highland to permit Highland to     ·2· · · · Q.· · Okay.· Are you aware of a third
·3· ·assume the CLO management agreements and to         ·3· ·letter that was sent to Highland on behalf of
·4· ·continue operating under them?                      ·4· ·CLO HoldCo and the other entities that are
·5· · · · A.· · I believe so --                          ·5· ·listed in this document?
·6· · · · Q.· · Is that --                               ·6· · · · A.· · The December 28th letter, is that
·7· · · · A.· · -- but they're --                        ·7· ·what you mean?
·8· · · · Q.· · Go ahead.· I'm sorry.                    ·8· · · · Q.· · It's actually December 31st, if I
·9· · · · A.· · As I understand it, Highland             ·9· ·can refresh your recollection.
10· ·wants -- Highland or its subsidiary -- or           10· · · · · · · MR. MORRIS:· Can we put up Exhibit
11· ·its -- its -- its postbankruptcy relative --        11· · · · F?
12· ·post- -- excuse me, that Highland                   12· · · · · · · (SCOTT EXHIBIT 5, Letter to Jeffrey
13· ·postbankruptcy -- or postplan confirmation          13· · · · N. Pomerantz from R. Charles Miller,
14· ·wants to move forward, substitute itself for        14· · · · December 31, 2020, was marked for
15· ·the prior issuer -- no, sorry, substitute           15· · · · identification.)
16· ·itself for the prior servicer under those           16· ·BY MR. MORRIS:
17· ·agreements to assume those agreements but in        17· · · · Q.· · You remember that there was a letter
18· ·the process of assuming those agreements,           18· ·dated on or about December 31st that was
19· ·carving out a bunch of provisions that from a       19· ·sent -- oh, actually, you know, I apologize.
20· ·legal standpoint and a potentially future           20· ·If we scroll down to the -- to the next -- to
21· ·practical and monetary standpoint are quite         21· ·the first box, there actually is no mention of
22· ·substantial, and that has to relate to the          22· ·CLO HoldCo.
23· ·removal rights based on cause and without           23· · · · · · · Are you aware that Mr. Dondero was
24· ·cause.· As I understand it, that's all set          24· ·evicted from Highland's offices as of the end
25· ·forth in our plan objection.                        25· ·of the year?



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·2· · · · A.· · I -- I didn't know the time, but I                ·2· · · · · · · THE WITNESS:· Thank you.
·3· ·understand he's no longer there.                             ·3· · · · · · · MR. CLARK:· We will reserve our
·4· · · · Q.· · Does CLO HoldCo Limited contend that              ·4· · · · questions.
·5· ·it was damaged in any way by Mr. Dondero's                   ·5· · · · · · · THE WITNESS:· I appreciate it, John.
·6· ·eviction from the Highland suite of offices?                 ·6· · · · · · · MR. MORRIS:· Take care.· Thanks for
·7· · · · · · · MR. CLARK:· Objection, form.                      ·7· · · · your time and your -- and your diligence.
·8· · · · A.· · I -- I don't have any information to              ·8· · · · I do appreciate it.· Take care, guys.
·9· ·support that as of this time.                                ·9· · · · · · · THE REPORTER:· Okay.
10· · · · Q.· · It's not -- it's not a belief that                10· · · · · · · MR. CLARK:· Thank you.
11· ·you hold today?                                              11· · · · · · · MR. HOGEWOOD:· No questions from us.
12· · · · A.· · I don't have a belief of that, yes.               12· · · · · · · (Time Noted:· 4:50 p.m.)
13· · · · · · · MR. MORRIS:· All right.· Let's take               13
14· · · · a short break.· I may be done.· I -- I'm                14
15· · · · grateful, Mr. Scott, and don't want to                  15· · · · · · · · · · · · ·---------------------
16· · · · abuse your time.· Give me -- let -- just                16· · · · · · · · · · · · · ·GRANT SCOTT
17· · · · let -- let's come back at 4:50, just eight              17
18· · · · minutes, and if I have anything further, it             18· ·Subscribed and sworn to before me
19· · · · will be brief.                                          19· ·this· · · · day of· · · · · · · · 2021.
20· · · · · · · (Whereupon, there was a recess in                 20
21· · · · the proceedings from 4:42 p.m. to                       21· ·---------------------------------------
22· · · · 4:49 p.m.)                                              22
23· · · · · · · MR. MORRIS:· Okay.· Mr. Scott, thank              23
24· · · · you very much for your time.· I have no                 24
25· · · · further questions.                                      25
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·3· ·STATE OF NORTH CAROLINA· )                                   ·4· ·EXAMINATION BY MR. MORRIS· · · · · · · · · · ·7
·4· · · · · · · · · · · · · · ) ss.:                              ·5
                                                                  ·6
·5· ·COUNTY OF WAKE· · · · · ·)
                                                                  · · ·--------------------EXHIBITS-------------------
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                                                                  · · · · · · · · · · · · · · · · · · · · · · · · PAGE
·7· · · · · · · I, LISA A. WHEELER, RPR, CRR, a
                                                                  ·8
·8· ·Notary Public within and for the State of New                · · ·EXHIBIT 1· Organizational Structure:· · · · ·46
·9· ·York, do hereby certify:                                     ·9· · · · · · · CLO HoldCo, Ltd.
                                                                  10· ·EXHIBIT 2· Unanimous Written Consent of· · · 54
10· · · · · · · That GRANT SCOTT, the witness whose
                                                                  · · · · · · · · Directors In Lieu of Meeting
11· ·deposition is hereinbefore set forth, having                 11
12· ·produced satisfactory evidence of                            · · ·EXHIBIT 3· Letter to James A. Wright,· · · · 78
                                                                  12· · · · · · · III, et al., from Gregory
13· ·identification and having been first duly sworn              · · · · · · · · Demo, December 24, 2020, with
14· ·by me, according to the emergency video                      13· · · · · · · Exhibit A Attachment
                                                                  14· ·EXHIBIT 4· Letter to James A. Wright,· · · · 96
15· ·notarization requirements contained in G.S.
                                                                  · · · · · · · · III, et al. From Gregory
16· ·10B-25, and that such deposition is a true                   15· · · · · · · Demo, December 24, 2020, with
17· ·record of the testimony given by such witness.               · · · · · · · · Exhibit A Attachment
                                                                  16
18· · · · · · · I further certify that I am not                   · · ·EXHIBIT 5· Letter to Jeffrey N.· · · · · · ·105
19· ·related to any of the parties to this action by              17· · · · · · · Pomerantz from R. Charles
                                                                  · · · · · · · · Miller, December 31, 2020
20· ·blood or marriage; and that I am in no way
                                                                  18
21· ·interested in the outcome of this matter.                    19
22· · · · · · · IN WITNESS WHEREOF, I have hereunto               20
                                                                  21
23· ·set my hand this 21st day of January, 2021.                  22
24· · · · · · · · · · · · ·-------------------------              23
                                                                  24
25· · · · · · · · · · · · ·LISA A. WHEELER, RPR, CRR
                                                                  25




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                                                              EXECUTION VERSION




    Between
    CLO HOLDCO, LTD.
    And
    HARBOURVEST DOVER STREET IX INVESTMENT L.P.
    And
    HARBOURVEST 2017 GLOBAL AIF L.P.
    And
    HARBOURVEST 2017 GLOBAL FUND L.P.
    And
    HV INTERNATIONAL VIII SECONDARY L.P.
    And
    HARBOURVEST SKEW BASE AIF L.P.
    And
    HIGHLAND CAPITAL MANAGEMENT, L.P.
    And
    LEE BLACKWELL PARKER, III
    And
    QUEST IRA, INC., FBO LEE B. PARKER III, ACCT. # 3058311
    And
    QUEST IRA, INC., FBO HUNTER COVITZ, ACCT. # 1469811
    And
    QUEST IRA, INC., FBO JON POGLITSCH, ACCT. # 1470612
    And
    QUEST IRA, INC., FBO NEIL DESAI, ACCT. # 3059211
    And
    HIGHLAND CLO FUNDING, LTD.
    And
    HIGHLAND HCF ADVISOR, LTD.




    MEMBERS AGREEMENT RELATING TO THE COMPANY




    23981765.11.BUSINESS

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    THIS AGREEMENT is made the 15th day of November 2017


    BETWEEN

    (1)     CLO HOLDCO, LTD. whose registered office address is at Intertrust Corporate Services
            (Cayman) Limited, 190 Elgin Avenue, George Town, Grand Cayman KY1-9005, Cayman
            Islands;

    (2)     HARBOURVEST DOVER IX INVESTMENT L.P. of c/o HarbourVest Partners, LLC, One
            Financial Center, 44th Floor, Boston, MA 02111, USA

    (3)     HARBOURVEST 2017 GLOBAL AIF L.P. of c/o HarbourVest Partners, LLC, One Financial
            Center, 44th Floor, Boston, MA 02111, USA

    (4)     HARBOURVEST 2017 GLOBAL FUND L.P. of c/o HarbourVest Partners, LLC, One Financial
            Center, 44th Floor, Boston, MA 02111, USA

    (5)     HV INTERNATIONAL VIII SECONDARY L.P. of c/o HarbourVest Partners, LLC, One
            Financial Center, 44th Floor, Boston, MA 02111, USA

    (6)     HARBOURVEST SKEW BASE AIF L.P. of c/o HarbourVest Partners, LLC, One Financial
            Center, 44th Floor, Boston, MA 02111, USA

    (7)     HIGHLAND CAPITAL MANAGEMENT, L.P. of 300 Crescent Court, Suite 700, Dallas, Texas
            75201, USA

    (8)     LEE BLACKWELL PARKER, III of 300 Crescent Court, Suite 700, Dallas, Texas 75201, USA

    (9)     QUEST IRA, INC., FBO LEE B. PARKER III, ACCT. # 3058311 of 17171 Park Row #100,
            Houston, Texas 77084, USA

    (10)    QUEST IRA, INC., FBO HUNTER COVITZ, ACCT. # 1469811 of 17171 Park Row #100,
            Houston, Texas 77084, USA

    (11)    QUEST IRA, INC., FBO JON POGLITSCH, ACCT. # 1470612 of 17171 Park Row #100,
            Houston, Texas 77084, USA

    (12)    QUEST IRA, INC., FBO NEIL DESAI, ACCT. # 3059211 of 17171 Park Row #100,
            Houston, Texas 77084, USA

    (together the "Members") and

    (13)    HIGHLAND CLO FUNDING, LTD., with registration number 60120 whose registered office
            is at First Floor, Dorey Court, Admiral Park, St Peter Port, Guernsey GY1 6HJ, Channel
            Islands (the "Company") and

    (14)    HIGHLAND HCF ADVISOR, LTD., whose registered address is at Maples Corporate Services
            Limited, PO Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman Islands (the
            "Portfolio Manager").

    WHEREAS:

    (A)    The Company is a limited company incorporated under the laws of the Island of Guernsey on
           30 March 2015.

    (B)    The Company has been established to provide its investors with exposure to CLO Notes on
           both a direct basis and indirect basis and senior secured loans on an indirect basis, through
           the use of the investments described in its investment policy as set forth in the Offering
           Memorandum dated 15 November 2017, the (the “Offering Memorandum”), subject to the
           restrictions set forth therein.

    23981765.11. BUSINESS                          1




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    (C)    The Members are the owners of the entire issued capital of the Company.

    (D)    The Parties are entering into this Agreement to regulate the relationship between them and
           the operation and management of the Company.

    OPERATIVE PROVISIONS

    1.    INTERPRETATION

          In this Agreement, including the Schedule:

    1.1   the following words and expressions shall have the following meanings, unless they are
          inconsistent with the context:

          "Adherence Agreement" means the agreement under which a person agrees to be bound by
          the terms of this Agreement in the form substantially similar as set out in the Schedule;

          “Advisers Act” shall mean the U.S. Investment Advisers Act of 1940, as amended from time to
          time, and the rules and regulations of the U.S. Securities and Exchange Commission
          promulgated thereunder;

          “Affiliate” means, with respect to a person, (i) any other person who, directly or indirectly, is in
          control of, or controlled by, or is under common control with, such person or (ii) any other
          person who is a director, officer or employee (a) of such person, (b) of any subsidiary or parent
          company of such person or (c) of any person described in clause (i) above. For the purposes of
          this definition, control of a person shall mean the power, direct or indirect, (i) to vote more than
          50% of the securities having ordinary voting power for the election of directors of such persons
          or (ii) to direct or cause the direction of the management and policies of such person whether
          by contract or otherwise. For purposes of this definition, the management of an account by one
          person for the benefit of any other person shall not constitute “control” of such other person and
          no entity shall be deemed an “Affiliate” of the Company solely because the administrator or its
          Affiliates serve as administrator or share trustee for such entity;

          "Agreement" means this agreement together with the Schedule;

          "Articles" means the articles of incorporation of the Company as amended from time to time;

          "Business" means the business of the Company as described in Recital (B);

          "Business Day" means a day (other than a Saturday or Sunday) on which banks are open for
          ordinary banking business in Guernsey;

          "Directors" means the directors of the Company from time to time;

          “CLO Holdco” means CLO Holdco, Ltd. (or any permitted successor to the business of CLO
          Holdco, Ltd. or interest in the Company);

          “Code” shall mean the U.S. Internal Revenue Code of 1986, as amended from time to time.

          "Directors" means the directors of the Company from time to time;

          “Dover IX” means HarbourVest Dover Street IX Investment L.P. (or any permitted successor to
          the business of HarbourVest Dover Street IX Investment L.P. or any interest in the Company);

          “DOL” shall mean the U.S. Department of Labor, or any governmental agency that succeeds to
          the powers and functions thereof.

          “DOL Regulations” shall mean the regulations of the DOL included within 29 C.F.R. section
          2510.3-101.

    23981765.11. BUSINESS                             2




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          “Dover IX” shall mean HarbourVest Dover Street IX Investment L.P. (or any permitted
          successor to the business of HarbourVest Dover Street IX Investment L.P. or interest in the
          Company);

          “ERISA” shall mean the U.S. Employee Retirement Income Security Act of 1974, as amended
          from time to time;

          “ERISA Member” shall mean a Member that (a) is a “benefit plan investor” (as such term is
          defined in the DOL Regulations as modified by section 3(42) of ERISA) subject to the fiduciary
          responsibility provisions of part 4 of title I of ERISA or is a “plan” (as such term is defined in
          section 4975(e) of the Code) subject to section 4975 of the Code or (b) is designated as an
          ERISA Member by the General Partner in writing on or before the date at which such ERISA
          Member is admitted to the Company;

          "HarbourVest Entities" means: Dover IX; HarbourVest 2017 Global AIF L.P.; HarbourVest
          2017 Global Fund L.P.; HV International VIII Secondary L.P.; and HarbourVest Skew Base AIF
          L.P. (or any of their respective permitted successors to their businesses or interests in the
          Company);

          “Highland Principals” means: Highland Capital Management, L.P.; Lee Blackwell Parker, III,
          Quest IRA, Inc., fbo Lee B. Parker III Acct. # 3058311; Quest IRA, Inc., fbo Hunter Covitz Acct.
          # 1469811; Quest IRA, Inc., fbo Jon Poglitsch Acct. # 1470612; Quest IRA, Inc., fbo Neil Desai
          Acct. # 3059211 (or any of their respective permitted successors to their businesses or
          interests in the Company);

          "Law" means the Companies (Guernsey) Law, 2008, as amended;

          "Member" means a person whose name is from time to time entered in the register of
          members of the Company as the holder of shares in the Company;

          "Parties" means the parties to this Agreement and any other person who agrees to be bound
          by the terms of this Agreement under an Adherence Agreement;

          "Shares" means ordinary shares in the Company;

          "Subsidiary" shall have the meaning ascribed to it in the Law;

          “Subscription and Transfer Agreement” means the Subscription and Transfer Agreement,
          dated as of 15 November 2017, entered into by and among CLO HoldCo, Ltd. and each of the
          Members and acknowledged and agreed by the Company and the Portfolio Manager.

          Any capitalized terms used herein without definition have the meanings specified in the Offering
          Memorandum.

    1.2   any reference to the Parties being obliged to procure shall so far as they are able includes,
          without limitation, procuring by the exercise of votes which they directly or indirectly control at
          meetings of the Directors or general meetings of the Company;

    1.3   any reference to a person includes, where appropriate, that person’s heirs, personal
          representatives and successors;

    1.4   any reference to a person includes any individual, body corporate, corporation, firm,
          unincorporated association, organisation, trust or partnership;

    1.5   any reference to time shall be to Guernsey time;

    1.6   except where the context otherwise requires words denoting the singular include the plural and
          vice versa and words denoting any one gender include all genders;



    23981765.11. BUSINESS                            3




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    1.7   unless otherwise stated, a reference to a Clause or a Schedule is a reference to a Clause or a
          Schedule to this Agreement; and

    1.8   Clause headings are for ease of reference only and do not affect the construction of any
          provision.

    2.    THE BUSINESS OF THE COMPANY

    2.1   The Parties hereby agree that the objects and purpose of the Company shall be to carry on the
          Business.

    2.2   The Parties shall so far as they are able (including without limitation by the exercise of votes
          which they directly or indirectly control at meetings of the Directors or general meetings of the
          Company) procure that (i) the Company’s principal activities shall be the pursuit of the objects
          and purposes described in Clause 2.1 conducted in accordance with the provisions hereof and
          with the Offering Memorandum, the Subscription and Transfer Agreement and Articles of the
          Company and (ii) the Parties shall not take any action inconsistent with the provisions of the
          Offering Memorandum, including, without limitation the investment strategy set forth in the
          “Summary” and the applicable restrictions during and after the Investment Period and the
          suspension or termination of the Investment Period following a Key Person Event.

    2.3   The Members shall (so long as they hold shares in the capital of the Company) use all
          reasonable endeavours to promote and develop the Business of the Company.

    3.    VOTING RIGHTS

    3.1   The Parties agree that the following provisions of this Clause 3 shall apply during such period or
          periods as the Members parties hereto are Members.

    3.2   The Parties shall procure that the Company shall not take any action at any meeting requiring
          the sanction of an ordinary or special resolution or by written resolution, in each case of the
          Directors or of the Members, without the affirmative vote or prior written consent, as applicable,
          of the Members totalling in the aggregate more than seventy-five percent (75%) of the
          Company, including, but not limited to, the following actions:

          3.2.1    any issuance of new shares of the Company or a new class of shares of the Company
                   or payment of any dividend by issuance of new shares of the Company, other than
                   issuances of Shares pursuant to the Offering Memorandum and the Subscription and
                   Transfer Agreement;

          3.2.2    any alteration or cancellation of any rights of any Shares or of the Share capital of
                   the Company,

          3.2.3    any conversion or redemption of Shares, except pursuant to Clause 5.5,

          3.2.4    any payment of commission in consideration for subscribing or agreeing to
                   subscribe for any shares in the Company,

          3.2.5    the creation of any lien on any Shares, except pursuant to the remedies in Clause
                   5.3. or

          3.2.6    the suspension of the calculation of the NAV; other than a temporary suspension of
                   the calculation of the NAV and NAV per Share by the Board of Directors during any
                   period if it determines in good faith that such a suspension is warranted by
                   extraordinary circumstances, including: (i) during any period when any market on
                   which the Company’s investments are quoted, traded or dealt in is closed, other
                   than for ordinary holidays and weekends, or during periods in which dealings are
                   restricted or suspended; (ii) during the existence of any state of affairs, including
                   as a result of political, economic, military or monetary events or any circumstances
                   outside the control of the Portfolio Manager or the Company, as a result of which,
    23981765.11. BUSINESS                            4




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                    in the reasonable opinion of the Portfolio Manager, the determination of the value
                    of the assets of the Company, would not be reasonably practicable or would be
                    seriously prejudicial to the Members taken as a whole; (iii) during any breakdown
                    in the means of communication normally employed in determining the price or
                    value of the Company’s assets or liabilities, or of current prices in any market as
                    aforesaid, or when for any other reason the prices or values of any assets or
                    liabilities of the Company cannot reasonably be accurately ascertained within a
                    reasonable time frame; (iv) during any period when the transfer of funds involved
                    in the realization or acquisition of any investments cannot, in the reasonable
                    opinion of the Portfolio Manager, be effected at normal rates of exchange; or (v)
                    automatically upon liquidation of the Company.

    4.    ADVISORY BOARD.

    4.1   Composition of Advisory Board. The Company shall establish an advisory board (the "Advisory
          Board") composed of two individuals, one of whom shall be a representative of CLO Holdco and
          one of whom shall be a representative of Dover IX (or, in each case, or any permitted successor
          to the interest in the Company of such Member). No voting member of the Advisory Board shall
          be a controlled Affiliate of the Portfolio Manager (including, for the avoidance of doubt, following
          a permitted transfer of CLO Holdco’s interest to an Affiliate of the Portfolio Manager, if
          applicable), it being understood that for the purposes of this sentence none of CLO Holdco, its
          wholly-owned subsidiaries nor any of their respective directors or trustees shall be deemed to
          be a controlled Affiliate of the Portfolio Manager due to their pre-existing non-discretionary
          advisory relationship with the Portfolio Manager. None of the members of the Advisory Board
          shall receive any compensation (other than reimbursement for reasonable and documented out-
          of-pocket expenses) in connection with their position on the Advisory Board. The Company
          shall bear any fees, costs and expenses related to the Advisory Board.

    4.2   Meetings of Advisory Board; Written Consents. The Advisory Board shall meet with the Portfolio
          Manager at such times as requested by the Portfolio Manager from time to time. The quorum
          for a meeting of the Advisory Board shall be all of its members entitled to vote. All actions
          taken by the Advisory Board shall be (i) by a unanimous vote of all of the members of the
          Advisory Board in attendance in a meeting at which a quorum is present and entitled to vote
          and not abstaining from voting or (ii) by a written consent in lieu of a meeting signed by all of
          the members of the Advisory Board entitled to consent and not abstaining from consenting.
          Meetings of the Advisory Board may be held in person, by telephone or by other electronic
          device.

    4.3   Functions of Advisory Board. The Advisory Board shall provide (or determine not to provide)
          any consents or approvals expressly contemplated by this Agreement and the Offering
          Memorandum to be provided by the Advisory Board and, at the request of the Portfolio Manager
          in its sole discretion, provide general advice (which, for the avoidance of doubt, shall be non-
          binding) to the Portfolio Manager or the Company with regard to Company activities and
          operations and other matters. For the avoidance of doubt, no consent or approval of the
          Advisory Board shall be required for any action or determination expressly permitted or
          contemplated hereunder or in the Offering Memorandum and not conditioned on such a consent
          or approval. The Portfolio Manager shall not act contrary to the advice of the Advisory Board
          with respect to any action or determination expressly conditioned herein or in the Offering
          Memorandum on the consent or approval of the Advisory Board. Without limiting the foregoing,
          the Advisory Board shall be authorized to give any approval or consent required or deemed
          necessary or advisable under the Advisers Act on behalf of the Company and the Members,
          including under Section 206(3) of the Advisers Act. The Portfolio Manager may from time to
          time in its discretion request the Advisory Board to review and ratify certain Company matters.
          The consent of the Advisory Board shall be required to approve the following actions: (i) any
          extension of the Investment Period; (ii) any extension of the Term (other than an automatic
          extension following an extension of the Investment Period that has been approved by the
          Advisory Board); (iii) any allotment of additional equity securities by the Company; and (iv) any
          investment in a Related Obligation or any other transaction between the Company or any entity
          in which the Company holds a direct or indirect interest, on the one hand, and Highland or any
          of its Affiliates, on the other hand and (v) other matters as set forth in the Offering

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          Memorandum. Notwithstanding the foregoing or anything to the contrary set forth herein, no
          transaction that is specifically authorized in the governing documents of the Company shall
          require approval of the Advisory Board, including, without limitation, sales or securitizations of
          all or a portion of the Company’s loan portfolio into new Qualifying CLOs (i.e. the transfer of
          warehoused assets into new Qualifying CLOs), investments in CLO Notes issued by CLOs
          managed by Highland Affiliates, and the NexBank Credit Facility and any Permitted NexBank
          Credit Facility Amendments, in each case as described in the Offering Memorandum. Any such
          approval, consent or ratification given by the Advisory Board shall be binding on the Company
          and the Members. Neither the Advisory Board nor any member thereof shall have the power to
          bind or act for or on behalf of the Company in any manner, and no shareholder who appoints a
          member of the Advisory Board shall be deemed to be an Affiliate of the Company or Highland
          solely by reason of such appointment.

    4.4   Term of Members of Advisory Board. A member of the Advisory Board shall be deemed
          removed from the Advisory Board (i) if such member is no longer an officer, director, manager,
          trustee, employee, consultant or other representative of CLO Holdco or Dover IX, as applicable,
          or their respective Affiliates and shall be replaced as soon as practicable with a representative of
          CLO Holdco or Dover IX, or their respective Affiliates, as applicable, or (ii) if the Member
          represented by such member either becomes a Defaulting Member or such member ceases to
          be eligible to represent such Member pursuant to Clause 4.1.

    4.5   No Duties to Other Members. No Advisory Board member who is the representative of any
          Member shall, to the extent permitted by law, owe a fiduciary duty to the Company or any other
          Member (other than the duty to act in good faith), and may, to the fullest extent permitted by
          law, in all instances act in such member’s own interest and in the interest of the Member that
          appointed such member.

    5.    DEFAULTING MEMBERS

    5.1   In the event any Member defaults in its obligation to pay the full amount of the purchase price
          of Shares called for settlement under the Subscription and Transfer Agreement on the applicable
          Settlement Date (such unpaid amount, an “Outstanding Settlement Amount”), the Portfolio
          Manager, on behalf of the Company, shall provide written or telephonic notice of such default to
          such Member. If such default is not cured within 5 business days after written (or if applicable
          telephonic or email) notice thereof given by the Portfolio Manager, on behalf of the Company,
          has been received by such Member, such Outstanding Settlement Amount shall automatically
          accrue interest on a retroactive basis from the date such Outstanding Settlement Amount was
          due at 12% (the “Default Interest Rate”) (which interest, once paid, shall not be applied to
          the purchase of the unsettled Shares of such Member, but which will upon receipt be distributed
          pro rata to those Members who have funded any such Outstanding Settlement Amounts
          pursuant to this Clause 5). No such Shares which have failed to be settled will be issued to any
          Member until settlement of the full amount of the purchase price has been made. In addition, if
          such default is not cured within 10 business days after written or telephonic notice thereof given
          by the Portfolio Manager, on behalf of the Company, has been received by such Member (a
          “Defaulting Member”), the following provisions shall apply:

    5.2   Whenever the vote or consent of the Defaulting Member would otherwise be required or
          permitted hereunder or under the Articles, the Defaulting Member shall not be entitled to
          participate in such vote or consent in respect of his existing shareholding and with respect to
          any representative of such Defaulting Member on the Advisory Board, and such vote or consent
          shall be calculated as if such Defaulting Member were not a Member and, as applicable, any
          representative of such Defaulting Member on the Advisory Board were not a member of the
          Advisory Board.

    5.3   The Portfolio Manager, on behalf of the Company, may pursue and enforce all rights and
          remedies available, including the commencement of legal proceedings against the Defaulting
          Member to collect the Outstanding Settlement Amounts, together with interest thereon for the
          account of the Company from the date due at the Default Interest Rate, plus the costs and
          expenses of collection (including attorneys’ fees and expenses).


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    5.4   The Portfolio Manager, on behalf of the Company, may (at the sole cost of the Defaulting
          Member) borrow funds from any person (other than the Defaulting Member or its Affiliates) to
          cover such shortfall and/or advance all or a portion of the Defaulting Member’s Outstanding
          Settlement Amount to the Company on behalf of the Defaulting Member, and such advance shall
          be repaid by the Defaulting Member to the Portfolio Manager, on behalf of the Company, with
          interest for the account of the Portfolio Manager, on behalf of the Company, on the amount
          outstanding from time to time commencing on the date of the advance at the Default Interest
          Rate. To the extent the Portfolio Manager, on behalf of the Company, advances funds to the
          Company on behalf of a Defaulting Member, all distributions from the Company that would
          otherwise be made to the Defaulting Member shall be paid to the Portfolio Manager, on behalf of
          the Company, (with any such amounts being applied first against accrued but unpaid interest
          and then against principal), until all amounts payable by the Defaulting Member to the Portfolio
          Manager, on behalf of the Company, under this Clause 5.4 (including interest) have been paid in
          full.

    5.5   The Portfolio Manager, on behalf of the Company, may elect, upon notice to the Defaulting
          Member, to redeem the Defaulting Member’s shares in an amount equal to 50% of the
          outstanding amount existing as of the date of the default at a price of $0.0001 per Share.
          Thereupon, the commitment of the Defaulting Member under the Subscription and Transfer
          Agreement shall be zero, the Defaulting Member shall not be obligated to make any further
          settlements, the voting capital of such Defaulting Member and of each other Member shall be
          re-determined as of the date of such default to reflect the new commitment of the Defaulting
          Member, and the Portfolio Manager shall revise the books and records of the Company to reflect
          the reduction of the commitment of the Defaulting Member. The Members agree (x) that the
          damages suffered by the Company as the result of a failure by a Member to settle a
          commitment to purchase Shares that is required by this Agreement cannot be estimated with
          reasonable accuracy and (y) that the foregoing provisions of this Clause 5.5 shall act as
          liquidated damages for the default by the Defaulting Member (which each Member hereby
          agrees are reasonable).

    5.6   The Board may offer to the non-Defaulting Members (pro rata in accordance with their
          respective Commitments) the option of purchasing the Defaulting Member’s unsettled Shares on
          the terms set forth in the applicable Settlement Notice (as defined in the Subscription and
          Transfer Agreement).

    5.7   At the election of the Board, distributions of dividends otherwise payable to the Defaulting
          Member under the Articles shall not be paid to the Defaulting Member, but instead shall be
          applied against the amount of the Outstanding Settlement Amount (plus interest at the Default
          Interest Rate and related costs); provided that any amounts so applied shall be deemed to have
          been distributed to the Defaulting Member under the Articles.

    5.8   The Portfolio Manager may send an amended or new Settlement Notice to the Members other
          than the Defaulting Member in an amount equal to the Defaulting Member’s Outstanding
          Settlement Amount and otherwise in accordance with the Subscription and Transfer Agreement.

    5.9   Each Defaulting Member further appoints the Portfolio Manager as agent and attorney-in-fact for
          the Defaulting Member and hereby grants to the Portfolio Manager an irrevocable power of
          attorney to take all actions necessary on its behalf to sell, assign, or transfer the commitment to
          purchase unsettled Shares of such Defaulting Member pursuant to Clause 5.6 or as necessary on
          its behalf to effect the other remedies or rights set forth in this Clause 5; provided that the
          Portfolio Manager shall not bind any Defaulting Member to an indemnification or other similar
          obligation which guarantees the financial performance of the Company or which exceeds the
          ability of the Defaulting Member to provide indemnification under applicable law.

    6.    TRANSFERS OR DISPOSALS OF SHARES

    6.1   No Member shall sell, pledge, charge, mortgage, assign, assign by way of security, transfer,
          convey, exchange or otherwise dispose of its Shares or its commitment to settle purchases of
          Shares under the Subscription and Transfer Agreement (each a “Transfer”), other than to an
          Affiliate of an initial Member party hereto, without the prior written consent of the Portfolio

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          Manager, which consent shall be in the sole discretion of the Portfolio Manager; provided that no
          such Transfer shall be made unless in the opinion of counsel reasonably satisfactory to the
          Portfolio Manager (who may be counsel for the Company, and which requirement for an opinion
          may be waived, in whole or in part, in the sole discretion of the Portfolio Manager) that:
          6.1.1    such Transfer would not require registration under the Securities Act or any state
                   securities or “Blue Sky” laws or other laws applicable to the Shares to be assigned or
                   transferred and is conducted in conformance with the restrictions set forth in the
                   Offering Memorandum;
          6.1.2    such Transfer would not be reasonably likely to cause the Company to be subject to
                   tax in any jurisdiction other than of its incorporation on a net income basis, not be
                   reasonably likely to cause the Company to become subject to registration as an
                   investment company under the Investment Company Act of 1940, as amended;
          6.1.3    such Transfer would not cause the Company to considered to be an entity whose
                   underlying assets are considered to include “plan assets” by reason of investment by
                   an “employee benefit plan” or “plan” in such entity pursuant to the U.S. Plan Assets
                   Regulations; and
          6.1.4    such sale, assignment, disposition or transfer would not to cause all or any portion of
                   the assets of the Company to constitute “plan assets” under ERISA or the Code.

    6.2   Prior to making any Transfer of Shares (other than Transfers to Affiliates of an initial Member or,
          in the case of CLO Holdco or a Highland Principal, to Highland, its Affiliates or another Highland
          Principal) a Member must first offer to the other Members a right to purchase the Shares, on a
          pro rata basis with respect to their current Shares, at the same price (which must be cash) as
          such Shares are proposed to be purchased by the prospective third party purchaser pursuant to
          an irrevocable offer letter. The other Members will have 30 days following receipt of the letter to
          determine whether to purchase their entire pro rata portion of the Shares proposed to be
          Transferred. If the other Members do not accept the offer, the Member may (subject to
          complying with the other Transfer restrictions in this Agreement) Transfer the applicable Shares
          that such Members have not elected to purchase to a third party at a price equal to or greater
          than the price described in the offer letter, provided that if the Member has not (a) entered into
          a definitive agreement to effect such sale within 90 days after the expiration of the period that
          the other Members have to accept the offer in the offer letter or (b) consummated the sale
          within 120 day after the entry into the definitive agreement to consummate the sale, it must
          comply with these right of first refusal procedures again. Any Member (other than the Member
          proposing to Transfer its Shares) may assign its right to purchase its pro rata portion of the
          Shares to any other Member (subject to complying with the other Transfer restrictions in this
          Agreement), any initial Member (other than the Member proposing to Transfer its Shares) may
          assign its right to purchase its pro rata portion of the Shares to an Affiliate (subject to
          complying with the other Transfer restrictions in this Agreement), and CLO Holdco and the
          Highland Principals (unless such Member is the Member proposing the Transfer its Shares) may
          assign its right to purchase its pro rata portion of the Shares to Highland, an Affiliate of
          Highland or other Highland Principals (subject to complying with the other Transfer restrictions
          in this Agreement).

    6.3   No Highland Principal may transfer his or its interests in the Company other than (i) to a trust or
          other tax or estate planning vehicle or (ii) to the Portfolio Manager, its Affiliates or another
          Highland Principal upon the termination of such Highland Principal’s (or the beneficial owner of
          such Highland Principal, if applicable) employment by Highland Capital Management, L.P.

    6.4   Any transferor of any Share shall remain bound by the terms of this Agreement applicable to it
          prior to such transfer and that nothing in this Agreement shall constitute a waiver of any rights
          a Party to this Agreement may have by reason of a breach of this Agreement by a transferor
          prior to transfer. The transferor and/or the transferee shall bear all costs of any Transfer.

    6.5   The Parties agree not to Transfer their Shares to any person unless such transferee agrees to be
          bound by the terms of this Agreement.

    6.6   All Adherence Agreements executed pursuant to this Clause shall be executed by the transferee
          or allottee and each Party.


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    7.    CONFIDENTIALITY

    7.1   Each Party agrees to keep any information received by it pursuant to this Agreement or relating
          to the Business as confidential and not (save with the relevant Party’s consent or as may be
          required by Law or the rules of any regulatory authority or any stock exchange) disclose to any
          person such information.

    7.2   Notwithstanding the foregoing, the Parties agree that the HarbourVest Entities may disclose to
          their limited partners and prospective limited partners (including any agents of such limited
          partners or prospective limited partners), clients and applicable governmental agencies (a) the
          name and address of the Company, (b) the capital commitment and the remaining capital
          commitment, (c) the net asset value of such HarbourVest Entity’s interest in the Company, (d)
          the amount of distributions that have been made to such HarbourVest Entity by the Company
          and the amount of contributions that have been made by such HarbourVest Entity to the
          Company, (e) such ratios and performance information calculated by such HarbourVest Entity
          using the information in clauses (a) through (d) above, including the ratio of net asset value
          plus distributions to contributions (i.e., the “multiple”) and such HarbourVest Entity’s internal
          rate of return with respect to its investment in the Company, and (f) tax information with
          respect to the Company.

    8.    DIVIDENDS

    8.1   The Company agrees that it shall not, and the Portfolio Manager agrees it shall not cause the
          Company to, make any dividends except pursuant to the section titled “Summary—Dividend
          Policy” of the Offering Memorandum.

    9.    TERM OF THE COMPANY

    9.1   Each Party agrees to cause the winding up and dissolution of the Company after the ten year
          anniversary of the date hereof (the “Term”); provided that the Portfolio Manager, in its
          reasonable discretion, may postpone dissolution of the Company for up to 180 days in order to
          facilitate orderly liquidation of the investments; provided, further, that the Term shall be
          automatically extended for any amount of time for which the Investment Period may be
          extended.

    9.2   Notwithstanding the foregoing, the Term may be extended with the consent of the Portfolio
          Manager and the Advisory Board for up to two successive periods of one year each.

    10.   ERISA MATTERS

    10.1 The Portfolio Manager, the Company and each Member shall use their reasonable best efforts to
         conduct the affairs and operations of the Company so as to limit investment in the Company by
         “benefit plan investors” (within the meaning of the DOL Regulations as modified by section
         3(42) of ERISA) to less than the U.S. Plan Threshold. In the event the U.S. Plan Threshold is
         met or exceeded, the Portfolio Manager, on behalf of the Company, may require any Non-
         Qualified Holder that is a U.S. Plan Investor to sell or transfer their Shares to a person qualified
         to own the same that is not a U.S. Plan Investor within 30 days and within such 30 days and to
         provide the Company with satisfactory evidence of such sale or transfer such that such sale or
         transfer, together with other sale or transfers pursuant to this Clause, would result in the
         investment in the Company by “benefit plan investors” (within the meaning of the DOL
         Regulations as modified by section 3(42) of ERISA) to be less than the U.S. Plan Threshold.
         Where the conditions above are not satisfied within 30 days after the serving of the notice to
         transfer, such Non-Qualified Holder will be deemed, upon the expiration of such 30 days, to
         have forfeited their Shares.

    11.   TAX MATTERS

    11.1 PFIC. For each fiscal year of the Company, the Company will no later than 120 days after the
         end of such fiscal year, commencing with the first fiscal year for which the Company is
         determined to be a PFIC (a “passive foreign investment company”), furnish to each of the

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          HarbourVest Entities (x) all information necessary to permit such HarbourVest Entity or any of
          its partners to complete United States Internal Revenue Service Form 8621 with respect to their
          interests in the Company and (y) a PFIC Annual Information Statement under section 1295(b)
          of the Code with respect to the Company; provided that if the Company is unable to furnish
          such final information and Statement within such 120 days, then the Company shall use its
          reasonable best efforts to furnish estimates of such information and Statement on or before the
          120th day after the end of such fiscal year.

    11.2 CFC. The Company shall furnish to each of the HarbourVest Entities within 120 days after the
         end of each fiscal year of the Company, a United States Internal Revenue Service Form 5471 for
         such fiscal year, completed for all information concerning the Company required to be filed by
         such HarbourVest Entity or any of its partners (i.e., all portions applicable to the relevant
         category of filer other than page 1 items A-D and page 2 Schedule B), to the extent such Form
         5471 is required to be filed by such HarbourVest Entity or any of its partners; provided that if
         the Company is unable to furnish such final information within such 120 days, then the
         Company shall use its reasonable best efforts to furnish estimates of such information on or
         before the 120th day after the end of each fiscal year.

    11.3 Other Tax Information. The Company shall furnish to each of the HarbourVest Entities (a) within
         120 days after the end of each fiscal year of the Company such other information reasonably
         requested by the HarbourVest Entities that any HarbourVest Entity may require in order for it or
         any of its partners to comply with its U.S. federal income tax reporting obligations with respect
         to its interest in the Company; provided that if the Company is unable to furnish such final
         information within such 120 days, then the Company shall use its reasonable best efforts to
         furnish estimates of such information on or before the 120th day after the end of such fiscal
         year and (b) promptly upon request such other information reasonably requested by such
         HarbourVest Entity in order to withhold tax or to file tax returns and reports or to furnish tax
         information to any of its partners with respect to the Company.

    11.4 Withholding and Other Taxes. The Company will use reasonable best efforts to acquire
         investments that will not result in withholding or other taxes being imposed directly or indirectly
         on the Company by any jurisdiction with respect to income or distributions from such
         investments.

    12.   AMENDMENTS TO CERTAIN AGREEMENTS

    12.1 The Portfolio Manager and the Company shall not amend or terminate, or agree to amend or
         terminate, the Memorandum or Articles of Incorporation of the Company or that certain Portfolio
         Management Agreement between the Portfolio Manager and the Company dated as of the date
         hereof (the “Management Agreement”) without the consent of the Parties.

    12.2 The Portfolio Manager agrees that it shall not assign its rights, duties and obligations under the
         Management Agreement without the consent of the Members totalling in the aggregate more
         than seventy-five percent (75%) of the Company. Notwithstanding the foregoing, the Portfolio
         Manager may, without the consent of the Members, assign any of its rights or obligations under
         the Management Agreement to an Affiliate; provided that such Affiliate (A) has demonstrated
         ability, whether as an entity or by its personnel, to professionally and competently perform
         duties similar to those imposed upon the Portfolio Manager pursuant to the Management
         Agreement, (B) has the legal right and capacity to act as Portfolio Manager thereunder and (C)
         shall not cause the Company or the pool of collateral to become required to register under the
         provisions of the Investment Company Act and such action does not cause the company to be
         subject to tax in any jurisdiction outside of its jurisdiction of incorporation.

    12.3 The Company agrees that it shall not hire any portfolio manager without the consent of the
         Parties and such new portfolio manager shall be required to join and abide by this Agreement.

    13.   FINANCIAL REPORTS

    13.1 The books and records of account of the Company shall be audited as of the end of each fiscal
         year of the Company by a nationally recognized independent public accounting firm selected by

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          the Portfolio Manager that is registered with, and subject to regular inspection as of the
          commencement of the professional engagement period, and as of each calendar year-end, by,
          the Public Company Accounting Oversight Board in accordance with its rules. During the Term,
          the Portfolio Manager or the Company shall prepare and mail, deliver by fax, email or other
          electronic means or otherwise make available a financial report (audited in the case of a report
          sent as of the end of a fiscal year and unaudited in the case of a report sent as of the end of a
          quarter) to each Member on or before the 120th day after the end of each fiscal year and the
          45th day after the end of each of the first three quarters of each fiscal year, setting forth for
          such fiscal year or quarter (a) the assets and liabilities of the Company as of the end of such
          fiscal year or quarter; (b) the net profit or net loss of the Company for such fiscal year or
          quarter; and (c) such Member’s closing capital account balance as of the end of such fiscal year
          or quarter; provided that if the Portfolio Manager or the Company is unable to furnish final
          information with respect to any of the above, then the Portfolio Manager or the Company shall
          use its reasonable best efforts to furnish estimates of such information on or before the 120 th
          day after the end of each fiscal year and the 45th day after the end of the first three quarters of
          each fiscal year. On or before the 60th day after the end of each fiscal year, the Portfolio
          Manager or the Company shall provide to each Member an unaudited draft of the financial
          report for such fiscal year.

    13.2 After the end of each fiscal year or quarter, the Portfolio Manager or the Company shall cause to
         be delivered to the Advisory Board a reasonably detailed summary of the expenses incurred by
         the Company during such period.

    14.   TERMINATION AND LIQUIDATION

    14.1 Save as provided for in Clause 13.2, this Agreement shall terminate:

          14.1.1    when one Party holds all the Shares;

          14.1.2    when a resolution is passed by the Company’s Members or creditors, or an order made
                    by a court or other competent body or person instituting a process that shall lead to
                    the Company being wound up and its assets being distributed among the Company’s
                    creditors, Members or other contributors; or

          14.1.3    with the written consent of all the Parties.

    14.2 The following provisions of this Agreement remain in full force after termination: Clause 1
         (Interpretation), Clause 7 (Confidentiality), this Clause, Clause 14 (Whole Agreement), Clause
         16 (Assignments), Clause 17 (Variation and Waiver), Clause 18 (Service of Notice), Clause 19
         (General) and Clause 21 (Governing Law and Jurisdiction).

    14.3 Termination of this Agreement shall not affect any rights or liabilities that the Parties may have
         accrued under it.

    14.4 Where the Company is to be wound up and its assets distributed, the Parties shall agree a
         suitable basis for dealing with the interests and assets of the Company and shall endeavour to
         ensure that:

          14.4.1    all existing contracts of the Company are performed to the extent that there are
                    sufficient resources;

          14.4.2    the Company shall not enter into any new contractual obligations;

          14.4.3    the Company is dissolved and its assets are distributed as soon as practical; and

          14.4.4    any other proprietary information belonging to or originating from a Party shall be
                    returned to it by the other Parties.




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    15.   WHOLE AGREEMENT

    15.1 This Agreement, and any documents referred to in it, constitute the whole agreement between
         the Parties and supersede any arrangements, understanding or previous agreement between
         them relating to the subject matter they cover.

    15.2 Each Party acknowledges that in entering into this Agreement, and any documents referred to in
         it, it does not rely on, and shall have no remedy in respect of, any statement, representation,
         assurance or warranty of any person other than as expressly set out in this Agreement or those
         documents.

    15.3 Nothing in this Clause 14 operates to limit or exclude any liability for fraud.

    16.   STATUS OF AGREEMENT

    16.1 Each Party shall, to the extent that it is able to do so, exercise its voting rights and other
         powers in relation to the Company to procure that the provisions of this Agreement are properly
         and promptly observed and given full force and effect according to the spirit and intention of the
         Agreement.

    16.2 If any provision in the memorandum of incorporation of the Company or the Articles conflicts
         with any provision of this Agreement, the provisions of this Agreement shall prevail as between
         the Parties. Each of the Parties shall, to the extent that it is able to do so, exercise its voting
         rights and other powers in relation to the Company to procure the modification of the
         memorandum of association of the Company or the Articles (as the case may be) in order to
         eliminate the conflict, but this Agreement shall not itself constitute a modification of the
         memorandum of association of the Company or the Articles.

    17.   ASSIGNMENTS

          Save as expressly permitted by this Agreement, no person may assign, or grant any security
          interest over, any of its rights under this Agreement or any document referred to in it without
          the prior written consent of the Parties.

    18.   VARIATION AND WAIVER

    18.1 A variation of this Agreement shall be in writing and signed by or on behalf of the Parties.

    18.2 A waiver of any right under this Agreement is only effective if it is in writing and it applies only
         to the person to which the waiver is addressed and the circumstances for which it is given.

    18.3 A person that waives a right in relation to one person, or takes or fails to take any action
         against that person, does not affect its rights against any other person.

    19.   SERVICE OF NOTICE

    19.1 Any notice required to be given by any of the Parties may be sent by post or facsimile to the
         address and facsimile number of the addressee as set out in this Agreement, in either case
         marked for the attention of the relevant person named below, or to such other address and/or
         facsimile number and/or marked for the attention of such other person as the addressee may
         from time to time have notified for the purposes of this Clause.

          19.1.1    to the Company:
                    Address:
                    First Floor, Dorey Court, Admiral Park
                    St Peter Port, Guernsey GY1 6HJ
                    Channel Islands

          19.1.2    to CLO Holdco:


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                    Address:
                    c/o Highland Capital Management, L.P.
                    300 Crescent Court, Suite 700
                    Dallas, TX 75201
                    Attn: General Counsel
                    Tel: +1 (972) 628-4100
                    Email: Notices@highlandcapital.com

          19.1.3    to any HarbourVest Entity:
                     Address:
                     c/o HarbourVest Partners, LLC
                     One Financial Center, 44th Floor
                     Boston, MA 02111
                     USA
                     Attn: Michael Pugatch
                     Tel: +1 (617) 348-3712
                     F
                     Email: mpugatch@harbourvest.com

          19.1.4    to any other Party: by post or hand delivery only to the address specified in the
                    register of members of the Company.

    19.2 Communications sent by post shall be deemed to have been received 24 hours after posting.
         Communications sent by facsimile transmission shall be deemed to have been received at the
         time the transmission has been received by the addressee PROVIDED THAT if the facsimile
         transmission, where permitted, is received after 5.00pm or on a day which is not a Business
         Day, it shall be deemed to have been received 11.00am the Business Day following thereafter.

    19.3 In proving service by post it shall only be necessary to prove that the notice was contained in an
         envelope which was duly addressed and posted in accordance with this Clause and in the case of
         facsimile transmission it shall be necessary to prove that the facsimile was duly transmitted to
         the correct number.

    20.   GENERAL

    20.1 Each of the Parties hereby agree not to enter into or abide by any agreement whether written or
         oral with any one or more of the other Parties in respect of the voting of Shares or the
         submission of Member resolutions to any Members for voting by them, or otherwise to direct or
         influence, or attempt to direct or influence, the day-to-day management of the Company, either
         directly or indirectly, other than in order to comply with the other terms of this Agreement or
         the Articles. In this regard, each of the Parties agrees to not to direct or influence or to attempt
         to direct or influence any of the Directors through any employment relationship that the
         Directors may have outside of the Company other than in order to comply with the other terms
         of this Agreement or the Articles. Each of the Parties hereby agree that this provision shall
         continue to apply to them whether or not they are or remain a Member.

    20.2 Unless otherwise provided, all costs in connection with the negotiation, preparation, execution
         and performance of this Agreement, shall be borne by the Party that incurred the costs.

    20.3 The Parties are not in partnership with each other and there is no relationship of principal and
         agent between them.

    20.4 All transactions entered into between any Party and the Company shall be conducted in good
         faith and on the basis set out or referred to in this Agreement or, if not provided for in this
         Agreement, as may be agreed by the Parties and, in the absence of such agreement, on an
         arm’s length basis.

    20.5 Each Party shall at all times act in good faith towards the other Parties and shall use all
         reasonable endeavours to ensure that this Agreement is observed.



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    20.6 Each Party shall promptly execute and deliver all such documents, and do all such things, as the
         other Parties may from time to time reasonably require for the purpose of giving full effect to
         the provisions of this Agreement.

    20.7 This Agreement may be executed in any number of counterparts, each of which is an original
         and which together have the same effect as if each Party had signed the same document. This
         Agreement may not be amended except with the consent of each Party.

    21.   STATUS OF AGREEMENT

    21.1 The Parties shall, when necessary, exercise their powers of voting and any other rights and
         powers they have to amend, waive or suspend a conflicting provision in the Articles to the
         extent necessary to permit the Company and its Business to be administered as provided in this
         Agreement.

    21.2 If there is an inconsistency between any of the provisions of this agreement and the provisions
         of the Articles, the provisions of this agreement shall prevail as between the Parties.




    22.   GOVERNING LAW AND JURISDICTION

          This Agreement shall be governed by and construed in accordance with the laws of the Island of
          Guernsey and each of the Parties submits to the non-exclusive jurisdiction of the Royal Courts of
          the Island of Guernsey.

                                         [Signature Page Follows.]




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                                               SCHEDULE


                                         Adherence Agreement
    THIS ADHERENCE AGREEMENT is made on [●] 200[●]


    BETWEEN:


    (1)    [●] of [●] (the "Covenantor");


    (2)    CLO HOLDCO, LTD. of [                           ] (a "Member");


    (3)    [●] of [                         ] (a "Member");


    (4)    [●] of [                         ] (a "Member");

    (5)    HIGHLAND CLO FUNDING, LTD., with registration number 60120 whose registered office is at
           First Floor, Dorey Court, Admiral Park, St Peter Port, Guernsey GY1 6HJ, Channel Islands (the
           "Company")

    (6)    HIGHLAND HCF ADVISOR, LTD., registered address is at Maples Corporate Services Limited,
           PO Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman Islands (the "Portfolio
           Manager").



    RECITAL


   This Agreement is supplemental to the members agreement made on November 15 2017 between the
   Members, the Portfolio Manager and the Company (the "Members Agreement").

    IT IS HEREBY AGREED as follows:


    1.    The Covenantor hereby confirms that he has been supplied with a copy of the Members
          Agreement and hereby covenants with each of the parties thereto to observe, perform and be
          bound by all the terms of the Members Agreement as if it were a party thereto.


    2.    Each of the other parties to the Members Agreement hereby covenants with the Covenantor that
          the Covenantor shall be entitled to the benefit of the terms of the Members Agreement as if he
          were a party thereto.


    3.    This Agreement shall be governed by and construed in accordance with Guernsey law.

    IN WITNESS of which this Agreement has been executed by the Covenantor and each of the parties
    to the Members Agreement on the date shown above.




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